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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA ex rel.
[SEALED] and on behalf of the STATES of Case Number: 19-cv-04557
CALIFORNIA, COLORADO,
CONNECTICUT, DELAWARE, FLORIDA,
GEORGIA, ILLINOIS, INDIANA,                 QUI TAM FALSE CLAIMS ACT
LOUISIANA, MARYLAND, MICHIGAN,                       COMPLAINT
NEVADA, NEW HAMPSHIRE, NEW
JERSEY, NEW YORK, NORTH                          FILED UNDER SEAL
CAROLINA, OKLAHOMA, RHODE                     DO NOT PLACE ON PACER
ISLAND, TENNESSEE, TEXAS,
VERMONT, WASHINGTON, the
COMMONWEALTH OF                         SECOND AMENDED COMPLAINT FOR
MASSACHUSETTS, the                      VIOLATIONS OF THE FALSE CLAIMS
COMMONWEALTH OF VIRGINIA, and the               ACT AND STATE LAW
DISTRICT OF COLUMBIA,                             COUNTERPARTS

     Plaintiff-Relator,

v.
                                                    (Jury Trial Demanded)
[SEALED]

     Collectively, “Defendant.”
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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA ex rel.
ANDREW WHITE, MARK ROSENBERG,
and ANN WEGELIN and on behalf of the Case Number: 19-cv-04557
STATES of CALIFORNIA, COLORADO,
CONNECTICUT, DELAWARE, FLORIDA,
GEORGIA, ILLINOIS, INDIANA,          Jury Trial Demanded
LOUISIANA, MARYLAND, MICHIGAN,
NEVADA, NEW HAMPSHIRE, NEW
JERSEY, NEW YORK, NORTH
CAROLINA, OKLAHOMA, RHODE            SECOND AMENDED COMPLAINT FOR
ISLAND, TENNESSEE, TEXAS,            VIOLATIONS OF THE FALSE CLAIMS
VERMONT, WASHINGTON, the                      ACT AND STATE LAW
COMMONWEALTH OF                                  COUNTERPARTS
MASSACHUSETTS, the
COMMONWEALTH OF VIRGINIA, and the
DISTRICT OF COLUMBIA,

     Plaintiff-Relators,
v.

RITE AID CORPORATION, RITE AID
HEADQUARTERS CORPORATION, RITE
AID OF ALABAMA, INC., RITE AID OF
CONNECTICUT, INC., RITE AID OF
DELAWARE, INC., RITE AID OF
FLORIDA, INC., RITE AID OF GEORGIA,
INC., RITE AID OF ILLINOIS, INC., RITE
AID OF INDIANA, INC., RITE AID OF
KENTUCKY, INC., RITE AID OF MAINE,
INC., RITE AID OF MARYLAND, INC.,
RITE AID OF MASSACHUSETTS, INC.,
RITE AID OF MICHIGAN, INC., RITE AID
OF NEW HAMPSHIRE, INC., RITE AID OF
NEW JERSEY, INC., RITE AID OF NEW
YORK, INC., RITE AID OF OHIO, INC.,
RITE AID OF PENNSYLVANIA, INC.,
RITE AID OF SOUTH CAROLINA, INC.,
RITE AID OF TENNESSEE, INC., RITE
AID OF VERMONT, INC., RITE AID OF
VIRGINIA, INC., RITE AID OF
WASHINGTON, D.C., INC., RITE AID OF
WEST VIRGINIA, INC., THRIFTY
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PAYLESS, INC., THRIFTY
CORPORATION, ECKERD
CORPORATION, MAXI DRUG NORTH,
INC. MAXI DRUG SOUTH, L.P. MAXI
DRUG, INC., GENOVESE DRUG STORES,
INC, APEX DRUG STORES, INC., PERRY
DRUG STORES INC., and BROOKS
PHARMACY, INC.,

  Collectively, “Defendant.”
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     SECOND AMENDED COMPLAINT FOR FALSE CLAIMS ACT VIOLATIONS
       UNDER 31 U.S.C. § 3729, ET SEQ., AND STATE LAW COUNTERPARTS

                 On behalf of the United States of America (“United States”), twenty-two States,

the District of Columbia, and the Commonwealths of Massachusetts and Virginia (collectively,

the “Whistleblower States”), Relators Andrew White, Mark Rosenberg, and Ann Wegelin hereby

file this Second Amended Complaint against Defendants Rite Aid Corp., Rite Aid Headquarters

Corp., Rite Aid of Alabama, Inc., Rite Aid of Connecticut, Inc., Rite Aid of Delaware, Inc., Rite

Aid of Florida, Inc., Rite Aid of Georgia, Inc., Rite Aid of Illinois, Inc., Rite Aid of Indiana, Inc.,

Rite Aid of Kentucky, Inc., Rite Aid of Maine, Inc., Rite Aid of Maryland, Inc., Rite Aid of

Massachusetts, Inc., Rite Aid of Michigan, Inc., Rite Aid of New Hampshire, Inc., Rite Aid of

New Jersey, Inc., Rite Aid of New York, Inc., Rite Aid of Ohio, Inc., Rite Aid of Pennsylvania,

Inc., Rite Aid of South Carolina, Inc., Rite Aid of Tennessee, Inc., Rite Aid of Vermont, Inc., Rite

Aid of Virginia, Inc., Rite Aid of Washington, D.C., Inc., Rite Aid of West Virginia, Inc., Thrifty

Payless, Inc., Thrifty Corporation, Eckerd Corporation, Maxi Drug North, Inc. Maxi Drug South,

L.P., Maxi Drug, Inc., Genovese Drug Stores, Inc., Apex Drug Stores, Inc, Perry Drug Stores Inc.,

and Brooks Pharmacy, Inc. (collectively, “Rite Aid” or “Defendant”), pursuant to the qui tam

provisions of the federal False Claims Act and State Whistleblower Statutes. 1


1
 31 U.S.C. §§ 3729 et seq. (“FCA”) and the California False Claims Act, Cal. Gov’t Code §§ 12650
et seq.; the Colorado Medicaid False Claims Act, Colo. Rev. Stat. §§ 25.5-4-304 et seq.; the
Connecticut False Claims Act, Conn. Gen. Stat. tit. 4 Ch. 55e §§ 4-274 et seq.; the Delaware False
Claims and Reporting Act, Del. Code Ann. tit. 6, §§ 1201 et seq.; the District of Columbia False
Claims Act, D.C. Code §§ 2-308.13 et seq.; the Florida False Claims Act, Fla. Stat. tit. 6, §§ 68.081
et seq.; the Georgia False Medicaid Claims Act, Ga. Code Ann. §§ 49-4-168 et seq.; the Illinois
False Claims Act, 740 Ill. Comp. Stat. §§ 175/1 et seq.; the Indiana Medicaid False Claims and
Whistleblower Protection Act, Ind. Code §§ 5-11-5.7 et seq.; Louisiana Medical Assistance
Programs Integrity Law; the Maryland False Health Claims Act, Md. Code Ann., Health-Gen. §§
2-601 et seq.; the Massachusetts False Claims Act, Mass. Gen. Laws ch. 12, §§ 5A et seq.; the
Michigan Medicaid False Claims Act, Mich. Comp. Laws §§ 400.601 et seq.; the Nevada False



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                Plaintiff-Relators Andrew White, Mark Rosenberg, and Ann Wegelin bring this

action against Rite Aid, under the False Claims Act and the State Whistleblower Statutes for

Defendant’s violations of the Controlled Substances Act, 21 U.S.C. § 801, et seq. (the “CSA”) its

implementing regulations, 21 C.F.R. § 1301, et seq. and under state pharmacy laws and regulations.

Those violations include: (a) knowingly dispensing controlled substances without a valid

prescription in violation of 21 U.S.C. § 842(a)(1); and (b) knowingly and intentionally distributing

and dispensing controlled substances outside the usual course of the professional practice of

pharmacy, in violation of 21 U.S.C. § 841(a) and state pharmacy laws and regulations.

Plaintiffs/Relators also seek to recover monies that Defendant caused Government Programs to

pay for controlled substances that were not prescribed for medically accepted indications and/or

lacked a legitimate medical purpose in violation of the False Claims Act (“FCA”), 31 U.S.C. § 3729,

et seq and the State Whistleblower Statutes.

I.     INTRODUCTION

                The nation is experiencing a national public health emergency involving opioid

abuse. The dispensing of controlled substances, including prescription opioid painkillers, without




Claims Act, Nev. Rev. Stat. §§ 357.010 et seq.; New Hampshire False Claims Act, N.H. RSA
167:61-bI(a), et seq.; the New Jersey False Claims Act, N.J. Stat. Ann. §§ 2A:32C-1 et seq.; the
New York False Claims Act, N.Y. State Fin. Law Art. XIII §§ 187 et seq.; the North Carolina False
Claims Act, N.C. Gen. Stat. §§ 1-605 et seq.; the Oklahoma Medicaid False Claims Act, Okla. Stat.
tit. 63, §§ 5053 et seq.; the Rhode Island False Claims Act, R.I. Gen. Laws §§ 9-1.1-1 et seq.; the
Tennessee Medicaid False Claims Act, Tenn. Code Ann. §§ 71-5-181 et seq.; the Texas Medicaid
Fraud Prevention Act, Tex. Hum. Res. Code Ann. §§ 36.001 et seq.; the Texas Medical Assistance
Program, Damages, and Penalties Act, Tex. Hum. Res. Code. Ann. §§ 32.039 et seq.; the Vermont
False Claims Act, Vt. Stat. Ann. tit. 32 §§ 631 et seq.; the Virginia Fraud Against Taxpayers Act,
Va. Code Ann. §§ 8.01-216.1 et seq.; and the Washington State Medicaid False Claims Act, Wash.
Rev. Code. §§ 74.66.005 et seq. (the aforementioned statutes referred to collectively as the “State
Whistleblower Statutes”).


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a legitimate medical purpose and outside the usual course of professional practice exacerbate this

crisis. This crisis has impacted nearly all Americans in some way or another.

                In addition to the opioid epidemic’s human cost, the epidemic has had a monetary

one as well. Besides the financial impacts of the increased cost of health care, substance abuse

treatment, and law enforcement, the cost of the epidemic has also been felt by Government

Programs like Medicare, Medicaid, and others (collectively “Government Programs”). The

Government Programs have paid for improperly dispensed controlled substances because Rite Aid

has intentionally and knowingly disregarded its independent duties under the law to properly

examine and ensure that prescriptions it filled were only dispensed pursuant to a proper

prescription and for a legitimate medical purpose.

                In furtherance of its own bottom line, Rite Aid formally and informally

incentivized and pressured its pharmacists to fill all prescriptions presented at its pharmacies—

regardless of validity—resulting in prescriptions that were clearly not medically necessary being

filled and billed to Government Programs, the public health and public fisc be damned.

                Relators had a front-row seat on how Rite Aid both fueled and profited from this

epidemic by repeatedly dispensing highly addictive opioids without a legitimate medical purpose

and outside the usual course of professional medical practice.

                Relators witnessed numerous incidents of drug-seeking behaviors at the stores

where they worked, including a store robbery, a customer who passed out at the high blood

pressure machine, customers who regularly used their opioids right in the store, and customers

who were engaged in transactions selling their opioids right in the Rite Aid parking lots. Despite

their raising concerns about these activities with Rite Aid management, nothing was ever done.




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Instead, it was made clear that raising concerns like this would result in having hours reduced to

punish them for causing problems.

                Even while rampant drug diversion and abuse was occurring at and around the

Rite Aid pharmacies themselves, Relators saw how Rite Aid has incentivized and pressured its

pharmacists to fill all prescriptions presented at its pharmacies—regardless of validity—resulting

in inappropriate prescriptions that were clearly not medically necessary being filled and billed, the

public health and public fisc be damned. Rite Aid has repeatedly dispensed controlled substances

prone to abuse without a legitimate medical purpose and outside the usual course of professional

practice.

                At all times material hereto, Rite Aid has had full visibility into vast amounts of

data about dispensing at its pharmacies and industry-wide. But instead of leveraging that

information and data to limit the filling of medically unnecessary and/or inappropriate

prescriptions, Rite Aid joined the race to dispense as many opioids as possible, all while

intentionally failing to recognize that things like the amounts, combinations, and durations of

opioid prescriptions being filled and billed in its stores far exceeded the legitimate medical need

or were otherwise medically inappropriate.

                Rite Aid is subject to due diligence duties under the Controlled Substances Act

(“CSA”) and duties under state pharmacy law to take special care before dispensing these addictive

and dangerous drugs. These laws and regulations require Rite Aid to review each controlled

substance prescription prior to dispensing in order to make a determination that the prescription is

both effective and valid; ensure that each prescription for an opioid is valid and issued for a

legitimate medical purpose by an individual practitioner acting in the usual course of his or her

professional practice; refuse to dispense medication if there is reason to believe that the




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prescription was not issued for a legitimate medical purpose; and provide effective systems,

controls, and procedures to prevent theft, abuse, and/or diversion. Rite Aid violated these duties

by dispensing extremely large amounts of opioids from its retail pharmacy stores throughout the

United States and this District, as alleged in more detail below.

                 Pharmacies serve as the last line of defense between dangerous opioids and the

public. For this reason, under the CSA as well as state pharmacy laws and regulations, a

pharmacy’s duty to use due care when filling prescriptions goes beyond simply following the

prescription’s directions. Pharmacies that are on notice of signs of diversion or abuse and any other

red flags that the prescriptions are not medically necessary and/or appropriate may not simply

robotically fill those prescriptions. This is particularly true when prescriptions are unreasonable

on their face because they are written in a quantity, frequency, or other manner that a reasonable

pharmacy would do additional investigation and due diligence. Rite Aid did not fulfill these duties.

                 In Relators’ experience, Rite Aid chose to ignore red flags that should have caused

its pharmacies to investigate or reject inappropriate prescriptions before filling them. Examples of

such red flags include doctors who write unusually large amounts of opioid prescriptions when

compared with similar practitioners in the area; early refills for opioid prescriptions; prescriptions

with unusual quantities or dosages; patients seeking to fill a prescription written for someone else;

multiple consumers appearing at or near the same time with opioid prescriptions from the same

physician; patients who drive long distances to have prescriptions filled; consumers who seek large

volumes of controlled substances in the highest strength for each prescription type; patients who

appear to be creating cocktails combining opioid drugs with muscle relaxants or tranquilizers; and

consumers who pay large amounts of cash for opioid prescriptions rather than using some form of

insurance.




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                Rite Aid could have—and was required to—leverage its network of (until at least

March 27, 2018) nearly 5,000 pharmacies all over the country to combat the scourge of

inappropriate and medically unnecessary opioid prescriptions. Instead, it timed how quickly its

pharmacists could increase prescription counts year after year with ever leaner staffing, making it

impossible for them to have sufficient time to investigate, report, and halt inappropriate or

medically unnecessary prescriptions of controlled substances.

                While individual pharmacists here and there were able to identify bad

prescriptions, Rite Aid as a company intentionally ignored the vast amount of data from its

pharmacies to identify increasingly rampant prescribing abuse, identify medically inappropriate

prescriptions, and provide its individual pharmacy locations the benefit of Rite Aid’s significant

pharmacy infrastructure and corporate resources.

                Rite Aid did not because doing so would have meant it would not have been as

profitable, which to Rite Aid is more important than any financial impact on Government Programs

and on people’s lives.

                Rite Aid filled opioid prescriptions throughout the U.S. (and in Pennsylvania)

under circumstances showing red flags for opioid diversion and abuse, in violation of its duties

under the CSA and state pharmacy laws and regulations.

                Rite Aid failed to train or instruct its employees with respect to proper policies

and protocols to follow to prevent diversion and abuse of opioids. This has had the direct, readily

foreseeable and intended result of employees continuing to fill prescriptions despite clear red flags.

                Rite Aid’s failure to identify, monitor, detect, investigate, report, and refuse to

sell, fill, or dispense medically unnecessary and/or inappropriate prescriptions for opioid drugs

also violated its duty to act reasonably in light of the serious and foreseeable harms associated with




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diversion and abuse. Rite Aid’s failure to take reasonable steps to prevent opioid diversion and

abuse is a direct and proximate cause of, and/or substantial factor contributing to, the diversion

and abuse of prescription opioids around the U.S. (and in Pennsylvania) for consumption for non-

medical, non-scientific purposes.

                Relators saw daily how Rite Aid knew and willfully ignored the widespread

diversion and abuse of opioids occurring in their pharmacies. Rite Aid’s intentional flouting of its

CSA obligations occurred throughout the U.S. (and in this District). The foreseeable result of Rite

Aid’s decision to continue dispensing vast quantities of opioid drugs having no medical

justification has been widespread addiction, overdoses, death, harms to Government Programs,

and the societal and economic harms that flow from prescription opioid abuse.

                Compliance with the requirements of federal and state law governing the practice

of pharmacy is central to the obtainment of Government Program benefits and is a condition of

these medications being covered and paid for by these Programs.

                Government Programs routinely deny payment for controlled substance

medications, or seek to recoup payments already made, when such prescriptions are not issued or

dispensed for a legitimate medical purpose in the usual course of professional practice or when the

controlled substance medication is medically unnecessary and/or intended for purposes of

addiction or recreational abuse.

                The conduct alleged herein is ongoing.

II.     JURISDICTION AND VENUE

                According to 28 U.S.C. §§ 1331 & 1345, this District Court has original

jurisdiction over the subject matter of this civil action since it arises under the laws of the United




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States—in particular, the FCA. In addition, the FCA specifically confers jurisdiction upon the

United States District Court. 31 U.S.C. § 3732(b).

                Pursuant to 28 U.S.C. § 1367, this District Court has supplemental jurisdiction

over the subject matter of the claims brought pursuant to the false claims acts of the States because

the claims are so related to the claims within this Court’s original jurisdiction that they form part

of the same case or controversy under Article III of the United States Constitution.

                This District Court has personal jurisdiction over Defendant pursuant to 31 U.S.C.

§ 3732(a) because Defendant transacts business in this District and engaged in wrongdoing in this

District. Likewise, the FCA authorizes nationwide service of process and the Defendant has

sufficient minimum contacts with the United States of America.

                Venue is proper in this District under 31 U.S.C. § 3732(a) and 28 U.S.C. §

1391(b). Defendant has transacted business within this District, and acts proscribed by 31 U.S.C.

§ 3729 occurred in this District.

                Relators are unaware of any public disclosure of the information or allegations

that are the basis of the Second Amended Complaint. If there has been a public disclosure, Relators

are the original sources of the information and allegations contained in this Second Amended

Complaint. Prior to the filing of this action, Relators voluntarily provided the United States and

the States with material evidence supporting the allegations regarding the false claims that are the

subject of this Second Amended Complaint.

                The causes of action alleged herein are timely brought because of, among other

things, efforts by the Defendant to conceal from the United States and the States its wrongdoing

in connection with the allegations made herein.




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III.     THE PARTIES

                Plaintiffs/Relators

                  Relator Andrew White is a resident of North Carolina. He worked as a Staff

Pharmacist and a Pharmacy Manager at Rite Aid stores in North Carolina from 2011 to March

2014. Starting in July 2011, he was a pharmacist at a Rite Aid in Fayetteville, North Carolina,

located at 108 Rowan Street (store #11502). After about six months, he transferred to another

Fayetteville store at 3716 Morganton Road (store #11507). After another eight months, he was

promoted and transferred to a Rite Aid in Dunn, North Carolina at 1721 West Cumberland Street

(store #11510).

                  Relator White is a registered pharmacist in North Carolina with license number

22024. His license was issued on July 14, 2011 and expires on December 31, 2020.

                  Relator Mark Rosenberg is a resident of West Virginia. He worked as a pharmacy

technician at the Rite Aid at 719 Johnstown Road, Beckley, West Virginia (store #2667) from

2009 until the store closed in June 2019 after being bought by Walgreens.

                  Relator Ann Wegelin is a resident of Pennsylvania. She worked as a Staff

Pharmacist and a Pharmacy Manager at Rite Aid from 2007-2017. She was the pharmacy manager

at the Rite Aid store located at 2962 St. Lawrence Ave., Reading, Pennsylvania, 19606 (store

#11173).

                  Relator Wegelin is a registered pharmacist in Pennsylvania with license number

RP036963L. Her license was issued on August 9, 1989 and expired on September 30, 2020, but

remains active per the Pennsylvania Licensing System Verification Service. 2




2
 Pennsylvania Licensing System Verification Service, Bureau of Professional and Occupational
Affairs, Pennsylvania Department of State, available at https://www.pals.pa.gov/#/page/search.


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               Defendant Rite Aid Corporation

                Defendant RITE AID CORPORATION (“Rite Aid”) is a Delaware corporation

with its principal place of business in Camp Hill, Pennsylvania. During all relevant times, Rite Aid

has sold and continues to sell prescription opioids, including the opioid drugs at issue in this

lawsuit, in 30 states around the country, through its vast network of (until at least March 27, 2018)

nearly 5,000 pharmacies.

                Rite Aid has incorporated subsidiaries of its pharmacies throughout the U.S.,

including through RITE AID HEADQUARTERS CORPORATION, RITE AID OF ALABAMA,

INC., RITE AID OF CONNECTICUT, INC., RITE AID OF DELAWARE, INC., RITE AID OF

FLORIDA, INC., RITE AID OF GEORGIA, INC., RITE AID OF ILLINOIS, INC., RITE AID

OF INDIANA, INC., RITE AID OF KENTUCKY, INC., RITE AID OF MAINE, INC., RITE

AID OF MARYLAND, INC., RITE AID OF MASSACHUSETTS, INC., RITE AID OF

MICHIGAN, INC., RITE AID OF NEW HAMPSHIRE, INC., RITE AID OF NEW JERSEY,

INC., RITE AID OF NEW YORK, INC., RITE AID OF OHIO, INC., RITE AID OF

PENNSYLVANIA, INC., RITE AID OF SOUTH CAROLINA, INC., RITE AID OF

TENNESSEE, INC., RITE AID OF VERMONT, INC., RITE AID OF VIRGINIA, INC., RITE

AID OF WASHINGTON, D.C., INC., RITE AID OF WEST VIRGINIA, INC., THRIFTY

PAYLESS, INC., THRIFTY CORPORATION, ECKERD CORPORATION, MAXI DRUG

NORTH, INC. MAXI DRUG SOUTH, L.P. MAXI DRUG, INC., GENOVESE DRUG STORES,

INC, APEX DRUG STORES, INC., PERRY DRUG STORES INC., and BROOKS

PHARMACY, INC., (collectively, the “Pharmacy Subsidiaries”).

                At all times material hereto Rite Aid and the Pharmacy Subsidiaries have operated

as one, integrated entity. Rite Aid’s Pharmacy Subsidiaries have no independent decision-making




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capabilities and all facets of their operations are dominated, controlled and directed by Rite Aid

Corporation.

                 As a result of the control exerted by Rite Aid Corporation, all financial gains and

losses by the Pharmacy Subsidiaries inure directly to the benefit or detriment of Rite Aid

Corporation and its shareholders.

                 Thus, Rite Aid Corporation and the Pharmacy Subsidiaries are a joint enterprise

that acted to sell opioid drugs in this District and throughout the United States. As such, each act

of one entity is attributable to the other. Moreover, at all times material hereto these entities have

enjoyed an agency and fiduciary relationship whereby each has assented to the fraudulent acts of

the other with regard to the dispensing of opioids.

                 Rite Aid Corporation and the Pharmacy Subsidiaries shall be referred to herein

collectively as “Rite Aid,” “the Company,” or “Defendant” in reflection that the entities acted as

alter egos in the perpetrating the fraud alleged herein.

                 Under these circumstances, the failure to impose liability on Rite Aid Corporation

for the acts or omissions of the Pharmacy Subsidiaries would work a substantial injustice.

                 As of 2019, Rite Aid is publicly traded on the New York Stock Exchange under

the symbol RAD. Its major competitors are CVS and Walgreens. On September 19, 2017, the

Federal Trade Commission (FTC) approved an asset purchase agreement whereby Rite Aid sold

1,932 stores to Walgreens for $4.38 billion. The sale was completed on March 27, 2018. Three

distribution centers and related inventory were transferred after September 1, 2018, when the stores

were rebranded to Walgreens.

                 Until at least March 27, 2018, Rite Aid had approximately 5,000 stores in 30

states, employing more than 51,000 associates. Rite Aid was ranked No. 94 in the 2018 Fortune




                                                 11
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500 list of the largest United States corporations by total revenue. Rite Aid was the largest

drugstore chain on the East Coast and the third largest in the U.S.

                As of fiscal year 2018, California, with 570 stores, had the largest number of Rite

Aid stores, followed by Pennsylvania and New York with 529 and 321 respectively.

                During fiscal 2019, Medicaid and related managed care Medicaid payors sales

were approximately 19.1% of Rite Aid’s pharmacy sales. During fiscal 2019, approximately

35.8% of its pharmacy sales were to customers covered by Medicare Part D.

                At all times material hereto, Rite Aid has submitted knowingly false and or

fraudulent opioid drug claims to Government Programs. This conduct is ongoing.

IV.     THE OPIOID CRISIS IN THE U.S.

                Opioids are a class of drugs that range from pain relievers available legally by

prescription—such as oxycodone, hydrocodone, codeine, morphine, and fentanyl—to illegal

narcotics such as heroin. According to the Medicaid and CHIP Payment and Access Commission,

“the origins of widespread prescription opioid use can be traced back to the 1990s.” 3 That is when

the medical profession began using pain as a so-called “fifth vital sign,” and drug manufacturers

heightened their marketing campaigns.

                All opioid drugs are chemically related and interact with opioid receptors on nerve

cells in the body and brain. Opioid pain relievers are generally safe when taken for a short time

and as prescribed by a doctor, but because they produce euphoria in addition to pain relief, they

can be misused (taken in a different way or in a larger quantity than prescribed, or taken without a




3
  Medicaid & CHIP Payment Access Comm’n, Report to Congress On Medicaid And CHIP:
Chapter 2: Medicaid And The Opioid Epidemic 79 (2017), https://www.macpac.gov/wp-
content/uploads/2017/06/Medicaid-and-the-Opioid-Epidemic.pdf.



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doctor’s prescription). Regular use—even as prescribed by a doctor—can lead to dependence and,

when misused, opioid pain relievers can lead to addiction, overdose incidents, and death. 4

                Deaths from prescription opioid overdoses quadrupled from 1999 to 2011,5 as did

opioid prescriptions, even though pain levels reported by Americans have not changed. 6 By 2013,

drug overdoses were the nation’s leading cause of deaths from injury, prompting one author to

write: “The opioid epidemic . . . that has been ravaging and shortening lives from coast to coast is

a new plague for our new century.” 7

                Some 70,237 drug overdose deaths occurred in the United States in 2017. The age-

adjusted rate of overdose deaths increased significantly by 9.6% from 2016 (19.8 per 100,000) to

2017 (21.7 per 100,000). Opioids—mainly synthetic opioids (other than methadone)—are

currently the main driver of drug overdose deaths. Opioids were involved in 47,600 overdose

deaths in 2017 (67.8% of all drug overdose deaths). 8




4
     NIH National Institute on Drug Abuse: Advancing                          Addiction       Science,
https://www.drugabuse.gov/drugs-abuse/opioids#summary-of-the-issue.
5
 Vikki Wachino, CMCS Informational Bulletin: Best Practices for Addressing Prescription Opioid
Overdoses, Misuse and Addiction 1 (Jan. 28, 2016), https://www.medicaid.gov/federal-policy-
guidance/downloads/cib-02-02-16.pdf.
6
 Ctrs. For Medicare & Medicaid Servs., Centers For Medicare & Medicaid Services (CMS), Opioid
Misuse     Strategy   2016    2    (Jan.    5,    2017),    https://www.cms.gov/Outreach-and-
Education/Outreach/Partnerships/Downloads/CMS-Opioid-Misuse-Strategy-2016.pdf.
7
  Nicholas N. Eberstadt, Our Miserable 21st Century, COMMENTARY MAG. (Feb. 2017),
https://www.commentarymagazine.com/articles/our-miserable-21st-century/.
8
    U.S. Centers for Disease Control and Prevention,                   Drug     Overdose      Deaths,
https://www.cdc.gov/drugoverdose/data/statedeaths.html.



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                 In 2017, the states with the highest rates of death due to drug overdose were West

Virginia (57.8 per 100,000), Ohio (46.3 per 100,000), Pennsylvania (44.3 per 100,000), the District

of Columbia (44.0 per 100,000), and Kentucky (37.2 per 100,000). 9

                 States with statistically significant increases in drug overdose death rates from

2016 to 2017 included Alabama, Arizona, California, Connecticut, Delaware, Florida, Georgia,

Illinois, Indiana, Kentucky, Louisiana, Maine, Maryland, Michigan, New Jersey, New York, North

Carolina, Ohio, Pennsylvania, South Carolina, Tennessee, West Virginia, and Wisconsin. 10

                 Every day, more than 130 people in the United States die after overdosing on

opioids. 11 The misuse of and addiction to opioids—including prescription pain relievers, heroin,

and synthetic opioids such as fentanyl—is a serious national crisis that affects public health as well

as social and economic welfare. The Centers for Disease Control and Prevention (“CDC”)

estimates that the total “economic burden” of prescription opioid misuse alone in the United States

is $78.5 billion a year, including the costs of healthcare, lost productivity, addiction treatment, and

criminal justice involvement. 12

                 Between July 2016 and September 2017, the number of emergency room visits for

opioid-related overdoses jumped nearly 30%.


9
 Scholl L, Seth P, Kariisa M, Wilson N, Baldwin G., Drug and Opioid-Involved Overdose Deaths
– United States, 2013-2017. Morb Mortal Wkly Rep. (Jan. 4, 2019),
https://www.cdc.gov/mmwr/volumes/67/wr/mm675152e1.htm.
10
  U.S. Ctrs. for Disease Control & Prevention, National Center for Health Statistics Multiple Cause
of Death 1999–2017, Wide-ranging Online Data for Epidemiologic Research (CDC WONDER),
(2019), https://wonder.cdc.gov/wonder/help/mcd.html.
11
  U.S. Ctrs. for Disease Control & Prevention, National Center for Health Statistics, National Vital
Statistics System, Mortality, CDC WONDER (2018), https://wonder.cdc.gov.
12
  Florence C.S., Zhou C., Luo F., Xu L. The Economic Burden of Prescription Opioid Overdose,
Abuse, and Dependence in the United States, 54 Med Care. 901-906 (2016),
doi:10.1097/MLR.0000000000000625.



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                  Recently, the congressionally-chartered National Safety Council revealed that, for

the first time in U.S. history, a person is more likely to die from an accidental opioid overdose than

from a motor vehicle crash. The analysis showed that the odds of dying from opioid overdose are

also higher than from falls, drowning, gun assault, or choking. 13

                  According to the CDC, retail opioid prescriptions were dispensed in 2017 at a

national rate of 58.7 prescriptions per 100 persons. 14

                  From 1999-2017, almost 400,000 people died from an overdose involving any

opioid, including prescription and illicit opioids.15 This rise in opioid overdose deaths can be

outlined in three distinct waves:

     •   The first wave began with increased prescribing of opioids in the 1990s, with overdose

         deaths involving prescription opioids (natural and semi-synthetic opioids and methadone)

         increasing since at least 1999.

     •   The second wave began in 2010, with rapid increases in overdose deaths involving heroin.

     •   The third wave began in 2013, with significant increases in overdose deaths involving

         synthetic opioids – particularly those involving fentanyl. 16




13
   Nat’l Safety Council, Injury Facts, https://injuryfacts.nsc.org/all-injuries/preventable-death-
overview/odds-of-dying/; see also Press Release, Nat’l Safety Council, For the First Time, We’re
More Likely to Die from Accidental Opioid Overdose than Motor Vehicle Crash (Jan. 14, 2019),
https://www.nsc.org/in-the-newsroom/for-the-first-time-were-more-likely-to-die-from-
accidental-opioid-overdose-than-motor-vehicle-crash.
14
    U.S. Ctrs. for Disease Control & Prevention, U.S. Opioid Prescribing Rate Maps,
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html.
15
   Scholl L., Seth P., Kariisa M., Wilson N., Baldwin G., Drug and Opioid-Involved Overdose
Deaths – United States, 2013-2017. Morb Mortal Wkly Rep. (Jan. 4, 2019),
https://www.cdc.gov/mmwr/volumes/67/wr/mm675152e1.htm.
16
  Id. See also Rudd R.A., Aleshire N., Zibbell J.E., Gladden R.M. Increases in Drug and Opioid
Overdose Deaths – United States, 2000-2014. 64 Morb. Mortal Wkly. Rep. 1378-82 (2016).


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                 The harm is real. The misuse and abuse of prescription drugs, along with the

associated morbidity and mortality, has been identified as one of the most serious and costly issues

facing Americans today.

                 NAS or neonatal opioid withdrawal syndrome (“NOWS”) may occur when a

pregnant woman uses drugs such as opioids during pregnancy. A recent national study showed a

fivefold increase in the incidence of NAS/NOWS between 2004 and 2014, from 1.5 cases per

1,000 hospital births to 8.0 cases per 1,000 hospital births. That is one baby born with NAS/NOWS

every 15 minutes in the United States. During the same period, hospital costs for NAS/NOWS

births increased from $91 million to $563 million, after adjusting for inflation. 17

                 In March 2016, the CDC, in order to reduce opioid addictions, overdoses, and

deaths, published specific recommendations for clinicians who prescribe opioids outside of cancer

treatment, palliative care, and end-of-life care. 18 The CDC recommendations are based on

“[s]cientific research [that] has identified high-risk prescribing practices that have contributed to

the overdose epidemic (e.g., high-dose prescribing, overlapping opioid and benzodiazepine

prescriptions, and extended-release/long-acting opioids for acute pain).” 19




17
     NIH National Institute on Drug Abuse: Advancing Addiction Science,
https://www.drugabuse.gov/drugs-abuse/opioids#summary-of-the-issue; NIH National Institute on
Drug Abuse: Advancing Addiction Science, Tennessee Opioid Summary, Opioid-Involved
Overdose    Deaths,    https://www.drugabuse.gov/opioid-summaries-by-state/tennessee-opioid-
summary.
18
   See generally Deborah Dowell, M.D. et al., CDC Guideline for Prescribing Opioids for
Chronic Pain — United States, 2016, 65 MORBIDITY & MORTALITY WKLY. REP. 1 (2016)
[hereinafter, CDC Guideline].
19
     Id. at 3.



                                                 16
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                  Congress has found that pharmacies are partly responsible for the crisis: “The

opioid epidemic … has arisen, in part, from the diversion of prescription opioids through illegal

dispensing practices at pharmacies.” 20

                  The grave statistics about the human toll attributable to the opioid crisis are

shocking enough. But the crisis goes beyond the human toll. Not only have millions of lives been

lost or squandered to opioid addiction, millions of dollars have been spent by Government

Programs on fraudulent or otherwise medically unnecessary opioid prescriptions.

                  Rite Aid put its own profits over patient health care and indiscriminately dispensed

opioid prescriptions that were medically unnecessary and/or inappropriate.

                  Rite Aid has knowingly violated its duties under the CSA and state pharmacy laws

and regulations, ignoring obviously medically unnecessary prescriptions, filling them, and

fraudulently charging Government Programs.

V.        THE APPLICABLE STATUTES

                 The Controlled Substances Act

                  The Controlled Substances Act (“CSA”) and its implementing regulations govern

the manufacture, distribution, and dispensation of controlled substances in the United States. From

the outset, Congress recognized the importance of preventing the diversion and abuse of drugs from

legitimate to illegitimate uses. The CSA accordingly establishes a closed regulatory system under

which it is unlawful to manufacture, distribute, dispense, or possess any controlled substance

except in a manner authorized by the CSA. 21



20
  U.S. S. Homeland Sec. & Governmental Aff. Comm., Ranking Member’s Off., Fueling an
Epidemic: A Flood of 1.6 Billion Doses of Opioids into Missouri and the Need for Stronger DEA
Enforcement 4 (July 12, 2017).
21
     See 21 U.S.C. § 841(a).


                                                  17
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                  The CSA categorizes controlled substances in five “Schedules.”

                  Schedule II contains drugs with “a high potential for abuse” that “may lead to

severe psychological or physical dependence,” but nonetheless have “a currently accepted medical

use in treatment.” 22

                  Schedule III contains drugs in which, although the abuse potential is less than a

Schedule II drug, such abuse may lead to moderate “physical dependence or high psychological

dependence.” Schedule III drugs also have “a currently accepted medical use.” 23 Schedule IV

contains drugs that, although having a lower abuse potential than Schedule III drugs, still may lead

to a physical or psychological dependence when abused. 24

                  Schedule V contains drugs that, although having a lower abuse potential than

Schedule IV drugs, still may lead to a physical or psychological dependence when abused. 25

                  The CSA makes it “unlawful for any person knowingly or intentionally to

manufacture, distribute, or dispense, or possess with intent to manufacture, distribute, or dispense,

a controlled substance” except as specifically authorized. 26

                  Accordingly, the CSA requires those who manufacture, distribute, or dispense

controlled substances to obtain a registration from the DEA. 27 A registrant is only permitted to




22
     21 U.S.C. § 812(b)(2).
23
     21 U.S.C. § 812(b)(3).
24
     21 U.S.C. § 812(b)(4).
25
     21 U.S.C. § 812(b)(5).
26
     21 U.S.C. § 841(a)(1).
27
     21 U.S.C. § 822(a).



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dispense or distribute controlled substances “to the extent authorized by their registration and in

conformity with the [CSA].” 28

                  A pharmacy and its pharmacists also have a corresponding responsibility to ensure

the validity and medical necessity before filling a prescription. 29 An order purporting to be a

prescription issued not in the usual course of professional treatment or in legitimate and authorized

research is an invalid prescription within the meaning and intent of the CSA. 30 The pharmacy

knowingly filling such a purported prescription, as well as the person issuing it, shall be subject to

the penalties provided for violations of the provisions of law relating to controlled substances. 31

                  A pharmacist is required to exercise sound professional judgment when making a

determination about the legitimacy of a controlled substance prescription. Such a determination is

made before the prescription is dispensed. The law does not require a pharmacist to dispense a

prescription of doubtful, questionable, or suspicious origin. To the contrary, the pharmacist who

deliberately ignores a questionable prescription when there is reason to believe it was not issued

for a legitimate medical purpose may be prosecuted along with the issuing practitioner, for

knowingly and intentionally distributing controlled substances. Such action is a felony offense,

which may result in the loss of one’s business or professional license. 32




28
     21 U.S.C. § 822(b).
29
  United States Department of Justice, Drug Enforcement Administration Office of Diversion
Control, Pharmacist’s Manual: An Informational Outline of the Controlled Substances Act 29 (Rev.
2010).
30
     21 U.S.C. § 829.
31
  United States Department of Justice, Drug Enforcement Administration Office of Diversion
Control, Pharmacist’s Manual: An Informational Outline of the Controlled Substances Act 29 (Rev.
2010).
32
     See, e.g., U.S. v. Kershman, 555 F.2d 198 (8th Cir. 1977).



                                                  19
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                  At all times relevant to this Second Amended Complaint, Rite Aid had registered

its retail pharmacies with the DEA in Schedule II–V controlled substances.

                  Those DEA registrations authorize Rite Aid pharmacies to “dispense” controlled

substances, which “means to deliver a controlled substance to an ultimate user … by, or pursuant

to the lawful order of, a practitioner.” 33

                  Agents and employees of a registered manufacturer, distributor, or dispenser of

controlled substances, such as a pharmacist employed by a registered pharmacy like Rite Aid, are

not required to register with the DEA, “if such agent or employee is acting in the usual course of

his business or employment.” 34

                  Under the CSA, the lawful dispensing of controlled substances is governed by 28

U.S.C. § 829 and more specifically in Part 1306 of the CSA’s implementing regulations. 35

                  Unless dispensed directly by a non-pharmacist practitioner, no Schedule II

controlled substance may be dispensed without the written prescription of a practitioner, such as a

physician, except in an emergency. 36 Similarly, unless directly dispensed, no Schedule III or IV

controlled substance may be dispensed without a written or oral prescription from a practitioner.37

                  Such a prescription for a controlled substance may only be issued by an individual

who is (a) “authorized to prescribe controlled substances by the jurisdiction in which he is licensed

to practice his profession” and (b) registered with the DEA. 38



33
     21 U.S.C. §§ 823(f), 802(10).
34
     21 U.S.C. § 822(c)(1).
35
     See generally 21 C.F.R. § 1306.
36
     21 U.S.C. § 829(a).
37
     21 U.S.C. § 829(b).
38
     21 U.S.C. § 822; 21 C.F.R. § 1306.03.



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                  A prescription, whether written or oral, is legally valid under the CSA only if it is

issued for “a legitimate medical purpose by an individual practitioner acting in the usual course of

his professional practice.” 39 Moreover, “[a]n order purporting to be a prescription issued not in the

usual course of professional treatment … is not a prescription within the meaning and intent of [21

U.S.C. § 829] and the person knowingly filling such a purported prescription, as well as the

person issuing it, shall be subject to the penalties provided for violations of the provisions of law

relating to controlled substances.” 40 (emphasis added)

                  As a result, the “responsibility for the proper prescribing and dispensing of

controlled substances is upon the prescribing practitioner, but a corresponding responsibility rests

with the pharmacist who fills the prescription.” 41 Thus, under the corresponding responsibilities

of the CSA, a pharmacist may not fill a controlled substance prescription unless it has been issued

for a legitimate medical purpose.

                  Moreover, “[a] prescription for a controlled substance may only be filled by a

pharmacist, acting in the usual course of his professional practice and either registered

individually, or employed in a registered pharmacy….” 42 (emphasis added)

                  Pharmacists are therefore permitted to dispense a controlled substance in any given

instance if, but only if, such dispensing would be in accordance with a generally accepted, objective

standard of practice – i.e., “the usual course of his [or her] professional practice” of pharmacy. 43




39
     21 C.F.R. § 1306.04(a).
40
     Id. (emphasis added).
41
     Id.
42
     21 C.F.R. § 1306.06 (emphasis added).
43
     Id.



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                  Consequently, a pharmacist is required to refuse to fill a prescription if he or she

knows (or has reason to know) that the prescription was not written for a legitimate medical

purpose. 44

                  This requires a pharmacist to use sound professional judgment in determining the

legitimacy of a controlled substance prescription, which includes paying attention to the number

of prescriptions issued, the number of dosage units prescribed, the doctor writing the prescriptions,

and whether the drugs prescribed have a high rate of abuse. The pharmacist has a legal duty to

recognize “red flags” or warning signs that raise (or should raise) a reasonable suspicion that a

prescription for a controlled substance is not legitimate. The existence of such indicia obligates

the pharmacist to conduct a sufficient investigation to determine that the prescription is actually

legitimate before dispensing.

                 1.     Pharmacies Are Obligated Not to Fill Prescriptions Until Red Flags Are
                        Resolved

                  A pharmacy cannot ignore red flags indicative of diversion. On the contrary, “a

pharmacist is obligated to refuse to fill a prescription if he knows or has reason to know that the

prescription was not written for a legitimate medical purpose.” 45 “[W]hen prescriptions are clearly

not issued for legitimate medical purposes, a pharmacist may not intentionally close his eyes and

thereby avoid actual knowledge of the real purpose of the prescriptions.” 46 Thus, § 1306.064

requires “pharmacists [to] use common sense and professional judgment,” which includes paying




44
     See 21 C.F.R. §§ 1306.04, 1306.06.
45
  Medic-Aid Pharmacy, 55 Fed. Reg. 30,043, 30,044, 1990 WL 328750 (Dep’t of Justice July 24,
1990).
46
  East Main Street Pharmacy, Affirmance of Suspension Order, 75 Fed. Reg. 66149-01, 2010 WL
4218766 (Dep’t of Justice Oct. 27, 2010).



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attention to the “number of prescriptions issued, the number of dosage units prescribed, the

duration and pattern of the alleged treatment,” the number of doctors writing prescriptions and

whether the drugs prescribed have a high rate of abuse or diversion. 47 “When [pharmacists’]

suspicions are aroused as reasonable professionals,” they must at least verify the prescription's

propriety, and if not satisfied by the answer they must “refuse to dispense.” 48

                 Courts, too, have recognized the obligation not to dispense until red flags are

resolved. 49 In Medicine Shoppe-Jonesborough, the Sixth Circuit affirmed a pharmacy’s liability

for filling false or fraudulent prescriptions for controlled substances, concluding that the pharmacy

violated § 829 of the CSA and 21 C.F.R. § 1306.04. The Court held that “[t]he CSA forbids a

pharmacy to dispense a Schedule II, III, or IV controlled substance without a prescription, 21

U.S.C. § 829(a)-(b), which ‘must be issued for a legitimate medical purpose by an individual

practitioner acting in the usual course of his professional practice,’ 21 C.F.R. § 1306.04(a).” 50

Prescriptions that “involved excessive” quantities of drugs and “remedies outside the prescriber’s

ordinary area of practice” “should have raised red flags at Medicine Shoppe.” 51 “[B]y filling these



47
  Ralph J. Bertolino Pharmacy, Inc., 55 Fed. Reg. 4,729, 4,730, 1990 WL 352775 (Dep’t of Justice
Feb. 9, 1990).
48
  Id.; see also Townwood Pharmacy; 63 Fed Reg. 8,477, 1998 WL 64863 (Dep’t of Justice Feb.
19, 1998) (revocation of registration); Grider Drug 1 & Grider Drug 2, 77 Fed. Reg. 44070-01,
2012 WL 3027634 (Dep’t of Justice July 26, 2012) (decision and order); The Medicine Dropper;
76 Fed. Reg. 20,039, 2011 WL 1343276 (Dep’t of Justice April 11, 2011) (revocation of
registration); Medicine Shoppe-Jonesborough, 73 Fed. Reg. 364-01, 2008 WL 34619 (Dep’t of
Justice Jan. 2, 2008) (revocation of registration); Notice of United Prescriptions Services, Inc., 72
Fed. Reg. 50397- 01, 50407-8, 2007 WL 2455578 (Aug. 31, 2007) (revocation of registration).
49
  See Medicine Shoppe-Jonesborough v. Drug Enforcement Administration, 300 F. App’x 409 (6th
Cir. 2008); United States v. Henry, 727 F.2d 1373, 1378-79 (5th Cir.1984); Holiday CVS, L.L.C. v.
Holder, 839 F. Supp.2d 145 (D.D.C. 2012).
50
     Id. at 412 (emphasis added).
51
     Id.



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prescriptions anyway. . . the pharmacy not only violated its duties under federal (and state) law to

ensure that only proper prescriptions were filled but also put public health and safety at risk.” 52

                  The Court presiding over the federal multi-district litigation involving claims

against opioid manufactures, distributors, and dispensers (hereinafter “Opioids MDL”) recently

addressed this very issue. The Court unequivocally stated that “[t]here is no question that

dispensers of controlled substances are obligated to check for and conclusively resolve red flags

of possible diversion prior to dispensing those substances.” 53

                  In fact, the Opioids MDL Court found that the corporate parents of chain

pharmacies have an affirmative obligation under the CSA to “design and implement systems,

policies, or procedures to identify red flag prescriptions.” 54 The Court reasoned that chain

pharmacies “ cannot collect data as required by the statute, employ a licensed pharmacist as

required by the statute, identify red flags as required by Agency decisions, but then do nothing

with their collected data and leave their pharmacist-employees with the sole responsibility to

ensure only proper prescriptions are filled. Possessing, yet doing nothing with, information about

possible diversion would actually facilitate diversion, and thus violate the CSA's fundamental

mandate that ‘[a]ll applicants and registrants shall provide effective controls and procedures

to guard against theft and diversion of controlled substances.’” 21 C.F.R. § 1301.71(a)

(emphasis added).” 55




52
     Id.
53
  In Re: National Prescription Opiate Litigation, Opinion and Order (Case No. 17-md-2804) (Dkt.
3403) at 22.
54
     Id. at 25.
55
     Id.



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               2.      The Corporate Parent of Chain Pharmacies Is Responsible for the
                       Dispensing Practices in Its Stores

               The responsibility for dispensing is not limited to pharmacists, pharmacies, or

holders of DEA dispensing registrations. Rather, the corporate parent of a pharmacy may be

responsible for the dispensing practices of its pharmacies and pharmacists. 56 This is so regardless

of whether the parent is a registrant under the CSA or whether the parent is the entity or person

actually doing the dispensing.

               In short, case law discussed below holds that individuals or entities who have the

ultimate responsibility for the dispensing of controlled substances can be liable for violations of

the CSA, regardless of whether they are DEA registrants. To the extent that a corporate parent of

a chain pharmacy defendant exerts sufficient control over the pharmacy operations at its stores,

which the large chains likely do, these corporate parents can be held liable for dispensing

violations. Moreover, to the extent that the chain pharmacy defendants attempt to blame the

individual pharmacists themselves, cases hold that parent company liability can be imposed in

addition to any individual pharmacist’s liability.

               Courts routinely find that liability can attach to a broad array of persons or entities

under Section 842. In particular, courts reject two arguments for limiting liability under Section

842 and its regulations. First, courts find that Section 842 can impose liability on non-registrants.

Second, courts find that Section 1306.4 can be the basis for liability of pharmacy owners in

addition the pharmacists themselves. These holdings are based on the purpose and structure of the

CSA: those who have the ultimate responsibility for the controlled substances and ensuring


56
  See United States v. City Pharmacy, LLC, No. 3:16-CV-24, 2016 WL 9045859, (N.D. W.Va.
Dec. 19, 2016); United States v. Stidham, 938 F. Supp. 808, 814 (S.D.Ala.1996); United States v.
Poulin, 926 F. Supp. 246, 250, 253 (D. Mass.1996); United States v. Robinson, No. 12-20319-CIV,
2012 WL 3984786, at *6 (S.D. Fla. Sept. 11, 2012).


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compliance with the CSA should be held liable for violations, regardless of whether they are

registered with the DEA.

               The Court in the Opioids MDL firmly rejected many of the arguments against

holding corporate parents of chain pharmacies responsible for the dispensing at individual stores.57

               3.      The CSA Applies to All Persons Who Dispense Controlled Substances

               Courts have found that because the plain language of Section 842 extends its

requirements to “all persons,” registrants and non-registrants alike are responsible for complying

with the law. 58 Importantly, in those cases, the courts found that because the pharmacy owners,

who were not registrants, essentially operated the facilities on a day-to-day basis, they were not

exempted from the requirements of Section 842. 59

               At least one court has explicitly held that a non-registrant pharmacy owner can be

held liable for dispensing controlled substances without valid prescriptions. In USA v. City

Pharmacy, the court found that the owner of the pharmacy could be held liable in his personal

capacity for violations of Section 842(a)(1) even though he was not a registrant and the pharmacies




57
 See generally In Re: National Prescription Opiate Litigation, Opinion and Order (Case No. 17-
md-2804) (Dkt. 3403)
58
   See United States v. Blanton, 730 F.2d 1425, 1434 (11th Cir. 1984) (Section 842(a)(5) applied to
a physician who was not properly registered with the DEA); United States v. Clinical Leasing Serv.,
Inc., 759 F. Supp. 310, 313–14 (E.D. La. 1990), aff'd, 925 F.2d 120 (5th Cir. 1991) (“Had Congress
intended to limit the applicability of § 842(a)(5) to registrants only, it would have done so”); United
States v. Stidham, 938 F. Supp. 808, 814 (S.D. Ala. 1996); United States v. Poulin, 926 F. Supp.
246, 250, 253 (D. Mass. 1996).
59
   Stidman, 938 F. Supp. at 809, 814 (the owner of a clinic, who was not a registrant, could be liable
because he “shouldered [the] responsibility [to provide a system for the control of drug traffic and
to prevent the abuse of drugs] and derived the benefits and profits from operating a methadone
clinic.”); Poulin, 926 F. Supp. at 249, 253 (“Although Mattapoisett Pharmacy, Inc. was listed as the
registrant, the statute specifically makes the stated obligations to produce required records
applicable to all persons, not simply to registrants.”).



                                                 26
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he owned were separately incorporated. 60 The United States brought an action alleging that City

Pharmacy LLC and City Pharmacy of Charles Town, Inc. violated Section 842(a)(1) by filling

illegitimate prescriptions for controlled substances that raised one or more red flags, such as

customers traveling long distances or customer receiving drug cocktails. 61

                  The Court held that Section “842(a)(1) applies to non-registrants.” 62 The Court

continued, explaining that “because part C of the CSA applies broadly to all persons involved in

the manufacture, distribution, and dispensing of controlled substances, including lay-persons,

defendant Lewis may potentially be held liable for his conduct.” 63 To support its conclusion, the

Court concentrated on Defendant Lewis’ involvement with the pharmacies at issue, looking

specifically at his investment of the funds to organize and open the pharmacy, the active role he

played in the management of the pharmacies, including overseeing the finances of the pharmacies,

managing personnel, and delivering prescriptions to customers.

                  The City Pharmacy Court also found that the individual defendant could not use

the pharmacies’ separate incorporation to shield himself from CSA liability. Evaluating various

legal mechanisms for piercing the corporate form, the court concluded that the pharmacies “were

being used to evade the legal requirements within and undermine the public policy foundations of

the CSA.” 64 Thus, the Court held, “given the nature of these criminally-grounded allegations, it is




60
  United States v. City Pharmacy, LLC, No. 3:16-CV-24, 2016 WL 9045859, (N.D. W.Va. Dec.
19, 2016).
61
     Id. at *2.
62
   Id. at *2 (citing United States v. Moore, 423 U.S. 122, 134 n.11 (1975) and United States v.
Stidham, 938 F. Supp. 808, 813-814 (S.D. Ala. 1996)).
63
     Id.
64
     Id. at *4.



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not a defense to liability in this case for defendant Lewis to assert that he is shielded by the

corporate form. [The pharmacies] were allegedly the entities used to evade and subvert the

requirements of the CSA.” 65

               Just like the defendant in City Pharmacy, Rite Aid invests the funds to organize and

open its numerous pharmacies and plays a very active role in the management of its pharmacies

including overseeing the finances of the pharmacies, managing personnel, and delivering

prescriptions to customers.

               4.      Rite Aid Cannot Escape Liability for Its Corporate Malfeasance by
                       Blaming Its Pharmacists

               In addition to finding that individuals or entities who own and control pharmacies

can be liable for CSA violations, irrespective of their DEA registration status, the case law also

makes it clear that pharmacies cannot escape liability under the CSA by simply blaming the

pharmacists who work for them. Even though the “corresponding responsibility” of pharmacists

is discussed in terms of what a pharmacist – not a pharmacy – must do, courts have found that a

narrow reading of the language to insulate pharmacies from liability is not supported by the


65
   Id.; see also Poulin, 926 F. Supp. at 249 (“Mattapoisett Pharmacy, Inc. is also the alter ego of its
sole owner, David Poulin, and thus David Poulin cannot use the corporate name to shield himself
from personal liability.”); S & S Pharmacy; 46 Fed. Reg. 13051-52 (Dep’t of Justice Feb. 19, 1981)
(“[T]he Administrator has in the past looked behind the corporate-veil to revoke or deny a
registration when a responsible official of a corporate registrant has been convicted of violating the
laws relating to controlled substances.”); United States v. Robinson, No. 12-20319-CIV, 2012 WL
3984786, (S.D. Fla. Sept. 11, 2012), (finding a non-registrant owner of a pharmacy could be held
liable for violations of Section 842 because the defendant was “alleged to have had responsibility
over the controlled substances” and holding that “[w]here corporate officers have been in a position
to prevent or correct the violations at issue, courts have found that there is individual liability under
the [Section 842], which plainly applies to all ‘persons.’”); United States v. Ahmad, No. 4:15CV-
181-JM, 2016 WL 11645908, at *3 (E.D. Ark. May 2, 2016), aff'd sub nom. United States v. United
Pain Care, Ltd., 747 F. App’x 439 (8th Cir. 2019) (an owner receiving the “benefits and profit” of
a pharmacy, but who was not a registrant or a medical professional, can be liable for violations of
the CSA because he was still “responsible for making sure that [CSA] requirements were met.”).



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language or structure of the regulations. In fact, one Court has called such a reading “deeply

troubling.” 66

                 In United States v. Appalachian Reg’l Healthcare, Inc., 246 F. Supp. 3d 1184, 1186

(E.D. Ky. 2017), the Court looked at the regulations regarding dispensing under Section 842 and

found that the pharmacy owner could be held personally liable for dispensing violations.

                 Defendant Appalachian Regional Healthcare (“ARH”) unsuccessfully argued that

it could not be held liable as a corporate pharmacy under Section 842(a)(1) because its

implementing regulations, namely 21 C.F.R. § 1306.04, articulated the duties under that section in

terms of the “pharmacist” or “practitioner,” not the corporate pharmacy entity. 67 The court rejected

ARH’s narrow, technical reading, instead holding that “when § 1306.04(a) states that the person

knowingly filling the prescription is subject to penalties, it contemplates liability for corporate

entities as well.” 68   The court continued, finding that there is “nothing inconsistent about

articulating the responsibilities of individual practitioners and pharmacists while simultaneously

indicating that other entities may be subject to penalties for their role in issuing and filling invalid

prescriptions.” 69




66
  In Re: National Prescription Opiate Litigation, Opinion and Order (Case No. 17-md-2804) (Dkt.
3403) at 13.
67
  See, e.g, § 1306.4(a) (“The responsibility for the proper prescribing and dispensing of controlled
substances is upon the prescribing practitioner, but a corresponding responsibility rests with the
pharmacist who fills the prescription.”).
68
     United States v. Appalachian Reg’l Healthcare, Inc., 246 F. Supp. 3d at 1189.
69
   Id. at 1189-1190; see also Moore v. Covenant Care Ohio, Inc., 18 N.E.3d 1260, 1270 (Oh. App.
2014) (a corporate pharmacy whose subsidiary voluntarily undertook to provide pharmaceutical
services to a nursing home owed a duty to exercise reasonable care in providing such services and
also owed a common law duty to exercise reasonable care in dispensing and labeling of medicines).



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                   Likewise, other federal courts have found pharmacies and other DEA registrants

liable for violations of the CSA and CSA Regulations. 70 For example, in Medicine Shoppe-

Jonesborough v. Drug Enforcement Administration, 300 F. App’x 409 (6th Cir. 2008), the Sixth

Circuit affirmed a pharmacy’s liability for filling false or fraudulent prescriptions for controlled

substances, concluding that the pharmacy violated Section 829 of the CSA and Section 1306.04

of the CSA Regulations.

                   Specifically, the Court held that “[t]he CSA forbids a pharmacy to dispense a

Schedule II, III, or IV controlled substance without a prescription, 21 U.S.C. § 829(a)-(b), which

‘must be issued for a legitimate medical purpose by an individual practitioner acting in the usual

course of his professional practice,’ 21 C.F.R. § 1306.04(a).” 71 “Medicine Shoppe fell asleep at

the wheel in honoring prescriptions no reasonable pharmacist would fill without further inquiry.” 72

Prescriptions that “involved excessive” quantities of drugs and “remedies outside the prescriber’s

ordinary area of practice” “should have raised red flags at Medicine Shoppe.” 73 “[B]y filling these


70
   See United States v. Green Drugs, 905 F.2d 694, 694-5 (3rd Cir. 1990) (affirming retail pharmacy
liability for violating Section 842(a)); United States v. Clinical Leasing Serv., Inc., 925 F.2d 120,
122-3 (5th Cir. 1991) (affirming liability under Section 842(a) for corporate operator of clinic that
illegally distributed controlled substances); United States v. Cap Quality Care, Inc., 486 F. Supp.
2d 47, 54 (D. Maine 2007) (granting summary judgment to the United States on claims that DEA
registrant clinic improperly dispensed controlled substances in violation of Sections 829 and 842);
United States v. Grab Bag Distrib., 189 F. Supp. 2d 1072, 1082 (E.D. Cal. 2002) (granting summary
judgment to the United States on liability); United States v. Little, 59 F. Supp. 2d 177, 186-8 (D.
Mass. 1999) (granting summary judgment to Government for pharmacy’s violations of § 842(a)
and concluding “a pharmacy empowered to dispense controlled substances will now be held liable
. . . if it knew or should have known about an illegal diversion, or inaccurate records, and chose to
do nothing”); Poulin, 926 F. Supp. at 252-3 (holding pharmacy liable for “filling a total of six
invalid prescriptions”); United States v. Queen Village Pharm., No. 89-2778, 1990 WL 165907,
*2-4 (E.D. Pa. Oct. 25, 1990) (finding retail pharmacy liable for violating Section 842(a)).
71
     Id. at 412 (emphasis added).
72
     Id. at 413.
73
     Id.



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prescriptions anyway . . . the pharmacy not only violated its duties under federal (and state) law to

ensure that only proper prescriptions were filled but also put public health and safety at risk.”74

The Sixth Circuit made no distinction between the pharmacy and the pharmacists employed there

when determining liability. 75

               The Opioids MDL also “firmly rejected” the argument that only individual

pharmacists could be held liable for illegal dispensing: “The Court concludes that the Pharmacy

Defendants have not shown that the sole responsibility for their dispensing practices rests with

their pharmacist-employees. Rather, the CSA makes clear that any person, which includes the

pharmacy itself, who knowingly fills or allows to be an illegitimate prescription is in violation of

the [Controlled Substances] Act.” 76

               These decisions make clear that the dispensing obligations under the CSA are not

imposed solely on pharmacists, but on pharmacies and their corporate owners. For this reason, the

chain pharmacy parent corporations like Rite Aid had a responsibility under the CSA not to

dispense opioids in the face of unresolved red flags about the legitimacy of the prescriptions.

               5.      The Purpose and Intent of the CSA Bolsters Finding Liability of Rite
                       Aid Corporate Parent

               The logic of the above authority is consistent with the purpose and intent of the

CSA. The Supreme Court has explained that with the CSA “Congress was particularly concerned



74
     Id.
75
   See also Jones Total Health Care Pharmacy LLC and SND Health Care LLC v. Drug
Enforcement Administration, 881 F.3d 823, 835 (11th Cir. 2018) (affirming revocation of pharmacy
registration for, among other things, pharmacists dispensing prescriptions that prescriptions
presented various red flags, i.e., indicia that the prescriptions were not issued for a legitimate
medical purpose without resolving red flags).
76
  In Re: National Prescription Opiate Litigation, Opinion and Order (Case No. 17-md-2804) (Dkt.
3403) at 21.



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with the diversion of drugs from legitimate channels to illegitimate channels.” 77 So, to address this

concern, courts do not want defendants using the DEA registration process and requirements (i.e.,

the structure of the legitimate channels) to shield those responsible from liability. As one court put

it, “[t]o accept [defendant’s] argument that the Act does not apply to her [because she was not a

registrant], even though she was responsible for the drugs, would eviscerate the goal of ensuring

the movement of drugs is closely controlled.” 78 “The legislative history [of the CSA] indicates that

Congress was concerned with the nature of the drug transaction, rather than with the status of the

defendant.” 79

                  The DEA made a similar finding in Holiday CVS, L.L.C., d/b/a CVS/Pharmacy Nos.

219 and 5195 Decision and Order. 80 The Administrative Law Judge rejected CVS’s argument that

the corporate parent of a chain pharmacy was not responsible for the actions of its pharmacies. In

its analysis of whether or not CVS took responsibility for its actions, the ALJ held that:

           [T]he Agency’s rule is clear and the fact that CVS is a large corporation provides
           no reason to excuse it from explicitly acknowledging the misconduct of
           Respondents and their pharmacists. Therefore, I decline to create one rule for chain
           pharmacies and another rule for closely held or sole proprietor owned pharmacies.
           Because Respondents have failed to satisfy this requirement, the ALJ properly held
           that they have not accepted responsibility for their misconduct. 81

                  At its most fundamental level, the purpose of the CSA and CSA regulations is to

create a closed system for delivery of controlled substances and prevent the distribution of

controlled substances outside of that system. To allow the entity that fully controls the operations




77
     United States v. Moore, 423 U.S. 122, 135 (1975).
78
     Robinson, 2012 WL 3984786 at *7.
79
     United States v. Moore, 423 U.S. at 134.
80
     77 Fed. Reg. 62316-01, 62321-2; 2012 WL 4832770 (D.E.A. Oct. 12, 2012).
81
     Id.


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of the registrants (such as the corporate parent of a chain pharmacy like Rite Aid) to escape

responsibility because of corporate structure thus would defeat the purpose and intent of the CSA.

                As the Opioids MDL Court held: “[T]he Pharmacy Defendants’ ultimate argument

– that they cannot be liable to Plaintiffs because only their pharmacist-employees are responsible

for preventing diversion of opioids via illegitimate prescriptions – is premised upon a tortured

reading of the CSA and its regulations. Because Defendants’ reading of the CSA is antithetical to

its very purpose, the Court rejects [Pharmacy] Defendants’ positions.” 82

                Consequently, the dispensing of controlled substances when faced with warning

signals, without first ensuring that the prescription was issued for a legitimate purpose by a

practitioner acting in the usual course of professional practice, violates both 21 U.S.C. § 842(a)

(prohibiting distributing or dispensing in violation of the prescription provisions of 21 U.S.C. §

829) because doing so violated the pharmacist’s corresponding responsibility to ensure the

legitimacy of the prescription (21 C.F.R. § 1306.04) and 21 U.S.C. § 841(a) (prohibiting

dispensing except as authorized by the CSA) because the prescription was filled outside of the

pharmacist’s usual course of professional practice (21 C.F.R. § 1306.06).

                The False Claims Act (“FCA”)

                  The FCA prohibits “knowingly” presenting or causing to be presented to the

United States any false or fraudulent claim for payment or approval. 83




82
  In Re: National Prescription Opiate Litigation, Opinion and Order (Case No. 17-md-2804) (Dkt.
3403) at 25.
83
     31 U.S.C § 3729(a)(1)(A).



                                                33
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                  The FCA prohibits “knowingly” making, using, or causing to be used or made, a

false record or statement material to a false or fraudulent claim. 84

                  The FCA further imposes liability upon any person who conspires to commit a

violation of the FCA. 85

                  The FCA defines a “claim” to include any request or demand, whether under a

contract or otherwise, for money or property which is made to a contractor, grantee, or other

recipient if the United States Government provides any portion of the money or property which is

requested or demanded, or if the Government will reimburse such contractor, grantee, or other

recipient. Any claim submitted by a Government Program provider for a payment constitutes a

claim under the FCA. Any claim submitted by a provider for payment by a federal insurance plan,

such as Tricare, is also a “claim” for purposes of the FCA.

                  Under the FCA, a “claim” is defined broadly to include any request or demand for

money that is presented to the United States, or is made to a contractor, grantee, or other recipient,

if the money is to be spent or used on the Government’s behalf or to advance a Government

program or interest. 86

                  In the Medicare Part D context, the claim is the Prescription Drug Event (PDE)

that is sent by the dispensing pharmacy to a Part D plan sponsor or Pharmacy Benefit Manager

(“PBM”), and then forwarded to CMS as part of the payment process.

                  The Part D statute provides that drugs may only be reimbursed under the program

if the drug is a “covered outpatient drug.” Consequently, one of the elements of the PDE is to




84
     31 U.S.C § 3729(a)(1)(B).
85
     31 U.S.C § 3729(a)(1)(C).
86
     31 U.S.C. § 3729(b)(2).


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designate whether a dispensed drug is a covered outpatient drug. Covered outpatient drugs must

be dispensed pursuant to a valid prescription. Under the CSA and many parallel state laws, a

prescription must satisfy a number of requirements. For example, the prescriber must be authorized

to prescribe controlled substances in the jurisdiction in which he or she is licensed to practice, and

must be either registered with DEA or exempt from registration. 87 Perhaps most significantly, in

order to be valid, a prescription must be issued “for a legitimate medical purpose by an individual

practitioner acting in the usual course of his professional practice.” 88 This requirement “ensures

that patients use controlled substances under the supervision of a doctor so as to prevent addiction

and recreational abuse. 89 It also “bars doctors from peddling to patients who crave the drugs for

those prohibited uses.” 90 Violation of any one of the above requirements potentially satisfies the

FCA falsity requirement.

                  The FCA provides that a person is liable to the United States Government for three

times the amount of damages that the Government sustains because of the act of that person, plus

a civil penalty of $5,500 to $11,000 per violation for violations that occurred before November 2,

2015 and, for violations that occurred after that date, a civil penalty of between $11,181 and

$22,363. 91

                  Relevant here, Department of Justice counsel have argued that the “combining the

CSA and FCA enforcement schemes can be an effective tool to address violations of the CSA that




87
     21 C.F.R. § 1306.03(a).
88
     21 C.F.R. § 1306.04(a).
89
     Gonzales v. Oregon, 546 U.S. 243, 274 (2006).
90
     Id.
91
     31 U.S.C. § 3729(a)(1); 28 C.F.R. § 85.5.



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may lead to diversion of narcotics and Part D fraud,” 92 particularly in combatting the “twin evils

of opioid addiction” and Government Program fraud. 93

                   Opioid Coverage and Use by Government Program Beneficiaries

                    There is an array of health care programs operated and funded by the United States

and the Qui Tam States (the “Government Programs”) whose purpose is to facilitate the delivery

of safe and effective health care through payment or reimbursement of eligible prescription drugs

for covered beneficiaries. Several of these Government Programs are described below.

                    One method for preventing the over-prescribing of potentially harmful opioids is

to pursue those who cause the submission of false or fraudulent claims for payment for those drugs

under Medicare Part D, Medicaid, and other federal programs. The treble damages and civil

penalties awardable under the FCA can provide a powerful incentive for physicians and others to

avoid prescribing and dispensing these substances for indications that are not supported by the

approved drug compendia. 94

                   1.     Medicare and Medicaid Coverage Limits for Medically Unnecessary
                          Opioid Medications

                    Medicare coverage for opioid medications is provided in Part D, the prescription

drug benefit program available to Medicare recipients who voluntarily enroll. 42 U.S.C. §§ 1395w-

102 (2010). To participate in Part D, beneficiaries must enroll in a Part D Plan of their choice. The

beneficiary pays premiums to the Plan’s sponsor, which is a private entity approved by the Centers




92
  Edward A. Baker, Stacy Gerber Ward, Pursuing False Claims Act Liability for Controlled
Substances Act Violations, 64 United States Attorneys’ Bulletin 101, 113 (Nov. 2016).
93
     Id. at 102.
94
  Roger Wenthe, Fighting Opioid Abuse Under Federal Health Programs With the False Claims
Act, 64 United States Attorneys’ Bulletin 93, 100 (Nov. 2016).



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for Medicare and Medicaid Services (CMS). Coverage in the Plan includes deductibles,

copayments, and benefit caps. The beneficiary fills the prescription at a pharmacy, which submits

a claim to the Plan sponsor, and the sponsor pays the pharmacy directly or through a subcontractor.

CMS reimburses the sponsor for varying portions of the prescription costs. 95

                  To be a “covered Part D drug,” a drug must be: (1) dispensable only by

prescription; (2) one of the three types of “covered outpatient drug” defined in 42 U.S.C. § 1396r-

8(k)(2)(A) (2016); and (3) used for a “medically accepted indication.” 96

                  The most important of these three requirements for present purposes is the third,

that the drug be used for a medically accepted indication. The statute and the regulation define this

term by incorporating the Medicaid definition in 42 U.S.C. §§ 1396r-8(k)(6) (2016). 97

                  The definition is: “The term ‘medically accepted indication’ means any use for a

covered outpatient drug which is approved under the Federal Food, Drug, and Cosmetic Act [21

U.S.C.A. § 301 et seq.] or the use of which is supported by one or more citations included or

approved for inclusion in any of the compendia described in subsection (g)(1)(B)(i) of this

section.” 98 The compendia referred to are “(I) American Hospital Formulary Service Drug

Information; (II) United States Pharmacopeia-Drug Information (or its successor publications);

and (III) the DRUGDEX Information System.” 99




95
     See Omnicare, Inc. v. UnitedHealth Group, Inc., 594 F.Supp.2d 945, 948-49 (N.D. Ill. 2009).
96
     42 U.S.C. §§ 1395w-102(e)(1) (2010).
97
     See 42 U.S.C. §§ 1395w-102(e)(4)(A)(ii)(2010); 42 CFR § 423.100 (2016).
98
     42 U.S.C. §§ 1396r-8(k)(6) (2016).
99
     42 U.S.C. §§ 1396r-8(g)(1)(B)(i).



                                                 37
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                  The Medicare manuals provide additional guidance on Part D drug coverage. The

MEDICARE PRESCRIPTION DRUG BENEFIT MANUAL, Ch. 6, § 10.6 (Rev. 18, Jan. 15,

2016), states that a medically accepted indication “refers to the diagnosis or condition for which a

drug is being prescribed, not the dose being prescribed for such indication.” 100

                  Therefore, Part D and Medicaid cover only prescription drugs used for a

“medically accepted indication,” which means used either for an indication approved on the Food

and Drug Administration (FDA) label, or for an “off-label” indication which is “supported” by one

of the approved compendia. If a drug is prescribed outside of these limitations, it is not a “covered

Part D drug,” and a claim for payment based on the prescription is a false claim.

                 2.     Medicaid Beneficiary Opioid Use and Abuse

                  Medicaid is a public assistance program providing for payment of medical

expenses for approximately 55 million low-income patients. Funding for Medicaid is shared

between the federal Government and state governments.

                  While Medicaid undoubtedly helps many deserving recipients, it also creates a

series of incentives for potential abuse of opioids, which are rooted in federal law itself. Patients

on Medicaid typically “pay no part of costs for covered medical expenses,” other than perhaps a

small co-payment. 101 Federal law requires that Medicaid co-payments and other “cost-sharing”

borne by Medicaid recipients at lower income levels be nominal. CMS has determined that states

could charge those on Medicaid no more than $4 for certain classes of drugs. 102 For dangerous



100
      Id.
101
    U.S. Dep’t of Health & Hum. Servs., Frequently Asked Questions: What is the Difference
Between Medicare and Medicaid?, https://www.hhs.gov/answers/medicare-and-medicaid/what-is-
the-difference-between-medicare-medicaid/index.html.
102
      See Final Rule, Medicaid and Children’s Health Insurance Programs: Essential Health Benefits



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opioids such as oxycodone, Medicaid co-pays can run as low as $1 for as many as 240 pills—pills

that can be sold for up to $4,000 on the street.

                 As one longtime local prosecutor in opioid-ravaged eastern Kentucky recounted

in DREAMLAND: THE TRUE TALE OF AMERICA’S OPIATE EPIDEMIC: “We can talk morality all day

long, but if you’re drawing five hundred dollars a month and you have a Medicaid card that allows

you to get a monthly supply of pills worth several thousand dollars, you’re going to sell your

pills.” 103

                 Although Medicaid is administered on a state-by-state basis, the state programs

adhere to federal guidelines. Federal statutes and regulations restrict the drugs and drug uses that

the federal Government will pay for through its funding of state Medicaid programs. Federal

reimbursement for prescription drugs under the Medicaid program is limited to “covered outpatient

drugs.” Covered outpatient drugs are drugs that are used for “a medically accepted indication.”

                3.     Medicare Beneficiary Opioid Use and Abuse

                 Medicare is a public health care program that provides coverage for Americans

over the age of 65, as well as other persons with certain disabilities and diseases. The program is

administered by third-party contractors known as “carriers,” which have some discretion to make

coverage determinations, but must do so within statutory and regulatory confines.

                 Starting in January 2006, Part D of the Medicare Program provided subsidized

coverage for pharmacy-dispensed outpatient drugs for all beneficiaries, with low-income




in Alternative Benefit Plans, Eligibility Notices, Fair Hearing and Appeal Processes, and Premiums
and Cost Sharing; Exchanges: Eligibility and Eligibility and Enrollment, 78 Fed. Reg. 42159-42322
(July 15, 2013) (codified in scattered pts. of 42 C.F.R.), https://www.gpo.gov/fdsys/pkg/FR-2013-
07-15/html/2013-16271.htm.
103
      Sam Quinones, DREAM LAND: THE TRUE TALE OF AMERICA’S OPIATE EPIDEMIC 211 (2015).


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individuals receiving the greatest subsidies. However, a “covered Part D drug” must be used for

a “medically accepted indication.”

                 Medicare’s Prescription Drug Program, known as Part D, provides optional drug

benefits to Medicare beneficiaries. CMS contracts with private insurance companies, called

sponsors, to provide Part D prescription drug coverage to beneficiaries who choose to enroll.

Sponsors offer drug coverage to beneficiaries through Part D prescription drug plans. These Part

D programs are subsidized by the federal Government, which covers the cost of drug payments.

                 In 2016, one out of every three beneficiaries received at least one prescription

opioid through Medicare Part D. In total, 14.4 million of the 43.6 million beneficiaries enrolled in

Medicare Part D received opioids. Medicare Part D paid almost $4.1 billion for 79.4 million opioid

prescriptions for these beneficiaries. The vast majority of these opioids (80 percent) were Schedule

II or III controlled substances, meaning they have the highest potential for abuse among legally

available drugs. 104

                 Several states had higher proportions of beneficiaries receiving opioids than the

United States overall, which was 33 percent. Alabama and Mississippi had the highest proportions,

with almost half of the State’s Part D beneficiaries receiving at least one opioid—46 percent and

45 percent, respectively. Arkansas had 44 percent of beneficiaries receiving opioids, while

Oklahoma, Tennessee, and Louisiana each had 42 percent. 105




104
   Dept. of Health & Human Services OIG, Opioids in Medicare Part D: Concerns about Extreme
Use and Questionable Prescribing, 2 (July 2017), HHS OIG Data Brief OEI-20-17-00250,
https://oig.hhs.gov/oei/reports/oei-02-17-00250.pdf.
105
      Id.



                                                40
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                In addition, 1 in 10 Medicare Part D beneficiaries nationwide received opioids on

a regular basis. Specifically, 5 million beneficiaries received opioids for 3 months or more in 2016.

Research shows that the risk of opioid dependence increases substantially for patients receiving

opioids continuously for 3 months. Of these 5 million beneficiaries, 3.6 million received opioids

for 6 or more months and nearly 610,000 received opioids for the entire year. 106

                A total of 501,008 beneficiaries received high amounts of opioids through

Medicare Part D in 2016. This does not include beneficiaries who had cancer or were in hospice

care. Each of the 501,008 beneficiaries received an average morphine equivalent dose (MED) of

greater than 120 mg a day for at least 3 months. MED is a measure that equates all the various

opioids and strengths into one standard value. A daily MED of 120 mg is equivalent to taking 12

tablets a day of Vicodin 10 mg or 16 tablets a day of Percocet 5 mg. These dosages far exceed the

amounts that the manufacturers recommend for both of these drugs. They also exceed the 90 mg

MED level that CDC recommends avoiding for patients with chronic pain. 107

                As the statistics make clear, there is a real problem with inappropriate opioid

prescriptions being filled by Medicare patients. Pharmacies should not be dispensing most, if not

all, of the prescriptions that are clearly for excessive amounts of opioids or for patients who have

been doctor shopping. However, pharmacies like Rite Aid have failed to do this and instead chose

to bill Medicare for those medically unnecessary prescriptions.

               4.      Opioid Coverage under TRICARE

                Drug coverage under the TRICARE program differs from that under Medicare

and Medicaid. TRICARE’s regulations provide that TRICARE “will consider coverage of off-



106
      Id.
107
      Id.


                                                 41
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label uses of drugs and devices that meet the definition of Off–Label Use of a Drug or Device in

32 C.F.R. § 199.2(b). Approval for reimbursement of off-label uses requires review for medical

necessity and also requires demonstrations from medical literature, national organizations, or

technology assessment bodies that the off-label use of the drug or device is safe, effective, and in

accordance with nationally accepted standards of practice in the medical community.” 108 The

definition of Off-Label Use in 32 C.F.R. § 199.2(b) (2016), referred to in the quote above,

essentially includes any use not approved on a drug’s label.

                 5.       Opioid Coverage under FEHB

                      The drug coverage provided under the Federal Employee Health Benefit Plan

(FEHB) is also different from that provided by Medicare and Medicaid. No law or regulation

defines when a drug is “medically necessary” for FEHB purposes. Instead, that coverage is spelled

out by the plan document applicable to each private plan that administers FEHB coverage for its

members.

                 6.       Reimbursement under Other Government Programs

                  In addition to Medicaid, Medicare, TRICARE and FEHB, at all times material

hereto, the States have offered their employees, retirees and their beneficiaries and survivors health

insurance coverage, including coverage for prescription opioid drugs.

                 Federal Guidance and State Law Governing Pharmacy Dispensing of
                 Opioids

                  The CDC has published guidelines regarding the proper use of opioids. 109 The

guidelines explicitly state that “Opioid pain medication use presents serious risks, including


108
      32 CFR § 199.4(g)(15)(i)(A), Note 3 (2016).
109
  U.S. Centers for Disease Control, CDC Guideline for Prescribing Opioids for Chronic Pain —
United States, 2016, 65 Morb. & Mort. Wkly. Rep. (March 18, 2016),



                                                 42
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overdose and opioid use disorder.” 110 Furthermore, “[s]ales of opioid pain medication have

increased in parallel with opioid-related overdose deaths.” 111

                The CDC guidelines, and many state laws, rely on Morphine Milligram

Equivalents (“MME”). As the name suggests, MME is an opioid’s dosage’s equivalency to

morphine. Using MME is useful because it provides a constant metric to compare opioids of

varying types, strengths, and delivery methods. This is particularly useful for patients who may be

using a combination of different opioid products or have changed products over time.

                The CDC has a conversion chart of the most common opioids in mg to MMEs.112

So, for example, 10 tablets of hydrocodone/acetaminophen 5mg/300mg would equal 50 MME (10

tablets x 5mg of hydrocodone x 1 hydrocodone oxycodone conversion factor = 50 MME). 2 tablets

of oxycodone 30mg would equal 90 MME (2 tablets x 30mg of oxycodone x 1.5 oxycodone

conversion factor = 90 MME). 113

                The CDC has determined that in “[h]aving a history of a prescription for an opioid

pain medication increases the risk for overdose and opioid use disorder, highlighting the value of

guidance on safer prescribing practices for clinicians. For example, a recent study of patients aged

15–64 years receiving opioids for chronic non-cancer pain and followed for up to 13 years revealed

that one in 550 patients died from opioid-related overdose at a median of 2.6 years from their first


https://www.cdc.gov/mmwr/volumes/65/rr/pdfs/rr6501e1.pdf.
110
      Id.
111
      Id.
112
      Opioid Oral Morphine Milligram Equivalent (MME) Conversion Factors,
https://www.cms.gov/Medicare/Prescription-Drug-
Coverage/PrescriptionDrugCovContra/Downloads/Opioid-Morphine-EQ-Conversion-Factors-
Aug-2017.pdf.
113
    U.S. Centers for Disease Control, Calculating Total Daily Dose of Opioids for Safer Dosage,
https://www.cdc.gov/drugoverdose/pdf/calculating_total_daily_dose-a.pdf.



                                                 43
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opioid prescription, and one in 32 patients who escalated to opioid dosages >200 morphine

milligram equivalents (MME) died from opioid-related overdose.” 114

                In addition, the CDC found that “opioid-related overdose risk is dose-dependent,

with higher opioid dosages associated with increased overdose risk. [Four studies] evaluated

similar MME/day dose ranges for association with overdose risk. In these four studies, compared

with opioids prescribed at <20 MME/day, the odds of overdose among patients prescribed opioids

for chronic non-malignant pain were between 1.3 and 1.9 for dosages of 20 to <50 MME/day,

between 1.9 and 4.6 for dosages of 50 to <100 MME/day, and between 2.0 and 8.9 for dosages of

≥100 MME/day. Compared with dosages of 1-<20 MME/day, absolute risk difference

approximation for 50-<100 MME/day was 0.15% for fatal overdose and 1.40% for any overdose,

and for ≥100 MME/day was 0.25% for fatal overdose and 4.04% for any overdose.” 115

                “A recent study of Veterans Health Administration patients with chronic pain

found that patients who died of overdoses related to opioids were prescribed higher opioid dosages

(mean: 98 MME/day; median: 60 MME/day) than controls (mean: 48 MME/day, median: 25

MME/day). Finally, another recent study of overdose deaths among state residents with and

without opioid prescriptions revealed that prescription opioid-related overdose mortality rates rose

rapidly up to prescribed doses of 200 MME/day, after which the mortality rates continued to

increase but grew more gradually.” 116




114
   U.S. Centers for Disease Control, CDC Guideline for Prescribing Opioids for Chronic Pain —
United States, 2016, 65 Morb. & Mort. Wkly. Rep. (March 18, 2016),
https://www.cdc.gov/mmwr/volumes/65/rr/pdfs/rr6501e1.pdf.
115
      Id.
116
      Id.


                                                44
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                Furthermore,    “epidemiologic        studies   suggest   that   concurrent   use   of

benzodiazepines and opioids might put patients at greater risk for potentially fatal overdose. Three

studies of fatal overdose deaths found evidence of concurrent benzodiazepine use in 31%–61% of

decedents. In one of these studies, among decedents who received an opioid prescription, those

whose deaths were related to opioids were more likely to have obtained opioids from multiple

physicians and pharmacies than decedents whose deaths were not related to opioids.” 117

                 “[M]ost fatal overdoses could be identified retrospectively on the basis of two

pieces of information, multiple prescribers and high total daily opioid dosage, both important risk

factors for overdose that are available to prescribers in the PDMP.” 118

                 In those guidelines, the CDC recommends numerous strategies to reduce

inappropriate opioid prescribing. Of particular relevance here, the CDC recommends that

clinicians “should use caution when prescribing opioids at any dosage, should carefully reassess

evidence of individual benefits and risks when considering increasing dosage to ≥50 morphine

milligram equivalents (MME)/day, and should avoid increasing dosage to ≥90 MME/day or

carefully justify a decision to titrate dosage to ≥90 MME/day.” 119

                Dosages at or above 50 MME/day increase the risks of overdose by at least 2x

over the risk at <20 MME/day. In a national sample of Veterans Health Administration (VHA)

patients with chronic pain receiving opioids from 2004–2009, patients who died of opioid overdose




117
      Id.
118
      Id.
119
    U.S. Centers for Disease Control, Guidelines for Prescribing Opioids for Chronic Pain,
https://www.cdc.gov/drugoverdose/pdf/guidelines_at-a-glance-a.pdf.



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were prescribed an average of 98 MME/day, while other patients were prescribed an average of

48 MME/day. 120

                 In 2016, Massachusetts became the first state in the nation to pass a law limiting

first time opioid prescriptions to seven days. 121 Since then, over half of all states have enacted

laws that restrict the prescribing or dispensing of opioids for acute pain. Fifteen states have passed

laws limiting opioid prescribing for acute pain in an opioid naive patient to a seven-day supply.

These states include Alaska, Hawaii, Colorado, Utah, Oklahoma, Louisiana, Missouri, Indiana,

West Virginia, South Carolina, Pennsylvania, New York, Maine, Connecticut, and Massachusetts.

In addition, Arizona, North Carolina, and New Jersey limit initial prescribing to five days. 122

                 Following surgical procedures, Arizona allows for a 14-day supply and North

Carolina a seven-day supply. Nevada is the only state with an initial 14-day prescription limit.123

The strictest limits are in Tennessee, Kentucky, and Florida where initial prescribing is limited to

three to four days. 124 Minnesota also has a four-day limit, but only for acute dental or ophthalmic

pain. 125

                 When addressing risks for drug overdose, studies support the need to monitor not

only duration of initial therapy, but also total daily dosing for patients. This is particularly



120
    U.S. Centers for Disease Control, Calculating Total Daily Dose of Opioids for Safer Dosage,
https://www.cdc.gov/drugoverdose/pdf/calculating_total_daily_dose-a.pdf.
121
    National Conference of State Legislators (“NCSL”), Prescribing Policies: States Confront
Opioid        Overdose        Epidemic          (Published        October         31,     2018)
http://www.ncsl.org/research/health/prescribing-policies-states-confront-opioid-overdose-
epidemic.aspx.
122
      Id.
123
      Id.
124
      Id.
125
      Id.



                                                 46
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important for those patients who are receiving 50 to 99 daily MME or more per day. 126 Nevada

and Arizona have limited prescribing doses of opioids to 90 MMEs per day. 127 Maine’s limit is

100 MME per day and Rhode Island limits prescriptions to 50 MME per day. 128 Tennessee allows

60 MME per day if it is for 3 days or less, otherwise the prescriptions are restricted to 50 MME

daily. 129

                 While the majority of states focuses on general opioid prescribing limits, Alaska,

Connecticut, Indiana, Louisiana, Massachusetts, Nebraska, Pennsylvania and West Virginia also

set requirements regarding opioid prescribing to minors, such as discussing their risk with the

minor and parent or guardian. 130

                 Rather than setting opioid limits by statute, a few state laws direct or authorize

other entities to do so (e.g., New Hampshire, Ohio, Oregon, Vermont, Virginia, Washington and

Wisconsin). These entities may include the Department of Health, a designated state health

official, or regulatory boards, such as the Board of Medicine, Nursing and/or Dentistry. Other

states, such as Rhode Island and Utah, have prescribing limits by statute, and allow other entities

to adopt prescribing policies. 131




126
   Liang, Y., Turner, B.J., Assessing risk for drug overdose in a national cohort: Role for both
daily and total opioid dose?, 16 J. Pain 318-25 (2014).
127
    National Conference of State Legislators (“NCSL”), Prescribing Policies: States Confront
Opioid        Overdose        Epidemic          (Published        October         31,     2018)
http://www.ncsl.org/research/health/prescribing-policies-states-confront-opioid-overdose-
epidemic.aspx.
128
      Id.
129
      Id.
130
      Id.
131
      Id.



                                                47
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                In addition, state laws may provide guidance or direction related to opioid

prescribing. Maryland requires providers to prescribe the lowest effective dose of an opioid for a

quantity that is not greater than that needed for the expected duration of pain. 132 Utah, in addition

to its seven-day prescribing limit, authorizes commercial insurers, the state Medicaid program,

workers’ compensation insurers and public employee insurers to implement policies for

prescribing certain controlled substances. 133 The policies must include evidence-based guidelines

for prescribing opioids.

                Consequently, the dispensing of controlled substances, when faced with warning

signals and without first ensuring that the prescription was issued for a legitimate purpose by a

practitioner acting in the usual course of professional practice, violates the pharmacist’s

corresponding responsibility under the CSA 134 to ensure the legitimacy of the prescription 135 as

well as pharmacy laws and regulations in a majority of the states.

                Prescribing or dispensing controlled substances in amounts or for durations that are

not medically necessary is beyond the scope of professional practice. Prescribing or dispensing

controlled substances for pain will be considered to be for a legitimate medical purpose in certain

narrow circumstances, including after a documented medical history, pursuant to a written

treatment plan with stated objectives, and considering the risk of medication misuse, diversion and

abuse.



132
      Id.
133
      Id.
134
   21 U.S.C. § 842(a) (prohibiting distributing or dispensing in violation of the prescription
provisions of 21 U.S.C. § 829).
135
   21 C.F.R. § 1306.04 and 21 U.S.C. § 841(a) (prohibiting dispensing except as authorized by the
CSA) because the prescription was filled outside of the pharmacist’s usual course of professional
practice. See also 21 C.F.R. § 1306.06.


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               State Prescription Drug Monitoring Programs to Counter Doctor and
               Pharmacy Shopping

                It is undeniable that illicit street opiates and prescription opioid medications can

often be linked, with legitimate prescriptions initiating the addiction, often followed by the person

seeking the chemical from illegal sources once the prescription has ended. Sometimes, however,

they will resort to “doctor shopping” – i.e., visiting multiple physicians in various ambulatory

settings to obtain more of the same opioid medications if the patient’s own health care provider is

unwilling or unable to renew or refill the prescription. State prescription drug monitoring programs

(“PDMPs”) make a significant contribution to fighting the opioid epidemic by preventing and

inhibiting doctor shopping.

                PDMPs, or PMPs (prescription monitoring programs), as they are alternatively

known, are utilized by 49 states, as well as Guam and the District of Columbia. 136 Although

requirements vary by state, they generally collect data from dispensers and report to authorized

users of a state’s database the number of prescriptions that have been filled for scheduled drugs

for each recipient. Access to the information contained in such databases is typically limited to

prescribers and state officials. State pharmacy boards and health departments operate most

PDMPs, but a minority relies on professional licensing agencies, law enforcement, state substance

abuse agencies, or in the case of Connecticut, the Department of Consumer Protection.

                All PMDPs monitor at least Schedule II through IV Drugs, with some also

monitoring Schedule V and “Drugs of Concern” as designated by an authorized state agency.

Eighteen states and the District of Columbia maintain a voluntary system, with no mandatory


136
   Missouri is the only state not to have a statewide PDMP, though an Executive Order was issued
in July 2017 directing its formulation. PDMP TTAC, Status of Prescription Drug Monitoring
Programs (PDMP), www.pdmpassist.org/pdf/PDMP_Program_Status_20170824.pdf.



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enrollment required of either prescribers or dispensers. 137 Still, the majority of state legislatures

understand that the sum total is only as good as its parts. For example, recent Georgia and

Mississippi legislation tied mandatory PMDP registration to the licensed practitioner’s ability to

secure or renew a DEA number. 138 Maine adopted mandatory registration of both prescribers and

dispensers in light of “an unprecedented 272 overdose related fatalities.” 139 In an effort to combat

the opioid epidemic through ensuring reliable information is accessible to prescribers, Kentucky

and North Carolina have each added penalties for failure of pharmacies to comply with reporting

requirements, including sanctions and a monetary penalty per offense. 140

                 Statutory requirements for submitting and gathering prescription data are of little

value if the statutes fail to specify how the data will be used. At least fifteen states enhanced their

“query” requirements or how a prescriber or dispenser must check the state’s PDMP system for

patient information before prescribing a controlled substance. Checking the PDMP for opioid

prescriptions from other sources is a recommended step in the CDC’s “Checklist for prescribing

opioids for chronic pain.” 141 The Arkansas legislature directed licensing boards to adopt

regulations requiring prescribers to query the PDMP when prescribing an opioid from Schedules

II or III for each time a medication was prescribed to a patient. 142 Texas followed suit by naming



137
   PDMP TTAC, PDMP Mandatory Query by                               Prescribers     and    Dispensers,
www.pdmpassist.org/pdf/Mandatory_Query_20170824.pdf.
138
   H.B. 249 (Ga. 2017), www.legis.ga.gov/Legislation/20172018/170657.pdf [hereinafter H.B.
249]; H.B. 1032 (Miss. 2017), http://billstatus.ls.state.ms.us/2017/pdf/history/HB/HB1032.xml.
139
    Weekly Notices of State Rule-Making: Public Input for Proposed and Adopted Rules,
https://www.maine.gov/sos/cec/rules/notices/2017/010417.html.
140
      H.B. 314 (Ky. 2017); H.B. 243 (N.C. 2017).
141
    U.S. Centers for Disease Control, Checklist for Prescribing Opioids for Chronic Pain,
https://www.cdc.gov/drugoverdose/pdf/pdo_checklist-a.pdf.
142
         S.B.     339,      91st     Gen.       Assembly,        Reg.      Sess.      (Ark.      2017),



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specific categories of drugs that require a query prior to being prescribed (“opioids,

benzodiazepines, barbiturates, or carisoprodol”). 143 Some states (e.g., Georgia, Louisiana,

Pennsylvania, and North Carolina) do not require query of all controlled substance prescriptions

in certain situations. For example, the query requirement may not be applicable to providers of

certain specialties if the prescription is for less than a three-day supply and contains less than 26

pills, the patient is terminally ill, or when the controlled substance is administered in a hospital.

Georgia and South Carolina’s legislatures added consequences for those practitioners who fail to

query the PDMP, requiring them to be reported to their licensure boards for disciplinary action. 144

                Dispensers in Pennsylvania are required to query the state’s prescription drug

monitoring system when the patient is new to the pharmacy (i.e., the dispenser has no previous or

updated medical record of the patient); when the patient pays cash for his/her prescription when

he/she has insurance; if the patient requests refills early (an “early refill” is defined as when the

patient requests a refill before the date upon which they are eligible for insurance coverage for the

prescription or when more than 15 percent of an earlier-dispensed medication would remain when

taken in compliance with the directions and quantity prescribed); or when the patient is obtaining

opioid or benzodiazepine prescriptions from more than one prescriber. 145




http://www.arkleg.state.ar.us/assembly/2017/2017R/Bills/SB339.pdf.
143
  H.B. 2561 (Tex. 2017), https://legiscan.com/TX/text/HB2561/id/1625193/Texas2017-HB2561-
Enrolled.html.
144
   See H.B. 3824 (S.C. 2017), https://www.scstatehouse.gov/sess122_2017-2018/bills/3824.htm;
H.B. 249 (Georgia 2017). http://www.legis.ga.gov/Legislation/20172018/170657.pdf.
145
   Commonwealth of Pennsylvania Surrounding Controlled Substances: What laws of the
Commonwealth of Pennsylvania affect opioid prescribing? ACT 122 of 2016: Safe Emergency
Prescribing     Act,        https://www.health.pa.gov/topics/Documents/Programs/PDMP/4-
PDMP_PA_Laws_FactSheet_F.pdf.



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                Mandatory use of PDMP programs has proven successful. In 2011 and 2012

respectively, Ohio and Kentucky mandated clinicians to review PDMP data and implemented pain

clinic regulation. In these states, MME per capita decreased in 85 percent and 62 percent of

counties, respectively, from 2010 to 2015.146 New York, starting in 2012, required prescribers to

check the state’s PDMP before prescribing opioids. In 2013, New York saw a 75 percent drop in

patients’ seeing multiple prescribers for the same drugs. Likewise, Tennessee, starting in 2012,

required prescribers to check the state’s PDMP before prescribing opioids. In 2013, Tennessee saw

a 36 percent drop in patients’ seeing multiple prescribers for the same drugs.

                Research has shed light on how a PDMP affects these Medicare patient

behaviors. 147 A study compared Medicare opioid prescription data in 10 states that enacted use

mandates from 2007-2013 with 17 other states implementing PDMPs without use mandates. In

states with mandates, the percentage of Medicare enrollees who obtained prescriptions from five

or more doctors was eight percent lower, compared with other states. The percentage of people

getting opioids from five or more pharmacies was 15 percent lower. 148

                States with use mandates also saw a decline in the number of Medicare enrollees

filling opioid prescriptions before the previous one had run out or obtaining more than a seven-

month supply of opioids in a half-year period. These states also saw a 15 percent reduction in the

number of Medicare enrollees with four or more new patient visits in six months. The authors




146
         U.S.      Centers       for       Disease      Control,             State      Successes,
https://www.cdc.gov/drugoverdose/policy/successes.html.
147
    Nat’l Bureau Econ. Res. Working Paper Series, The Effect of Prescription Drug Monitoring
Programs        on     Opioid      Utilization     in      Medicare        23148     (2017),
https://www.nber.org/papers/w23148.pdf.
148
      Id.



                                                52
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estimate that Medicare would save $348 million annually in unnecessary new patient visits if every

state mandated use of its PDMP. 149

               Unlawfulness of a Prescription Is Material to Government Program Opioid
               Payments

                Compliance with federal and state requirements relating to pharmacies’ dispensing

of controlled substances was and remains material to a Government Program’s decision to pay

Rite Aid’s claims for reimbursement of controlled substances. Compliance with these

requirements is central to Government Program benefits and is a condition of these medications

being covered and reimbursed.

                Government Programs routinely deny payment for controlled substance

medications, or seek to recoup payments already made, when such prescriptions are not issued or

dispensed for a legitimate medical purpose in the usual course of professional practice or when the

controlled substance medication is intended for purposes of addiction or recreational abuse.

                The United States Department of Justice (“DOJ”) has litigated or settled numerous

actions where it was alleged that medical providers and/or pharmacies submitted claims for

controlled substance medications to Government Programs that lacked a valid prescription, were

not for a legitimate medical purpose and lacked a medically accepted indication, or that did not

comply with state law. 150


149
      Id.
150
    See, e.g., Press Release, U.S. Attorney, Middle District of Tennessee, Tennessee Chiropractor
Pays More Than $1.45 Million to Resolve False Claims Act Allegations (Jan. 24, 2018),
https://www.justice.gov/opa/pr/tennessee-chiropractor-pays-more-145-million-resolve-false-
claims-act-allegations (detailing $1.4 million settlement resolving allegations of improper billing
for painkillers, including opioids, and including a nurse practitioner’s surrender of her DEA
registration); United States ex rel. Norris v. Florence, Civ. Action No. 2:13-cv-00035 (M.D. Tenn.)
(ongoing FCA litigation against a physician for causing the submission of false claims by
pharmacies for controlled substances that were not for a legitimate medical purpose); Press



                                                53
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                The HHS Secretary’s declaration that the opioid epidemic is a national public

health emergency under federal law reflects the government’s stance to deny payment for

improperly dispensed controlled substances.

                Accordingly, at all times material hereto, Rite Aid knew that Government

Programs would not pay for opioid prescriptions if they had known that the controlled substance

prescriptions at issue were invalid, did not comply with the CSA or with state pharmacy laws and

regulations, or lacked a legitimate medical purpose or were medically unnecessary. Alternatively,

Rite Aid knew (or had reason to know) that Government Programs would not pay claims submitted

if these Programs knew that the controlled substance prescriptions were invalid as prescribed.

VI.     BACKGROUND ON RITE AID FRAUDULENT DISPENSING OF
        PRESCRIPTION OPIOID DRUGS

                Rite Aid dispensed unreasonable dosage strengths, quantities and combinations of

opioids throughout the U.S. (and in this District) from its retail pharmacies despite being on notice

of signs of diversion and abuse and in violation of its duties under the CSA and under state

pharmacy laws and regulations.

                At all times material hereto, Rite Aid has operated a vast network of (until at least

March 27, 2018) nearly 5,000 pharmacies, which have dispensed massive quantities of opioids,

fueling the opioid epidemic throughout the U.S. In doing so, Rite Aid violated its obligations

under the CSA and state pharmacy laws and regulations.




Release, U.S. Dept. of Justice, Long-Term Care Pharmacy to Pay $31.5 Million to Settle Lawsuit
Alleging Violations of Controlled Substances Act and False Claims Act (May 14, 2015),
https://www.justice.gov/opa/pr/long-term-care-pharmacy-pay-315-million-settle-lawsuit-alleging-
violations-controlled (Pharmerica CSA and FCA settlement for improper dispensing of and billing
Medicare for unlawfully dispensed prescriptions).


                                                 54
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                      Rite Aid Has Paid Repeated Fines Related to Its Dispensing of Inappropriate
                      Opioid Prescriptions

                       Rite Aid has been investigated and fined for some of its many failures to secure

its supply chain and its own pharmacy stores, but continues to allow inappropriate and harmful

distribution of opioids.

                       In 2009, as a result of a multi-jurisdictional investigation by the DEA and DOJ,

Rite Aid and nine of its subsidiaries in eight states were fined $5 million in civil penalties for its

violations of the CSA. 151 The investigation revealed that from 2004 onwards, Rite Aid pharmacies

across the country had a pattern of non-compliance with the requirements of the CSA and federal

regulations that led to the diversion and abuse of prescription opioids in and around the

communities of the Rite Aid pharmacies investigated. 152 The investigation revealed a pattern of

violations of the CSA, including:

      •     At pharmacies in Kentucky and New York, Rite Aid knowingly filled prescriptions for

            controlled substances that were not issued for a legitimate medical purpose pursuant to a

            valid physician-patient relationship;

      •     At five pharmacies in Maryland, four pharmacies in New York and 13 pharmacies in

            California, Rite Aid failed to notify the DEA in a timely manner of significant thefts and

            losses of controlled substances, thus permitting the diversion and abuse of controlled

            substances to continue and undermining DEA’s ability to investigate such thefts and/or

            losses;



151
   Press Release, U.S. Dep’t of Justice, Rite Aid Corporation and Subsidiaries Agree to Pay $5
Million in Civil Penalties to Resolve Violations in Eight States of the Controlled Substances Act
(Jan. 12, 2009), https://www.justice.gov/opa/pr/rite-aid-corporation-and-subsidiaries-agree-pay-5-
million-civil-penalties-resolve-violations.
152
      Id.


                                                     55
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      •     At pharmacies in California, Pennsylvania and Maryland, Rite Aid either failed to maintain

            or failed to furnish to the DEA upon request records that are required to be kept under the

            CSA for a period of two years;

      •     At all 53 pharmacies in all eight states, Rite Aid failed to properly execute DEA forms used

            to ensure that the amount of Schedule II drugs ordered by Rite Aid were actually

            received. 153

                     Additionally, the DEA conducted accountability audits of controlled substances

at 25 of the 53 stores investigated to determine whether Rite Aid could properly account for

Schedule II and III controlled substances purchased and dispensed. The results of the

accountability audits revealed significant shortages or surpluses of the most highly abused drugs,

including oxycodone and hydrocodone products, reflecting a pattern of non-compliance with the

requirements of the CSA and federal regulations that lead to the diversion and abuse of controlled

substances in and around the communities of the Rite Aid pharmacies investigated. 154

                     In 2017, Rite Aid agreed to pay $834,200 in civil penalties to the United States to

settle claims stemming from alleged violations of the Controlled Substances Act. 155 The

government also alleged that the incorrect or invalid registration numbers were used at least 1,298

times as a result of Rite Aid’s failure to adequately maintain its internal database. 156




153
      Id.
154
      Id.
155
    Press Release, U.S. Attorney, C.D. Cal., Rite Aid Corporation Pays $834,200 to Settle
Allegations of Violating the Controlled Substances Act (March 9, 2017),
https://www.justice.gov/usao-cdca/pr/rite-aid-corporation-pays-834200-settle-allegations-
violating-controlled-substances-act.
156
      Id.



                                                    56
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                On January 24, 2018, the U.S. Attorney's Office for the Southern District of West

Virginia entered into settlement with Rite Aid for improper sales of the meth precursor

pseudoephedrine. 157

                On December 31, 2018, the DEA and the Rhode Island Attorney General

announced $300,000 settlement with Rite Aid for filling prescriptions of Schedule III controlled

substances in excess of statutory maximums. 158

                On June 4, 2019, Federal and state investigators executed search warrants at five

Rite Aid pharmacies in northeast Ohio. The DEA indicated that the investigation was related to

suspected “irregularities in dispensing practices.” In its public statement about the raids, DEA

pointed to the laws imposing an independent duty of a pharmacist to verify and ensure that

prescriptions are issued for a legitimate medical purpose. 159

               Rite Aid Was Well Aware of the Opioid Crisis and Failed to Take Steps to
               Curtail and Prevent Expansion of the Problem

                Rite Aid has had knowledge and/or notice of the opioid problem since at least

2002. At any time since Rite Aid had knowledge and/or notice of the opioid problem it could have

unilaterally taken steps to curtail and prevent expansion of the problem, but it failed to do so.




157
   Press Release, U.S. Attorney, S.D.W.V., U.S. Attorney’s Office enters settlement with Rite Aid
based on improper sales of meth precursor pseudoephedrine                 (January 24, 2018),
https://www.justice.gov/usao-sdwv/pr/us-attorneys-office-enters-settlement-rite-aid-based-
improper-sales-meth-precursor.
158
    Press Release, Drug Enf’t Admin., DEA and Attorney General Kilmartin announces $300,000
settlement with Rite Aid for filling prescriptions of Schedule III controlled substances in excess of
statutory maximums (December 31, 2018), https://www.dea.gov/press-releases/2018/12/31/dea-
and-attorney-general-kilmartin-announces-300000-settlement-rite-aid.
159
   Dave Nethers, Federal agents execute search warrants at several Rite Aid pharmacies, FOX 8
CLEVELAND (June 4, 2019, 4:22 PM), https://fox8.com/2019/06/04/federal-agents-execute-search-
warrants-at-several-rite-aid-pharmacies.



                                                 57
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                Rite Aid was well aware of the problem. For example, throughout the growing

opioid epidemic, there have been widespread reports of pharmacy robberies and burglaries, 160

including numerous reports at Rite Aid stores throughout the U.S. tied to narcotics.

                Pain clinics and pill mills drive the narcotic burglary problem at pharmacies and

the robberies mirror a national rise in the abuse of narcotic painkillers. 161 The robberies, many of

which happened at Rite Aid stores and many of which started many years ago, put Rite Aid on

notice of the growing opioid epidemic all over the country. Yet, even with the knowledge of the

robberies of opioids, Rite Aid did not critically examine its own role in the opioid epidemic

(including its dispensing practices fueling the oversaturation of opioids into communities) and

ways to combat the root causes of the epidemic and corresponding robberies.

                Rather than act to curb the causes of pill mills and opioid abuse that Rite Aid knew

was occurring at a breathtaking pace, Rite Aid chose not to undertake and/or failed to undertake

the measures it was capable of taking.

                Rite Aid was aware of its obligations under the CSA and state pharmacy law and

regulations to serve as a safeguard against opioid abuse.

                Rite Aid could and should have many years ago unilaterally taken action, and/or

offered a program to assist Government Programs, which had the effect of: (a) limiting to 7 days

the supply of opioids dispensed for certain acute prescriptions; (b) reducing the dispensing of

stronger and extended release opioids; (c) implementing a program that consists of providing




160
      Pharmacy Robberies Sweeping US, KOLO8 NewsNow (June 27, 2011),
https://www.kolotv.com/home/headlines/Pharmacy_Robberies_Sweeping_US_124541499.html.
161
      Top 10 states for pharmacy robberies, Drug Topics (Oct.                             7,   2014),
https://www.drugtopics.com/drug-topics/news/top-10-states-pharmacy-robberies.




                                                 58
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counseling to patients who are receiving an opioid prescription for the first time, such as by

discussing the risks of dependence and addiction associated with opioid use and discussing and

answering any questions or concerns such patients may have; (d) limiting the daily dosage of

opioids dispensed based on the strength of the opioid; (e) requiring the use of immediate-release

formulations of opioids before extended-release opioids are dispensed; and (f) checking

prescription drug monitoring programs. Rite Aid could have and should have implemented these

measures at any point in the last 15 years.

                 One former senior Rite Aid executive stated that during his time there he did not

recall any specific recognition or corporate program focused on monitoring and controlling opioid

prescriptions. He contrasted this inattention to what he called “a big focus’ on pseudoephedrines

such as Sudafed, which can be used to make methamphetamine. “Quite honestly, [the opioid

epidemic] jumped on everybody’s radar too late,” he said. “There were probably procedures that

could have been put in place that would have created a safer environment for the patient.”

(Pharmacist No. 1). Relator Wegelin stated that while there was training approximately once a

year for pseudoephedrine issues, there was never something similar for opioids.

               Rite Aid Pressured Pharmacists to Fill Even Questionable Opioid
               Prescriptions in Order to Meet Profitability Goals

                 Rite Aid’s singular, overarching goal has been its profitability. In light of its goal,

Rite Aid pharmacies have been obligated to fill prescriptions quickly to ensure large volumes of

prescriptions were being filled. This focus on driving prescription volume above all else has driven

Rite Aid’s pharmacy strategy.

                 As it explains every year in its annual reports, Rite Aid’s number one goal is to

grow sales. In 2013 Rite Aid stated: “Our primary goal for fiscal 2013, consistent with fiscal 2012,

is to grow same stores sales, which is critical for our future financial success.” This explicit focus



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on sales growth has been consistent, even while the opioid scourge was plaguing America. In 2017,

Rite Aid stated that “[f]inancially, our primary goal for fiscal 2017, consistent with fiscal 2016, is

to continue growing same stores sales.” 162

                  The Affordable Care Act greatly reduced the reimbursements pharmacies would

receive from Government Programs. By 2013, the reimbursements were down over 20%. 163

                  The lowering of pharmacy reimbursements could only be offset by filling a greater

number of prescriptions. Unfortunately for the public and Government Programs, the timing was

perfect for Rite Aid to capitalize on the opioid epidemic’s explosion of pills in order to recoup the

lost reimbursements by filling a greater volume of prescriptions much more quickly.

                  In its financial reports to shareholders, Rite Aid has explicitly and consistently

made the connection between the falling reimbursement rates and its need to fill more

prescriptions, stating repeatedly that declining reimbursements need to be offset by dispensing

more prescriptions overall. The 2013 Annual Report is representative: “When third party payors,

including the Medicare Part D program and state sponsored Medicaid agencies . . . reduce their

reimbursement rates, sales and margins in the industry could be reduced, and profitability of the

industry adversely affected. These possible adverse effects can be partially or entirely offset by

lowering our product cost, controlling expenses, dispensing more higher margin generics and

dispensing more prescriptions overall.” (emphasis added) 164




162
      Rite Aid Corp., Annual Report (Form 10-K) 7 (Apr. 25, 2016).
163
    Adam J. Fein, Obamacare Will Squeeze Pharmacy Profits, Drugchannels.net (Oct. 8, 2013).
https://www.drugchannels.net/2013/10/obamacare-will-squeeze-pharmacy-profits.html.
164
      Rite Aid Corp., Annual Report (Form 10-K) 4 (Apr. 23, 2013).



                                                 60
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                       Rite Aid, however, has not always been successful in growing prescription count

every year. The following chart 165 demonstrates sales were flagging:

                                        Year             Same Store
                                        ending           Prescription Count
                                        March 1          increase (decrease)
                                        2013             3.4%
                                        2014             (.3)%
                                        2015             3.5%
                                        2016             .5%
                                        2017             .1%
                                        2018             (1.8)%
                                        2019             .6%

                       Prescriptions made up a significant portion of Rite Aid’s overall revenue, ranging

from about 65% to nearly 70% of overall revenue for the Company. 166

                       Of its prescription revenue, a large percentage has been paid for by Government

Programs. In fact, since 2014 the percentage of Rite Aid’s pharmacy revenue being driven by

Medicare and Medicaid has grown and hit a high of nearly 55% in 2019.

                       The following chart summarizes the relationship between Rite Aid’s prescription

revenue and its reliance on the reimbursement from Government Programs: 167

 Year       Total             % Revenue        Pharmacy         % Sales    Medicaid        % of         Medicare
            Revenue*          Attributable     Revenue from     to         Revenue*        Sales to     Revenue*
                              to               Prescription     Medicaid                   Medicare
                              pharmacy         Drug Sales*      Payors                     Part D
 2013       $25,392,263.00            67.6     $17,165,169.79       17.4   $2,986,739.54           30   $5,149,550.94
 2014       $25,526,413.00            67.9     $17,332,434.43       13.7   $2,374,543.52        30.6    $5,303,724.93
 2015       $26,528,377.00            68.8     $18,251,523.38       18.6   $3,394,783.35        32.1    $5,858,739.00
 2016       $26,865,931.00            69.1     $18,564,358.32       19.9   $3,694,307.31        31.9    $5,922,030.30
 2017       $26,816,669.00            68.3     $18,315,784.93       19.8   $3,626,525.42           33   $6,044,209.03
 2018       $15,832,625.00            65.9     $10,433,699.88       20.4   $2,128,474.77        34.1    $3,557,891.66
 2019       $15,757,152.00            66.6     $10,494,263.23       19.1   $2,004,404.28        35.8    $3,756,946.24
            *all dollar amounts in thousands



165
      Id.
166
      See Rite Aid Corp., Annual Report (Form 10-K) 2012-2019.
167
      Id.


                                                           61
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                The combination of Rite Aid’s dependence on its pharmacy revenue for its

viability as a business and its inability to offset declining prescription drug reimbursement with

higher numbers of prescriptions, created an environment in its stores where many of its

pharmacists were under immense pressure to fill all prescriptions without question. The very

existence of Rite Aid as a company depended on it.

                The key performance indicators (“KPIs”) for Rite Aid stores and pharmacists were

based on factors including dollars per hour and prescriptions per hour, but the most important

measure was Earnings Before Interest, Taxes, Depreciation, and Amortization (EBITDA).

EBITDA essentially was the measure of the revenue of the store or pharmacist and comprised

around 75% of the total evaluation. Revenues from prescription opioids were included in the

EBITDA calculation.

                The EBITDA profitability metric was heavily dependent on the number of

controlled substance prescriptions that were filled at each Rite Aid pharmacy. Another 10% of the

evaluation was the number of prescriptions filled versus the goal. The remaining 15% was based

on subjective measures like customer satisfaction. None of these measures evaluated adherence to

safe and legal dispensing practices. (Pharmacist No. 1).

                Only if those sales goals and metrics were met were Rite Aid pharmacists eligible

for bonuses.

                Likewise, if the pharmacists did not meet the metrics, they would receive negative

performance reviews and could be (and were) fired.

                Rite Aid had no incentives in its compensation structure for store pharmacists and

technicians to investigate and/or report suspicious prescribers, patients, or prescriptions.




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                   The only things Rite Aid measured (and thus rewarded) were the sales metrics.

This has created a culture where the number of prescriptions filled, their speed in filling scripts,

and the corresponding reimbursement for these scripts were the measures of success at Rite Aid.

The role of the pharmacist as a healthcare professional serving and counseling patients has been

completely lost. Pharmacists have been pressured to be cogs in a prescription filling machine,

rather than the last line of defense against inappropriate and/or medically unnecessary

prescriptions (and the corresponding fraudulent billing). The result is both deeply troubling and

entirely predictable: inappropriate and medically unnecessary prescriptions for opioids flowed out

of Rite Aid stores and into communities throughout the country. The policies have remained in

place even as the epidemic ravaged the nation.

                   In 2016, The Chicago Tribune investigated how pharmacies, including chain

pharmacies, fostered environments where “safety laws are not being followed, computer alert

systems designed to flag drug interactions either don't work or are ignored, and some pharmacies

emphasize fast service over patient safety.” 168 The Tribune tested 255 pharmacies to see how often

pharmacies would dispense dangerous drug pairs without warning patients. As part of the

investigation, the Tribune selected pairs of drugs that had serious interactions, including life-

threating risks.

                   The results were stark: “Fifty-two percent of the pharmacies sold the medications

without mentioning the potential interaction, striking evidence of an industrywide failure that

places millions of consumers at risk.” As the Tribune detailed, “in test after test, other pharmacists




168
    Sam Roe, Ray Long, and Karisa King, Pharmacies miss half of dangerous drug combinations,
CHICAGO TRIBUNE, Dec. 15, 2016, https://www.chicagotribune.com/investigations/ct-drug-
interactions-pharmacy-met-20161214-story.html.


                                                  63
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dispensed dangerous drug pairs at a fast-food pace, with little attention paid to customers.” Chain

pharmacies “overall failed 49 percent of their tests.”

                 While acknowledging the difficulty in pinning the failure of the pharmacies to

catch the dangerous interaction on a single cause, the Tribune concluded its interviews and studies

pointed to the pharmacies’ emphasis on speed as a possible explanation. Several pharmacies

dispensed risky drug pairs with no warning in less than 15 minutes, and the Tribune found that

“pharmacists frequently race through legally required drug safety reviews — or skip them

altogether.” The Tribune also noted that The New Hampshire Board of Pharmacy sampled data

from two retail chains in the state and found that “pharmacists spent an average of 80 seconds on

safety checks for each prescription filled.” Also, “of the pharmacists at stores that advertised quick

service, 4 in 10 said they had made a medication error as a result of hurrying to fill a prescription

within a set time.” And even though most pharmacies use computer software designed to flag drug

interactions, experts say computer alerts are so common that pharmacists can get "alert fatigue"

and ignore many of the warnings.

                 The National Association of Boards of Pharmacy (NABP) also recognized that

performance metrics pose a dangerous problem in pharmacies. In 2013, it adopted Resolution 109-

7-13 entitled “Metrics and Quotas in the Practice of Pharmacy.” 169 The Resolution tasked NABP

to “assist the state boards of pharmacy to regulate, restrict, or prohibit the use in pharmacies of

performance metrics or quotas that are proven to cause distractions and unsafe environments for

pharmacists and technicians.” The resolution specifically cited to a survey conducted by the



169
   Performance Metrics and Quotas in the Practice of Pharmacy (Resolution 109-7-13), National
Association       of       Boards        of       Pharmacy,       June        5,       2013,
https://nabp.pharmacy/newsroom/news/performance-metrics-and-quotas-in-the-practice-of-
pharmacy-resolution-109-7-13/.


                                                 64
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Institute for Safe Medication Practices (ISMP) of 673 pharmacists that revealed that 83% believed

that distractions due to performance metrics or measured wait times contributed to dispensing

errors and that 49% felt specific time measurements were a significant contributing factor.

                In September 2014, the NABP announced that it had amended the Model State

Pharmacy Act and Model Rules of the National Association of Boards of Pharmacy (Model Act).

Reflecting Resolution 109-7-13, the Model Act now states that requiring pharmacy personnel to

meet production and/or performance metrics and/or quotas that negatively impact patient safety

may be grounds for discipline. 170

               Immense Pressure to Fill Quickly to Drive Sales

                Rite Aid has also put immense pressure on its pharmacists to not only fill all

prescriptions but to fill them quickly. Often, this pressure has been directly applied by pharmacy

managers and store managers.

                In 2011, Rite Aid adopted a policy whereby it promised to fill prescriptions in 15

minutes or less. 171 If a fill took more than 15 minutes, the patient would get a $5 gift card. Rite

Aid touted the program as something consumers wanted, but many others recognized the danger

such a program was to patients and the practice of pharmacy. Numerous State Boards of Pharmacy

objected to the program. As the chair of the Illinois State Board of Pharmacy said: “This is 180

degrees away from everything we are trying to do in moving the pharmacy profession toward being

patient information-focused rather than product-focused. And it's counter to our many efforts to



170
    Newsletter, National Association of Boards of Pharmacy, September 2014, Vol. 48, No. 8,
https://nabp.pharmacy/wp-content/uploads/2016/07/Final-September-2014-NABP-
Newsletter.pdf; Model Act/Rules, National Association of Boards of Pharmacy,
https://nabp.pharmacy/publications-reports/resource-documents/model-pharmacy-act-rules/.
171
      Drug Topics, Rite Aid offers 15-minute Rx guarantee, May 15,                             2011,
https://www.drugtopics.com/chains-business/rite-aid-offers-15-minute-rx-guarantee.


                                                65
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improve patient safety.” According to Relator Wegelin, the 15-minute guarantee was eventually

stopped by the Pennsylvania Board of Pharmacy.

                 Contrary to its duties under the CSA, Rite Aid adopted a performance metrics

system under which pharmacists are directed to meet unobtainable prescription filling goals. If

met, those goals would violate the law regarding professional responsibilities and governing the

practice of pharmacy.

                 Rite Aid pressured pharmacists into filling medically inappropriate combinations

of opioids and other drugs (Pharmacist No. 2), telling them they had to fill opioid prescriptions

(particularly if a patient complained) (Pharmacist No. 3), facing threats of employment termination

when they did not fill all prescriptions with less and less staffing support.

                 Even senior Rite Aid managers felt that its focus on its metrics forced its

pharmacists to “rush past” any red flags and fill prescriptions anyway.

                 The culture of filling prescriptions quickly to drive volume was built into the

electronic software used by Rite Aid. The order-filling software would start a countdown to

pressure pharmacists to fill the prescriptions more quickly. The system used a stoplight system to

ensure that the pharmacist was always on the clock. The system pressured the pharmacist to get

back in the green and with yellow flashing to warn off being close to off schedule and red

indicating that the pharmacist was not working quickly enough. This system did not take into

account the complexities of each prescription, so the system would allot the same amount of time

to fill for a customer presenting with numerous red flags as one without.

                 Rite Aid did not collect information on the pharmacists who were counseling

patients, fully evaluating prescriptions, and otherwise acting properly as pharmacists.




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                 Although pharmacists were supposed to be customer service people, at Rite Aid

they could not do customer service because it took too much time. Many pharmacists go into health

care because they want to help people, but Rite Aid did not allow them to do that.

                 The pressure to fill every prescription was also compounded through the lack of

adequate staffing. Rite Aid was always “looking for more and more efficiencies” especially with

regard to staffing. Often, pharmacists were left as the only pharmacist at a location for entire shifts.

One rule of thumb for staff levels was 10 pharmacy technician hours per 100 prescriptions, but

that ratio has been reduced over time with increased automation in the pharmacies and other

efficiencies that were put in place. (Pharmacist No. 1).

                 The level of staffing at Rite Aid pharmacies often made it impossible to meet

performance goals. The average prescription volume in the stores one former Rite Aid manager

(Pharmacist No. 1) oversaw was about 1200 a week, and that ranged from a low of 300 to 400 to

3,000 a week. The difficulty in meeting performance goals with ever-leaner staffing greatly cut

into the ability of its pharmacists to evaluate each prescription carefully and in accordance with

the law.

                 Inadequate staffing made it difficult to conduct due diligence on prescriptions for

opioids. “Did they truly have the time to dive into and use all the resources available to make sure

the prescriptions are legitimate? I don’t think they had the time,” one former senior Rite Aid

executive said. “I don’t think anybody in any chain had the time to do that.” (Pharmacist No. 1).

                Rite Aid Had No Rigorous Dispensing Protocols or Policies to Assist Its
                Pharmacists to Identify Inappropriate Prescriptions

                 Rite Aid’s singular focus on filling all prescriptions as quickly as possible meant

that it had no have rigorous dispensing protocols or policies. Such policies would not have only

resulted in denying more inappropriate prescriptions, but would also slow down the speed at which



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prescriptions were filled. Instead, Rite Aid has insisted its dispensing practices operate as a

production line.

                   The only training Rite Aid provided was computer-based trainings. According to

one former senior Rite Aid executive, however, this type of training had the potential to be

ineffective. “Some [pharmacists] would just go through the modules to get them done.” Even so,

this annual training did not include computer modules on how to identify fraudulent prescriptions

or on procedures to follow when staff encountered a prescription believed to be fraudulent.

(Pharmacist No. 1)

                   Rite Aid’s procedure for filling prescriptions, including opioids, was limited to a

minimal check of the basics of the prescription – patient name, date of birth, check the physician’s

name, check the medication, verify the signature, verify the dosage, confirm the patient

instructions, check the photo of the drug to see if it is the right one, approve it, then make it ready

to dispense. But Rite Aid pharmacists were trained to ignore even these basic checks and to just

fill the prescriptions quickly. (Pharmacist No. 5)

                   Critically, Rite Aid pharmacies did not have any policies or protocols about how

to address inappropriate prescriptions. There were no Rite Aid guidelines for a pharmacist or

technicians to consult to determine whether a particular prescription was suspicious or medically

inappropriate. Rite Aid had no checklist, guidance, training, or resources for pharmacists or

technicians to consult about whether a prescription was medically appropriate and should or should

not be filled.

                   Even if a pharmacist or technician did identify a prescription that was not

medically appropriate, there was a total lack of policies and procedures for the pharmacist to follow

after identification. Rite Aid has had no protocol about how to flag prescribers who consistently




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were writing suspicious or medically inappropriate prescriptions, no protocol about how to flag

prescription shopping by customers, and no protocol how they were to communicate information

about trends they were seeing. As one pharmacist put it, Rite Aid did “absolutely nothing” in terms

of training on these issues. (Pharmacist No. 3)

                As one of the largest corporations in the United States, Rite Aid could have easily

invested some of its vast resources into developing uniform protocols that would have given

concrete guidance to its pharmacy staff. But Rite Aid did not even use any of the available public

guidance to incorporate into its own practices. Instead, it emphasized its profitability metrics,

leaving it up to the pharmacy staff to refuse prescriptions at their own risk.

                For example, until very recently there has been no guidance from Rite Aid about

when pharmacists needed to question certain medically inappropriate combinations (such as the

“Holy Trinity” combination of opioids and muscle relaxers), no guidance about when pharmacists

needed to refuse opioids being prescribed for inappropriately long periods of time, and no guidance

about the number of pharmacies and/or doctors a patient was seeing.

                Rite Aid pharmacies essentially left the pharmacists and technicians on their own

to evaluate prescriptions. “Ultimately, the Company left it up to the pharmacists’ discretion

whether to dispense a controlled substance prescription or not.” The pharmacists’ individual

vigilance varied widely, depending on their own training and education, whether they had enough

time, and the “overall thought process of the pharmacist.” (Pharmacist No. 1) This led to endemic

inconsistency, with many simply choosing to fill as many prescriptions as possible. This was

especially true given the pressures and incentives built into the structure of Rite Aid pharmacies’

operations not to question prescriptions and to fill as many as possible, as quickly as possible.




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                 This problem was particularly acute for hydrocodone prescriptions before 2014.

Before that time, hydrocodone was a C-III, not a C-II as it is now. That meant that Rite Aid

pharmacies paid even less attention to what any reasonable pharmacist knew was a potent and

powerful opioid.

                 This complete lack of a compliance function to check the tide of inappropriate

and/or medically unnecessary opioid prescriptions has meant that Rite Aid pharmacy staff varied

in the kind of diligence they practiced when it came to assessing suspicious customers and

inappropriate prescriptions.

                 The lack of any written policies and procedures about how to check for

inappropriate prescriptions and deal with them once found also meant that Rite Aid audits of its

stores was perfunctory at best, including only cursory checks of the inventory. Often the

pharmacy’s dispensing practices were not part of the internal audit process. (Pharmacist No. 1)

                 With some pharmacists being particularly lax in their dispensing habits, there were

routinely inappropriate and/or medically unnecessary prescriptions that were filled at Rite Aid

pharmacies, including hundreds of thousands of opioid prescriptions paid for by Government

Programs.

                 Despite reasonably diligent pharmacists who, had they been given the tools and

time, who might have able to recognize the steadily growing influx of inappropriate opioid

prescriptions, Rite Aid continued to have no pharmacy policies to keep the opioid problem from

going off the rails.

                   Of note, at no time has Rite Aid required its pharmacists to check state PDMP

databases despite the evidence that using this data reduces overdose deaths, doctor shopping, and




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inappropriate or medically unnecessary reimbursements. This has led in many of its stores to

pharmacists simply never checking state PDMP databases.

                 In fact, Rite Aid did as little as possible to encourage PDMP use. The PDMP

system at Rite Aid pharmacies ran on a separate computer system than pharmacists used to fill the

prescription. The two systems did not interface at all.

                 Likewise, Rite Aid made no effort to track or otherwise encourage (let alone

require) the use of the PDMP. On the contrary, the fact that PDMP checking was so onerous

discouraged pharmacists from checking it at the expense of filling prescriptions quickly.

(Pharmacist No. 4)

                  Having such a requirement would have greatly increased the time it took to fill

prescription and would have identified many more prescriptions that were medically inappropriate.

Sadly, Rite Aid chose its bottom line over public health.

                Rite Aid Rarely Blocked What It Knew Were Suspicious Prescribers

                 Despite filling large quantities of controlled substances, including opioids, and

even though Rite Aid on a regular basis publicly acknowledged the opioid crisis raging nationally,

Rite Aid very rarely blocked suspicious prescribers.

                 Despite the fact that few of its pharmacists were aware such a list existed, Rite

Aid’s corporate designee testified that since the early 2000s it has maintained a list of what it called

“suspicious prescribers.” 172 Even then, and despite the fact that thousands of health care providers

have lost their licenses, been indicted and/or been convicted of writing inappropriate prescriptions,

since it began tracking suspicious prescribers in the early 2000s, on only 150 occasions has Rite


172
  In Re: National Prescription Opiate Litigation, Hart Dep. (Jan. 31, 2019), 186:24-187:19 (Case
No. 17-md-2804) (Dkt. 1978-2).



                                                  71
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Aid ever determined that it would stop filling prescriptions for health care professionals because

they were writing inappropriate and/or medically unnecessary prescriptions. 173

                  Rite Aid’s purported suspicious prescribers list is thus clearly deficient in

numerous respects. For example, Rite Aid did not track on its suspicious prescriber list, or

elsewhere, whether particular prescribers had been indicted (or convicted) for their prescribing

habits:

          Q. Does Rite Aid track whether any prescribers and -- who have customers that come to
          Rite Aid stores are indicted?
          …
          THE WITNESS: We do not. 174

                  Even Rite Aid would have to admit its suspicious prescriber list regularly failed

to block numerous bad physicians. For example, in Rite Aid’s 2009 settlement with the DEA, it

had admitted that at pharmacies in Kentucky and New York it had knowingly filled prescriptions

for controlled substances that were not issued for a legitimate medical purpose pursuant to a valid

physician-patient relationship. 175 What it failed to admit, however, was that these problems were

endemic at Rite Aid, nor were they resolved following the DEA settlement.

                  Clearly, in the intervening decade, Rite Aid’s suspicious prescribers list has done

little to prevent filling prescriptions for unlicensed prescribers. In 2017, the DEA again found that

at Rite Aid pharmacies’ “incorrect or invalid registration numbers were used at least 1,298 times

as a result of Rite Aid’s failure to adequately maintain its internal database. Additionally, the



173
      Id. 168:20-170:15.
174
      Id. 186:17-23.
175
   Press Release, U.S. Dep’t of Justice, Rite Aid Corporation and Subsidiaries Agree to Pay $5
Million in Civil Penalties to Resolve Violations in Eight States of the Controlled Substances Act
(Jan. 12, 2009), https://www.justice.gov/opa/pr/rite-aid-corporation-and-subsidiaries-agree-pay-5-
million-civil-penalties-resolve-violations.



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settlement resolved allegations that Rite Aid pharmacies dispensed, on at least 63 occasions,

prescriptions for controlled substances written by a practitioner whose DEA registration number

had been revoked by the DEA for cause.” 176

                   Thus, Rite Aid’s list of only 150 instances in the last 19 years when it has blocked

prescriptions from suspicious prescribers has only been the tip of the iceberg it knew was

widespread. Its half-hearted efforts ignored what it knew (or could have known) were pervasive,

well-documented instances of health care professionals who would be disciplined, indicted or

convicted. Just to illustrate the scale of the problem Rite Aid was ignoring as to the growing list

of healthcare professionals who would lose their licenses, the Pittsburgh Post-Gazette reported that

between 2011 and 2015 for Pennsylvania, Ohio, West Virginia, Maryland, Virginia, Kentucky,

and Tennessee (the bulk of Appalachia), there were 608 doctors disciplined for overprescribing

narcotics. 177 Thirty-six percent of Rite Aid’s stores are in these seven states (3150 total stores,

PA-540 stores, OH – 212 stores, WV – 70 stores, MD – 95 stores, VA – 127 stores, KY – 71 stores,

TN – 13 stores).

               Rite Aid Turned a Blind Eye to the Opioid Crisis

                   Rite Aid has failed to respond effectively to concerns raised by its own employees

regarding inadequate policies and procedures in the filling of opioid prescriptions.

                   Rite Aid has failed to use data available to it to identify doctors who were writing

suspicious numbers of prescriptions and/or prescriptions of suspicious amounts of opioids, or to


176
    Press Release, U.S. Attorney, C.D. Cal., Rite Aid Corporation Pays $834,200 to Settle
Allegations of Violating the Controlled Substances Act (March 9, 2017),
https://www.justice.gov/usao-cdca/pr/rite-aid-corporation-pays-834200-settle-allegations-
violating-controlled-substances-act.
177
   See Rich Lord, J. Bardy McCollough, Adam Smeltz, Special Report: Overdosed – How doctors
wrote the script for an epidemic, Pittsburgh Post-Gazette (May 22, 2016),
https://newsinteractive.post-gazette.com/overdosed/.


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use data available to it to do statistical analysis to prevent the filling of prescriptions that were

illegally diverted, dispensed, or otherwise contributed to the opioid crisis.

                 Rite Aid further refused to take reasonable measures to stop its retail stores from

dispensing unreasonable amounts of opioids and filling inappropriate prescriptions, even while

telling the public it was complying with its duties as dispensing pharmacies to prevent diversion

and abuse. Rite Aid did so in order to further its goal of selling as many opioids as possible and

ensuring that the growing demand for opioids would be met by skyrocketing supply and an

unimpeded flow of drugs into even the most suspicious pharmacies.

                 Rite Aid knew or should have known that its pharmacies were (a) filling multiple

prescriptions to the same patient using the same doctor; (b) filling multiple prescriptions by the

same patient using different doctors; (c) filling prescriptions of unusual size and frequency for the

same patient; (d) filling prescriptions of unusual size and frequency from out-of-state patients; (e)

filling prescriptions of unusual size and frequency paid for in cash; (f) filling prescriptions of

unusual size and frequency from the same prescribing physician; (g) filling prescriptions of

unusual size and frequency from out-of-state physicians; and (h) filing prescriptions for patients

and doctors in combinations that were indicative of diversion and abuse. The volumes of opioids

distributed to and dispensed by these pharmacies were disproportionate to non-controlled drugs

and other products sold by these pharmacies, and disproportionate to the sales of opioids in

similarly sized pharmacy markets.

                 Rite Aid had complete access into, and full visibility of, all prescription opioid

distribution data and dispensing data related to its pharmacies nationally.

                 Rite Aid had complete access into information revealing the doctors who

prescribed the prescription opioids dispensed in its pharmacies nationally.




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                 Rite Aid had complete access into information revealing the customers who filled

(or sought to fill) prescriptions for opioids in its stores nationally.

                 Despite this access, Rite Aid failed to analyze: (a) the number of opioid

prescriptions filled by individual pharmacies relative to the population of the pharmacy’s

community; (b) the increase in opioid sales relative to past years; (c) the number of opioid

prescriptions filled relative to other drugs; and (d) the increase in annual opioid sales relative to

the increase in annual sales of other drugs.

                 Indeed, DOJ has recently started to mine the prescribing data from doctors to

identify overprescribing doctors and pill mill operations. To identify pill mill doctors, DOJ looks

at data about patient deaths associated with each doctor; distances patients are traveling to get their

prescriptions written and filled; prescribing habits of doctors around the country as compared to

their peers; and the opioid dosages doctors prescribed, measured by MME. 178 These data points

DOJ uses to identify potential criminal prescribing were also easily accessible to Rite Aid.

                 The only area where Rite Aid attempted, albeit half-heartedly, to use its vast

knowledge of its stores’ dispensing information was to prevent theft. With theft, Rite Aid was

losing money. With other types of diversion like medically inappropriate amounts of prescriptions,

Rite Aid made less money if it strictly enforced the law. Thus, Rite Aid turned a blind eye to

keeping track of medically inappropriate prescriptions and only focused on making sure it knew if

it was losing inventory without getting paid for it.

                 In a 2013 article in the New England Journal of Medicine, two CVS pharmacy

executives recognized that chain pharmacies are in a unique position to stop the dispensing for


178
   Jessica Schneider, Justice Department Reveals Its Number-Crunching Methods to Catch Opioid
Over-Prescribers, CNN, September 24, 2019, https://www.cnn.com/2019/09/24/politics/opioid-
doctors-arrests/index.html.


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suspicious prescribers and outlined how data could be used. They explained that chain pharmacies

“have the advantage of aggregated information on all prescriptions filled at the chain” and that

“[a]nalyses of aggregated data … can also target patterns of abuse by both prescribers and

patients.” 179 They thus concluded that “[g]iven the growing use of controlled substances and the

resulting illness and deaths, more innovative use of transparent data is only prudent.” 180

                  Even though Rite Aid could have used its own data to identify outlier prescribers

and inappropriate prescriptions, there is no evidence Rite aid used its own easily accessible data

to identify suspect doctors and medically unnecessary prescriptions.

                  Rite Aid made sure to keep track of any inventory loss and had systems in place

to do so. For example, Rite Aid only used “Key Performance Indicators” (“KPIs”) to monitor its

dispensing and investigate product loss. 181

                  But, as explained by Andrew Palmer, a Rite Aid employee in the Loss Prevention

Department, Rite Aid did not use the KPIs to identify inappropriate prescribing:

                 Q. Were there any KPIs that the Company used to identify inappropriate
                 prescribing?
                 A. I can’t see -- again, I wasn’t in this department the entire time, but I cannot see
                 how any NaviStor or NaviScript KPI would be able to do that. 182

                  Rite Aid also failed to conduct adequate internal or external audits of its opioid

sales to identify patterns regarding prescriptions that should not have been filled and to create




179
    Mitch Betses, R.Ph., and Troyen Brennan, M.D., M.P.H, Abusive Prescribing of Controlled
Substances—A      Pharmacy      View,   369    NEJM      989-991    (Sept.    12,   2013),
https://www.nejm.org/doi/10.1056/NEJMp1308222.
180
      Id.
181
   In Re: National Prescription Opiate Litigation, Palmer Dep. (Jan. 22, 2019) 158:11-164:17
(Case No. 17-md-2804) (Dkt. 2173-51).
182
      Palmer Dep. (Jan. 22 2019) 164:11-17.


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policies accordingly, or if it conducted such audits, it failed to take any meaningful action as a

result.

                 Rite Aid was, or should have been, fully aware that the quantity of opioids being

distributed and dispensed nationwide by its pharmacies was untenable, and in many areas patently

absurd; yet, it did not take meaningful action to investigate or to ensure that it was complying with

its duties and obligations under the law with regard to controlled substances.

                 Rite Aid’s duties were assumed voluntarily, as a condition for the privilege of

selling and dispensing controlled substances throughout the U.S. (and in this District).

                 Further, Rite Aid had been warned repeatedly by governmental agencies and

publicly available sources that diversion and abuse was occurring and that the opioids supply chain

fell beneath the applicable duty of reasonable care.

                 The sheer volume of opioids sold, distributed, and dispensed throughout the U.S.

(and in this District) has been, by itself, sufficient to alert Rite Aid that opioids were necessarily

being diverted into unlawful channels.

                 Rite Aid breached its duties to maintain effective controls, and the foreseeable

result is that widespread diversion and abuse of opioids has occurred.

                 Rite Aid’s breach of its duties is the proximate cause and a substantial factor

contributing to the damages suffered by Government Programs alleged in this Second Amended

Complaint.

                 The harms to Government Programs were thus totally foreseeable in light of Rite

Aid’s breach of its duties.




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                Rite Aid’s Public Statements Concealed Its Failures to Prevent Filling
                Medically Unnecessary Prescriptions

                 Rite Aid’s public statements have misled the public and officials of the United

States and States to believe that Rite Aid was taking proactive steps to fight the opioid epidemic

and prevent fraudulent dispensing and billing.

                 In 2018, in the midst of widespread attention into the opioid crisis, Rite Aid stated

that it “remains steadfast in its commitment to address opioid abuse in the communities we serve

and we will continue to explore additional ways to further enhance our efforts to address this

serious public health issue." 183

                 Also in 2018, Rite Aid stated that “[t]he opioid epidemic has reached epic

proportions and it is an issue that demands not only our attention but also our continued action to

help reduce the rise in opioid deaths,” said Jocelyn Konrad, Rite Aid executive vice president of

pharmacy. “For the past two years, we’ve worked with state and federal lawmakers to increase

access to this life-saving medication [naloxone]. We support the Surgeon General’s recent

Advisory on the importance of naloxone and are committed to offering it to our customers in all

of the communities we serve.” 184 What Konrad was not acknowledging, however, was that Rite

Aid had for years done little to prevent the opioid crisis that was ravaging communities across

America.




183
   Press Release, Rite Aid Corp., Rite Aid Makes Free Opioid Disposal Solution Available At More
Than 2,500 Pharmacies Nationwide (May 21, 2018), https://www.riteaid.com/corporate/news/-
/pressreleases/news-room/2018/rite-aid-makes-free-opioid-disposal-solution-available-at-more-
than-2-500-pharmacies-nationwide.
184
   Press Release, Rite Aid Corp., Naloxone Available At Rite Aid Pharmacies in 19 States (Apr.
19, 2018), https://www.riteaid.com/corporate/news/-/pressreleases/news-room/2018/naloxone-
available-at-rite-aid-pharmacies-in-19-states.



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                  In 2019, Rite Aid again acknowledged that “[t]his vicious cycle of opioid abuse

is one that young people are falling victim to far too often,” Konrad said. “Our country is faced

with an unparalleled crisis that is critically impacting the lives of our children.” 185 While she

admits the crisis is “unparalleled,” what Konrad did not acknowledge was Rite Aid’s central role

in stoking the epidemic with massive quantities of opioid prescriptions filled at its pharmacies

across America.

                  In 2019, Rite Aid released its most detailed attempt to mask what have been its

wholesale failures to prevent inappropriate dispensing in its pharmacies, issuing its ironically

named Fiscal 2019 Corporate Social Responsibility Report (“Responsibility Report”). While

attempting to deflect laying blame for the opioid plague at its own doorstep, in it Rite Aid’s ex-

CEO John Standley touts that Rite Aid was engaged in initiatives which would “mak[e] a

meaningful difference in the lives of our customers, associates and neighbors.” 186

                  However, the Responsibility Report is a thinly veiled public relations effort by

Rite Aid aimed at deflecting what it knew to be its woefully deficient conduct. Indeed, as alleged

herein, Rite Aid’s newfound resolve came more than a decade after it had already been on notice

that the epidemic was decimating the communities where its pharmacies had been for years

pouring virtually unlimited opioid drugs without regard to whether the prescriptions were

appropriate or medically necessary.




185
   Editorial, Rite Aid and Harrisburg schools team to save young lives in opioid epidemic,
PENNLIVE, Mar. 20, 2019, https://www.pennlive.com/opinion/2019/03/rite-aid-and-harrisburg-
schools-team-to-save-young-lives-in-opioid-epidemic.html.
186
  Rite Aid Fiscal 2019 Corporate Social Responsibility Report, We Are Building a Healthier Next
Generation, at 3, https://www.riteaid.com/corporate/sustainability.


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                  The Responsibility Report disingenuously claims that Rite Aid takes its role in the

opioid epidemic “seriously,” suggesting it does more than simply comply with pharmacy laws and

regulations:

          As one of the nation’s leading drugstore chains, Rite Aid takes its role as a
          community healthcare provider very seriously. This means going beyond simply
          complying with state laws and regulations to also raise awareness about
          important issues like prescription drug safety and drug abuse prevention. We
          also are committed to raising awareness about important issues like drug abuse
          prevention and prescription drug safety while advocating for increased access to
          education, treatment and proper medication disposal. As one of health care’s most
          accessible practitioners, pharmacists are uniquely positioned to help educate their
          patients and communities about prescription safety. 187

As alleged herein, in reality, throughout the opioid crisis Rite Aid has fallen well short of

complying with the CSA and state laws and regulations, and in fact has done very little to provide

its pharmacists with the tools or training to enable them to identify and prevent inappropriate

prescribing of opioids.

                  The Responsibility Report misleadingly outlines the belated (and inadequate)

steps Rite Aid had taken to manage controlled substances, including “ongoing training” of its

pharmacists on opioid management, counseling and responses. In reality, throughout the time the

opioid epidemic has been ravaging communities across America, this training at many of its

pharmacies has been largely non-existent. Worse yet, at certain of its pharmacies, Rite Aid’s

trainers told pharmacists they should falsify compliance documents, filling in bogus answers to its

computer-generated C-II due diligence questions (i.e., do you know patient?, verify doctor/patient

relationship, run PDMP, etc.). (Pharmacist No. 5)




187
      Id. at 36-37 (emphasis added).



                                                  80
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                   In addition, the Responsibility Report provides lip service to its “mandatory”

requirement that pharmacists conduct counseling of patients receiving opioid prescriptions. 188 Not

only is this inherently deceptive and simply window dressing (because Rite Aid has nothing in

place to ensure that its pharmacists have actually ever undertaken this counseling role), in fact the

intense pressure the Company has placed on many of its pharmacists to fill high volumes of

prescriptions has not allowed them adequate time to counsel patients.

                   The Responsibility Report also states that Rite Aid in 2013 had required its

pharmacists to be enrolled in state Prescription Drug Monitoring Programs (“PDMPs”), apparently

suggesting that its pharmacists were indeed regularly checking these state databases. 189 What the

Responsibility Report fails to make clear is that Rite Aid (a) has never required its pharmacists

check the PDMP database before filling all opioid prescriptions; (b) does nothing to ensure its

pharmacists’ actual compliance with state PDMP rules; (c) does not allow its pharmacists at high

volume stores adequate time to take the 15 minutes it can take to check the PMDP databases; and

(d) does not provide its pharmacists computer terminals with internet access, allowing easy access

to the PDMP databases, instead requiring them to use a separate terminal with internet access being

used by pharmacy technicians.

                   Finally, the Responsibility Report claims it has in place a system that provides

“[n]otice of fraudulent prescriber activities when Rite Aid receives notification from the Board of

Pharmacy or the PMP program.” 190 As alleged herein, this system rarely flagged what it knew (or

reasonably should have known) were well-known pill mill doctors (including failing to identify




188
      Id. at 37.
189
      Id. at 38.
190
      Id. at 39.


                                                 81
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doctors whose conduct rose to criminal levels). Furthermore, the Rite Aid system has never used

its own data preemptively to identify red flags related to inappropriate prescriptions and/or

suspicious prescribers. Indeed, the evidence herein will show that Rite Aid’s own system failed

to identify numerous suspicious prescribers or inappropriate prescriptions even in the face of

blatant red flags of fraud or diversion.

                 Despite these public pronouncements, Rite Aid has done little to prevent its

pharmacies from filling all the opioid prescriptions presented at its stores.

VII.    RITE AID’S UNLAWFUL CONDUCT

                 All DEA registrants like Rite Aid have a duty to “provide effective controls and

procedures to guard against theft and diversion of controlled substances.” 191 Diversion includes

the use medication outside the usual course of professional practice.

                 The DEA has repeatedly emphasized that, as DEA registrants, retail pharmacies

like Rite Aid are required to implement systems that detect and prevent diversion and abuse and

must monitor for red flags of diversion and abuse. The DEA has also repeatedly affirmed the

obligations of pharmacies to maintain effective controls against diversion and abuse in regulatory

action after regulatory action. 192 According to DEA, pharmacists are the “[l]ast line of defense.”193




191
   21 C.F.R. § 1301.71(a).
192
   See, e.g., Holiday CVS, L.L.C., d/b/a CVS/Pharmacy Nos. 219 and 5195; 77 Fed. Reg. 62,315
(Dep’t of Justice Oct. 12, 2012) (decision and order); East Main Street Pharmacy, 75 Fed. Reg.
66,149 (Dep’t of Justice Oct. 27, 2010) (affirmance of suspension order); Holiday CVS, L.L.C. v.
Holder, 839 F.Supp.2d 145 (D.D.C. 2012); Townwood Pharmacy; 63 Fed. Reg. 8,477 (Dep’t of
Justice Feb. 19, 1998) (revocation of registration); Grider Drug 1 & Grider Drug 2; 77 Fed. Reg.
44,069 (Dep’t of Justice July 26, 2012) (decision and order); The Medicine Dropper; 76 Fed.
Reg. 20,039 (Dep’t of Justice April 11, 2011) (revocation of registration); Medicine Shoppe-
Jonesborough; 73 Fed. Reg. 363 (Dep’t of Justice Jan. 2, 2008) (revocation of registration).
193
                See              https://www.deadiversion.usdoj.gov/mtgs/pharm_awareness/
conf_2015/march_2015/prevoznik.pdf at 132.


                                                 82
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                The framework of state and federal statutes and regulations, along with industry

guidelines, makes clear that all pharmacies like Rite Aid possess and are expected to possess

specialized and sophisticated knowledge, skill, information, and understanding of both the market

for scheduled prescription narcotics and of the risks and dangers of the diversion and abuse of

prescription narcotics when dispensing of medications outside the usual course of professional

practice.

                The CSA and state pharmacy laws and regulations require that licensed

pharmacists recognize “red flags” that indicate addiction, diversion and abuse, including: (1)

customers receiving the same combination of prescriptions or drug cocktails (i.e., oxycodone and

alprazolam); (2) customers receiving the same strength of controlled substances, no individualized

dosing, and/or multiple prescriptions for the strongest dose of an opioid drug available (i.e., 30

milligrams of oxycodone with 15 milligrams of oxycodone and 2 milligrams of alprazolam); (3)

customers paying cash for their prescriptions; (4) customers requesting early refills; (5) customers

with the same diagnosis codes written on their prescriptions (i.e., back pain, lower lumbar, neck

pain, or knee pain); (6) customers driving long distances to visit physicians and/or fill

prescriptions; (7) customers arriving in groups, with each customer presenting a prescription issued

by the same physician; and (8) customers with prescriptions for opioids written by physicians not

associated with pain management (i.e. a gynecologist). Additionally, a pharmacy may be tipped

off to addiction, abuse, and diversion where the overwhelming majority of prescriptions filled by




                                                83
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the pharmacy is for opioids. 194 The DEA has frequently met with industry representatives to

discuss these “red flags” of diversion and abuse. 195

                   Case law and administrative proceedings interpreting the CSA require that

licensed pharmacists recognize “red flags” that indicate addiction, diversion and abuse, including:

      •   Criminal, civil, or administrative actions against the prescriber 196;

      •   Patient’s use of street slang for certain opioids (e.g., “the M’s” or “the Blues”) 197;

      •   Cash payments:

             o cash payments exceed national average;

             o “unusually large” cash transactions: cash transactions average 8% or less of all

                 transactions according to DEA) 198;

      •   Multiple patients with same address/last name/prescription/diagnoses/prescriber/day: (e.g.,

          all prescriptions from doctor have diagnoses of lower lumbar pain; code L-4, L-5, lower

          back pain; or severe lower back pain) 199;



194
   See Birmingham Pharmacy Diversion Awareness Conference, DEA Perspective:
Pharmaceutical          Use        &        Abuse        (Mar.        28-29,  2015),
https://www.deadiversion.usdoj.gov/mtgs/pharm_awareness/conf_2015/march_2015/
prevoznik.pdf at 139-40.
195
   Rannazzisi Decl. in Holiday CVS, L.L.C. v. Holder, 839 F.Supp.2d 145 (D.D.C. 2012), Case No.
1:12-cv-00191-RBW, Dkt. 19, Ex. 6.
196
      Holiday CVS, LLC v. Holder, 839 F. Supp.2d 145, 160 (D.D.C. 2012).
197
      Id. at 161; Holiday CVS, LLC, 77 Fed. Reg. at 62321, 62344 (2012).
198
    Oak Hill Hometown Pharmacy v. Dhillon, 2019 WL 5606926, at *6; Jones Total Health Care
Pharmacy, LLC v. DEA, 881 F.3d 823, 828 (11th Cir. 2018); Pharmacy Doctors Enterprises, Inc.
v. DEA, 2019 WL 4565481, at *5; Holiday CVS, 77 Fed. Reg. at 62318, 62326, 62331, 62332; East
Main Street Pharmacy, DEA Affirmance of Suspension Order, 75 Fed. Reg. 66150, 66158 (2010).
199
  Holiday CVS, 839 F. Supp. 2d at 161; Pharmacy Doctors Enterprises, 2019 WL 4565481, at *5;
Holiday CVS, 77 Fed. Reg. at 62318, 62326, 62331, 62344; East Main Street Pharmacy, 75 Fed.
Reg. at 66159.



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      •   Long distance between pharmacy and prescriber (e.g., Western Pennsylvania Pharmacy

          filling out-of-state prescriptions; 200 miles; Prescribers “not from local area”) 200;

      •   Long distance between patient and prescriber (e.g., “out of state”) 201;

      •   Long distance between pharmacy and patient (e.g., southern West Virginia residence to

          Western Pennsylvania Pharmacy; 200 miles; Patients “not from local area”) 202;

      •   Prescriptions filled piecemeal over multiple visits 203;

      •   “Pattern Prescribing”:

             o Prescribers writing in a “factory-like” manner, prescriptions for the same drugs, the

                 same quantities, without any kind of variability or change considering the different

                 patients that come into that pharmacy;

             o The presence of an unwavering combination of the same drugs in the same strengths

                 in the same quantities across numerous patients;

             o Multiple patients on a single day with the same combination from a single

                 prescriber;

             o No “individualized therapy” – same prescriptions for multiple patients; or

             o Maximum doses across multiple patients 204;



200
   Oak Hill Hometown Pharmacy, 2019 WL 5606926, at 5; Holiday CVS, 77 Fed. Reg. at 62321,
62332, 62333; East Main Street Pharmacy, DEA Affirmance of Suspension Order, 75 Fed. Reg. at
66163.
201
      Holiday CVS, 77 Fed. Reg. at 62318, 62322, 62326, 62335.
202
   Oak Hill Hometown Pharmacy, 2019 WL 5606926, at *5; Jones Total Health Care Pharmacy,
LLC v. DEA, 881 F.3d 823, 828 (11th Cir. 2018); Holiday CVS, 77 Fed. Reg. at 62318, 62322,
62332, 62333; East Main Street Pharmacy, 75 Fed. Reg. at 66150.
203
      Oak Hill Hometown Pharmacy, 2019 WL 5606926, at *5.
204
  Oak Hill Hometown Pharmacy, 2019 WL 5606926, at 5; Pharmacy Doctors Enterprises, 2019
WL 4565481, at 5; Holiday CVS, 77 Fed. Reg. Vol. at 62318, 62332, 62333, 62335, 62344; East
Main Street Pharmacy, 75 Fed. Reg. at 66150, 66157.


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•   High abuse potential prescriptions / “Drug Cocktails”:

       o Oxycodone and Xanax;

       o Oxycodone and Alprazolam;

       o Prescriptions for both 15mg and 30 mg strengths;

       o Oxycodone, Alprazolam, and Carisoprodol;

       o Prescriptions of an opiate and a benzodiazepine;

       o Oxy 30, Oxy 15, and Xanax (Alprazolam);

       o Oxy 30, Oxy 15, Alprazolam 2mg, and a fourth “filler” drug;

       o Oxy 30, Oxy 15, Xanax 2 mg, Soma, and Flexeril;

       o 210 mg dose prescription of Oxy 30;

       o High quantity prescriptions;

       o Prescriptions of large volumes of controlled substances in the highest strengths;

       o Multiple drugs prescribed for the same thing;

       o Drugs in different classes that can cause the same side effects, like respiratory

           depression;

       o “The Triple”: benzodiazepine, narcotic painkiller, and sleeping pill;

       o “The Homerun”: benzodiazepine, narcotic painkiller, sleeping pill, and Soma;

       o Multiple narcotic painkillers at the same time;

       o High doses of Oxy: normal dose is 5- 10mg/4 hours;

       o High doses of Xanax (alprazolam): normal dose is 4mg/day;

       o High doses of Valium (diazepam): normal dose is 10mg;

       o Daily dose of 300 mg of oxycodone and 60mg of hydrocodone = overdose;




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              o “Duplicate Therapy”: multiple drugs in the same class prescribed for the same

                 thing;

              o Multiple prescriptions of same narcotic on same day;

              o Multiple prescriptions of Oxycodone, Xanax, and Soma for single patient; or

              o High doses of opioids in light of overdose statistics. 205

      •   Patients who arrive together with identical or nearly identical prescriptions 206;

      •   Patients seeking refills before prescription runs out and/or patients with frequent loss of

          controlled substance medication 207;

      •   Prescription numbers are very close sequentially 208;

      •   Multiple out-of-area patients from the same town/area (“Sponsor Arrangements” in which

          people from mostly the mountain states come down in buses and vans and drive to the

          pharmacy to fill opioid prescriptions 209;

      •   Patient’s appearance/behavior (e.g., do not need the medication, or appear high; slurred

          speech, stumbling walk, drooling) 210;




205
   Jones Total Health Care Pharmacy, 881 F.3d at 828; Pharmacy Doctors Enterprises, 2019 WL
4565481, at *5; Holiday CVS, 77 Fed. Reg. at 62319, 62322, 62325, 62326, 62331, 62336, 62344;
East Main Street Pharmacy, 75 Fed. Reg. at 66150, 66157, 66158, 66159, 66165; U.S. Centers for
Disease Control, CDC Guideline for Prescribing Opioids for Chronic Pain — United States, 2016,
65       Morb.       And       Mort.       Wkly       Rep.       (March       18,       2016),
https://www.cdc.gov/mmwr/volumes/65/rr/pdfs/rr6501e1.pdf.
206
      Pharmacy Doctors Enterprises, 2019 WL 4565481, at *5.
207
  Id. at 5; Holiday CVS, LLC, 77 Fed. Reg. Vol. at 62343; East Main Street Pharmacy, 77 Fed.
Reg. at 66157.
208
      Holiday CVS, 77 Fed. Reg. at 62319.
209
      Id. at 62319, 62331.
210
      Id. at 62319, 62331; East Main Street Pharmacy, 75 Fed. Reg. at 66151.



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      •     Prescribers without a specialty in pain management writing large quantities of prescriptions

            (e.g., prescription influx from board certified pediatricians or gynecologists; doctors

            prescribing outside the scope of their usual practice) 211;

      •     Patients between the ages of 25 and 40 with cash 212;

      •     Evidence of doctor shopping (e.g., Same/similar prescription prescribed by two or more

            prescribers at the same time) 213;

      •     Prescription from physician with an expired/revoked medical license, DEA number 214;

      •     Patient prescribed only controlled substance medications 215;

      •     Patient presents controlled substance prescriptions under different patient names 216;

      •     Patient insists on brand name product 217;

      •     Other pharmacies refuse to fill prescriptions from certain providers 218;

      •     Prescriber pattern of larger doses and higher quantities over time 219; and

      •     Confluence of out-of-state patients on a single day receiving the same medications in the

            same quantities from the same in-state prescriber 220.




211
   Holiday CVS, 77 Fed. Reg. at 62326, 62331; Jones Total Health Care Pharmacy, 881 F.3d at
828.
212
      Holiday CVS, 77 Fed. Reg. at 62331.
213
      Id. at 62331, 62343.
214
      Id. at 62342.
215
      Id. at 62343.
216
      Id. at 62343.
217
      Id.
218
      East Main Street Pharmacy, 75 Fed. Reg. at 66151.
219
      Id. at 66159.
220
      Holiday CVS, 77 Fed. Reg. at 62333.



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                 Additionally, a pharmacy may be tipped off to addiction, abuse, and diversion

where the overwhelming majority of prescriptions filled by the pharmacy is for opioids. 221 The

DEA has frequently met with industry representatives to discuss these “red flags” of diversion. 222

                 Most of the time, these attributes are not difficult to detect and should be easily

recognizable by pharmacies. Pharmacies like Rite Aid often have firsthand knowledge of

dispensing red flags – such as disparate geographic location of doctors from the pharmacy or

customer, lines of seemingly healthy patients, out-of-state license plates, and cash transactions,

and other significant information.

                 Sophisticated, national chain pharmacies like Rite Aid also have the ability to

analyze data relating to drug utilization and prescribing patterns across multiple retail stores in

diverse geographic locations. Its own data allows Rite Aid to observe patterns or instances of

dispensing that are potentially suspicious, of oversupply in particular stores or geographic areas,

or of prescribers or facilities that seem to engage in improper prescribing. 223

                 In 2006, the National Association of Chain Drug Stores (“NACDS”) issued a

“Model Compliance Manual” intended to “assist NACDS members” in developing their own

compliance programs. 224 The Model Compliance Manual notes that a Retail Pharmacy may:



221
     See Birmingham Pharmacy Diversion Awareness Conference, DEA Perspective:
Pharmaceutical          Use        &        Abuse        (Mar.        28-29,  2015),
https://www.deadiversion.usdoj.gov/mtgs/pharm_awareness/conf_2015/march_2015/
prevoznik.pdf at 139-40.
222
  Rannazzisi Decl. in Holiday CVS, L.L.C. v. Holder, 839 F. Supp.2d 145 (D.D.C. 2012), Case
No. 1:12-cv-00191-RBW, Dkt. 19, Ex. 6.
223
   See, e.g., Holiday CVS, L.L.C., d/b/a CVS/Pharmacy Nos. 219 and 5195, 77 Fed. Reg. 62,315
(Dep’t of Justice, Oct. 12, 2012) (decision and order) (DEA expert witness examined dispensing
records alone to identify inappropriately dispensed medications).
224
   In Re: National Prescription Opiate Litigation, Third Amended Complaint (Case No. 17-md-
2804) (Dkt. 2613).


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   •   Generate and review reports for its own purposes” and refers to the assessment tools

       identified by CMS in its Prescription Drug Benefit Manual chapter on fraud, waste and

       abuse, including:

   •   Drug Utilization Reports, which identify the number of prescriptions filled for a particular

       customer and, in particular, numbers for suspect classes of drugs such as narcotics to

       identify possible therapeutic abuse or illegal activity by a customer. A customer with an

       abnormal number of prescriptions or prescription patterns for certain drugs should be

       identified in reports, and the customer and his or her prescribing providers can be contacted

       and explanations for use can be received.

   •   Prescribing Patterns by Physician Reports, which identify the number of prescriptions

       written by a particular provider and focus on a class or particular type of drug such as

       narcotics. These reports can be generated to identify possible prescriber or other fraud.

   •   Geographic Zip Reports, which identify possible “doctor shopping” schemes or “script

       mills” by comparing the geographic location (zip code) of the patient to the location of the

       provider who wrote the prescription and should include the location of the dispensing

       pharmacy.

                 Yet, Rite Aid never leveraged its resources and troves of information to stop or

further question the overwhelming majority of prescriptions written by the criminal prescribers.

                Rite Aid failed to respect its role as the last line of defense as a pharmacy and

failed to ensure that the prescriptions it was filling were issued to a legitimate patient for a

legitimate medical purpose by a practitioner acting in the usual course of professional practice, as

is evident by the copious amounts of opioids being dispensed by Rite Aid stores throughout the

U.S.




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                From about 2006 to the present (and ongoing), Defendant Rite Aid violated the

CSA and state pharmacy laws and regulations by dispensing controlled substances in violation of

the pharmacist’s corresponding responsibility in violation of 21 C.F.R. § 1306.04(a) and outside

the usual course of pharmacy practice in violation of 21 C.F.R. § 1306.06.

                Rite Aid violated the CSA and state pharmacy laws and regulations each time it

filled a controlled substance prescription without identifying and resolving those red flags because:

   •   They were knowingly filled outside the usual course of professional practice and not for a

       legitimate medical purpose; therefore, they were not pursuant to a valid prescription under

       21 U.S.C. § 829 and thereby violated 21 U.S.C. § 842(a)(1).

   •   They were knowingly and intentionally dispensed outside the usual course of professional

       pharmacy practice in violation of 21 C.F.R. 1306.06, and therefore such dispensing and

       delivering of controlled substances was not authorized by the CSA, and thereby violated

       21 U.S.C. § 841(a).

                Had they known that Rite Aid dispensed scores of controlled substance

prescriptions that were lacking a legitimate medical purpose and/or a medically accepted

indication (and therefore did not constitute valid prescriptions under the CSA and state pharmacy

law and regulations), Government Programs would have refused to pay for those opioid

medications.

                Rite Aid failed to maintain effective controls against diversion or conduct due

diligence to ensure opioids were not diverted, resulting in the gross over-dispensing of opioids.

Rite Aid thus directly contributed today’s opioid epidemic and corresponding harm to Government

Programs.




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                The opioid crisis described herein is a direct and foreseeable result of Rite Aid’s

actions. And it was foreseeable that Government Programs would be damaged by Rite Aid’s

actions.

                Below is just a representative sampling of the rampant fraud that has occurred at

Rite Aid pharmacies throughout the United States.

               Specific Examples of Unlawful Dispensing Conduct: Alabama

               1.     Rite Aid failed to investigate, report, or halt dispensing of inappropriate
                      or medically unnecessary prescriptions of controlled substances in
                      Alabama

                The opioid epidemic has had a particularly devastating impact on Alabama.

                Alabama has the highest rate of opioid prescriptions issued in the nation — 1.2

prescriptions per person compared with the national average of 0.71. 225 In 2017, no fewer than 422

deaths were attributable to opioid overdoses in Alabama. 226

                According to the Alabama Medicaid Agency, total federal and state expenditures

on opioids increased more than 147% from 2011 ($9.9 million) to 2016 ($14.6 million). 227

                Opioids have had an especially dire impact on rural states like Alabama.

According to a recent report by the U.S. Department of Agriculture: “Rising rates of prescription

medication abuse, especially of opioids, and the related rise in heroin-overdose deaths are

contributing to this unprecedented rise in age-specific mortality rates after a century or more of



225
     Ctrs. for Disease Control & Prevention, U.S. State Prescribing Rates, 2016,
https://www.cdc.gov/drugoverdose/maps/rxstate2016.html.
226
   The Henry J. Kaiser Family Foundation, Opioid Overdose Deaths and Opioid Overdose Deaths
as a Percent of All Drug Overdose Deaths (2017), https://www.kff.org/other/state-indicator/opioid-
overdose-deaths/.
227
   Robert Moon, MD, Alabama Medicaid Opioid Prescribing Trends and Outcomes: The Opioid
Crisis in Alabama: From Silos to Solutions (March 10, 2017).



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steady declines. This trend, if it continues, will not only lower rural population but will increase

what is known as the dependency ratio: the number of people likely to be not working (children

and retirees) relative to the number of people likely to be wage earners (working-age adults).” 228

                  Despite having some 176 stores located all over the State of Alabama, Rite Aid’s

gross inadequacies in the performance of its CSA due diligence obligations are underscored by the

following examples of illegal prescribing and diversion activities.

                  Upon information and belief, none of the following health care professionals

(many of whose prescriptions were filled at Rite Aid pharmacies), who were apprehended (and

many of them later convicted) as a result of a DEA or local law enforcement investigation, were

identified, investigated, or blocked by Rite Aid despite their prescribing habits rising to a criminal

level:

 Date             Doctor                           City                     Sentence
 5-Jan-10         Jason Michael Hunt, MD           Guntersville, AL         License suspended
 23-Apr-14        Joseph Ngui Mwau Ndolo,          Fairhope, AL             2 years
                  MD
 28-Oct-15        Peter Lodewick, MD               Birmingham, AL           4 years probation
 10-Nov-15        Ernest Albert Claybon, MD        Midfield, AL             4 years probation
 8-Apr-16         Muhammad Ali, MD                 Jasper, AL               30 months

 29-Apr-16        Francisco Huidor-Figueroa,       Opelika, AL              5 years probation
                  MD
 17-Feb-17        Shelinder Aggarwal, MD           Huntsville, AL           15 years

 17-Mar-17        Bridgette Parker, NP             Mobile, AL               20 months
 24-Apr-17        Thomas “Justin” Palmer, NP       Mobile, AL               30 months

 10-May-17        Robert Ritchea, MD               Phenix City, AL          10 years

 25-May-17        John Patrick Couch, MD           Mobile, AL               20 years




228
      U.S. Dept. of Ag., Rural America at a Glance, Economic Information Bulletin 182 (Nov. 2017).


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 26-May-17     Xiulu Ruan, MD                   Mobile, AL            21 years


 17-May-18     Shepherd Odom, MD                Montgomery, AL        5 years probation

 8-Jun-18      Rassan Tarabein, MD              Daphne, AL            5 years, $15,000,000
                                                                      restitution
 17-Jan-19     Willie Chester, MD               Montgomery, AL        2 years probation
 17-Jan-19     Steven Cox, MD                   Montgomery, AL        3 years probation
 17-Jan-19     Elizabeth Cronier, NP            Montgomery, AL        2 years probation
 17-Jan-19     Julio Delgado, MD                Montgomery, AL        2 years probation
 17-Jan-19     Stephanie Ott, RN                Montgomery, AL        2 years probation
 17-Jan-19     Gilberto Sanchez, MD             Montgomery, AL        12 years
 17-Jan-19     Johnnie Chaisson Sanders         Montgomery, AL        7 months
 17-Apr-19     Elizabeth Korcz, MD              Hoover, AL
 24-Apr-19     Marshall Plotka, MD              Huntsville, AL        Indicted
 24-Apr-19     Celia Lloyd-Turney, MD           Huntsville, AL        Indicted
 17-May-19     Steven Bruce Hefter, MD          Birmingham, AL        87 months

 29-May-19     Lillian Akwuba, NP               Montgomery, AL        10 years

 30-May-19     Erik Raul Torres                 Opelika, AL           6 months
 21-Jun-19     Rodney Morris, MD                Birmingham, AL        Pled Guilty

 11-Jul-19     James Edwards, MD                Opelika, AL           Indicted
 18-Nov-19     Cindy Louise Hyche Dunn          Birmingham, AL        10 years

 8-Sep-20      Paul Roberts, MD                 Fultondale, AL        6 years

 21-Sep-20     Di’Livro Beauchamp, MD           Montgomery, AL        Indicted
 16-Oct-20     Richard Stehl                    Montgomery, AL        15 years


              2.      Millbrook, Alabama (Pharmacist No. 13)

                Pharmacist No. 13 was a staff pharmacist at the Rite Aid store on 3720 Highway

14 in Millbrook, Ala. from 2016 to 2018. When Walgreens bought her Rite Aid store in March

2018, she transitioned to the new company but soon resigned because, she said, the Walgreens

staff did not get along with the new Rite Aid employees.




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                    Millbrook is a small town (population 14,000) with a substance abuse problem.

“They were good ole boys,” she said. “Alcohol and drug use went hand in hand.” Pharmacist No.

13 would joke with the staff about the customers on Saturdays. “In the front they came to get

alcohol and, in the back, they went to the pharmacy to get drugs,” she said. “They’d go out the

door with just cartloads of alcohol on Saturdays.”

                    She heard rumors of an illegal drug trade going on in and around Millbrook.

“Whenever you’re associated with a town that has a big illegal drug use going on, then you might

well have a big prescription drug problem as well,” she said.

                    At least 50 percent of the store’s prescription sales were in controlled substances

and those were mostly pain medications. Norco, which contains hydrocodone and acetaminophen,

was a big seller.

                    The store stocked a lot of Norco. “We sometimes had to order 10 bottles at a time,”

she said. Some customers would ask for a specific color of hydrocodone, a request that would set

off alarm bells. The street value of certain colors was higher. Different manufacturers had different

colors. Many customers asked for the white brand from Watson, a generic. Later, many requested

yellow tablets (Norco is yellow). Some would say the white tablets did not sit well in their

stomachs. Norco was their top selling narcotic. A big reason for that was the prescriptions of Dr.

Gilberto Sanchez and the people who worked for him (see discussion below).

                    Pharmacist No. 13 regularly encountered problems with potential prescription

fraud, including forged prescriptions and stolen prescription pads. In such cases, she would contact

the doctor and asked them what they wanted the staff to do, press charges or talk to the patient

themselves. They usually preferred for the pharmacy to press charges.




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                 When the staff were asked to call the police, she would have to stall the customer

until the police showed up. The police would sometimes come inside the store or wait just outside

the door to arrest the customer.

                 One typical forgery was to change the quantity of the drug, adding a zero to make

a 10-count turn into 100, for example. “Usually, we knew the docs and how they prescribed things,

and you could guess that it was forged,” she said.

                 Pharmacist No. 13 had a store procedure to follow if she thought a prescription

was forged. She would call the doctors and verify the prescription in those cases.

                 She remembered a case where an entire prescription pad was stolen, and the

customer wrote the whole prescription out. She recalled that the forged signature did not match

the true signature of the doctor. In that case, she notified the police, filled the prescription and the

police came and arrested him. However, it could be difficult to determine if a pad had been stolen

unless the doctor notified the pharmacy. She recalled one case in which a customer had printed a

very good copy of a doctor’s pad and she did not catch it. She learned about it because the police

caught the person at another store.

                 Pharmacy staff was also able to report to Rite Aid if they were suspicious about

seeing lot of prescriptions for controlled substances from certain doctors. She remembered

reporting one to corporate but could not recall the name.

                 The Rite Aid computer system would also block certain physicians’ DEA numbers

if a doctor had lost their DEA registration. But she does not recall management warning about

avoiding specific doctors. That information could be passed on between pharmacists. “Usually,

that was on a more personal level,” she said. “Usually, you would hear it by word of mouth from

other pharmacists or you would come across it yourself.”




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                 Pharmacist No. 13 did recall getting emails from corporate warning of the Sudafed

diversion problem and other scams, such as gift card scams. If any pharmacies in the district had

been robbed, that could also generate a warning email from the corporate office.

                 She also occasionally saw prescriptions from Florida, which was about four hours

away. Although there was no policy about filling scrips from other states, a prescription from out

of state was a red flag in her mind and would usually send her to the state’s PMP to check on the

customer. Sometimes in such cases, in order to avoid a confrontation, she would tell the customer

the pharmacy was out of the drug in question.

                 Rite Aid did not require pharmacists to check the database, but they encouraged

it. Pharmacist No. 13 developed her own criteria for checking it: If a new customer dropped off a

prescription for a pain medication, or if they acted suspicious or were unsure about certain

information. She would also check it if the pain customer was overly friendly and too talkative or

seemed to be too knowledgeable about how controlled substances work. Patients who had

insurance but wanted to pay cash for their pain medication also would raise a red flag.

                 However, the work environment made it difficult to check the database even in

those cases. On weekends, she would be the only pharmacy staffer for an entire shift. There was

barely time to go to the bathroom or get something to eat. The store’s prescription count was not

high enough to warrant additional staffing. She only had help from 8 to 5 during the week. But

after 5 PM was when many people got off work and came to the store.

                 Even though the store was not high volume (on a good day, about 100

prescriptions were filled), they still have pressure to fill quickly. It was expected that prescriptions

be filled within 15 minutes. “In order to do that, you’re going to have to cut corners,” she said.

“Cutting corners means I don’t have time to look at this database to see if this person is a druggie




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and I don’t have time to call the doctor and sit on the phone forever to verify a prescription,”

Pharmacist No. 13 said. “We’re trying to do our main, primary job, which is to fill prescriptions.

So other things that we have to do sometimes go by the wayside. One of those is policing opioids.

If they really wanted us to do the things they wanted us to do, they should give us time for it and

they should give us help for it.”

                 She saw a lot of prescriptions from Dr. Gilberto Sanchez. He was good at

deception, she said. “He had a way of making it look legitimate,” she said. “Even if you had a

suspicion that he wasn’t on the up and up, he was very good at covering his tracks. Sanchez was

very strict about not letting his patients get early refills. He typed his prescriptions in order to avoid

forgeries. He asked patients to verify their identifications and would attach a photo of the patient

to the prescription.

                 On August 23, 2018, Sanchez, 56, of Montgomery, Alabama, was sentenced to

serve 12 years and 1 month in prison for prescribing unnecessary controlled substances to his

patients, committing health care fraud, and laundering money. Sanchez operated a medical practice

located at 4143 Atlanta Highway in Montgomery. Sanchez gave patients prescriptions for

controlled substances knowing that the patients did not need the medicine and would abuse the

drugs. Among the drugs he unnecessarily prescribed were oxycodone, hydrocodone, and fentanyl.

Sanchez also gave out illegitimate prescriptions for amphetamines, including Adderall, and

benzodiazepines, including Xanax. 229




229
    Press Release, U.S. Dep’t of Justice, Montgomery “Pill Mill” Doctor Receives a 145- Month
Sentence for Drug Distribution, Health Care Fraud, and Money Laundering Offenses; “Pill Mill”
Mental Health Counselor Pleads Guilty in Related Case (Aug 24, 2018),
https://www.justice.gov/usao-mdal/pr/montgomery-pill-mill-doctor-receives-145-month-
sentence-drug-distribution-health-care.


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                Pharmacist No. 13 also recalled seeing prescriptions from Dr. Shepherd Odom,

who was associated with Sanchez. On December 8, 2017, Dr. Shepherd A. Odom, 78, of

Alexander City, Alabama, pleaded guilty to charges of drug distribution and conspiracy to commit

money laundering. The guilty plea was a part of the prosecution of those involved in operating a

“pill mill” through the Family Practice medical office at 4143 Atlanta Highway in Montgomery,

Alabama. Odom was a part owner of Family Practice. In 2013, he sold his interest in the business

to his partner, Sanchez, but remained involved in the business. 230

                Pharmacist No. 13 also recalled prescriptions from Nurse Practitioner Lilian

Akwuba, who was associated with Sanchez. On May 29, 2019, Lilian Ifeoma Akwuba, 40,

received a 10-year sentence for her part in helping run two separate “pill mill” operations in

Montgomery over a four-year period. In October of 2018, a federal jury convicted Akwuba on 17

counts of unlawfully distributing controlled substances, four counts of health care fraud, one count

of conspiring to distribute controlled substances, and one count of conspiring to commit health

care fraud. From 2013 through 2016, Akwuba worked at Family Practice, where her supervisor

was Sanchez. There, she issued and caused to be issued unnecessary and illegitimate prescriptions

for fentanyl, hydrocodone, oxycodone, alprazolam, and methadone. 231

                Pharmacist No. 13 recalled seeing prescriptions from Dr. Willie Chester, who was

also associated with Sanchez: On June 11, 2018, a physician, Dr. Willie J. Chester, 65, of Pike

Road, Alabama, pleaded guilty in the ongoing prosecution of Sanchez’ Family Practice at 4143



230
  Press Release, U.S. Dep’t of Justice, Another Montgomery “Pill Mill” Doctor Pleads Guilty to
Drug Distribution and Money Laundering Charges (Dec. 11, 2017), https://www.justice.gov/usao-
mdal/pr/another-montgomery-pill-mill-doctor-pleads-guilty-drug-distribution-and-money.
231
   Press Release, U.S. Dep’t of Justice, Montgomery Nurse Practitioner Receives 10-Year Sentence
(May 30, 2019), https://www.justice.gov/usao-mdal/pr/montgomery-nurse-practitioner-receives-
10-year-sentence.


                                                99
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Atlanta Highway in Montgomery. Chester pleaded guilty to one count of aiding and abetting the

fraudulent acquisition of controlled substances. He admitted to writing a prescription for

clonazepam (commonly known as the brand name drug, Klonopin) despite knowing that the

patient receiving the prescription had no legitimate medical need for the drug.

                Pharmacist No. 13 recalled seeing prescriptions from Elizabeth Cronier, a nurse

practitioner who was associated with Dr. Sanchez. On April 23, 2018, Elizabeth Cronier, 70, of

Montgomery, Alabama, pleaded guilty to aiding and abetting the fraudulent acquisition of

controlled substances. Cronier was a certified registered nurse practitioner and she worked for

Sanchez at Family Practice from 2016 to 2017. Cronier admitted to aiding and abetting a patient

in obtaining a fraudulent prescription for buprenorphine. 232

                She also recalled seeing prescriptions from Dr. Julio Delgado, also associated with

Sanchez. On May 11, 2018, Dr. Julio Delgado, 56, of Homewood, Alabama, pleaded guilty to

aiding and abetting the fraudulent acquisition of controlled substances. Dr. Delgado worked for

Sanchez at Family Practice during 2015 and 2016. During that time, Dr. Delgado saw some of Dr.

Sanchez’s patients when Dr. Sanchez was too busy. Delgado admitted to writing a prescription for

someone who was never his patient and without ever examining the person. 233

               3.      Monroeville, Alabama (Pharmacist No. 14)

                Pharmacist No. 14 worked as a staff pharmacist for Rite Aid from May 2016 to

August 2018. He worked at the store at 1818 S. Alabama Ave., in Monroeville, Ala. The store is

now closed. He was laid off when Rite Aid stores were bought by Walgreens in 2018.



232
   Press Release, U.S. Dep’t of Justice, Physician, Nurse Practitioner, and Nurse Plead Guilty in
Montgomery “Pill Mill” Case (May 15, 2018) https://www.justice.gov/usao-mdal/pr/physician-
nurse-practitioner-and-nurse-plead-guilty-montgomery-pill-mill-case.
233
      Id.


                                                100
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                Rite Aid management held an offsite meeting during which they urged pharmacy

staff to keep their customers’ pain considerations in mind when evaluating narcotic prescriptions.

In the summer of 2017, when Rite Aid management rented a conference room at a Budweiser

brewery or facility of some sort in Montgomery. The purpose of the meeting was to share

corporate ideals and goals and to urge staff to remain with the Company even as the acquisition

by Walgreens (which closed in 2018) was playing out. “They urged them not to go away, because

Walgreens will want to keep them,” he said. “But that was not the case.”

                The issue of pain pill prescriptions was addressed at this meeting, with the

company urging staff to be open-minded about such prescriptions even though the opioid epidemic

was well under way and well publicized at this time. “Don’t get in that mindset of all of a sudden

having your shields up,” if a customer comes in with a prescription for opioids is how Pharmacist

No. 14 recalls the message. “They didn’t want you to think that pain is a bad idea,” he said. “No,

this person may need it,” was the message from above.

                The Monroeville Rite Aid store saw a lot of opioid prescriptions coming from the

local hospital’s emergency department, possibly from people who were drug seekers. Patients

coming from emergency visits from the Monroe County Hospital with prescriptions for small

amounts of pain pills were frequent customers at this store. Tramadol was a frequently prescribed

drug from the hospital emergency department. These were often people complaining of minor

injuries such as sprained ankles who were prescribed narcotics for their complaints.

                One staff member, Dr. Anthony House, stood out in Pharmacist No. 14’s memory

as a hospital physician who frequently wrote such prescriptions for pain killers. A DEA agent

visited the store one day, unannounced, and asked if there were any physicians the agency should




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be investigating. He mentioned Dr. House. “He always stuck out in my mind,” he said. Pharmacist

No. 14 doesn’t know if they investigated him or not.

                The store’s staff also dealt with forged prescriptions for opioids, including at least

one case that involved law enforcement authorities. He also filled for a veterinarian who wrote

prescriptions for large amounts of narcotics for dogs. Forged prescriptions for Tramadol and for

promethazine with codeine were seen in the pharmacy and in some cases filled.

                 Law enforcement had brought the issue of forged prescriptions to the attention of

staff at the store, when prescriptions from a local doctor were being altered. A DEA agent showed

him images of a prescription with the doctor’s original handwriting and an image of one that a

patient had added a prescription for Tramadol to. “Sure enough, you could see a weird mismatch

in the way they wrote ‘Tramadol,’” he said.

                 In another case, a doctor called the pharmacy and reported the promethazine

codeine forgery after seeing on the state PMP that the pharmacy had filled the prescription. The

doctor’s prescription pad had been stolen and he asked Rite Aid to call law enforcement. Law

enforcement was called and prepared a report on the incident.

                Pharmacist No. 14 relatively new at the time, reported this to his pharmacy

manager who handled it. He believes the pharmacy manager was trying to hide the matter from

his district manager “because he didn’t want him asking a lot of questions.” Pharmacist No. 14

did not recall that doctor’s name but thinks he was based out of an office in Brewton, Ala.

                Forged prescriptions for Tramadol and promethazine with codeine would get by

more easily than ones for high-profile, red-flag narcotics such as Percocet and Norco. “They fly

under the radar more in a retail setting,” Pharmacist No. 14 said. “We’re being pushed to fill a




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certain amount of prescriptions every day so it’s more likely to get under our radar and to get

filled.”

                  Pharmacist No. 14 also recalled a veterinarian, Dr. John Grider, who wrote

prescriptions for large amounts of Tramadol – 120 tablets – for dogs. These customers, there were

a handful of them, appeared to be well off, and perhaps retired. Pharmacist No. 14 was suspicious

of the prescriptions, but usually filled them. “It was kind of weird for a dog to be getting that

much,” he said.

                  Cases like these would often not be flagged in the Rite Aid internal computer

system. Rite Aid did not have a function that allowed management to block prescriptions from

being filled for certain physicians. “For most pharmacists, as long as it’s not an issue in the

computer, it’s up to your judgment,” he said. Some were repeat customers and he recalled a

pharmacy technician reassuring him that they had filled for the customer and the doctor before. In

hindsight, he thinks the drugs may have been diverted but he did not have the time or the resources

to verify that while working at the store.

                  Pharmacist No. 14 recalled filling prescriptions from suspicious providers. For

example, he “definitely” recalled filling prescriptions for Dr. Rassan Tarabein from Fairhope,

Alabama. On August 31, 2017, Tarabein pleaded guilty before Chief Judge DuBose in the

Southern District of Alabama to one count of health care fraud and one count of unlawful

distribution of a schedule II controlled substance. As part of his guilty plea, Tarabein admitted

that from around 2004 to May 2017, he ran an insurance scam in which he induced patients to visit

his clinic so that he could bill health care benefit programs for medically unnecessary tests and

procedures. Tarabein was sentenced to 60 months in prison and ordered to pay restitution totaling

$15,010,682 to six different health care benefit programs, including Medicare and the Alabama




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Medicaid Agency. Tarabein had operated the Eastern Shore Neurology and Pain Center, a private

clinic in Daphne, Alabama where he offered services relating to neurology and pain management,

such as spinal injections. 234

                Specific Examples of Unlawful Dispensing Conduct: California

                1.      Rite Aid failed to investigate, report, or halt dispensing of inappropriate
                        or medically unnecessary prescriptions of controlled substances in
                        California

                 California has not escaped the opioid epidemic.

                 In the decade between 2008 and 2017, over 14,500 Californians have died due to

prescription opioid drug overdoses. 235 There were over 80,000 emergency room visits and

hospitalizations in California from opioid overdoses during that same time period. 236 On average,

about six Californians die each day from an opioid-related overdose. 237

                 Despite having some 541 stores located all over the State of California, Rite Aid’s

gross inadequacies in the performance of its due diligence obligations are underscored by the

following examples of illegal prescribing and diversion and abuse activities in California.

                 Upon information and belief, none of the following health care professionals

(many of whose prescriptions were filled at Rite Aid pharmacies), who were apprehended (and

many of them later convicted) as a result of a DEA or local law enforcement investigation, were




234
   Press Release, U.S. Dep’t of Justice, Former Pain Management Doctor Receives 5 Years in
Health Care Fraud Case, Ordered to Pay More Than 15 Million Dollars in Restitution (June 8,
2018), https://www.justice.gov/usao-sdal/pr/former-pain-management-doctor-receives-5-years-
health-care-fraud-case-ordered-pay-more.
235
    California Department of Public Health, California Opioid Overdose Surveillance Dashboard,
https://www.cdph.ca.gov/opioiddashboard.
236
      Id.
237
      Id.


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identified, investigated, or blocked by Rite Aid despite their prescribing habits rising to a criminal

level:

 Date           Name                               City                     Sentence
  23-Aug-03     Michael Umansky, MD                Los Angeles, CA          36 months probation
  18-Oct-04     Nicholas Sasson, MD                Salina, CA               5 years probation
   5-Oct-06     Peter Ahles, MD                    Anaheim, CA              6 months home
                                                                            detention
    2-Feb-07    Heidi Ann Winkler, MD              Norwalk, CA              1 day
   5-Mar-07     Robert Z. Braun, MD                West Hills, CA           70 months
  22-Aug-07     Joan Z Kutschbach, MD              Elk Grove, CA            30 days
   30-Jun-08    Bassam Yassine, MD                 Glendora, CA             37 months
    3-Nov-08    Monique B. Williams, MD            Los Angeles, CA          36 months
   6-May-09     Masoud Bamdad, MD                  San Fernando, CA         25 years
     6-Jul-09   Daniel Healy, MD                   Arcadia, CA              4 years
   21-Sep-09    Joel Dreyer, MD                    Murrieta, CA             10 years
  11-Nov-09     Vu Le, MD                          Midway City, Cal         57 months
  19-Nov-09     Peter Dietrich, MD                 Sacramento, CA           60 days
  16-Apr-13     Christopher Henry Lister, MD       Victorville, CA          14 years
   2-May-13     Anush Davtyan, MD                  Encino, CA               14 years
  12-Aug-13     James William Eisenberg            Venice, CA               46 years
   17-Oct-13    Alvin Mingczech Yee, MD            Mission Viejo, CA        135 months
  27-Mar-14     Dr. Toni Daniels, MD               Berkeley, CA             dismissed
                                                                            (dementia)
    4-Sep-14 Dr. Michael Roger                     San Rafael, CA           3 years
             Chiarottino, MD
   29-Sep-14 Terrill Eugene Brown, MD              Visalia, CA              4 years, 9 months
    9-Dec-14 William Joseph Watson, MD             Del Mar, CA              5 years
    5-Jan-15 Andrew Sun, MD                        La Mirada, CA            63 months

    7-Dec-15 Julio Gabriel Diaz, MD                Goleta, CA               27 years
    4-Feb-16 Madhu Garg, MD                        Glendora, CA             3 years
    5-Feb-16 Hsiu Ying "Lisa" Tseng, MD            Rowland Heights,         30 years
                                                   CA
  11-Apr-16     Daniel Cham, MD                    Covina, CA               13 years
  20-Apr-16     Matthew Cole, MD                   San Diego, CA            time served
  29-Apr-16     Edward Ridgill, MD                 Ventura, CA              5 years
  13-Jun-16     Victor Boon Huat Siew, MD          Laguna Beach, CA         70 months
    7-Jul-16    Paul Woodward, MD                  Napa, CA                 5 years probation




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  18-Nov-16 Washington Bryan, MD                 Westwood, CA             33 months


 30-Nov-16 Naga Raja Thota, MD                   El Cajon, CA             2 years
 19-May-17 Jasna Mrdjen, MD                      Mountain View, CA        4 years
  13-Jul-17 Jeffrey Olsen, MD                    Laguna Beach, CA         indictment dismissed
                                                                          (Covid-19); appeal
                                                                          pending
    5-Feb-18   Thanh Nha Pham, PA                Fountain Valley, CA      41 months
    8-Feb-18   Kaitlyn Phuong Nguyen, PA         San Jose, CA             41 months
  22-Mar-18    Gregory John Van Dyke, MD         Dana Point, CA           License Surrendered
  26-Apr-18    Sawtantra Kumar Chopra, MD        Modesto, CA              Incompetent to stand
                                                                          trial
  24-Jul-18 David Lague, PA                      San Leandro, CA          10 years
  18-Sep-18 Christopher Owens, MD                San Francisco, CA        41 months
   2-Oct-18 Thomas Keller, MD                    Santa Rosa, CA           trial pending in state
                                                                          court
  18-Dec-18    Dzung Ahn Pham, MD                Tustin, CA               trial 12/1/2020
  21-Feb-19    Michael Anthony Simental          Corona, CA               arrested
  12-Apr-19    Frank Gilman, MD                  San Diego, CA            License Surrendered
  12-Aug-19    Pauline Tilton, Ph.D.             Hesperia, CA             63 months
  27-Aug-19    Raif Wadie Iskander, PA           Ladera Ranch, CA         arrested
  16-Oct-19    Roger A. Kasendorf, DO            La Jolla, CA             $125,000 fine
  13-Nov-19    Deane Leo Crow, MD                Monterey County,         indicted
                                                 CA
  15-Dec-19    Edmund Kemprud, MD                Dublin, CA               indicted
    6-Jan-20   Kain Kumar, MD                    Palmdale, CA             24 months
   3-Mar-20    Timothy Mulligan, MD              Santa Clara, CA          indicted
  30-Apr-20    Prakash Bhatia, MD                San Diego, CA            $145,000 fine
    4-Jun-20   Gabriel Hernandez, PA             Anaheim, CA              18 months
  26-Oct-20    Egisto Salerno, MD                San Diego, CA            18 months

                Beyond prosecuting medical professionals for inappropriate prescribing,

California licensing boards have aggressively investigated bad conduct. As part of an effort to

proactively root out California bad doctors, the Medical Board of California in 2015 initiated what

it dubbed as the “Death Certificate Project.” The California Project takes death certificates in

which prescription opioids are listed as a cause, then matches each with the provider – sometimes

more than one – who prescribed any controlled substance to that patient within 3 years of death,



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regardless of whether the particular drug caused the death or whether that doctor prescribed the

lethal dose. At the Project’s launch, Board staff began reviewing 2,694 certificates of death filed

in 2012 and 2013 and found 2,256 matches in CURES, showing each provider who wrote an opioid

prescription filled by those deceased patients. Those reports went to medical peer reviewers who,

after extensive review, selected 522 prescribers as warranting an investigation of the patients’ files.

They included 469 physicians against whom the Board has opened formal complaints along with

12 osteopathic physicians and 60 nurse practitioners or physician assistants, who were referred to

their respective licensing boards. Of the nearly 469 MDs investigated for excessive prescribing

because of patients’ overdose deaths, as of August 2018 formal accusals of wrongdoing had been

filed against 64 physicians related to their drug prescribing, primarily involving opioids. Five of

the 64 have surrendered their licenses; six others were put on probation, and eight received public

reprimands. 238

                  Not only were none of these physicians referred to the Board by Rite Aid, evidence

from the Board investigations shows that Rite Aid pharmacies filled numerous prescriptions for

these prescribers. For example, Rite Aid pharmacies numbers 6000 (520 W. Lodi Ave, Lodi,

California 95240), 6403 (4241 Marconi Ave, Sacramento, California 95821), 6079 (1730 Watt

Ave, Sacramento, California 95825), and 6228 (9482 California City Blvd, California City,

California 93505) filled numerous opioid prescriptions written by Kimberly T. Le, M.D.,

Carmichael, California (located in Sacramento County, California), whose license was revoked by

the Board in 2017. 239 In surrendering her license, Dr. Le admitted she had written numerous



238
   Cheryl Clark, Death Certificate Project Accuses 64 Calif. Doctors, MedPage Today (Sept. 3,
2019), https://www.medpagetoday.com/painmanagement/opioids/81954.
239
      See In the Matter of Accusation Against Kimberly T. Le., M.D., California Medical Board, Case



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inappropriate opioid prescriptions for drug seekers, many of which had been filled at Rite Aid

pharmacies in the Sacramento area. 240

                 Had Rite Aid pharmacists been required to check the California CURES database,

they would have easily seen the blatant doctor and pharmacy shopping under way.

                2.      Sacramento, California (Pharmacist No. 5)

                 Pharmacist No. 5 has worked as a pharmacist for nearly twenty years, and as a

Rite Aid pharmacist from 2014 to the present. While working for Rite Aid, Pharmacist No. 5 has

worked at around 20 stores in Sacramento and Northern California. Many of the Rite Aid stores

where he worked have been very busy stores filling a lot of controlled substance prescriptions.

                 Rite Aid’s focus on filling every prescription and filling them quickly no matter

what was present from Pharmacist No. 5’s very first training with Rite Aid. At that training for

pharmacists new to Rite Aid, the trainer explicitly told them to fraudulently complete the

company’s checklist for filling C-II prescriptions. The trainer said that, while they should fill out

the checklist as if they had carefully gone through it, in reality the pharmacists should ignore even

the perfunctory checks the checklist contained. They were told that the checklist was merely

paperwork and should be filled out with the lie that minimal due diligence actions were taken when

they were, in fact, not. Instead, the priority was to just fill the prescriptions.

                 This meant that the pharmacists were being instructed by Rite Aid trainers not to

check things such as patient names, doctor names, validity of prescriptions, but also to lie about it


No.                800-2013-000921              (Oct.            20,            2016),
https://www.dir.ca.gov/Fraud_Prevention/Documentation/Le,%20Kimberly/GS_Le_Kimberly.pdf
.
240
   See Stipulated Surrender Of License And Order, In the Matter of Accusation Against Kimberly
T. Le., M.D., California Medical Board, Case No. 800-2013-000921 (May 1, 2017),
https://www.dir.ca.gov/Fraud_Prevention/Documentation/Le,%20Kimberly/GS_Le_Kimberly.pdf
.


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and cover their tracks. This conduct is particularly egregious because, at the very beginning of his

tenure at Rite Aid, it confirmed the atmosphere of noncompliance and Rite Aid’s goal of filling

every prescription no matter what.

                To this day, at Pharmacist No. 5’s current Rite Aid store, the pharmacists do not

check the California PDMP system (CURES) before filling C-II prescriptions despite it being on

the Rite Aid checklist. Sadly, the Rite Aid “training” has worked as intended.

                The first store Rite Aid where Pharmacist No. 5 worked immediately opened his

eyes to Rite Aid’s problematic dispensing practices in action. At that store in North Highlands,

California, the Rite Aid pharmacists would fill every prescription without question, including

narcotics. This included prescriptions that presented numerous red flags. The red flags included

things such as “Holy Trinity” combinations and prescriptions from pain clinics/prescribers from

places far away like Modesto, California (1.5 hours away).

                Despite the culture of filling at the store, Pharmacist No. 5 tried to be more diligent

in investigating the medical necessity and appropriateness of the prescriptions he personally filled.

However, Pharmacist No. 5’s diligence elicited numerous complaints from customers used to not

having their prescriptions questioned at Rite Aid.

                Rite Aid cared more about the customer complaints than its obligations under the

law, so as the complaints piled up against Pharmacist No. 5, he was reprimanded by his manager.

Eventually, the problem of filling inappropriate prescriptions got so bad at the North Highlands

store that Pharmacist No. 5 transferred stores. He felt that he could not work in a store that did not

allow him to do his job as a pharmacist by questioning certain prescriptions that presented with

red flags.




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                Despite his transfer to a new store, many of the same problems persisted at the

other Rite Aid stores where Pharmacist No. 5 has worked throughout Northern California. He has

frequently found himself under considerable pressure from his manager, from customer

complaints, and time-related pressure to fill all controlled substance prescriptions.

                The stores where Pharmacist No. 5 has worked routinely have filled 400-500

prescriptions per 12-hour shift and some filled even more. Pharmacist No. 5 knew that with that

sort of volume, there was simply no way for Rite Aid pharmacists to vet prescriptions properly.

                Rite Aid has dispensed massive amounts of controlled substances at its 22 stores

in Sacramento County. According to DEA ARCOS data for 2006 through 2012, the 22 Rite Aid

stores in Sacramento County filled 81,062,994 doses of opioids, or 1,128,328,340 MME, making

it the largest dispenser of opioids in Sacramento County.

                On one occasion, Pharmacist No. 5 turned down a script, only to have his district

manager order him to fill the prescription. He had refused to fill the script because the patient was

living some distance away and drove to his pharmacy to get narcotics filled. Pharmacist No. 5

viewed this as a potential red flag and encouraged the patient to get his prescription filled closer

to home. The patient eventually complained to Rite Aid management about Pharmacist No. 5 not

filling the prescription. Pharmacist No. 5 concluded the patient could not get his prescription filled

anywhere else, and knew that with a complaint, Rite Aid may change its decision. True to form,

his district manager called him a short time later, very upset, and ordered him to fill the

prescription.

                In another instance, a manager at a Rite Aid store in Sacramento (4241 Marconi

Avenue, Sacramento, California 95821) told him that he was not to turn away any Norco

prescriptions (Norco is the brand name of hydrocodone/acetaminophen combination medication).




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This was a direct instruction and had no exceptions. Even if the prescriptions were clearly

fraudulent, not medically appropriate, or were presenting with numerous red flags, the manager

instructed him to fill all Norco prescriptions. This directive was echoed by two district managers

in addition to the store manager. Their instruction was “[j]ust do it. Don’t ask questions.”

                 The situation at Rite Aid was so bad that Pharmacist No. 5 eventually reported

what he was seeing to DEA’s Sacramento office. He eventually met with a DEA agent and a DOJ

investigator for about an hour in 2018 but has never heard anything further about it.

               Specific Examples of Unlawful Dispensing Conduct: Georgia

               1.      Rite Aid failed to investigate or halt dispensing of inappropriate or
                       medically unnecessary opioid prescriptions in Georgia

                 Georgia finds itself in the midst of an unprecedented prescription drug crisis, with

hundreds of deaths attributable to opioid prescription drug overdoses every year. 241

                 The State of Georgia had the eleventh highest number of opioid overdoses in the

United States between 1999 and 2014. 242 Opioid-involved overdose deaths have not just increased

– but exploded by an astonishing 1000% -- since 1999 when these drugs were first meaningfully

introduced to the State of Georgia. 243

                 Statistics in recent years show the ever-increasing momentum of this crisis: from

2010 to 2017, the total number of documented opioid-involved overdose deaths in Georgia




241
   The Henry J. Kaiser Family Foundation, Opioid Overdose Deaths and Opioid Overdose Deaths
as a Percent of All Drug Overdose Deaths (2015), https://www.kff.org/other/state-indicator/opioid-
overdose-deaths/.
242
   Substance Abuse Research Alliance, Prescription Opioids and Heroin Epidemic in Georgia,
2017, http://www.senate.ga.gov/sro/Documents/StudyCommRpts/OpioidsAppendix.pdf.
243
   Online Analytical Statistical Information System (OASIS) Trending Tool – Drug Overdoses
Statistics, https://oasis.state.ga.us/.



                                                111
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increased by an astounding 104%, from 514 to 1051 deaths. 244 In 2017, opioid-involved overdoses

accounted for 5,656 emergency department visits and 2,622 hospitalizations. Tellingly, the annual

number of such hospital admissions had tripled since 2000. 245 In 2018, there were 1,396 deaths

attributed to all drugs in the State of Georgia, but an overwhelming number of them (1,051) were

the result of opioids. 246

                  The death, addiction, and increased cost associated with prescription opioids is a

direct consequence of Georgia’s opioid prescription rate increase over the same time period. By

2013, Georgia’s average prescription rate for opioids (90.7 per 100 persons) was well over the

national average (79.3). 247 In 2016, there were 0.778 opioid prescriptions per person in Georgia,

according to the CDC. 248

                  Despite having some 315 stores located all over the State of Georgia, Rite Aid’s

gross inadequacies in the performance of its CSA due diligence obligations are underscored by the

following examples of illegal prescribing and diversion and abuse activities.

                  Upon information and belief, none of the following health care professionals

(many of whose prescriptions were filled at Rite Aid pharmacies), who were apprehended (and




244
    Georgia Department of Public Health, Opioid Overdose Surveillance Georgia, 2017,
https://dph.georgia.gov/sites/dph.georgia.gov/files/2017%20Georgia%20Opioid%20Overdose%2
0Report%20Final.pdf.
245
   Online Analytical Statistical Information System (OASIS) Trending Tool – Drug Overdoses
Statistics, https://oasis.state.ga.us/.
246
   Online Analytical Statistical Information System (OASIS) Trending Tool – Drug Overdoses
Statistics, https://oasis.state.ga.us/.
247
     Ctrs. for Disease Control & Prevention, U.S. State Prescribing Rates, 2016,
https://www.cdc.gov/drugoverdose/maps/rxstate2016.html.
248
      Id.


                                                112
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many later convicted) as a result of a DEA or local law enforcement investigation, were identified,

investigated, or blocked by Rite Aid despite their prescribing habits rising to a criminal level:

 Date           Name                              City                      Sentence
     6-Jul-05   David Mark Battista, MD           Atlanta, GA               3 years, 10 months
 26-May-05      Lisa Sanders, MD                  Fort Gordon, GA           6 months
   22-Jan-06    George Williams, MD               Duluth, GA                7 years
  27-Mar-06     Anthony Junco, Jr., MD            Savannah, GA              3 months
   20-Oct-07    Noel Chua, MD                     Kingsland, GA             life (felony murder)
   16-Jan-08    William McArthur, III, MD         Jesup, GA                 30 months
  18-Mar-08     In Whan Yun, MD                   Wrens, GA                 5 years probation
 12-May-09      Phil Astin III, MD                Newnan, GA                10 years
  11-Aug-09     Spurgeon Green, Jr., MD           Perry, GA                 30 years
    5-Aug-10    Brian Weaver, MD                  Atlanta, GA               27 months
     5-Jul-12   Michael Assevero, MD              Northlake, GA             arrested
   19-Dec-12    Hung Thien Ly, MD                 Savannah, GA              97 months
  15-Nov-13     Hugh Maddux, DDS                  Newnan, GA                1 year, 1 month
    1-Aug-14    Kenneth Gossett, DO               Rome, GA                  42 months
    6-Aug-14    Najam Azmat, MD                   Waycross, GA              11 years, 1 month
    8-Aug-14    Cleveland J. Enmon, MD            Decatur, GA               20 years
    9-Oct-15    Michael Johnston, MD              Tucker, GA                10 years
   27-Oct-15    Sanjay Sinha, MD                  Woodstock, GA             5 years
   12/9/2015    James Chapman, MD                 Macon, GA                 120 months
  15-Aug-16     Bradley Lane Frost, MD            Dublin, GA                127 months
   23-Feb-17    Romie Earl Roland, MD             Atlanta, GA               10 years, 10 months
  29-Mar-17     Nisar Piracha, MD                 Atlanta, GA               7 years, 3 months
    4-Apr-17    Paul Spencer Ruble, DO            Brunswick, GA             5 years
  25-Apr-17     Edd Colbert Jones, III, MD        Fitzgerald, GA            18 months
   26-Jun-17    Nevorn Askari, MD                 Atlanta, GA               5 1/2 years
   26-Jun-17    William Richardson, MD            Atlanta, GA               4 1/2 years
  11-Mar-18     Narendra Negareddy, MD            Jonesboro, GA             Indicted twice,
                                                                            murder charges
  29-Aug-18     Joseph Burton, MD                 Alpharetta, GA            8 years
   7-Dec-18     William Bacon, MD                 Valdosta, GA              72 months
   7-Dec-18     Donatus O. Mbanefo, MD            Columbus, GA              96 months
   4-Apr-19     Vinod Shah, MD                    Valdosta, GA              72 months
  13-Jun-19     Johnny Di Blasi, MD               Braselton, GA             33 months
   31-Jul-19    TaShawna Stokes, MD               Alpharetta, GA            guilty plea
   31-Jul-19    Oscar Stokes, MD                  Alpharetta, GA            guilty plea
  11-Sep-19     Victor Hanson                     Atlanta, GA               indicted
    9-Oct-19    Arnita Avery-Kelly, DPM           Sandy Springs, GA         120 months



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   14-Feb-20 Frank H. Bynes, Jr., MD                Savannah, GA           20 years
   27-Feb-20 John Patrick Schilling                 Stockbridge, GA        indicted on 58
                                                                           counts

                2.      Fayetteville, Georgia (Pharmacist No. 15)

                 Pharmacist No. 15 worked as a pharmacist for Rite Aid from 1998 to 2018. She

worked at Rite Aid stores in Bangor, Maine, Hawley, Pennsylvania and Fayetteville, Georgia,

which is 24 miles south of Atlanta. She was not rehired by Walgreens when that company bought

Rite Aid pharmacies.

                 At the Fayetteville store, a patient’s wife came in with a prescription for 80

milligram OxyContin, three tablets every eight hours. She told her it was too much of the powerful

narcotic. “I don’t know how a person like that could function with that much OxyContin,” she

said. The patient was also taking Percocet. She did not recall exactly what type of pain the patient

had, but it was not cancer pain, for which OxyContin was originally formulated to address.

Although she was new to that area and the patient had had the prescription filled before, Pharmacist

No. 15 didn’t want to fill it.

                 “I think it was wrong,” she said. “It was too high of a dose. The doctor shouldn’t

have allowed it. I don’t even know how everybody allowed it. That patient has been getting it

every month.” The customer, the patient’s wife, called the Rite Aid corporate office to complain.

Customer service sent Pharmacist No. 15 an email and said they have a complaint from a patient.

And they followed up with the patient.

                 She believes the office wanted her to go ahead and fill the prescription and keep

the customer. She believes Rite Aid corporate should have looked into it and supported her by

saying she say should not fill the prescription.




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                 When a Rite Aid Human Resources representative from Walgreens interviewed

her about transferring to the new company, one of the questions was ‘What would you do if a

patient comes with prescription for a controlled substance?’ “I told her if I feel the prescription is

not legitimate, I won’t fill it,” she said. “I also told her I would call the pharmacies and tell them

there is a bad prescription going around.”

                  She explained that she had been a pharmacist for more than 20 years and based

on her experience knew which customers were drug seekers. She believed she had a 95 percent

chance of being correct in such assessments. The HR rep challenged that, asking her how she could

judge the truth or falsehood of a customer. “She said you’re denying the patient,” she said. “I think

that may have cost me the job. She wasn’t happy with the response I gave her.”

                 Rite Aid’s corporate posture toward the opioid epidemic changed and became

stricter in the last several years of her tenure there. For example, the company distributed placards

with procedures for filling narcotic prescriptions and how to check for the legitimacy of opioid

scrips. They posted these placards at the pharmacy work stations. The company also mandated that

pharmacists check the state’s prescription monitoring programs.

                 Overall, she believes Rite Aid was slow to respond to opioid epidemic. “I don’t

think they realized how bad it was, or maybe they didn’t care,” she said. “Seven, eight, nine years

ago it was a different story. They didn’t care that much how many scrips we were filling of

opioids.”

                 She saw many patients that she believed were addicted and also saw forged

prescriptions. Pharmacist No. 15 saw patients who appeared to be high, as their eyes were closing

while they were at the counter. She saw very young customers arrive with prescriptions for

Percocet and Ibuprofen 800 mg, hoping such a prescription, combining a Schedule 2 drug an OTC




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drug, would make it look legitimate. Pharmacist No. 15 also saw prescriptions for an antibiotic

along with one for a large amount of Percocet, which she believed was an effort to make the opioid

prescription appear legitimate. She recalls saying she would fill the antibiotic prescription, but not

the Percocet and the patient declined to have that filled.

                 Customers would also arrive after normal business hours with prescriptions for

narcotics that they said were for their grandmothers. Unable to confirm with the doctors, she would

often say she did not have the drugs in stock.

                 Pharmacist No. 15 saw forged prescriptions coming from a hospital in Atlanta,

which she thinks was Grady Memorial. She was seeing a lot of prescriptions for Percocet with

ibuprofen that were fake and also fake scrips for promethazine with codeine. She would call the

hospital to verify and the staff would not follow up with an investigation, but only say it was not

their prescription. “They didn’t do much research; they didn’t call me back or talk to me,” she said.

These prescriptions would typically arrive at night when doctors weren’t available to confirm

them.

                 She also recalled prescriptions from fraudulent doctors. For example, she

remembers filling prescriptions for Dr. Romie Roland. In February 2017, Dr. Roland was

sentenced to ten years, ten months for conspiring to distribute Schedule II controlled substances

by illegally prescribing prescription painkillers for no legitimate medical purpose. 249




249
   Press Release, U.S. Dep’t of Justice, Anesthesiologist Sentenced for Illegally Prescribing
Oxycodone and Other Prescription Painkillers (Feb. 23, 2017), https://www.justice.gov/usao-
ndga/pr/anesthesiologist-sentenced-illegally-prescribing-oxycodone-and-other-prescription.



                                                 116
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                 Also indicted and sentenced for their roles in the operation of the pain clinic were

seven other co-defendants: Anthony Licata, Charlyn Carter, Adrian Singletary, Dante Cummings,

Anthony Ferguson, Danny Thompson and Joshua Gadd. Each co-defendant also pleaded guilty. 250

               Specific Examples of Unlawful Dispensing Conduct: Idaho

               1.      Rite Aid failed to investigate, report, or halt dispensing of inappropriate
                       or medically unnecessary prescriptions of controlled substances in
                       Idaho

                Idaho has not escaped the scourge of the opioid epidemic. In 2015, 223 Idahoans

died from drug overdoses, most of which involved opioids, while 244 people in Idaho died from

drug overdoses in 2016. From 2012–2016, the annual number of drug-induced deaths statewide

increased nearly 30%, and nearly all of that increase can be attributed to opioids. For instance,

there was a 24% increase in the proportion of drug-induced deaths involving opioids from 2015 to

2016 alone. Moreover, data on the specific drug types are underreported, indicating that the

problem is probably even worse than it is currently understood. 251

                Prescription opioids account for more than triple as many overdose deaths as

heroin, and many addicts get their prescription painkillers illegally.

                In 2016, Idaho had an age-adjusted drug overdose death rate of 16.2 per 100,000

people, and opioids accounted for nearly half (7.7 per 100,000).




250
   Id.
251
   IDAHO DEP ’T HEALTH & WELFARE, DIV. OF PUB. HEALTH, Drug-Induced Deaths:
Idaho Residents, 2016 Summary (August 2017), https://healthandwelfare.idaho.gov/; IDAHO
OFFICE OF DRUG POLICY , Idaho Opioid Misuse and Overdose Strategic Plan 2017–2022,
https://odp.idaho.gov/wp-content/uploads/sites/58/2018/09/ID_Opioid_Strategic_Plan_2018_-
Update_Final.pdf.


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                Despite having some 14 stores located all over the State of Idaho, Rite Aid’s gross

inadequacies in the performance of its due diligence obligations are underscored by the following

examples of illegal prescribing and diversion and abuse activities in Idaho.

                Upon information and belief, none of the following health care professionals

(many of whose prescriptions were filled at Rite Aid stores), who were apprehended (and many

later convicted) as a result of a DEA or local law enforcement investigation, were identified,

investigated, or blocked by Rite Aid despite their prescribing habits rising to a criminal level:


 Date          Doctor                         City                     Sentence
  5-May-16     Michael Minas, MD              Eagle, ID                8 years
 30-Nov-17     Rafael Beier, MD               Coeur D'Alene, ID        192 months
  26-Jun-18    Jennifer Fanopoulos, RN        Meridian, ID             3 years probation
 13-Mar-19     Benjamin Hurley, PharmD        Rigby, ID                3 years probation
 15-Aug-19     John D. Steiner, PharmD        Lewiston, ID             pled guilty

               2.      Boise, Idaho (Pharmacist No. 6)

                Pharmacist No. 6 worked as a staff pharmacist at various Rite Aid locations in

Boise, Idaho from March 2008 to April 2017, and sometimes worked as a pharmacy manager

during that time.

                She did not recall any training from Rite Aid on warning signs, or “red flags” to

look for to identify possible fraudulent physicians or doctor-shopping patients. There was no

guidance or protocol from the Company. Instead, she on her own contacted other area pharmacies.

“I would have to contact providers and do everything I could to prevent an inappropriate dispense,”

she said.

                For most of her tenure at Rite Aid, she did not have support from her superiors to

refuse to fill prescriptions. Instead, she was pressured by her supervisors to meet performance




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goals, goals that emphasized sales above all else. There was a lot of pressure to dispense to

demanding customers she felt was unsafe.

                She was also pressured by the sheer volume of prescriptions her pharmacy

handled. Staffing was inadequate, she said, and there was not enough backup support. Breaks were

few and far between. The pressure of the retail store made it less likely that she and other

pharmacists would use the state’s prescription monitoring program to investigate suspected opioid

abusers and doctor shoppers.

                Rite Aid supervisors regularly evaluated her and other pharmacists on metrics

such as the number of prescriptions being processed and approved; growth in volume and sales;

and growth in number of people they signed up for prescription discount cards and auto-refill

programs. A “key performance indicator” report containing such updated information was issued

every four or five weeks.

                Rite Aid did not maintain a list or database of suspect physicians, nor did it support

pharmacists reporting concerns about physicians.

                She recalled that, in one instance, it took her months to bring a veterinarian to the

attention of state authorities because he was prescribing pain pills that were being abused by a

pet’s owner. In 2014 or 2015 one person was getting controlled substances – Ativan and Tramadol

– filled for each of his two dogs using a prescription from a veterinarian. She knew the person was

getting the same drugs from two other veterinarians because she communicated with pharmacy

staff at a Walgreens behind her store. She believes the “patient” had turned to veterinarians

because his physicians would no longer prescribe for him.

                She personally called the Board of Pharmacy and asked staff there to contact the

vet, who refused to believe that such prescribing was inappropriate. She said it took months for




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her action to result in the veterinarian ceasing to write the bogus prescriptions. She recalls agency

staff coming to her pharmacy. She believes they were from the Board of Pharmacy, reviewing the

prescriptions from this vet that were filled. “It was kind of a victorious thing for us because we

knew that he was overprescribing,” she said.

               Specific Examples of Unlawful Dispensing Conduct: Massachusetts

               1.      Rite Aid failed to investigate, report, or halt dispensing of inappropriate
                       or medically unnecessary prescriptions of controlled substances in
                       Massachusetts

                More than 11,000 people died from opioid-related overdoses in the past decade in

Massachusetts — more than everyone killed in car accidents and murders combined. The people

of Massachusetts also survived more than 100,000 overdoses that were not fatal, but still

devastating.

                Despite having some 79 stores located all over the Commonwealth of

Massachusetts, Rite Aid’s gross inadequacies in the performance of its due diligence obligations

are underscored by the following examples of illegal prescribing and diversion and abuse activities

in Massachusetts.

                Upon information and belief, none of the following health care professionals

(many of whose prescriptions were filled at Rite Aid stores), who were apprehended (and many

later convicted) as a result of a DEA or local law enforcement investigation, were identified,

investigated, or blocked by Rite Aid despite their prescribing habits rising to a criminal level:

 Date       Name                                  City                      Sentence
  21-Apr-05 Luis A. Molmenti, MD                  Plymouth, MA              2 years probation
  30-Sep-05 Douglas Howard, MD                    Melrose, MA               3 months, 27 months
                                                                            suspended
   20-Jul-07 Michael R. Brown, MD                 Mashpee, MA               3 years
    1-Apr-08 Julian A. Abbey, MD                  Saugus, MA                5 years probation
   19-Jan-11 Paul Weinstein, MD                   Lawrence, MA              63 months




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  1-Jul-15 Esperanza Mata, Dental Asst.    South Chatham, MA   Indicted for forging
                                                               fake Rx at CVS;
                                                               CVS paid $3.5M
                                                               fine
 1-Dec-15 Dr. Fernando Jayma, MD           Ludlow, MA          2.5 years
11-Jan-16 Dr. Shaohua Tang, MD             North Adams, MA     Lost license
                                                               concerning death of
                                                               patient and fentanyl
21-Mar-16    Mohammad Nassery, MD          Hyannis, MA         2.5 years, suspended
27-Nov-17    Yoon H. Choi, MD              Brockton, MA        Lost DEA license
22-Mar-18    Fathalla Mashali, MD          Boston, MA          8 years
  8-Aug-18   Dr. Hung K. Do, MD            Lowell, MA          $23,000 fine
  8-Aug-18   Dr. Vasumathi Brown, MD       Lowell, MA          $12,500 fine
 10-Sep-18   Bharani Padmanabhan, MD       Boston, MA          DEA License
                                                               revoked
11-Dec-18 Richard Miron, MD                Dracut, MA          Charged with
                                                               manslaughter, Mass.
                                                               Trial starts
                                                               4/17/2020
30-Jan-19 Dr. Ashok Patel                  Dorchester, MA      3 years probation,
                                                               $15,855 restitution,
                                                               lost medical license,
                                                               for charging patients
                                                               cash for Suboxone
                                                               that was covered
                                                               under MassHealth
 6-Feb-19 Moustafa M. Aboshady, MD         Boston, MA          6 years
31-Oct-19 Pondville Medical Associates     Norfolk, MA         $150,000 settlement
          LLC                                                  for charging patients
                                                               cash for Suboxone
                                                               that was covered
                                                               under MassHealth
 8-Jan-20 Frank Stirlacci, MD              Springfield, MA     Supreme Judicial
                                                               Court upholds
                                                               indictment (2017)
                                                               for instructing his
                                                               NP to write CS Rx
                                                               while he was in jail
                                                               in Kentucky
12-Jun-20 Geoffrey Hart, MD                Cohasset, MA        $42,425 settlement
                                                               for charging patients
                                                               cash for Suboxone
                                                               that was covered
                                                               under MassHealth
24-Jun-20 Arthur Shektman, MD              Wellesley, MA       $25,000 fine



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               2.      Taunton, Massachusetts (Pharmacist No. 4)

                The opioid crisis has hit Taunton, Massachusetts particularly hard. As the

Washington Post describes it, “[l]ike many other blue-collar towns across New England and

Appalachia, the loss of traditional industry in Taunton had hollowed out the community, and pain

pills and heroin had filled the vacuum.” 252

                Pharmacist No. 4 worked as a pharmacist at the Rite Aid on 237 Broadway in

Taunton, Massachusetts (store #10214) from September 2006 to February 2018, when the store

was acquired by Walgreens. She continued to work in the same location for Walgreens until the

pharmacy was shuttered in October 2018.

                Around 2014 the state implemented the Massachusetts Prescription Awareness

Tool (MassPAT). The web-based platform provides real-time information to support safe

prescribing and dispensing.

                “With the state program you could go online and see the patient’s history,” she

said. “You could see when they last filled, who the doctor was, etcetera.”

                Not only were they not required to check MassPAT before filling opioid

prescriptions, Rite Aid never followed up to ensure they were using it. As a result, some

pharmacists would use it. Others would hardly ever use it.

                Moreover, she said, there was not always time to check the MassPAT system

thoroughly. The Company put the onus on the pharmacists to decide when and to what extent they

used the system. Before Massachusetts put the system in place, she said it was extremely difficult




252
   Katie Zezima and Colby Itkowitz, Flailing on Fentanyl, WASHINGTON POST, September 20,
2019, available at https://www.washingtonpost.com/graphics/2019/investigations/fentanyl-
epidemic-congress/.


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and time consuming to thoroughly vet each prescription, and Rite Aid did not provide its

employees with adequate tools to do so.

                 “I would say in the beginning, when the opioid crisis started going crazy, we felt

pressure to dispense and not ask a lot of questions,” she said, referring to her experience at Rite

Aid beginning around 2009. She was told “[y]ou cannot deny a patient pain medication.” She

believed this was a corporate directive, not from her local managers since she was told this verbally

through her District Supervisor.

                 When the MassPAT program went live around 2014, “[t]here was pressure to not

check [prescriptions] out because of time,” she said, explaining that at Rite Aid she ended up in a

situation where she often did not have adequate time to vet a script.

                 Nor did Rite Aid want a written record of pharmacists’ reasons for refusing to fill

prescriptions. “Rite Aid did not want us putting any notes in the system because it wasn’t a legal

document — it wasn’t validated,” she said. “It was just your personal opinion and they said they

didn’t want any opinion in the system.” That policy left Rite Aid pharmacists with no way to alert

pharmacists at other locations about even the most flagrant pill mills. She said that at the height of

the opioid crisis her pharmacy turned away “maybe ten [patients] per week.”

                 Pharmacists at her location were reprimanded “a couple times a month” for

refusing to fill an opioid prescriptions. “We were just spoken to about our lack of customer

service,” she said. “It was always about how you didn’t handle it right, not about how the guy was

screaming at you and on drugs.”

                 Dr. Michael Brown was a well-known pill mill operator in Cape Cod; Rite Aid

pharmacists continued to fill the prescriptions he wrote for patients even though he was a “well




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known doctor in Cape Cod, Massachusetts” and “a known drug mill person.” She was aware of

other pill mills in Boston, Massachusetts she said.

                  She and her colleagues filled prescriptions penned by Brown, she said. “We

definitely filled, yes.” She said Brown was prolific and that any area pharmacist who was operating

during the last few years he practiced likely dispensed to his patients.

                  Brown was convicted of 10 counts of Medicaid fraud, 16 counts of writing illegal

prescriptions, and felony larceny at a jury trial in July 2007. Brown was found to have prescribed

OxyContin, Roxicodone, and other controlled substances for no medical purpose and for more

than 30 months he was the second largest prescriber of OxyContin in Massachusetts. 253

                 Specific Examples of Unlawful Dispensing Conduct: North Carolina

                 1.     Rite Aid failed to investigate, report, or halt dispensing of inappropriate
                        or medically unnecessary prescriptions of controlled substances in
                        North Carolina

                  North Carolina has been especially ravaged by the national opioid crisis.

                  North Carolina has an opioid prescription rate of 96.6 per 100 persons, which

ranks thirteenth in the country (U.S. median rate 82.5) and a benzodiazepine prescription rate of

45.3 per 100 persons which ranks 15th nationally (U.S. median rate 37.6). 254

                  The numbers in North Carolina are:

      •   Five North Carolinians on average die from opioid overdoses every day;

      •   More people die from opioid overdoses than car crashes;



253
   Hillary Russ, Cape physician Michael Brown, accused of writing bogus prescriptions, was
convicted yesterday in Barnstable Superior Court on all counts of drug and fraud charges, Cape
Cod Times (July 21, 2007) https://www.capecodtimes.com/article/20070721/NEWS/707210322
254
   See Leonard Paulozzi, M.D., et al., Vital Signs Variation Among States in Prescribing of Opioid
Pain Relievers and Benzodiazepines – United States, 2012, Morbidity and Mortality Weekly Rep.
(July 4, 2014).


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      •   More than 2,000 North Carolinians died of an opioid overdose in 2017 – a 32 percent

          increase over the previous year;

      •   Between 1999 and 2017, more than 13,169 North Carolina residents have lost their lives

          to unintentional opioid overdoses;

      •   The number of unintentional opioid overdose deaths in 2017 was nearly 17 times higher

          than in 1999;

      •   The number of unintentional opioid overdose deaths has more than doubled in the past

          decade; and

      •   In 2017, there were nearly 125 unintentional opioid-related overdose emergency

          department visits per week on average. 255

                  Despite having some nine stores located all over the State of North Carolina, Rite

Aid’s gross inadequacies in the performance of its due diligence obligations are underscored by

the following examples of illegal prescribing and diversion and abuse activities in North Carolina.

                  Upon information and belief, none of the following health care professionals

(many of whose prescriptions were filled at Rite Aid stores), who were apprehended (and many

later convicted) as a result of a DEA or local law enforcement investigation, were identified,

investigated, or blocked by Rite Aid despite their prescribing habits rising to a criminal level:

 Date       Name                               City                    Sentence
  24-Jun-05 Benjamin Moore, MD                 Winston Salem, NC       Committed suicide
  28-Jan-02 Joseph Talley, MD                  Wilmington, NC          Lost DEA License
   7-Jun-06 Warren H Williams, MD              Charlotte, NC           1 year + 1 day
   1-Jun-09 John Blevins Davis, MD             Winston Salem, NC       3 years probation
   1-Aug-09 Margaret McIntosh-                 Charlotte, NC           1 year home confinement
            Fulmore, MD
  22-Feb-10 Perry Reese III, MD                Cary, NC                20 years

255
    North Carolina Department of Health and Human Resources, The Impact of Opioids,
https://www.morepowerfulnc.org/get-the-facts/the-impact/.


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 03-Mar-17     James Randall Long, MD          Lexington, NC            1 year + 1 day
 27-Aug-18     Donovan Dave Dixon, MD          Fayetteville, NC         240 months
  12-Dec-18    Jong Whan Kim, MD               Tabor City, NC           trial set for July 2020
  21-Feb-19    Michael Alson Smith MD          Mount Holly, NC          3 years
  22-Feb-19    Wayland McKenzie, MD            Greensboro, NC           License Revoked
   8-Sep-20    Sanjay Kumar, MD                New Bern, NC             240 months

                 Relator White worked for Rite Aid first as a floater pharmacist, next as a Staff

Pharmacist, and then as a Pharmacy Manager at Rite Aid stores in North Carolina from 2011 to

March 2014. Starting in July 2011, he was a pharmacist at a Rite Aid in Fayetteville, North

Carolina, located at 108 Rowan Street (store #11502). After about six months, he transferred to

another Fayetteville store at 3716 Morganton Road (store #11507). After another eight months, he

was promoted and transferred to a Rite Aid in Dunn, North Carolina at 1721 West Cumberland

Street (store #11510).

               2.        Fayetteville, North Carolina (Relator White)

                 The opioid epidemic has particularly devastated Fayetteville, the county seat of

Cumberland County, North Carolina. From 1999 to 2007, Cumberland County experienced 90

opiate-related deaths for an average of 10 deaths per year. In the following nine-year period,

opiate-related deaths nearly tripled to 263 for an average of 29.2 deaths per year. 256

                 Although there was an epidemic raging in Fayetteville, Relator White was often

alone with no tech to assist him in the Rite Aid pharmacies where he worked. His first day working

as a staff pharmacist at Rite Aid was on a Sunday. The pharmacy, which was in Fayetteville on

108 Rowan Street, did not have the hours available to have a pharmacy technician on the clock at

the time to assist him that day.




256
     Centers for Disease Control and Prevention, U.S. County Prescribing Rate Maps,
https://www.cdc.gov/drugoverdose/data/statedeaths/drug-overdose-death-2017.html.


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                Rite Aid never provided him or its other pharmacists with formal, live training on

how to spot forged and/or inappropriate prescriptions for controlled substances. That kind of in-

person training would have helped stop the dispensing of inappropriate prescriptions, especially

for pharmacists who were new or not aware of what might make a prescription problematic. The

only training that Relator White and other pharmacists received from Rite Aid about dispensing

controlled substances was via computer training modules that they were expected to do on their

own.

                At the Fayetteville Rowan Street store, the pharmacy manager was a woman he

recalled only as “Libby.” Libby did not provide him with any on-the-job training or guidance about

what to look for when filling controlled substances that might be a red flag or indication the

prescription was suspicious or inappropriate.

                At the Fayetteville Rite Aid on Rowan, he regularly saw suspicious prescriptions

for controlled substances. He said the store was right off of I-95, a major interstate that comes up

from Florida and through Georgia along the eastern side of the states. He would see customers

come in with prescriptions written in Florida or more often in Georgia for large quantities of

controlled substances. Often the customer would not live in North Carolina. Sometimes the

customer would have a driver’s license for a state that was different than the customer’s home

residence. He rejected out-of-state prescriptions for controlled substances unless he could ascertain

that the person legitimately was traveling, and he could confirm the prescription with the provider.

                His pharmacy manager, however, did not reject out-of-state prescriptions that, to

him, appeared suspicious. Libby also did not reject prescriptions written locally that he found

problematic.




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                 For example, he recalled a patient on methadone who came to the store with a

one-month prescription for 500 tablets. He looked at the patient’s history in the North Carolina

PDMP database that tracks controlled substance prescriptions and saw that Libby had been

dispensing the prescription to the patient. He rejected it.

                 When he told Libby about prescriptions he was not comfortable filling, including

the ones she had previously dispensed, she told him: “Oh, if you’re not comfortable, just leave it

in the basket and I’ll fill it the next day.”

                 He and Libby did not usually work together except when their shifts overlapped

for a short time. Although he could not say Libby was intentionally filling prescriptions she knew

were inappropriate, he thought the Company’s pressure on pharmacy managers to hit volume

targets weighed on her mind when she was making a decision about whether to fill, and that she

was concerned about improving her volume numbers.

                 A number of customers at the Fayetteville Rowan Street store with prescriptions

for Percocet, which is a combination of Oxycodone and Acetaminophen, would request the generic

brand that had pills stamped with “512.” These customers would demand the Mallinckrodt brand

because it had the impression 512 (on the pill). They would come in and ask: “You have the 512s?”

                 When he told customers that the store had the drug but from a different generic

manufacturer, they would respond: “Those are not the 512s. I need the 512s.” The generic Percocet

stamped with 512 had more “street cred,” because the 512 stamp attested to its authenticity as a

Percocet for buyers.

                 The customers would ask him to order the generic 512s, but he would not. It is

unusual and odd for patients to request a specific manufacturer for a generic drug, which is what

the Mallinckrodt 512s were. He would not order the 512s for customers, saying only that the store




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carried whatever generics the distributor had in stock for that drug, which could be from a number

of different manufacturers.

                Even though he would refuse to order the 512s, Libby, however, would do so and

keep them in stock for these customers. She responded with: “We’ll lose customers,” to which,

Relator White said, “[t]hen we’ll lose customers.”

                After several months of working with Libby and witnessing the problems he

described above, he talked to his district manager, Jin Lee. Relator White does not know if Lee

spoke to Libby, but he was then transferred to another store shortly thereafter.

                Relator White also witnessed a pharmacist named Lili Duthiers dispense a C-II

medication to a Medicaid patient without a prescription or even speaking to the provider. Duthiers

did this to simply get the patient, who was being belligerent, out of the store. Despite this clearly

illegal and fraudulent activity, Rite Aid never reported the incident or disciplined Duthiers. The

decision to dispense a C-II medication instead of dealing with the problematic customer in a

different way demonstrates Rite Aid’s lackadaisical attitude toward the dispensing of powerful

and dangerous C-II drugs.

               3.      Dunn, North Carolina (Relator White)

                When he was promoted to Pharmacy Manager and transferred to the Rite Aid at

1721 West Cumberland in Dunn, North Carolina, Relator White continued to regularly see

suspicious prescriptions.

                Relator White recalled a time when his new district manager, Niaz Siddiqui, came

to his store in Dunn and cornered him about a prescription he had refused to fill. He explained his

reasons for finding it suspicious, and Siddiqui was not satisfied with the answer. He then pulled




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up the patient’s history on the prescription tracking data to show the suspicious activity, and

Siddiqui told him, “I still don’t understand why you’re not filling it.”

                He recalls seeing and filling prescriptions from physicians who would later be

indicted and convicted. One such physician was Dr. Donovan Dave Dixon from Fayetteville,

North Carolina. Dixon was a licensed medical doctor who operated a family medical practice in

Pembroke, NC from 2012 until April 6, 2015, when his ability to prescribe controlled substances

was limited by the North Carolina Medical Board. The DEA’s Tactical Diversion Squad based in

Charlotte began investigating Dixon when they noticed that four (4) of the top ten (10) oxycodone

prescribing pharmacies for the State of North Carolina were located in the area near Dixon’s

practice. At trial, the evidence showed that Dixon prescribed high strength, high dosage amounts

of oxycodone with little or no medical examination. Multiple witnesses testified that they had

never even met Dixon testified that Dixon wrote prescriptions for oxycodone in the name of

persons that he provided to Dixon in exchange for cash. The prescription drugs were then sold on

the streets of Robeson County by the drug dealer. 257 Dixon was later sentenced to twenty (20)

years’ imprisonment. 258

                He also recalls filling prescriptions for patients of Dr. Sanjay Kumar, New Bern,

North Carolina. Kumar was found guilty on August 12, 2019 of five (5) counts of Unlawful

Distribution of Oxycodone outside the scope of professional practice and not for a legitimate

medical purpose, five (5) counts of Money Laundering by Concealment, and three (3) counts of



257
   Press Release, U.S. Attorney, E.D. North Carolina, Federal Jury Convicts Pembroke Medical
Doctor for Unlawfully Distributing Oxycodone (April 17, 2018), https://www.justice.gov/usao-
ednc/pr/federal-jury-convicts-pembroke-medical-doctor-unlawfully-distributing-oxycodone.
258
   Press Release, U.S. Attorney, E.D. North Carolina, Pembroke Medical Doctor Sentenced to 20
Years for Unlawfully Distributing Oxycodone (Aug. 27, 2018), https://www.justice.gov/usao-
ednc/pr/pembroke-medical-doctor-sentenced-20-years-unlawfully-distributing-oxycodone.


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Attempt to Evade and Defeat Tax. The evidence at trial showed that Kumar was a licensed medical

doctor who operated a sports medicine and rehabilitation practice in New Bern from 2004 until

June 21, 2016, when his ability to prescribe controlled substances was limited by the North

Carolina Medical Board. The DEA began investigating Kumar when it was notified by local

pharmacies about the number and frequency with which Kumar was writing prescriptions for

opioid narcotics. At trial, the evidence showed that Kumar prescribed oxycodone and other

controlled substances with little or no medical examination. Multiple witnesses testified that

Kumar operated a cash-only practice, there was no additional staff in the office, and the patients

received a prescription from Kumar at every visit without distinction based on their history of prior

medications, prior treatment, and medical diagnoses. The evidence showed that Kumar wrote

approximately 9,500 opioid prescriptions between the years of 2011 to 2016. 259

                Relator White does not recall ever seeing any do-not-fill lists of doctors at Rite

Aid or lists of doctors whose prescriptions warranted closer scrutiny. Occasionally, he would

receive an email from Rite Aid about a patient with a prescription that was suspicious as a heads

up if that patient came into his store. But that was not common.

                Rite Aid did not have any systematic programs or policies in place that required

pharmacists to share information about suspicious doctors or patients with each other.

                In his experience, pharmacists were not allowed to keep track or make comments

on either patient or provider profiles about any sort of issue. Relator’s manager, Niaz Siddiqui,

instructed the district on a conference call that there had been a complaint from a customer about



259
    Press Release, U.S. Dep’t of Justice, Federal Jury Convicts New Bern Medical Doctor for
Unlawfully Distributing Oxycodone, Money Laundering and Tax Evasion (Aug. 12, 2019),
https://www.justice.gov/usao-ednc/pr/federal-jury-convicts-new-bern-medical-doctor-unlawfully-
distributing-oxycodone-money.


                                                131
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a defamatory comment about a patient (e.g., “double count all controls”), so instructed them not

to write down comments of this kind in the NexGen notes field. This made it impossible for Rite

Aid pharmacists to alert each other about potentially suspicious prescribers and prescriptions.

               Specific Examples of Unlawful Dispensing Conduct: Ohio

               1.     Rite Aid failed to investigate, report, or halt dispensing of inappropriate
                      or medically unnecessary prescriptions of controlled substances in Ohio

                The opioid epidemic in Ohio has been similarly disastrous. The CDC reports that,

over the past six years, more than 7,272 Ohioans have died from overdoses of prescription

opioids. 260 These statistics, however, may dramatically underestimate deaths from opioids because

they ignore opioid-related complications to infectious diseases, such as pneumonia. 261

                Ohio’s prescription opioid deaths are now the highest in the country. In 2016,

Ohio had more prescription opioid deaths than any other state in the nation, with one of every 11

deaths from prescription opioids in the United States occurring in Ohio. 262

                In 2016, prescription opioids caused the deaths of 2,875 Ohio residents, a 60%

increase compared to 2015. 263 From 2004-16, 86.3% of all unintentional drug overdose deaths in

Ohio involving specific drugs, including deaths from cocaine and many other drugs, involved

opioids. 264


260
   Ctrs. for Disease Control & Prevention, National Center for Health Statistics Multiple Cause of
Death 1999–2017, Wide-ranging Online Data for Epidemiologic Research (CDC WONDER),
(2019), https://wonder.cdc.gov/wonder/help/mcd.html.
261
   Susan Scutti, Opioid Epidemic may be underestimated, CDC report says, CNN.com (Apr. 25,
2017), http://www.cnn.com/2017/04/24/health/opioid-deaths-cdc-report/index.html.
262
   Ctrs. for Disease Control & Prevention, National Center for Health Statistics Multiple Cause of
Death 1999–2017, Wide-ranging Online Data for Epidemiologic Research (CDC WONDER),
(2019), https://wonder.cdc.gov/wonder/help/mcd.html.
263
      Id.
264
      Id.



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                 In 2016 alone, 2.3 million Ohio patients – roughly 20% of the State’s population

– were prescribed an opioid drug. 265 According to public data from the DEA, over 18.8 billion

milligrams – over 20 tons – of prescription opioids were distributed in Ohio from 2013-2016. 266

These conclusions about the extent of opioid diversion and abuse are further supported by data

from the Ohio Automated RX Reporting System (“OARRS”) showing that in 2016, the “average”

county in Ohio received saw distributions of approximately 65 pills per person per year (including

children) and several Ohio counties have seen annual distributions exceeding 100 opioid pills for

every man, woman and child and 1,000 pills per user.

                 Despite having some 212 stores located all over the State of Ohio, Rite Aid’s gross

inadequacies in the performance of its due diligence obligations are underscored by the following

examples of illegal prescribing and diversion and abuse activities in Ohio.

                 Upon information and belief, none of the following health care professionals

(many of whose prescriptions were filled at Rite Aid stores), who were apprehended (and many

later convicted) as a result of a DEA or local law enforcement investigation, were identified,

investigated, or blocked by Rite Aid despite their prescribing habits rising to a criminal level:

 Date           Name                              City                      Sentence
   28-Sep-99    George Smirnoff, MD               Cleveland, OH             5 years
   13-Feb-02    Lonnie Marsh, MD                                            License revoked
  17-Mar-03     Randall L. McCollister, MD        Ironton, OH               97 months
  29-Nov-03     Ghassan Haj-Hamed                                           Pled Guilty, license
                                                                            revoked
      14-Jan-04 Glenda M. Dahlquist, MD           Dayton, OH                License revoked
      15-Sep-04 Rogelio A. Banaga, MD             Willard, OH               1 year
      24-Sep-04 Thomas M. Santanello, DO          Celina, OH                90 days


265
        Ohio    Automated    RX     Reporting   System,    2016                  Annual       Report,
https://www.ohiopmp.gov/documents/Annual%20Report%20(2016).pdf.
266
          DEA,          ARCOS            Retail        Drug               Summary            Reports,
https://www.deadiversion.usdoj.gov/arcos/retail_drug_summary/.


                                                133
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 1-Nov-04     Alan Gardner                                         Indicted
21-Aug-06     David Albert Hoxie, MD        Waverly OH             3 years
23-Oct-06     Randall D. Leuvoy                                    License revoked
 2-Feb-08     Peter Franklin                Middlefield Village,   indicted
                                            OH
  6-Feb-08    Donald Raymond Kiser          Marietta, OH           7 1/4 years
20-Mar-08     Herbert Medoff, MD            Brecksville, OH        4 years
  9-Apr-08    Matthew Evenhouse, MD         Westlake, OH           suspended license
14-May-08     Todd Carran, MD                                      Consent Agreement
 18-Jun-08    Leo M. Ognen, MD              Toledo, OH             50 months
   8-Jul-08   Pedrito A. Galupo             Marietta, OH           License surrendered
  29-Jul-08   Stanley Naramore, MD          Cincinnati, OH         48 months
13-Aug-08     William W. Nucklos                                   license revoked
14-Aug-08     Brian Griffin, MD             Columbus, OH           Probation
 12-Jun-09    Walter Broadnax, MD           Cincinnati, OH         5 years
  3-Dec-09    Narenda Kumar Agrawal         Galion, OH             33 months
  1-Feb-10    Jorge A Martinez, MD          Boardman, OH           Life
 10-Jun-10    Shelia A. Barnes, MD          Columbus, OH           License suspended
 17-Feb-11    Charles C. Njoku, MD          Powell, OH             1 year + 1 day
10-Mar-11     Douglas B. Karel, MD          Dayton, OH             License suspended
 1-May-11     Michael Dawes, MD             Wooster, OH            DEA license
                                                                   revoked
12-Oct-11     Daniel H. Brumfield, MD       Columbus, OH           License suspended
 8-Nov-11     Denise Huffman, owner         South Point, OH        12 2/3 years
 8-Nov-12     Victor Georgescu, MD          Wheelersburg, OH       Deceased
23-Dec-11     Victor A. Georgescu           Wheelersburg, OH       Indicted
 1-Jan-12     Brenda Banks, MD              Columbus, OH           4 years
 1-Jan-12     Han M Yang, MD                Dayton, OH             3 years
 1-Apr-12     Marcellus Gilreath, MD        Cleveland, OH          Plea, 3 years
                                                                   probation
  1-Apr-12    Stephen Pierce, MD            Cincinnati, OH         5 years probation
 1-May-12     John Randy Callihan, owner    Portsmouth, OH         5 years
22-May-12     William Cullen, MD            Wadsworth, OH          License suspended
  13-Jul-12   Samuel Christian, MD          Tiffin, OH             Indicted
 12-Sep-12    Jose Villavicencio, MD        Columbus, OH           License revoked
 14-Oct-12    George Marshal Adkins, MD     Wheelersburg, OH       10 years
 13-Feb-13    Shaban Mahmoud                Dublin, OH             License revoked
26-Mar-13     Darrell Hall, MD              Toledo, OH             5 years
29-Apr-13     Kevin Huff, owner             Portsmouth, OH         21.83 years
  4-Jun-13    James Lassiter, MD            Findlay, OH            6 months
 16-Jun-13    Mark Fantauzzi, DO            Cincinnati, OH         18 months
  10-Jul-13   Michael C. Bengala, MD        Canfield, OH           License suspended


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14-Aug-13 Raymond C. Gruenther            Gahanna, OH          License suspended
                                                               (consent agreement)
 27-Sep-13   Barry P. Deran, MD          Maumee, OH            28 months in prison
 1-Mar-14    Shannon L. Swanson, DO      Andover, OH
12-Mar-14    Abubakar Durrani, MD        Cincinnati, OH        license revoked
16-Apr-14    Toni Carman, MD             Willoughby, OH        2 years
 1-May-14    John Dahlsten, MD           Cincinnati, OH        4 months
21-May-14    Tracy Bias                  West Portsmouth,      14 years
                                         OH
  4-Jun-14   Osama Salouha, PharmD       Lorain, OH            fugitive
  4-Jun-14   Sbeih Sbeih, PharmD         Lorain, OH            fugitive
  4-Jun-14   Julia I. Lucente, MD        Dayton, OH            surrendered license
  6-Jun-14   Jorge Martinez, MD          Boardman, OH          Life
 29-Jul-14   Lorenzo Lalli, MD           Cleveland, OH         1 year
28-Aug-14    Syed Jawad Akhtar-Zaidi, MD Solon, OH             Fugitive
  1-Oct-14   Terry Dragash, MD           Pataskala, OH         1 year
16-Dec-14    Douglas S. Trubiano         Tiltonsville, OH      2 years
  3-Feb-15   Adolph Harper, MD           Akron, OH             10 years
 2-Mar-15    Herman Weaver, MD           Cuyahoga County,      12 1/2 years
                                         OH
16-Mar-15    Brian D. Heim, MD           Akron, OH             63 months
21-Apr-15    Jason D. Connors, MD        Dayton, OH            Lost license
                                                               (subsequently
                                                               sentenced to 25
                                                               years for rape)
 1-Jun-15    Raymond Fankell, PharmD      Wheelersburg, OH     Plea
18-Jun-15    John Temponeras, MD          Wheelersburg, OH     Pled guilty
17-Aug-15    Paul Volkman, MD             South Point, OH      4 life sentences
13-Oct-15    Juan M. Hernandez            Eastlake, OH         License suspended
                                                               by Pharmacy Board
10-Nov-15    Gregory Ingram, MD           Ravenna, OH          1 year
24-Nov-15    Christopher Stegawski, MD    Cleveland, OH        13 1/3 years
 1-Dec-15    Karen Climer, employee       Alexandria, OH       6 months
 3-Dec-15    David Rath, MD               Alexandria, OH       Deceased
 9-Dec-15    Narinder N. Khosla           Sandusky, OH         License revoked
 4-Apr-16    Ronald Celeste, MD           Westlake, OH         3 years
 5-Apr-16    Thomas Craig, III, MD        Cleveland Heights,   3 years
                                          OH
26-May-16 John P. Moore, MD               Dayton, OH           20 months
 30-Jan-17 Kevin B. Lake, DO              New Albany, OH       60 months
                                                               (recommended)
 5-Feb-17 William G. Paloski, MD          Youngstown, OH       indicted
 5-Apr-17 Stephen Bernie, MD              Cleveland, OH        6 months suspended


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 15-Dec-17   Robert S. Reeves, MD       Norwalk, OH          47 months
  1-Jan-18   Rodney Curtis, MD          Belmont City, OH     6 months
 24-Jan-18   Jayati Gupta Rakhit, MD    Moreland Hills, OH   trial 3/30/2020
 24-Jan-18   Ashis K. Rakhit, MD        Moreland Hills, OH   trial 3/30/2020
 14-Feb-18   James Lundeen, MD          Portsmouth, OH       License revoked
22-Mar-18    Richard Rydze, MD          Pittsburgh, PA       10 years
 3-May-18    Jerome Yokiel              Cleveland, OH        License Suspended
                                                             and Reinstated
29-May-18 Timothy Manuel, MD            Hillsboro County,    5 years
                                        OH
28-Jun-18    Mike Jones, PA             Hamilton, OH
25-Sep-19    Nilesh B. Jobalia, MD      Cincinnati, OH       pled guilty
11-Apr-19    Saad Sakkal, MD            Hamilton, OH         convicted
 1-Aug-18    Gregory Gerber, MD                              civil litigation stayed
                                                             pending grand jury
                                                             investigation on
                                                             criminal charges
29-Aug-18 David Kirkwood, MD            Dayton, OH           70 months
18-Oct-18 Shuresh Gupta, MD             Riverside, OH        Dayton Outpatient
                                                             Center raided by
                                                             FBI, DEA, OH
                                                             Medicaid Fraud
                                                             Control Unit
28-Mar-19    Bruce J. Feldman           Shaker Heights, OH   Indicted
11-Apr-19    Saad Sakkal, MD            Hamilton, OH         convicted
 15-Oct-19   Raymond L. Noschang, MD    Cincinnati, OH       pled guilty
18-Apr-19    Morris Brown, MD           Dayton, OH           Indicted
24-Apr-19    Khaled Amr, MD             New Albany, OH       Indicted
 12-Jul-19   Frank Lazzerini, MD        Jackson Township,    113 years
                                        OH
15-Aug-19 Gary Frantz, MD               Mansfield, OH        indicted
21-Aug-19 William R. Bauer, MD          Port Clinton, OH     Indicted
21-Aug-19 Thomas A. Ranieri, MD         New Castle, OH       guilty plea,
                                                             sentencing Apr 2021
24-Sep-19 George Griffin, MD            Cincinnati, OH       Indicted. License
                                                             suspended in 2009.
                                                             Investigated in 1990,
                                                             indicted again in
                                                             2019
15-Nov-19 Margaret Temponeras, MD       Wheelersburg, OH     7 years
 5-Mar-20 Martin Escobar, MD            Youngstown, OH       indicted




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               2.      Specific Example of Rite Aid Ignoring Its Corresponding CSA
                       Obligations: Dr. Adolph Harper

                 An example of Rite Aid ignoring signs of abuse, diversion and/or inappropriate

prescribing is illustrated in the case of Dr. Adolph Harper, Jr., a physician from Akron, Ohio.

Although Dr. Harper’s specialty was obstetrics and gynecology, Harper prescribed a substantial

volume of opioids.

                 On October 20, 2014, Harper pled guilty to one count of conspiracy to traffic

drugs, four counts of health care fraud and sixteen counts of drug trafficking. He was subsequently

sentenced to ten years imprisonment. The Department of Justice’s news release regarding Harper’s

sentencing indicated that he had distributed “hundreds of thousands of doses of prescription

medications – including OxyContin, Percocet, Roxicet, Opana and others – from his medical

offices in Akron between 2009 and 2012.” 267

                 The Sentencing Memorandum indicates that at least eight of Adolph Harper’s

patients died as a result of drug overdoses. 268

                 Harper most often prescribed oxycodone: all of the opioids he wrote at greater

than 5% of his total prescriptions were oxycodone products, two of which were of higher dosage

strength. Oxycodone 80mg pills accounted for more than 6% of all of his prescriptions. Compared

to other gynecologists in Ohio, this deviated substantially from the norm. On average, Ohio




267
    Press Release, U.S. Attorney, N.D. Ohio, Akron Doctor Sentenced To 10 Years In Prison For
Illegally Prescribing Painkillers, Even After Patients Died (Feb. 13, 2015),
https://www.justice.gov/usao-ndoh/pr/akron-doctor-sentenced-10-years-prison-illegally-
prescribing-painkillers-even-after.
268
   Government’s Sentencing Memorandum, United States v. Harper, 5:14-CR-096 (N.D. Ohio Jan.
23, 2015), at 5.



                                                   137
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gynecologists typically wrote a mix of low dose prescriptions for oxycodone, hydrocodone, and

codeine. 269

                  In the Sentencing Memorandum, prosecutors described an environment that

should have alerted anyone who visited Harper’s office: “The atmosphere of Harper’s office, like

his prescribing practices, was also more akin to street-level drug trafficking operation rather than

a medical office. Harper’s customers often waited for hours to see Harper, and many of these

customers exhibited behavior consistent with drug abuse. Witnesses reported seeing customers

passed out in the hallway and office while waiting to see Harper, or vomiting or urinating on the

floor in the waiting room. Customers were also combative and aggressive with Harper’s staff

members if there was any delay in receiving their drugs.” 270

                  Most of Harper’s patients appeared to be drug addicts. They often looked

disheveled and acted like they were “high” on drugs. Harper’s waiting room was usually full, with

some people needing to stand because there were not enough seats. Many patients “nodded off’

while they were waiting to see the doctors. Others were belligerent to the staff or argued with other

patients in the waiting room. Some patients even urinated on themselves and others periodically

vomited in the water fountain. 271

                  According to the Sentencing Memorandum, several Akron-area pharmacies had

begun refusing to fill Adolph Harper’s prescriptions. 272 Rite Aid was not one of them.



269
   EXHIBITS to Plaintiff’s Motion for Partial Summary Adjudication that Defendants Did Not
Comply with Their Duties Under the Federal Controlled Substances Act to Report Suspicious
Opioid Orders and Not Ship Them, Exhibit 3, Expert Analysis: Lacey R. Keller at 48, In Re:
National Prescription Opiate Litigation (No. 17-md-2804) (Dkt. 1957-3).
270
      Harper Sentencing Memorandum at 4.
271
      Id. at 4.
272
      Id.


                                                138
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                     Instead of refusing to fill for Dr. Harper, Rite Aid requested increased amounts of

opioids in order to fill the astronomical number of opioid prescriptions from Dr. Harper. Rite Aid

store #3182 (located at 325 East Waterloo Road Akron, Ohio 44319) was seeing so much traffic

from Dr. Harper’s customers that on September 16, 2011, district manager Mary Menegay

requested a 15% increase in the amount of oxycodone it could order from its wholesale distributor

(McKesson). 273 Rite Aid requested the increases because of a “local pain management doctor”

whose patients were now filling at Rite Aid #3182 in addition to Rite Aid #3151. That “pain

management doctor” was Dr. Harper.

                     Mere weeks later, on October 24, 2011, Menegay again asked its wholesale

distributor (McKesson) for another “15% bump in the Oxy limit at store 3182” because of

“increased activity from a local pain mgmt doctor.” 274

                     After the second request in October 2011, McKesson’s Michael Oriente warned

Rite Aid that Harper “may be an issue that you may want to do additional due diligence on. He is

an Ob/Gyn not a Pain Management Specialist.” 275 Oriente included complaints about Harper from

individuals who had posted to the website Vitals.com:

      •     September 29, 2011: “No one is filling his prescriptions! … some of us are very sick and

            not just drug addicts!”

      •     July 15, 2011: “YOUNG PEOPLE ARE DYING BECAUSE THIS MAN WILL GIVE

            PAIN PILLS AND XANAX TO ANYONE! PLEASE SOMEONE STEP IN BEFORE

            ANOTHER LIFE IS LOST.”



273
      In Re: National Prescription Opiate Litigation (Case No. 17-md-2804) (Dkt. 2184-3).
274
      In Re: National Prescription Opiate Litigation (Case No. 17-md-2804) (Dkt. 2387-14).
275
      Id.



                                                    139
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      •     July 6, 2011: “gives my daughter any pills she wants as long as he can be a pervert once a

            month and check her, in trouble with drug board, he will get you addicted to any pills, he

            is not a doctor he is a drug dealer with his own daughters as accessories.” 276

                     McKesson was able to figure out with a simple internet search what Rite Aid did

not want to know and intentionally ignored about Dr. Harper. This was true despite Rite Aid

knowing that multiple Rite Aid stores were being inundated with prescriptions from Dr. Harper.

                     Even though Rite Aid #3182 continued to fill Dr. Harper’s prescriptions, belatedly

Rite Aid’s Director of Loss Prevention for Rite Aid, Sophia Novack, agreed with McKesson’s

concerns: “I agree, we ran a report and checked his DEA number and saw the same thing. We have

the [Pharmacy District Manager Mary Menegay] reviewing a checklist to visit the clinic. No

increases at this time.” 277

                     Rite Aid’s response was thus not to stop filling Dr. Harper’s prescriptions, but that

it would simply not increase shipments to the store a second time. There is also no evidence to

suggest that Menegay actually visited Dr. Harper’s clinic, nor that she or anyone at Rite Aid ever

reported their concerns about the ongoing rampant inappropriate prescribing to the DEA.

                     In addition, subsequent to Dr. Harper’s conviction, he filed a pro se motion to

vacate his 10-year sentence, arguing ineffective assistance of counsel. In the motion, Harper

referenced a conversation he had with Karen Mason, a pharmacist he mistakenly refers to as having

worked at the CVS Pharmacy on Kenmore Boulevard in Akron. Harper appears to have confused

CVS with the Rite Aid 3151 store on Kenmore because there is no CVS store on Kenmore.

Moreover, Mason appears never to have worked at CVS, but instead at the Rite Aid pharmacy on



276
      Id.
277
      Id.


                                                     140
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Kenmore. In his motion Harper quotes Mason as stating: “Dr. Harper, I don’t know why they are

doing this to you. You are not prescribing any more of these medicines (controlled drugs) than any

of the other doctors.” 278

                 The increase in dispensing volume associated with Dr. Harper’s prescribing

should have alerted Rite Aid to Dr. Harper’s inappropriate prescribing in the first instance. But it

was only after McKesson refused Rite Aid’s second request in a month to increase that Rite Aid

agreed only to limit the amount of oxycodone it would order for its stores – not to alert its

pharmacies they should immediately cease dispensing for Dr. Harper’s customers.

                  In addition, Rite Aid did nothing to investigate Dr. Harper. It was instead content

to simply keep dispensing its already high quantities of oxycodone to meet the demand of Dr.

Harper’s patients. It did not stop dispensing for Dr. Harper’s patients and did nothing to alert its

pharmacies about Harper’s problematic prescribing habits. This indifference continued even after

being put on notice of the suspicious prescribing from McKesson, a company which would itself

later be fined a record $150 million for its own failures to report suspicious orders. 279

                 Despite having transparency into the data which it could have used to identify

Harper’s inappropriate prescribing, Rite Aid did nothing to determine whether the prescriptions

were appropriate or medically necessary other than relying on the judgment of its over-worked




278
   Defendant Motion to Vacate, “Proper Vehicle and Jurisdiction for Post-Conviction Relief,” at
7, United States v. Harper, (5:14-cr-00096-JRA), Nov. 2, 2015 N.D. Ohio, (Dkt. No 106-1).
279
   Press Release, U.S. Dep’t of Justice, McKesson Agrees to pay Record $150 Million Settlement
for Failure to Report Suspicious Orders of Pharmaceutical Drugs (Jan. 17, 2017),
https://www.justice.gov/opa/pr/mckesson-agrees-pay-record-150-million-settlement-failure-
report-suspicious-orders.



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and under-staffed pharmacists in its stores despite not giving them the tools, time, and support

needed to properly vet prescriptions. 280

               3.      Ashtabula, Ohio (Pharmacist No. 7)

                Pharmacist No. 7 was a Pharmacy Manager at the Rite Aid store at 1115 West

Prospect Avenue in Ashtabula, Ohio, from 2002 to 2017. He initially started as a Staff Pharmacist,

then became the Pharmacy Manager after about a year and a half. The last six months of his time

with Rite Aid, he worked as the Pharmacy Manager at another Rite Aid in Ashtabula at 2148 Lake

Avenue. He reported to at least three different Pharmacy District Managers: Jill Rose, Mary

Menegay, and a woman he recalled only by first name, Kirsten.

                Ashtabula is a small town (population 19,124) in the northeast corner of Ohio on

the edge of Lake Erie about 60 miles east of Cleveland. “Low employment, a lot of poverty,” he

said. “When I worked at the [Rite Aid] store on West Prospect Avenue, 93 percent of our

prescriptions were paid by Medicaid.” He said the town and surrounding area were plagued by

“extremely” high use of narcotics and opioid addiction and had the accompanying pill pushers.

                When he started at Rite Aid in 2002, he recalled the store had about 25 to 30

prescriptions a day for narcotics. That number began to rise starting in about 2005 and dramatically

climbed for a number of years. At the peak of opioid use in the area in about 2012, he said his store

was filling about 50 to 70 narcotic prescriptions a day.

                He said for the first few years as the narcotics prescriptions rose, he saw the

number of customers in need of narcotics was growing. “Initially, you assume you’re seeing an

increase in people who were experiencing severe pain because you were getting prescriptions from




280
  In Re: National Prescription Opiate Litigation, Hart Dep. (Jan. 31, 2019), 64:21-65:22 (Case
No. 17-md-2804) (Dkt. 1978-2).


                                                142
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the doctor,” he said. At the time, he explained, he and other pharmacists had been trained to respect

doctors and trust the doctor’s prescribed treatment for their patients.

                But as the number of prescriptions continued to increase, he began to question

whether the doctors were aware of what they were doing to patients or if the doctors even cared.

“This was crazy,” he said of the explosive numbers of narcotic prescriptions. “It went from trusting

the doctor to what the hell are you thinking. I was shocked by how many physicians out there who

had so little regard for a human being’s life and the possibility of creating addiction.”

                The following are some of the signs he witnessed at his Rite Aid that indicated the

growing problem:

   •   He saw patients getting opioid prescriptions from different doctors.

   •   He saw combination prescriptions for what he called the “trifecta,” which is a combo of an

       opioid, a muscle relaxer and a benzodiazepine.

   •   He got to know a lot of his patients, and some would tell him about doctors who asked for

       cash payments to prescribe whatever the patient wanted.

   •   He saw people who usually would not associate with each other coming into the store

       together with prescriptions for oxycodone. When he asked how they knew each other, they

       told him they met at the doctor’s office, and they now ride to the pharmacy together to get

       their prescriptions.

                While one regular patient who had come in to pick up her opioid prescription,

another woman pulled into the drive-thru window and asked to pick up the same prescription.

When he told the woman at the counter that someone in the drive-thru was asking to pick up the

same prescription, she told him to give the pills to the woman at the drive-thru who would give

him some money for the pills. He balked, recognizing his customer was trying to involve him in




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a “drug deal” by selling her prescription to someone else. He reported the incident to the

authorities, who investigated. He has no idea what the outcome was.

                 During the early years of the opioid epidemic, he could not make sense of why

doctors were prescribing at such an irresponsible and dangerous levels. Later, he realized the

doctors were making large amounts of money to dispense the drugs, often by charging their

patients cash for an appointment. “It was not about care and concern for the patient, it was about

lining (the doctor’s) pockets,” he said.

                 Pharmacist No. 7 said he discussed the dramatic increase in opioid prescriptions

with other pharmacists in the area, but there were no discussions internally at Rite Aid or with the

corporate office about what was happening. “We never had anything formal or informal,” he said.

“The only discussions we had was between us pharmacists.”

                 He said Rite Aid could have done more sooner. “It should have been addressed a

lot earlier,” he said. In his view, Rite Aid “benefitted tremendously because script counts were

going through the roof. I think if Rite Aid or any other company would have intervened to slow

this down, they would have lost millions of dollars. If you cut out the oxycodone prescriptions or

minimize them, you’re talking about billions of dollars lost.”

                 The Ashtabula area had a number of pill mill or pill pusher doctors who provided

area residents with opioids. Some didn’t take insurance, only cash. The patient paid the doctor

directly for an appointment, and the doctor wrote them prescriptions for what they wanted.

                 He recalled the names of two: Dr. Almon S. Lee in Ashtabula and Dr. Peter

Franklin in Middlefield, among others.

                 Dr. Lee was an older doctor whose office was two doors down from the Rite Aid

on West Ave, so his store saw a lot of Lee’s prescriptions. “He always had a reputation as being a




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pill pusher,” he said. Despite his reputation as a pill pusher, for a number of years at Rite Aid, he

and other pharmacists in the area filled Dr. Lee’s prescriptions. Over time, Dr. Lee’s prescribing

habits became increasing irresponsible and dangerous, he said. For example, a patient came into

his Rite Aid with an oxycodone prescription from Dr. Lee. The patient had recently filled a

prescription for oxycodone prescribed by another doctor. The patient was also on a benzodiazepine

prescribed by Dr. Lee.

                Pharmacist No. 7 eventually stopped filling Dr. Lee’s prescriptions. When he

called about the above prescription, he told him, “Dr. Lee, you’re killing these people. I will not

fill these prescriptions for these people.” Dr. Lee then hung up on him, and he never talked to the

doctor again.

                He discussed his decision not to fill Dr. Lee’s prescriptions with his pharmacy

district manager, Jill Rose, and with the staff pharmacist who worked in his store. When he called

pharmacists at the other Rite Aid in Ashtabula to tell them about his decision regarding Dr. Lee,

they told him they also had stopped filling Dr. Lee’s prescriptions. He does not recall any memos

from his pharmacy district manager or from Rite Aid going out to inform other stores about

concerns regarding Dr. Lee or about the Ashtabula stores’ decision to stop filling his prescriptions.

                He said Dr. Lee has been investigated for his prescribing practices, but is still

practicing and had not lost his license to prescribe opioids.

                Pharmacist No. 7 said his Rite Aid also filled prescriptions from Dr. Peter Franklin

who operated a pill mill in Middlefield, Ohio, a town about 30 miles away. According to news

reports, Dr. Franklin shifted from operating a family medicine practice to a pain management




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office and stopped taking medical insurance. 281 He began charging patients out-of-pocket for

appointments during which he prescribed powerful opioids. Dr. Franklin’s office was raided by

state drug investigators in early 2009 under suspicion that he was over-prescribing painkillers. Dr.

Franklin’s prescribing, however, came to an abrupt end when his wife, who worked at his pain

management office, killed him in August 2009. 282

                 He saw a high level of opioid use in his customers in Ashtabula. One of his

customers, Paul, was a “known druggie in our area,” who went to Dr. Lee for his prescriptions, he

said. Rite Aid filled a lot of Paul’s prescriptions from Dr. Lee, he said. “He knew he was a drug

addict; we knew he was a drug addict,” he said.

                 He would talk to Paul about his drug use, saying to him, “Paul, you have to stop

this shit.” Paul would respond, “I know. I’m trying,” he recalled. His Rite Aid would eventually

stop filling Paul’s prescriptions after he was caught stealing from the store. “He was no longer

allowed in our store,” he said. Sometime later, in about 2011 or 2012, Paul overdosed from what

he thought was a combination of Percocet and Soma (a muscle relaxer).

                 Despite the overwhelming problems Ashtabula was experiencing with opioid

addiction, he does not recall Rite Aid having any centralized bad doctor list or providing any tools

which would help pharmacists identify these doctors or inappropriate prescriptions.




281
    Ohio Task Force Commanders Association, Lake County Narcotics Agency, Ohio state, local
officials working to prevent ‘pill mills’ (Feb. 16, 2015), https://otfca.net/ohio-state-local-officials-
working-to-prevent-pill-mills/; Two pharmacists, Robert J. Graves, of Newton Falls, Ohio, and
Andrea Luchetts, of Masury, Ohio, pled guilty on March 4, 2011 to felony charges related to drugs
they        dispensed       which          had       been         prescribed        by        Franklin.
Pharmacists      plead    guilty    to     charges,    The     Vindicator      (March      5,    2011),
http://webcache.googleusercontent.com/search?q=cache:qpkzEcEQj7IJ:www.vindy.com/news/20
11/mar/05/pharmacists-plead-guilty-to-charges/%3Fprint+&cd=7&hl=en&ct=clnk&gl=us.
282
      Id.


                                                 146
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               4.      Cleveland, Ohio (Pharmacist No. 8)

                 From April 2017 to May 2019, Pharmacist No. 8 was a pharmacy manager at a

Rite Aid store on Chagrin Boulevard in the Cleveland area (store # 3131). At Rite Aid, she initially

reported to Kriston Yoho, Pharmacy Manager, and Mark Overt, District Manager.

                 In Ohio, the state provides the OARRS database for health care providers that

tracks all controlled substance prescriptions dispensed to patients in the state. The system allows

doctors and pharmacists to check a patient’s medication history and determine if the patient is

doctor hopping or pharmacy shopping to obtain inappropriate controlled substances.

                 While it was good practice for pharmacists to check OARRS whenever a patient

submitted a new prescription for a controlled substance, checking OARRS prior to dispensing

controlled substances was not a state law, nor a required at Rite Aid.

                 Nor did Rite Ad have policies that required pharmacists to reject prescriptions

from out-of-state doctors or doctors who were located many miles away, she said.

                 Rite Aid did not keep lists of doctors who had been identified for writing

inappropriate prescriptions. While at Rite Aid, she would receive occasional memos from

management about specific doctors who had been identified as writing inappropriate prescriptions,

were under investigation or who had lost their license to prescribe. Pharmacists were told to stop

filling prescriptions for these doctors. But she does not recall the Company keeping a master list

of these doctors in its internal systems.

                 When doctors lost their licenses to prescribe, the pharmacists were informed of it

by the State of Ohio Board of Pharmacy, she said. The announcement might also come through

Company communications, she said.




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                Rite Aid did not specifically encourage its pharmacists to share the names of

doctors they had concerns about.

                The Rite Aid store where she worked filled about 150 to 200 prescriptions a day.

During her two years there, she said she denied only one prescription for a controlled substance.

In that case, she said the prescription was obviously fake.

                As for why she would not deny prescriptions she found questionable: “If I reject

a prescription for pain, they [the patient] would complain to my manager. The manager would ask

me why.” If she didn’t have a “good explanation that it’s not proper to sell it,” her managers would

come down hard on her, she said.

                She recalled a Cleveland area pain management physician, Dr. Jerome Yokiel,

who was a frequent prescriber of opioid who lost his license for what she thought was

inappropriately prescribing controlled substances.

                Dr. Yokiel had his license to prescribe controlled substances suspended in late

2017 because of his own use and addiction to opioids. 283 According to ProPublica’s Prescriber

Checkup database, Dr. Yokiel was the ninth highest prescriber of oxycodone HCL in Ohio with

some 1,163 claims submitted to Medicare. 284

                She recalls filling numerous controlled substance prescriptions from Dr. Yokiel at

her Rite Aid pharmacies. Dr. Yokiel’s prescriptions were usually for an opioid and, typically, his

patients came into the pharmacy with a combination of two to three prescriptions for controlled




283
   Brie Zeltner, Chronic pain patients struggle after Beachwood doctor suspended, cleveland.com
(Aug.                                          26,                                        2018),
https://www.cleveland.com/healthfit/2018/08/chronic_pain_patients_struggle.html.
284
             Prescribers         of        OXYCODONE                 HDL           in          Ohio,
https://projects.propublica.org/checkup/drugs/2954/states/ohio.


                                                148
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substances, she said. She recalled seeing five to ten prescriptions and combo prescriptions from

this doctor per week. The most common drugs he prescribed were Percocet and hydrocodone, she

said. She said it was more common to see the two-combo prescription of an opioid with an anti-

anxiety or sleeping medication such as Ambien. But Dr. Yokiel also wrote numerous combinations

of three prescriptions. “There were a lot of muscle relaxant and anti-anxiety and opioid at the same

time,” she said.

                    She said she never refused to fill any of the prescriptions from Dr. Yokiel. She

said Dr. Yokiel typically wrote prescriptions for a two-week supply, but that the dosage strengths

tended to be on the higher side. “If Percocet is available in 2.5 (mg), 7.5 and 10, he would do 7.5

or 10,” she said.

                    She said she first heard about Dr. Yokiel losing his license through word-of-mouth

among colleagues. She then received notice from the Board of Pharmacy that he no longer had a

license to prescribe and that his prescriptions should not be filled. She recalls she had shared her

concerns about Dr. Yokiel with colleagues, but she did not reject any of his prescriptions and that

she filled them while at Rite Aid.

                    At Rite Aid, the Company’s top priority and focus of job evaluations was on

revenue streams. “Prescription volume was number one,” she said.

                    At Rite Aid, she was so understaffed, she believed it created a dangerous situation

for patients and could lead to pharmacists missing red flags for inappropriate prescriptions. “I

practically had no staffing,” she said. . . . Rite Aid does not give you any help. They don’t care.”

                    While at Rite Aid, she worked 12-hour shifts from 9am to 9pm. Generally, she

worked four to five hours of the shift alone, often opening and closing by herself. She only had a

pharmacy technician scheduled for a portion of her shift. Not infrequently, technicians called in




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shortly before the shift to say they were not coming in. That left her working the entire shift by

herself. “It happened too much and too often,” she said of working a shift alone at Rite Aid.

                   While alone, she had to do everything expected of the pharmacy – type

prescriptions into the system, call doctors, call patients, process insurance, print and attached

labels, count the pills, fill the bottles, confirm the accuracy of the medication and pills, work the

register, answer phone calls, process refills, deal with customers, provide immunizations, etc.

                   She was so overworked and understaffed it created a dangerous situation in the

pharmacy for the patients. She said it created an environment in which mistakes and oversights

were more likely to occur. “I was a pharmacist who worked by myself doing the job of four

people,” she said. “It’s just not safe. You always need a tech… I absolutely feel it jeopardized the

patient safety.”

                   She said the understaffing contradicted what Rite Aid claims is its priority on

safety. “They want safety, safety all over, safety is the strategy of the pharmacy,” she said of Rite

Aid’s claims. “What kind of safety is it if you work by yourself?”

                   The understaffing situation at Rite Aid made it difficult to catch red flags for

inappropriate prescriptions and possibly allowed inappropriate prescriptions to slip by. “It’s

possible that they slipped by,” she said. “You can’t catch everything when you’re chasing your tail

all day long.”

                   She said she initially reported her concerns about understaffing to her managers

at Rite Aid, but “then I just decided to stop because it didn't get me anywhere.”

                 5.      Canton, Ohio (Pharmacist No. 9)

                   Pharmacist No. 9 was Pharmacy Manager for Rite Aid from 1994 to 2015 at the

store located at 4332 Cleveland Ave., Canton, Ohio (store #3061). Previous to that, she was a staff




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pharmacist for about two years at an East Liverpool, Ohio Rite Aid (store #3060). She reported to

John Nicora, District Manager, and Mary Menegay, Pharmacy District Manager.

                 She recalled the lack of staff and constant pressure to meet corporate metrics left

insufficient time for Rite Aid pharmacists to scrutinize controlled substance prescriptions. In

particular, she described a severely understaffed environment at the pharmacy and an intense

pressure to meet corporate metrics, which were used to determine promotions and raises. Rite Aid

pharmacists did not always have time to fully investigate controlled substance prescriptions to

ensure the drugs were appropriate to dispense.

                 “It’s definitely hard to keep all of the time constraints in your head and think about

what you need to get done,” she said. “And if you don’t have anybody there [to help] or the tech

is at lunch, it’s like, ‘How am I going to do this.’ It was difficult. It was stressful.” This undermined

her ability to catch inappropriate controlled substance prescriptions, she said, “I would say that

there were probably times that it did.”

                 Asked what Rite Aid could have done to better support its pharmacists’ ability to

stop inappropriate prescriptions from going out the door, she said: “The biggest thing they could

have done was drop their concern with the metrics and focus on the customer, which would mean

better service, which would mean more help [staff] in the pharmacy. A lot of things would become

easier. Things [prescriptions] that might slip through the crack would be more likely to be looked

at.”

                 If a controlled substance prescription came in that technically met criteria but still

seemed off, a pharmacist who was not so overloaded with work would have the time and attention

to say, “Hmmm, let’s give this one (doctor) a call,” or to investigate the situation more, she said.

“With the workload they expected of us and the constant cutting of hours, it was kind of like, ‘This




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one looks OK, let’s do it,’” she said, referring to controlled substance prescriptions that were filled

as long as they did not have any glaring problems.

                 Over her time there, Rite Aid gradually cut further and further back on pharmacist

and pharmacy technician hours while also increasing the amount of work they were expected to

do. When she first started at Rite Aid in about 1992, the staffing in the pharmacies was far more

robust than when she left in 2015. Over the years, Rite Aid continued to cut back on the number

of technicians working alongside pharmacists, she said.

                 Her shift was 13 hours long, from opening the pharmacy to closing it. Usually,

she was there alone in the morning for about an hour before the tech would come in. The tech was

allotted a one-hour lunch break and other shorter breaks during the shift, during which she was

alone. Two hours before closing, the tech would go home, again leaving her alone in the pharmacy.

                 The staff cutbacks came at the same time that Rite Aid was increasing the amount

of work expected of the pharmacists, she said. In the last several years, Rite Aid has pushed

pharmacists to do more immunizations, make more calls to customers about refilling prescriptions,

conduct more reviews of customers’ medication profiles, among other things, she said.

                 She also noted that her volume of prescriptions did not change much, and that she

typically filled between 120 and 150 prescriptions a day.

                 In years past, when she needed extra staff (for example, a monthly inventory count

or an expected surge in flu shot requests), she simply assigned the hours and submitted a form

explaining why she needed the extra hours. In more recent years, when she tried to request more

staff, her pharmacy manager said she had to make do with the staff she had.




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                 She recalled that her Rite Aid pharmacy filled prescriptions from doctors who

were later flagged for writing inappropriate prescriptions. The doctors eventually lost their

licenses due to Ohio State Board of Pharmacy investigations.

                 She recalls Dr. Frank Lazzerini, who operated in Jackson Township near Canton

and had been convicted of illegally prescribing opioids. Between March 2013 and September

2015, Dr. Lazzerini wrote some 20,745 prescriptions for controlled substances, equal to 1.9 million

doses. 285

                 In 2019, Lazzerini was convicted of 187 felony charges for prescribing addictive

pain medication without a legitimate medical purpose for dozens of patients, irresponsibly

prescribing medication that killed a 38-year-old man, and in 2014, fraudulently overbilling

Medicaid for services not rendered. He was sentenced to 113 years in jail. 286

                 “Every prescription from [Lazzerini] was a C-II,” she said, referring to controlled

substance Class II. “There was never anything else but C-IIs. If we had to call him because it was

an early fill, like a week early, it was always OK. He’d say, ‘It’s OK. I told them to take a few

extra when they needed it.’”

                 When Lazzerini’s office confirmed a prescription and there was no evident abuse

issue in the patient’s medication history, she said her Rite Aid pharmacy would usually fill the

prescription. “We either lose a customer or we fill it,” she said. She recalls Dr. Lazzerini’s patients




285
     Robert Want, Investigator: Lazzerini billed Medicaid $260 after 2-minute exam,
CantonRep.com (May 10, 2019), https://www.cantonrep.com/news/20190510/investigator-
lazzerini-billed-medicaid-260-after-2-minute-exam.
286
   Robert Wang, Judge calls Frank Lazzerini ‘Dr. Frankenstein’, CantonRep.com (July 14, 2019),
https://www.cantonrep.com/news/20190712/update-judge-calls-frank-lazzerini-dr-frankenstein.


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in particular: “I just remember them because there were always that, ‘Ugh, not this guy again,’”

she said.

                 Other pharmacies, however, refused to fill his prescriptions. At Lazzerini’s trial,

two local Walgreens pharmacists testified that in 2014 and 2015 they had refused to fill his

prescriptions because many seeking the medications lived outside the area and otherwise

illustrated “red flags” that caused them to refuse to fill. Pharmacist Teresa Russell, who worked

at the Walgreens in Massillon, Ohio, “said after Lazzerini’s patients presented a series of

suspicious prescriptions she felt presented a risk to their health, she refused to fill any more

prescriptions by Lazzerini for controlled substances. In one case, Lazzerini prescribed a drug prone

to abuse at twice the recommended level to treat impotence. She also talked about a 16-year-old

girl with a broken ankle for whom Lazzerini prescribed pain medication repeatedly and a weight

loss drug. ‘I started questioning why she was on (long-term pain medication) for a broken ankle,’

Russell said. ‘It’s an acute pain situation, not a chronic pain situation, especially for a teenager.’” 287

                 The State Board of Pharmacy came into Pharmacist No. 9’s store more than once

and pulled all the prescriptions from Lazzerini for the prior “year or so,” she said. While at the

store, the Board representative told the pharmacy to “keep an eye on” Lazzerini’s prescriptions

and that “it would be in your best interest not to fill” his prescriptions, she said. She said she

notified her pharmacy manager Mary Menegay about the visit by the Board and their

recommendation.




287
     Robert Wang, Investigator: Lazzerini billed Medicaid $260 after 2-minute exam,
CantonRep.com (May 10, 2019), https://www.cantonrep.com/news/20190510/investigator-
lazzerini-billed-medicaid-260-after-2-minute-exam.


                                                   154
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                 She does not recall a list of problem doctors that was kept in the Rite Aid computer

system. Nor does she recall anything in the Rite Aid computer system that provided a red flag or

a warning when the doctor’s name was typed in as the prescribing doctor for a prescription.

                 During job performance reviews, she was graded on several different metrics set

by Rite Aid corporate. Her job performance was based on her prescription volume, the number of

immunizations given, her prescription fill-rate, not exceeding the allotted technician hours, and

customer satisfaction. The Company had expectations about how many prescriptions she should

fill per day and how fast she filled them. The Company’s computer had a timer that started the

second a new prescription was entered into the system until it was completed. For waiting patients,

the pharmacy was expected to fill it in 15 minutes. Failing to fill prescriptions for waiting

customers within 15 minutes would lower her performance score.

                 Her evaluation was also based on how well she kept to the allotted tech hours or

whether she went over budget on staffing. Customer complaints also factored negatively into her

job evaluations, even if the complaint was unfounded.

                 If she denied an opioid prescription and the customer complained, she would get

a phone call from her pharmacy manager. The pharmacy manager would question her about why

she denied the prescription. Even though her Pharmacy Manager Mary Menegay may understand

her reasoning, the complaint from the customer would stay in her file as a negative mark against

her, she said.

                 The pressure to meet the Rite Aid metrics would factor into some pharmacists’

decisions about whether to deny a controlled substance prescription. A pharmacist with a number

of customer complaints would be more reluctant to deny a prescription out of concern about

receiving another negative mark on their job performance, she said.




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                 Rite Aid was more focused on profits than the safety of customers. “It was money.

It had nothing to do with safety. They always say it’s ‘customer first,’” she added. “It was

Company first.” She said it was clear to her that the Company put profits over customer safety by

the amount of work expected from its staff and how little help the employees received to do it.

                 A few years before she left Rite Aid, the Company issued an alert to its pharmacies

about the dangers of a medication combination of an opioid, a benzodiazepine and a muscle

relaxant referred to as the “Holy Trinity,” she said. Prior to the alert, she was unaware that the

combo was a red flag for inappropriate prescriptions and patients who were likely abusing drugs.

                 She had been dispensing the “Holy Trinity” combinations prior to that time as

long as they met the technical criteria as a legitimate prescription. The alert from Rite Aid came

with large red stickers that were affixed to the pharmacy counter warning about the dangers of the

“Holy Trinity” combo of drugs. At that point, she stopped dispensing the combinations of drugs.

                 She would ask patients what their primary medical need was, and if for example,

the patient said, “pain,” she might dispense just the opioid medication. She would also, however,

write on the other two prescriptions that she filled the opioid and mark the date. She did that so if

the patient tried to fill at another pharmacy, the pharmacist there would be aware of the opioid

prescription.

                 She said the “Holy Trinity” problem had been going on for a number of years

before Rite Aid issued its alert to pharmacists. She felt Rite Aid should have issued the alert sooner

if it had been more concerned about the opioid crisis.




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                   Specific Examples of Unlawful Dispensing Conduct: Pennsylvania

                   1.     Rite Aid failed to investigate, report, or halt dispensing of inappropriate
                          or medically unnecessary prescriptions of controlled substances in
                          Pennsylvania

                    The opioid addiction and overdose crisis is the worst public health and public

safety emergency in Pennsylvania. Some 5,456 Pennsylvanians died as a result of drug abuse in

2017— more than in any other state. 288 That number was 4,643 the year before, and at least 85%

of those drug-related fatalities involved opioids. The rate of drug-related overdose deaths in

Pennsylvania increased from 26 per 100,000 in 2015 to 43 per 100,000 in 2017. This far exceeds

the national average (22 per 100,000 in 2017). 289

                    In addition to overdose deaths, the Pennsylvania Health Care Cost Containment

Council reports that the number of opioid-related hospitalizations in Pennsylvania increased

103.6% between 2008 and 2015. Nearly 1 in 37 hospital admissions in the Commonwealth were

related to opioids in 2017 alone. This number does not include emergency room visits for opioid

intoxications and other opioid encounters that did not result in a hospital admission.290

                    Between 2008 and 2015, the number of inpatient hospital stays involving opioids

more than doubled from 14,711 admissions to 29,958. In 2017 alone, there were 36,712 opioid-

related hospitalizations, with hospital admissions for opioid use disorder amounting to an




288
   PittPharmacy, The Opioid Threat in Pennsylvania (Sept. 2018), at 2, DEA-PHL-DIR-036-18,
https://www.dea.gov/sites/default/files/2018-
10/Opioid%20threat%20in%20Pennsylvania%20FINAL.pdf.
289
      Id. at 33.
290
         Pennsylvania         Health        Care        Cost       Containment        Council,
http://www.phc4.org/reports/researchbriefs/overdoses/l01618/docs/researchbrief_overdoses
101618.pdf                                                                                 and
http://www.phc4.org/reports/researchbriefs/overdoses/17/docs/researchbrief_overdoses2017.pdf



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estimated $32 million in hospital payments at an average cost of $10,321 per stay related to

prescription opioid overdoses. 291

                The Pennsylvania Medicaid program spent millions on opioid drugs from 2007 to

the present. In 2017, Medicaid was the anticipated payer for 44.3% of opioid-related

hospitalizations-the largest percentage among insurance payer groups. As a comparison, Medicaid

comprised only 16.9% of all hospitalizations that same year. 292

                Despite having some 540 stores located all over the Commonwealth of

Pennsylvania, Rite Aid’s gross inadequacies in the performance of its due diligence obligations

are underscored by the following examples of illegal prescribing and diversion and abuse activities

in Pennsylvania.

                Upon information and belief, none of the following health care professionals

(many of whose prescriptions were filled at Rite Aid stores), who were apprehended (and many

later convicted) as a result of a DEA or local law enforcement investigation, were identified,

investigated, or blocked by Rite Aid despite their prescribing habits rising to a criminal level:

 Date           Name                              City                      Sentence
    9-Mar-04    Bernard Rottschaefer, MD          Pittsburgh, PA            78 months
   12-Oct-04    Barnett, Randy                    Philadelphia, PA          24 months probation
   20-Jan-05    William Delp, DO                  Bethlehem, PA             1-2 years
    7-Feb-05    Nicholas Lisnichy, MD             Dunmore, PA               6-12 years
  24-May-05     Harry Alexanderian, MD            West Pittston, PA         6 months home
                                                                            detention
      25-Jan-06 Abdul Hussain, MD                 Wilkes-Barre, PA          3-10 years
      24-Apr-06 Frank Bregar, MD                  Pittsburgh, PA            3 months home
                                                                            detention
      5-May-06 Gurbachan Kathpal, MD              Canonburg, PA             2-4 years
      9-May-06 Philip G Wagman, MD                New Castle, PA            7-15 years
       5-Sep-06 Robert Snyder, DO                 Pittsburgh, PA            1 year probation


291
      Id.
292
      Id.


                                                158
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 26-Sep-06    Jatinder Bajwa, MD               Springdale, PA       2 year probation
   5-Jul-07   William Mangino, II, MD          Philadelphia, PA     8 1/2-20 years
14-Nov-07     Paul H. Caviness, MD             Middleton, PA        9-23 months
 13-Feb-08    Edward J Alexander, MD           Philadelphia, PA     3 years probation
20-May-08     Evelyn Frances Sabugo, MD        Philadelphia, PA     18 months
 24-Jun-08    Aziz Chaudhry, MD                Philadelphia, PA     15 months
 24-Jun-08    Manuel Pagalilauan, MD           Philadelphia, PA     9 months
  2-Sep-08    Joseph Borkson, MD               Philadelphia, PA     5 years
 28-Oct-08    Thomas Bradley, MD               Dubois, PA           5 years probation
 31-Oct-08    Lawrence Adams, MD               Phillipsburg, PA     7-14 years
10-Mar-09     David Girardi, MD                Curwensville, PA     2 years probation
19-Mar-09     Randy Weiss, DO                  Philadelphia, PA     4 years
 29-Sep-09    Jennifer Zampogna, MD            Mechanicsburg, PA    23 months probation
30-Mar-10     Laurence T McKinney, MD          Philadelphia, PA     87 months
 24-Sep-12    Oliver Herndon, MD               Pittsburgh, PA       135 months

 14-Jan-13    Rajendra D. Yande, DO            DuBois, PA           4-8 years state
  2-Apr-13    Arlene Gerson, PharmD            Philadelphia, PA     68 days time served
15-May-13     Kermit Gosnell, MD               Philadelphia, PA     3 life sentences
 24-Sep-13    Norman Werther, MD               Ft. Washington, PA   25 years
 29-Oct-13    Heather Herzstein                Folcroft, PA         33 months
                                                                    supervised release

  4-Dec-13    Charles Brian Griffin, PharmD    Pittsburgh, PA       40 months
22-May-14     Michael B Rosen, MD              Lafayette Hill, PA   community service
  5-Jun-14    Richard R. Ruth, DO              Franconia, PA        15-30 years
 10-Feb-15    Jay Cho, MD                      Mechanicsburg, PA
10-Mar-15     Cynthia Masso, MD                Philadelphia, PA     Charged




10-Dec-15 Lawrence Wean, MD                    Delaware City, PA    10-20 years
12-Dec-15 Mohammed Abdul Rahman                Reading, PA          2-4 years
           Khan, MD
 15-Jan-16 John Terry, MD                      Wellsboro, PA        20 months
 19-Jan-16 David A. Wait, MD                   New Cumberland,      1.5-3 years state
                                               PA                   prison
23-Feb-16 Davis, Glenn Bryan                   Johnstown, PA        6 years
 1-Jun-16 Thomas Radecki, MD                   Clarion, PA          11-22 years




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20-Jun-16 Amy Schneider                     York, PA               30 months

 28-Jul-16   Walter Krajewski, DO           York, PA               $300,000 fine
 7-Oct-16    William J. O’Brien, III, DO    Philadelphia, PA       30 years
 8-Dec-16    Jeffrey Bado, DO               Philadelphia, PA       25 years
23-Feb-17    Harold J Pascal, MD            East Stroudsburg, PA   6-18 months
23-Feb-17    Keyhosrow Parsia, MD           Philadelphia, PA       3 years probation
27-Feb-17    Clarence R Verdell, MD         Philadelphia, PA       1 day
31-Mar-17    Chetan Byhadgi, MD             Milford, PA            9-23 months, home
                                                                   detention
31-Mar-17 Barbara Schneider, MD             Philadelphia, PA       deceased before
                                                                   sentence
 27-Jul-17 Rosalind Sugarmann, Director     Allison Park, PA       1 year + 1 d
 2-Aug-17 Dominic W. Dileo, MD              Uniontown, PA          1 year
                                                                   (Spent 10 years in
                                                                   prison in 90s for
                                                                   Medicare fraud)




11-Aug-17 Kenneth M. Stanko, MD             Pittsburgh, PA         1 year 1 d
 26-Oct-17 Kenneth L. Cherry                State College, PA      18 months
                                                                   probation, license
                                                                   suspended 30
                                                                   months
 2-Nov-17 Daniel Garner, DDS                Pittsburgh, PA
20-Dec-17 Raymond Kraynak, MD               Mount Carmel, PA




27-Feb-18 Alan Summers, MD                  Ambler, PA             48 months $4.6MM
                                                                   restitution
 8-Mar-18    Rebecca Delbaggio, MD          Hollidaysburg, PA
 8-Mar-18    Bruce Lief, MD                 Wayne, PA
13-Mar-18    Brent E. Clark, MD             Pittsburgh, PA         5 years
  9-Apr-18   Azad A. Khan, MD               Villanova, PA          2 years
23-May-18    Michael Milchin                Philadelphia, PA       14 years
 20-Jul-18   Alan Barnett, MD               Pittsburgh, PA         5 years probation
  7-Sep-18   Erica LaBoy                    Philadelphia, PA       sealed
  7-Sep-18   William Richardson             Pittsburgh, PA



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18-Sep-18 Ralph Capone, MD                   Greensburg, PA      pled guilty,
                                                                 probation
24-Sep-18   Mamdouh El-Attrache, MD          Mt. Pleasant, PA    Indicted
28-Sep-18   Nabil Jabbour, MD                Greensburg, PA
14-Nov-18   Arthur Miriana                   Medford, PA         70 months
 6-Feb-19   Debra Cortez, PA                 Bristol, PA         No trial date set
                                                                 (Covid)
 6-Feb-19 Marcus Rae Williams, MD            Coatesville, PA     No trial date set
                                                                 (Covid)
 6-Feb-19 Brown, Avrom, MD                   Elkins Park, PA     No trial date set
                                                                 (Covid)
 6-Feb-19 Vincent Thompson, MD               Elkins Park, PA     No trial date set
                                                                 (Covid)
 6-Feb-19 Loretta Brown, DO                  Landsowne, PA       No trial date set
                                                                 (Covid)
 6-Feb-19 Mehdi Nikparvar-Fard, MD           Penn Valley, PA     No trial date set
                                                                 (Covid)
 6-Feb-19 Mitchell White, PA                 Philadelphia, PA    No trial date set
                                                                 (Covid)
 6-Feb-19 William Demedio, MD                Springfield, PA     No trial date set
                                                                 (Covid)
 6-Feb-19 Neil Cutler, MD                    Warminster, PA      No trial date set
                                                                 (Covid)
 6-Feb-19 Frederick Reichle, MD              Warrington, PA      No trial date set
                                                                 (Covid)
 6-Feb-19 Jason Dillinger, PA                West Chester, PA    No trial date set
                                                                 (Covid)
13-Feb-19   Sabrina Thomas                   Greensburg, PA
 4-Apr-19   Fuhai Li, MD                     Milford, PA         27 years
 9-Apr-19   Allyson Delfino, Med Tech        Greentown, PA       36-72 months
11-Apr-19   Martin D. Weaver, MD             Philadelphia, PA    sealed
30-Apr-19   Tayjha Brown, NP                 Coatesville, PA
17-Jun-19   Nancy Esslinger, Dental Asst.    Upper Chichester,   19 months
                                             PA
 25-Jul-19 Murray Soss, DO                   Philadelphia, PA    Indicted
28-Aug-19 Stephen Padnes, MD                 Philadelphia, PA    Indicted

10-Sep-19 Neil K. Anand, MD                  Philadelphia, PA    Indicted, Trial
                                                                 postponed
10-Sep-19 Asif Kundi, MD                     Philadelphia, PA    Indicted, Trial
                                                                 postponed
10-Sep-19 Atif Malik, MD                     Philadelphia, PA    Indicted, Trial
                                                                 postponed




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      10-Sep-19 Viktoriya Makarova, NP             Philadelphia, PA          Indicted, Trial
                                                                             postponed
  24-Sep-19     Emilio Ramon Navarro, MD           Perryopolis, PA           Indicted
   25-Oct-19    Robert Schorschinsky, MD           Exeter Township, PA       charged, 20 counts
   29-Oct-19    Paul Michael Hoover, MD            Coraopolis, PA            11 years, 4 months
  22-Nov-19     Kenneth Sun, MD                    Easton, PA                pled guilty
  17-Dec-19     Thomas J. Whalen, DO               Havertown, PA             1 day prison + 12
                                                                             months house arrest
        8-Jan-20 Richard Ira Mintz, DO             Philadelphia, PA          12 months
       7-Feb-20 Milad Shaker, MD                   Greensburg, PA            3 years
      17-Mar-20 Andrew M. Berkowitz, MD            Huntington Valley,        $2.8 civil damages
                                                   PA                        and penalties; lost
                                                                             DEA license; 20-
                                                                             year exclusion from
                                                                             govt healthcare
                                                                             programs
      16-Sep-20 Kurt Moran, MD                     Scranton, PA              Indicted
      29-Sep-20 Ajeeb Titus, MD                    Bethlehem, PA             Indicted

                2.     Doylestown, Pennsylvania (Pharmacist No. 10)

                 Doylestown, Pennsylvania is the county seat of Bucks County, which has been

designated as a High-Intensity Drug Trafficking Area or “HIDTA.” 293

                 Pharmacist No. 10 worked as a “floating” pharmacist for Rite Aid from September

2014 to August 2017. She floated to many pharmacies in a 40-mile radius around Doylestown.

                 When presented with a prescription that she felt was suspicious or out of the

ordinary, she would usually look to the pharmacist in charge for guidance because she was a floater

and not familiar with store practices.

                 “It is hard to refuse to fill for a patient who is a regular customer,” Pharmacist No.

10 said. That was something she liked about floating – she did not get to know customers

personally and could make decisions based on her professional training and ethics.



293
    Officials: Drug trafficking a problem in Bucks County, 6 Action News (Sept. 30, 2019),
https://6abc.com/officials-drug-trafficking-a-problem-in-bucks-county/5579775/.


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                However, in some cases when customers complained about her refusals, she

would tell them, “I don’t work here every day. Why don’t you speak to the regular pharmacist who

will be here tomorrow?”

                Pharmacist No. 10 recalled an incident when she refused to fill prescriptions for a

family of six people, all of whom had prescriptions from the same doctor for the same opioids.

This incident presented many red flags for fraud. These six family members all had the same

address; they had the prescriptions for the same opioids from the same doctor.

                Based on these signs, she refused to fill the prescription. The customer complained

to a call-in customer service number and she got a phone call that same day from a corporate

employee asking her to explain why she refused to fill.

                Despite the fact that fraudulent doctors operated all around the area, neither Rite

Aid nor the stores where she worked kept any database or list of suspicious physicians.

                One notorious Bucks County was osteopath William J. O’Brien III, who was

sentenced to 30 years in prison for illegal distribution of controlled substances resulting in death

and additional charges arising from O’Brien’s operation of a pill mill. 294 On July 14, 2015, a grand

jury had charged O’Brien and nine codefendants in a 139-count Second Superseding Indictment

(‘the indictment”) with conspiring to distribute controlled substances and other crimes. O’Brien

was also charged with 121 separate counts of distribution of controlled substances, and distribution

resulting in death. In addition to O’Brien, the defendants charged in the indictment included

members and associates of the Pagans Motorcycle Club (“Pagans”), an outlaw gang known for



294
   Kara Seymour, Bucks County Doc Sentenced To 30 Years For Pill Mill Operation, Patient
Death, Bensalem Patch (Oct. 7, 2016), https://patch.com/pennsylvania/bensalem/bucks-county-
doc-sentenced-30-years-pill-mill-operation-patient-death.



                                                163
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violence and drug dealing. O’Brien was charged with conspiracy to engage in money laundering,

conspiracy to commit bankruptcy fraud, and making false statements under oath in bankruptcy

proceedings. 295

                   On June 28, 2016, after a six-week trial, a jury found O’Brien guilty of all charges

in the indictment except for four distribution counts. The evidence at trial showed that O’Brien

worked together with Pagans and their associates to operate a “pill mill” out of O’Brien’s medical

offices. O’Brien wrote fraudulent prescriptions for oxycodone and other drugs, while the Pagans

and their associates recruited “patients” to buy the fraudulent prescriptions. O’Brien charged $250

cash for the first appointment to obtain prescriptions for controlled substances and $200 cash for

each subsequent visit. Oxycodone (30 mg) was in high demand by drug dealers who could sell

each pill on the street for $25 to $30. O’Brien sold prescriptions for these dangerous and addictive

drugs to hundreds of “patients.” After filling the prescriptions, the Pagans and their associates

resold the pills on the street. The trial evidence showed that from March 2012 to January 2015,

more than 700,000 pills containing oxycodone and other Schedule II controlled substances were

distributed by O’Brien in furtherance of the conspiracy. O’Brien generated for himself an

estimated $2 million in cash proceeds from the drug trafficking conspiracy. 296

                   In connection with his operation of the pill mill, O’Brien intentionally distributed,

for no legitimate medical purpose, oxycodone, methadone, and cyclobenzaprine, a muscle relaxer,

to Joseph Ennis, 38, of Bucks County. Mr. Ennis had initially sought treatment from O’Brien




295
    Press Release, U.S. Attorney, E.D. Pa., Former Philadelphia Doctor Sentenced To 30 Years For
Running Pill Mill And Distributing Oxycodone Resulting In Patient Death (Oct. 5, 2016),
https://www.justice.gov/usao-edpa/pr/former-philadelphia-doctor-sentenced-30-years-running-
pill-mill-and-distributing.
296
      Id.


                                                   164
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following a car accident. On December 17, 2013, O’Brien prescribed oxycodone and methadone

without a legitimate medical purpose, which combined with the cyclobenzaprine, led to Mr. Ennis’

death. Mr. Ennis died five days later on December 22, 2013 from the combination of these

substances. At sentencing, Mrs. Bridget Shaw, Mr. Ennis’ sister, asked the Court to consider “the

countless victims [O’Brien] fooled who are not here to represent themselves. The patients he

turned into addicts for his profit and their families who are now left swimming in hospital bills or

worse, wondering how this hell came to be . . . Rather than save lives, according to the oath he

took, he chose to ruin them.” 297

                Pharmacist No. 10 recalled occasional conference calls or emails from the

Company about doctors who were over-prescribing opioids. Despite these occasional

communications, neither Rite Aid corporate nor the stores where she worked maintained a list or

database of suspicious physicians.

               3.      Pennsburg, Pennsylvania (Pharmacist No. 2)

                Pennsburg, Pennsylvania is located in Montgomery County, the location of

numerous reported pill mills. There have been numerous arrests and convictions of Montgomery

County pill mill doctors related to the opioid epidemic, including Michael B. Rosen, 298 Richard
                        299
Ruth, Michael Ruth,           Spiro Kassis, 300 Lawrence I. Miller, Joseph F. Cipriano, Brian C.


297
      Id.
298
    Cael Hessler, 'Dr. Feel Good' gets probation, Mainline MediaNews (May 22, 2014),
http://www.mainlinemedianews.com/news/region/dr-feel-good-gets-probation/article_3c349d4d-
b6bb-5b7e-9ac2-f7c77fcd393e.html.
299
   Cael Hessler, Franconia doctor, son sent to prison for running pill mill, Souderton Independent
(June 5, 2014), http://www.montgomerynews.com/soudertonindependent/news/franconia-doctor-
son-sent-to-prison-for-running-pill-mill/article_7fc380ad-4b86-565d-a89d-1fe23039f50e.html.
300
   Press Release, U.S. Attorney, E.D.Pa., Montgomery County Doctor Charged with Illegally
Prescribing Opioids (Aug. 2, 2019), https://www.justice.gov/usao-edpa/pr/montgomery-county-



                                                 165
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Keeley, 301 Alan Summers, 302 Vincent Thompson, Avrom Brown, Mehdi Nikparvar-Fard, Loretta

Brown, Frederick Reichle, Marcus Rey Williams, William Demedio, Neil Cutler, Mitchell White,

Jason Dillinger, and Debra Cortez. 303

                Pharmacist No. 2 worked as a pharmacist at a Rite Aid store at 350 Main Street,

Pennsburg, Pa. (store #443) from 2015 to 2017.

                He became disillusioned with working in a retail pharmacy environment, largely

because of pressure from management to fill prescriptions, even when he suspected prescriptions

were fraudulent.

                At the Pennsburg Rite Aid store, he reported to a district manager who ordered

prescriptions that he believed were fraudulent to be filled despite his warnings. He refused to fill

a lot of prescriptions there for customers he believed were questionable. However, his decisions

were often questioned by his district manager, whose name was Henry Kim. “Many times, I got

pushback from my district manager,” he said. Kim would intervene if a customer’s complaint

made its way to him. “When that was the case, the patient got their way, unfortunately,” he said.

                He said the store did have customers who he considered drug seekers, with

prescriptions for opioids from medical doctors and dentists. He remembered refusing to fill a




doctor-charged-illegally-prescribing-opioids.
301
   Four Montgomery County doctors accused of illegally prescribing opioids, 6 Action News
(Sept.   12,   2018), https://6abc.com/four-montco-doctors-accused-of-illegally-prescribing-
opioids/4223129/.
302
   Bobby Allyn, Ambler doctor gets prison for supplying prescription pills to addicts, dealers in
South Philly, WHYY (Feb. 27, 2018), https://whyy.org/articles/ambler-doctor-gets-prison-
supplying-opioids-addicts-dealers-south-philly/.
303
    Dan Sokil, Doctors among 14 charged for alleged opioid ring, The Reporter (Feb. 7, 2019),
https://www.thereporteronline.com/news/doctors-among-charged-for-alleged-opioid-
ring/article_9d371f56-2a4b-11e9-94b8-9b0ea7d0d2b6.html.


                                                166
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prescription for a “huge amount” of oxycodone liquid for a 16-year-old patient. He recalled it

being for “a storeroom quantity,” perhaps 475 milliliters.

                 He recalled another case, also involving a 16-year-old patient, who was prescribed

“an obscene dose of oxycodone” and who had traveled an hour to the store to have it filled. He

refused to fill the prescription.

                 He also recalled an incident when the district manager stepped in. A customer had

prescriptions for the “Holy Trinity” of dangerous medications: a benzodiazepine, a muscle relaxer

and an opioid. He refused to fill them and the patient contacted the district manager, who asked

him to fill the prescriptions. Pharmacist No. 2 objected, citing his expertise and years of schooling

in pharmacology, saying he did not believe it was an appropriate regimen of medications for the

patient.

                 “There was a lot of pushback,” from the district manager, he said. “He said, ‘It

would be in your best interest to fill it.’” Because of that threat to his employment, he did fill the

prescription and it was that experience that led him to leave the retail pharmacy profession.

                 “I didn’t really like the shady practices of retail pharmacies with opioids,”

Pharmacist No. 2 said. “That’s why I got out.”

                 He made notations in the Rite Aid computer system of some of these incidents.

He made a note in the system about this incident, documenting that the district manager pushed

him to fill the prescription. He said he always documented such incidents in the system, making

notations under the patient’s profile so other pharmacists would be aware

                4.      Reading, Pennsylvania (Relator Wegelin)

                 Reading, Pennsylvania is the county seat of Berks County. According to statistics

from the CDC, the population in Berks County, Pennsylvania rose 2.9 percent from 2006 to 2012.




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During this same period, the rate of drug-related deaths went up by nearly two-thirds over that

time: from 7.7 deaths per 100,000 people in 2006 to 12.8 in 2012. Meanwhile, the number of

opioid pills distributed to pharmacies in the county more than doubled: from 5.9 million in 2006

to nearly 12 million in 2012. 304 From 2006 through 2012, pharmacies in Berks County distributed

more than 63 million doses of oxycodone and hydrocodone — enough to give each person in the

county about 20 opioid pills per year over that period. 305

                Relator Wegelin worked for Rite Aid from 2007 to 2017 at thirteen different stores

in Pennsylvania, including the Rite Aid stores located at 500 East Lancaster Ave, Shillington

(Store #290); 525 Penn Ave., West Reading (Store #467); 524 North 6th St., Reading (Store

#1581); 4810 Penn Ave., Sinking Spring (Store #1975); 5370 Allentown Pike, Temple (Store

#2589); 670 Philadelphia Ave., Reading (Store #2591); 2320 Penn Ave., West Lawn (Store

#2781); 3145 Main St., Morgantown (Store #7861); 418 Penn St., Reading (Store #11170); 3215

5th Street Highway, Reading (Store #11171); 4360 Perkiomen Ave., Reading (Store #11172); 2962

St. Lawrence Ave., Reading (Store #11173); 2210 State Hill Road, Wyomissing (Store #11174).

At the end of her time working there, she was the pharmacy manager at the Rite Aid store located

at 2962 St. Lawrence Ave., Reading, Pennsylvania, 19606.

                When Relator Wegelin started, it was typical for the pharmacy to fill around 400

prescriptions per 12-hour shift. Later, after another Rite Aid and a CVS opened nearby, the

prescription volume fell to around 300 per shift. Even after the drop in volume, Relator Wegelin




304
   Adam Richter, Steve Henshaw, As drug overdose deaths soared, so did the supply of opioid pills
in      Pa.     and      Berks     County,    Reading     Eagle      (Aug.      19,      2019),
https://www.readingeagle.com/news/article/as-drug-overdose-deaths-soared-so-did-the-supply-of-
opioid-pills-in-pa-and-berks-county.
305
      Id.


                                                168
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still found that she needed to come in early and leave after hours to ensure that all the work that

needed to be done was completed; there simply was not enough time in each shift to do everything

that was required. In addition to never even having the time to sit down during the entire shift,

Relator Wegelin felt that her job was like an assembly line. Often, the time pressures meant that

Relator Wegelin could not do all the due diligence that she would have liked to have done, such

as check the Pennsylvania PDMP. A check of the PDMP system alone took around 5 minutes,

which was a lot in an environment where you were still expected to fill 35 prescriptions an hour.

                 The pharmacists would get a weekly “clinical report” by email. This email laid

out in great detail the performance of each store. It included such things as how many

immunizations were performed and the number of medication therapy monitoring billed. The clear

priority of the reports was to encourage stores to grow profitability. In fact, in the clinical report

from December 26, 2016, District Manager Mario Zuccaroli highlights that the stores in his district

needed to keep looking to grow profits: “There is still sooooo much opportunity, and much like

Shared QA we can only achieve district success if everyone contributes and driving clinical

initiatives and must be an everyday priority. Highlighted RED stores cannot continue on this

report without improvement….” [emphasis in original]. Thus, the clear priority of Rite Aid was

profit above all else, with weekly reminders to make this clear.

                 From time to time, due to high demand Relator Wegelin’s store had to request

increases in its allotment of opioid drugs like oxycodone being shipped. This was because the store

would exceed its threshold of drugs set by its wholesale distributor, AmerisourceBergen. 306


306
    The Rite Aid store at 2962 St. Lawrence Ave. appears in the ARCOS data as two different Thrift
Drug Stores. Thrift was acquired by Eckerd, then subsequently by Rite Aid. The pharmacy at 2962
St. Lawrence Ave. dispensed a total of 25,090,881 MME from 2006-2012. That means that at the
highest bounds of the recommended MME per day (90 MME/day) the stores were supplying
enough opioid prescriptions for an average of 109 regimens per day.


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                For much of her time working at Rite Aid, the Company did not have processes

or policies that blocked filling suspicious prescriptions. Rather, district managers would become

involved and direct them to fill prescriptions even when pharmacists disputed them with good

reason.

                For example, Relator Wegelin objected to their continuing to fill prescriptions for

a Reading, Pennsylvania psychiatrist, Dr. Mohammed Abdul R. Khan, who was prescribing what

she believed to be wildly inappropriate and medically unnecessary quantities of controlled

substances. Khan was charged in 2013 with illegally writing thousands of prescriptions for more

than 145,000 pills to patients who went to his Reading or Pottsville offices to feed their addictions

or sell the drugs on the street. 307 Khan would later on December 11, 2015 plead guilty to unlawful

administration of a controlled substance by a physician, insurance fraud and conspiracy. He was

sentenced to two to four years in state prison followed by eight years of probation. 308

                Several years before Dr. Khan’s arrest, Relator Wegelin had objected to her

District Manager Mario Zuccaroli about filling Dr. Khan’s prescriptions, but was directed they

were to continue to fill his prescriptions anyway. Zuccaroli told her that she should validate the

scripts with the doctor’s office, and if the doctor’s office confirmed the prescription, “don’t worry

about” whether the doctor is prescribing appropriately. At one point, Dr. Khan’s prescribing was



307
     Steve Henshaw, Reading psychiatrist arrested, charged with improperly prescribing
medications, Reading Eagle Press (Oct. 3, 2013), https://www.psychsearch.net/7-3-million-
seized-from-pennsylvania-psychiatrist-mohammed-abdul-r-khan-arrested-for-drug-trafficking/.
The widely publicized charges had been filed on October 9, 2013 against, nearly a year after
Pennsylvania attorney general’s office agents and Berks County detectives raided both offices and
seized patient records. That same day – Oct. 16, 2012 – authorities also seized nearly $7.3 million
from Khan’s personal and business bank accounts and $200,000 from his safe deposit. Id.
308
    Stephanie Weaver, Berks woman sentenced to prison for helping run ‘pill mill’, Reading Eagle
(March 16, 2017), https://www.readingeagle.com/news/article/berks-woman-sentenced-to-prison-
for-helping-run-pill-mill.


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so excessive that all of the eleven Rite Aid pharmacies in Berks County had run completely out of

their opioid Adderall allotment by November. In spite of Dr. Khan’s wildly inappropriate

prescribing, Rite Aid did nothing to limit his prescriptions.

                 In Relator Wegelin’s experience, this alibi of using calls to prescriber’s offices to

provide a pretext for filling inappropriate prescriptions became commonplace. Rite Aid instructed

its pharmacists that as long as they called a prescriber’s office to confirm the prescription, then the

pharmacists had no choice but to fill it. Yet, in her experience this practice was often lead to their

filling what she knew were inappropriate and/or medically unnecessary prescriptions. In Relator

Wegelin’s experience, when calling pill mill prescribers’ offices (like she had with Dr. Khan) who

were writing copious amounts of suspicious prescriptions, these offices nearly always confirmed

the validity of the prescriptions, without regard whether the prescriptions were inappropriate. For

example, when Relator Wegelin called the office of Dr. Robert W. Schorschinsky, who was later

criminally charged for his prescribing habits (see below), the office would even sometimes confirm

the prescription was valid before even hearing the patient’s name. For Rite Aid, the simple act of

calling the prescriber—not truly verifying the prescription—was enough to provide cover for its

pharmacist to dispense.

                 In her experience, should she reject an opioid prescription, not infrequently these

customers lodged complaints with management. When a customer called 1-800-RITE-AID for a

customer complaint, Rite Aid marked it as a customer complaint. All complaints were considered

valid, even if it was something trivial like the customer not liking the way the pharmacist was

dressed. This was problematic because customer complaints directly affected bonuses and raises.

If a customer complained about anything, including about something like the pharmacist taking

too long to fill or refusing to fill a prescription, pharmacists could potentially lose a raise or bonus.




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In Relator Wegelin’s experience, the threat of a customer complaint was another reason

pharmacists would often fill any prescription.

                 Illustrating just how the threat of customer complaints impacted pharmacists

filling of opioids, in response to a customer complaint when she had refused to fill an opioid

prescription from a pill mill doctor, she received a call from John Boyle, the Regional Vice

President for Pharmacy Operations in charge of the District Manager over her pharmacy. Boyle

directed Relator Wegelin that she had to fill these prescriptions even though she was not

comfortable doing so. Wegelin had been suspicious of the prescription in part because both the

patient and doctor were not local; instead, they were both from Philadelphia. Also, Wegelin noticed

that there were notes in the NexGen system that said “FAKE RXs” for the both the patient and

doctor. These notes were in the system despite management generally discouraging entering such

information.

                 Even so, Boyle threatened Relator Wegelin’s continued employment if she did not

fill the suspicious prescription, telling her “[i]f you like your job, you better fill it.” Two pharmacy

technicians witnessed the incident, Josiah Kantner and Pam Brandt. Faced with the possibility of

losing her livelihood, Relator Wegelin reluctantly filled the prescription, but wrote on the hard

copy prescription “Boyle made me fill this” to document she had filled the prescription in protest.

                 Boyle’s command was not uncommon among Rite Aid. The reasoning of Rite

Aid management was that, even though pill mill physicians like Dr. Khan may have had their

offices raided or been charged criminally, they had not yet lost their licenses. Until prescribers lost

their license, Boyle and other Rite Aid management instructed pharmacists they were to continue

filling all that prescriber’s prescriptions, regardless of the pharmacy’s corresponding responsibility

to independently evaluate the prescription, including such factors as criminal charges against the




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prescriber. In her experience, the filling of prescriptions for prescribers who were under

investigation, but technically still maintained a license, led to unchecked opioids flooding into

Reading.

                In another example of rampant prescribing by a physician she had flagged for his

unbridled prescribing, on September 12, 2019 charges were filed against Dr. Robert W.

Schorschinsky, the culmination of a two-year investigation into his practice, Penn Family

Medicine in Exeter Township, Pennsylvania. According to the criminal complaint, Schorschinsky

pre-signed prescriptions when he would go on vacation and other physicians would see his

patients. On May 23, 2018, investigators had obtained patient records from Penn Family Medicine

pertaining to overprescribing opioid pills. The State’s expert determined that Schorschinsky’s

“patients” were being prescribed 288% to 800% higher dosages of controlled substances than the

maximum recommended dosage set by the Centers for Disease Control and Prevention and the

Pennsylvania Medical Society. 309     Even though she had complained about Schorschinsky’s

prescribing, Rite Aid did nothing to stem the tide of his excessive scripts which flooded into the

community.

                Frustrated that Rite Aid had insisted they continue to fill prescriptions she believed

were inappropriate and/or medically unnecessary, at one point she called the Pennsylvania State

Board of Pharmacy in 2015 to complain. But her complaint was rebuffed when the Board refused

to intervene. The response from the Board was: “Well, what do you want us to do about it?”




309
   Steven Henshaw, Berks doctor ran opioid 'pill mill,' investigators say, Reading Eagle (Sept. 13,
2019),        https://www.readingeagle.com/news/article/berks-doctor-inappropriately-prescribed-
opioid-pills-investigators-say.




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                 Relator Wegelin was not the only pharmacist whose job was threatened by Rite

Aid for a refusal to fill suspicious prescriptions. One of Relator Wegelin’s pharmacist coworkers,

Abigail Tercha, was given the same ultimatum that she was. When she refused to fill what she felt

was an inappropriate script, Tercha’s Rite Aid manager told her that she was to “fill or leave.”

Tercha ended up not filling the prescription and instead of reporting the incident or supporting its

pharmacist’s decision, Rite Aid management told the patient to go to the Rite Aid store in nearby

Shillington, Pennsylvania, which would fill the prescription.

                 For the times when they strongly disputed continuing to fill suspicious

prescriptions, Rite Aid management directed Relator Wegelin and her colleagues to tell the

customer go to another Rite Aid location, providing the address where the prescription would be

filled.

                 In some instances, Relator Wegelin would confiscate what she determined to be

clearly fraudulent or forged prescriptions. She also would occasionally call the police on the patient

who presented the bad prescription, doing so at least five times while she worked at Rite Aid.

Relator later was called to testify about these incidents 3-4 occasions.

                 In one instance, Relator Wegelin received a prescription for Percocet that

allegedly was written by an ophthalmologist. Given that ophthalmologists generally do not write

prescriptions for powerful opioids, Relator Wegelin was immediately suspicious and called the

doctor who confirmed that he never wrote that prescription. Relator Wegelin then called police to

have the patient arrested. Even though she had independently reported these suspicious drug

seekers to law enforcement, she did so completely on her own and without the support from her

management.




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                 Nor was there a way for Relator to record when she refused to fill a prescription

into the Rite Aid computer NexGen system. Although pharmacists could take it upon themselves

to enter a note in the free text field in a patient or doctor record in NexGen, the practice was

discouraged by Rite Aid management. Unless a pharmacist disregarded this management directive,

there was no way to record refusals to fill so that others at Rite Aid could see the refusal.

                 Yet, in instances when Relator Wegelin took it upon herself to report drug-seekers

and inappropriate prescriptions, Rite Aid had no policy or procedure to record such events. In fact,

Relator Wegelin’s manager, Mario Zuccaroli, explicitly discouraged getting the authorities

involved because it would hurt business, telling her: “Don’t call the police. We don’t want the

police in the building; it’s not good for business.” Relator Wegelin’s understood was that

Zuccaroli’s directive came from his corporate managers, given the company’s focus on “customer

service” and the bottom-line over all else.

                 Eventually, in an about face that appears to have been the result of the rising tide

of litigation against the Company, in around 2017 Rite Aid finally began to change its practices

and began to flag physicians whose opioid prescriptions should not be filled due to inappropriate

prescribing.

                 For example, Relator Wegelin recalls that Rite Aid began to block prescriptions

for two doctors who were part of the Advanced Urgent Care group (“AUC”), Dr. Frederick Reichle

and Physician’s Assistant Jason Dillinger. On February 6, 2019, Reichle and Dillinger along with

twelve other AUC health care providers were indicted for a multitude of crimes, including

conspiracy to dispense and distribute controlled substances outside the course of professional




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practice and without a legitimate medical purpose; distribution of oxycodone; health care fraud;

and maintaining a drug-involved premises. 310

                Even then, this was too little too late. The changes made by Rite Aid in 2017 were

announced to pharmacists with little explanation and no rationale by Regional Manager Boyle on

a conference call. While these changes did allow Rite Aid pharmacists to report problem

physicians, nor did it include a number of physicians who were writing what Relator Wegelin

believed to be inappropriate opioid prescriptions. Instead, only a limited number of physicians’

prescriptions were blocked by the Rite Aid computer system. As such, the Rite Aid changes only

partially addressed the pill mill issues that Relator Wegelin saw in her pharmacy.

                Around the same time (2016-2017), Rite Aid provided for the first time a number

for pharmacists to call if they had concerns or suspicions about a doctor’s prescribing habits. Prior

to that point, there was no official way for pharmacists to report bad doctors. Relator Wegelin

reported Dr. Schorschinsky this way. But after she filed her complaint, Relator Wegelin never

heard anything else about the issue. What happened to the complaints, whether there was an

investigation, etc. was never explained or made clear to Rite Aid pharmacists like Relator Wegelin.

Nor was Dr. Schorschinsky ever blocked or otherwise flagged in the Rite Aid system during the

time she worked for Rite Aid.


310
   Press Release, U.S. Attorney, E.D.Pa., Fourteen Individuals Charged for Operating “Pill Mills”
and Illegally Prescribing Drugs to Hundreds of Patients in Multiple Locations in the Philadelphia
Area (Feb. 6, 2019), https://www.justice.gov/usao-edpa/pr/fourteen-individuals-charged-
operating-pill-mills-and-illegally-prescribing-drugs. The AUC defendants included Dr. Mehdi
Nikparvar-Fard, 49, of Penn Valley, PA; Dr. Vincent Thompson, 70, of Elkins Park, PA; Dr. Loretta
Brown, 65, of Landsowne, PA; Dr. Avrom Brown, 70, of Elkins Park, PA; Dr. Frederick Reichle,
83, of Warrington, PA; Dr. Marcus Rey Williams, 70, of Coatesville, PA; Dr. William Demedio,
58, of Springfield, PA; Dr. Neil Cutler, 77, of Warminster, PA; Physician’s Assistant Mitchell
White, 33, of Philadelphia, PA; Physician’s Assistant Jason Dillinger, 40, of West Chester, PA;
Physician’s Assistant Debra Cortez, 56, of Bristol, PA; Physician’s Assistant Samantha Hollis, 42,
of Wilmington, DE, and Office Manager Joanne Rivera, 35, of Pennsauken, NJ.


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                 Despite the eventual blocking of two of the bad doctors from AUC, Rite Aid

continued to fill prescriptions from other AUC physicians, despite the complaints of Relator

Wegelin.

                 For example, at least one AUC physician, Dr. Richard W. Spore, wrote numerous

questionable prescriptions which Rite Aid failed to block. When Relator Wegelin questioned the

fact that Dr. Spore was prescribing the exact same inappropriate combination of drugs that other

AUC doctors were (30mg oxycodone, Xanax, Soma, stool softener, and vitamins), Rite Aid only

saw an opportunity to increase sales. Relator Wegelin’s manager told her that she should fill Dr.

Spore’s prescription because, if Rite Aid filled the opioid, it would also get the benefit of the other

four prescriptions for other drugs from this patient, thereby increasing profit even beyond just the

opioid itself. Her manager said: “You should fill because we get 5 prescriptions out of it!” So,

despite the questionable opioid prescriptions from Dr. Spore, Rite Aid focused on the profit to be

gained.

                 Rite Aid’s focus on profits and lack of concern for the appropriate practice of

pharmacy is further illustrated through regular competitions held between districts for the number

of flu shots administered. Relator Wegelin observed what the pharmacy district managers called a

“flu bowl.” The different district managers in the region would compete to see which district could

give the most flu shots, with playoffs between the best performing stores. In Relator Wegelin’s

experience, such a focus on flu shots was also problematic because, like doing the proper due

diligence on prescriptions, administering a flu shot took a good deal of time. The focus on flu

shots, which were more profitable for the pharmacies than filling prescriptions, meant that

pharmacists had even less time to do what was required to make sure other prescriptions, like those

for opioids, were legitimate. In fact, Regional Vice President for Pharmacy Operations John Boyle




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said that he hoped for a bad flu season to boost immunization numbers. He also said that “we want

to get out of the prescription filling business; we just want to do immunizations.”

                District managers were supposed to visit each Rite Aid location about once a

month, but often this was not done. When the district manager did come into the store, one of the

things he would do is to check the counts of dispensed controlled substances. But Relator Wegelin

never saw these checks involve a substantive review of whether they were properly dispensed or

whether they were issued for a legitimate medical purpose. Instead, the focus was on increasing

the volume of opioids dispensed.

                In addition to rampant drug seeking behaviors, Relator Wegelin also experienced

diversion in her pharmacy firsthand. In approximately 2006-2007, Relator Wegelin noticed that

another pharmacist (Jay Bai) who worked at the St. Lawrence Ave. store in Reading was adding

onto prescriptions. Bai was writing additional drugs onto legitimate prescriptions, then keeping

the additional drugs. In Relator Wegelin’s experience, Bai would mostly add Phenergan-Codeine

to the scripts for his own personal use. Relator Wegelin reported the issue to her manager, who

reported it to DEA. Eventually, Bai was arrested. Despite what it knew to be widespread issue

with diversion and abuse in its stores, Rite Aid nonetheless did little to address these issues even

while the epidemic continued unabated.




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               Specific Examples of Unlawful Dispensing Conduct: Tennessee

               1.      Rite Aid failed to investigate, report, or halt dispensing of inappropriate
                       or medically unnecessary prescriptions of controlled substances in
                       Tennessee

                Tennessee is among the hardest-hit states when it comes to the opioid crisis. The

story of its impact is often told in numbers: 1,268 opioid overdose deaths in Tennessee in 2017;

more than six million painkiller prescriptions in Tennessee in 2018. 311

                In 2017, Tennessee had the third highest prescribing rate in the country 312 and one

of the highest amounts of opioids prescribed per person in the country as measured in MMEs,

according to the CDC. 313

                In 2015, Tennessee had 13,034 nonfatal overdose outpatient visits and 7,092

overdose inpatient stays. 314 In 2016, 7,636,112 opioids were prescribed in Tennessee. In 2016,

there were 1,186 opioid-related overdose deaths in Tennessee – a rate of 18.1 deaths per 100,000

persons – higher than the national rate of 13.3 deaths per 100,000. 315

                Tennessee is ranked number six (6) in the nation for rates of opioid-related

hospital admissions among senior citizens. In 2005, 467 out of every 100,000 Tennesseans aged




311
        Tennessee    Department      of        Health,     Tennessee       Faces     of     Opioids,
https://www.tn.gov/tnfacesofopioids.
312
  NIH National Institute on Drug Abuse, Tennessee Opioid Summary, Opioid-Involved Overdose
Deaths, https://www.drugabuse.gov/opioid-summaries-by-state/tennessee-opioid-summary.
313
   Centers for Disease Control and Prevention, Despite recent declines, opioid prescribing is still
high and inconsistent across the US, https://www.cdc.gov/vitalsigns/opioids/infographic.html.
314
       Tennessee Department of Health, Tennessee Drug Overdose                            Dashboard,
https://www.tn.gov/health/health-program-areas/pdo/pdo/data-dashboard/.
315
        National  Institute   on     Drug      Abuse,    Tennessee      Opioid     Summary,
https://www.drugabuse.gov/drugs-abuse/opioids/opioid-summaries-by-state/tennessee-opioid-
summary.



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65 and older spent time hospitalized from opioid related use. By 2015, that rate shot up to 1,055

out of every 100,000 Tennesseans aged 65 and older. 316

                    Opioid use and misuse have increased the numbers of infants suffering from

neonatal abstinence syndrome (“NAS”). The number of NAS cases attributable to prescription

opioids has been disproportionately high in Tennessee. A 2015 NAS update prepared by the

Tennessee Department of Health shows that “[w]hen categorized into mutually exclusive

categories of exposure, 48.5% of cases were exposed to prescription drugs only, 26.8% were

exposed only to illicit or diverted drugs, and 23.2% were exposed to a mix of prescription and

illicit or diverted drugs.” 317

                    In Tennessee, the rate of NAS was three times above the national average between

2009 and 2012 and has been more than 10 times the national average in some areas of East

Tennessee. 318 In 2013 and 2014, Tennessee had NAS rates of 25.5 and 28.5 per 1,000 live births

respectively. 319

                    Despite having some 13 stores located all over the State of Tennessee, Rite Aid’s

gross inadequacies in the performance of its due diligence obligations are underscored by the

following examples of illegal prescribing and diversion and abuse activities in Tennessee.



316
    1190 Anita Wadhwani, Opioid-related Hospitalizations More than Triple for Tennessee Seniors,
THE                 TENNESSEAN,                    (August               12,              2017),
https://www.tennessean.com/story/news/2017/08/13/opioid-related-hospitalizations-more-than-
triple­tennessee-seniors/545556001/ (citing the U.S. Agency for Healthcare Research and Quality).
317
    A.M. Miller, Neonatal Abstinence Syndrome Surveillance Annual Report 2015, Tennessee
Department                  of                Health              5              (2015),
https://www.tn.gov/content/dam/tn/health/documents/nas/NAS_Annual_report_2015_FINAL.pdf.
318
   Paul Campbell, M.D., PhD, Neonatal Abstinence Syndrome in East Tennessee: Characteristics
and Risk Factors among Mothers and Infants in One Area of Appalachia, 28 J. Health Care Poor
Underserved 1293-1408 (2017).
319
      Id.


                                                  180
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                Upon information and belief, none of the following health care professionals

(many of whose prescriptions were filled at Rite Aid stores), who were apprehended (and many

later convicted) as a result of a DEA or local law enforcement investigation, were identified,

investigated, or blocked by Rite Aid despite their prescribing habits rising to a criminal level:

 Date       Name                              City                     Sentence
  19-Sep-05 Christopher W. Fletcher,          Nashville, TN            3 yrs probation
            MD
 13-Apr-07 Joe P. Moss, MD                    Franklin, TN             18 mos.
 15-Aug-07 Robert Delaplane                   Columbia, TN             License revoked August
                                                                       2007, but he currently
                                                                       practices medicine.
 29-Sep-08     Kelvin Lynn Douglas, MD        Jackson, TN              Time served
 24-Nov-08     Sanford K. Myers, MD           Knoxville, TN            156 months
 14-Aug-10     Larry Karr                     Hixson, TN               108 months
 21-Oct-10     Sylvia Hofstetter (Pain        Knoxville, TN            33 years
               Clinic Owner)
  9-Mar-11     Elisabeth Reimers, MD          Winchester, TN           70 months
 28-Mar-11     Samuel Ashby, MD               Fayetteville, TN         108 months
 14-Apr-12     Allen R. Walker, MD            Portland, TN
 30-May-12     Ihsaan Al-Amin, MD             Chattanooga, TN          100 months
   8-Feb-13    Larry E. Boatwright,           Germantown, TN           15 2/3 years
               PharmD
   1-Apr-13    Thomas Patrick Brown,          Johnson City, TN         5 years
               PharmD
 18-Apr-13     Tamral Guzman, owner           Maryville, TN            21 years
  4-Jun-13     Robert D. McNeese,             Greenville, TN           63 months
               PharmD
  7-May-14     Randy Kincaid, owner           Maryville, TN            69 years
 23-May-14     Dustin Morgan, Owner's         Maryville, TN            17 years
               Son
  24-Jul-14    Michael Alan Patterson,        Bartlett, TN             16 years
               MD
 19-Aug-14     Sandra Kincaid, owner          Manchester, TN           39 years
  5-Sep-14     Wendi Henry, owner's           Maryville, TN            18 years
               daughter
  16-Oct-14    David Eric Brickhouse, PA      Maryville, TN            Deceased
   5-Nov-14    Rosaire Michel Dubrule,        Tiptonville, TN          12.5 years
               MD
  1-May-15     Charles Larmore, NP            Chattanooga, TN          13 years
 28-Aug-15     Barbara Lang, owner            Chattanooga, TN          280 years



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  1-Oct-15Faith Blake, owner            Chattanooga, TN      44 years
  1-Oct-15Jerome Sherard, MD            Chattanooga, TN      5 years
  1-Feb-16Sherry Barnett, NP            Jonesborough, TN     2 years
24-Mar-16 Matthew Anderson, DCM         Lenoir City, TN
24-Mar-16 David Florence, DO            Manchester, TN
  1-Oct-16Cynthia Clemons, NP           Knoxville, TN
  4-Oct-16Sylvia Hofstetter, owner      Knoxville, TN
17-Nov-16 James Brian Joyner            Maryville, TN        70 months
17-Nov-16 Deborah G. Thomas, MD         Maryville, TN        10 years
 13-Jan-17Jamie Chiles Cordes, NP       Maryville, TN        54 months
 21-Jan-17Sherry Ann Fetzer, NP         Maryville, TN        3 yrs probation
 21-Jan-17Buffy Rene Kirkland, NP       Maryville, TN        2 years
 24-Feb-17Donna Jeanne Smith, NP        Maryville, TN        2 years
 4-Mar-17 Walter D. Blankenship, PA     Maryville, TN        3 yrs probation
24-Mar-17 Don Robert Lewis, PA          Maryville, TN        3 years
14-Mar-18 Abdeirahman Mohamed,          Morristown, TN       36 months
          MD
 7-Nov-18 Lawrence Joseph Valdez        Hendersonville, TN   pled guilty, sentencing
                                                             4/3/2020
13-Dec-18    Samuel Orusa, MD           Clarksville, TN      Trial Summer 2020
10-Apr-19    Bowdoin G. Smith, DO       Carthage, TN
17-Apr-19    Timothy Abbott, DPM        Nashville, TN        Trial 3/3/2020
17-Apr-19    Brian Richey, NP           Cookeville, TN
17-Apr-19    Daniel Seeley, NP          Batesville, MS
17-Apr-19    Jonathan White, NP         Tullahoma, TN
17-Apr-19    John Polston, PharmD       Tompkinsville, TN
17-Apr-19    Charles Brooks, Jr., MD    Maryville, TN
17-Apr-19    Henry Babenco, MD          Paducah, KY
17-Apr-19    Sharon Naylor, NP          Jacksboro, TN
17-Apr-19    Alicia Taylor, NP          Oneida TN
17-Apr-19    Gregory Madron,            Jacksboro, TN
17-Apr-19    Harrison Yang, MD          Manchester, TN
17-Apr-19    Glenn Bonifield, PharmD    Bells, TN
17-Apr-19    Michelle Bonifield,        Bells, TN
             PharmD
18-Apr-19    Alexander Alperovich, MD   Jackson, TN
18-Apr-19    Jeffrey Young, NP          Jackson, TN
18-Apr-19    Andrew Rudin, MD           Jackson, TN
18-Apr-19    Thomas Kelly Ballard, MD   Jackson, TN
18-Apr-19    Loran Karlosky, MD         Bells, TN
18-Apr-19    Jay Shires, MD             Bells, TN
18-Apr-19    Charles Alston, MD         Jackson, TN
18-Apr-19    Britney Petway, NP         Jackson, TN



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 18-Apr-19     Mary Bond, NP                  Bells, TN
 18-Apr-19     James Litton, NP               Memphis, TN
 22-Apr-19     Steven Mynatt, MD              Knoxville, TN          Pled guilty
 22-Apr-19     David G. Newman, MD            Knoxville, TN          Preparing for trial
  9-Aug-19     Timothy Dennis Gowder,         Hixson, TN             21 years
               MD
   9-Aug-19    Anwar Mithavayani,             Boca Raton, FL         25 years
               Owner
 30-Aug-19     Pete Anthony Tyndale,          Hixson, TN             29 years
               Owner
  18-Oct-19    Samuel Mcgaha, MD              Sevierville, TN        pled guilty
  18-Oct-19    Frank McNiel, MD               Knoxville, TN          pled guilty
  23-Oct-19    Heather Marks, NP              Murfreesboro, TN       Indicted
  29-Oct-19    Hemal V. Mehta, MD             Brentwood, TN          indicted
   2-Dec-19    Darrell R. Rinehart            Columbia, TN           Pled Guilty, sentencing
                                                                     7/30/2020
  14-Jan-20 David Bruce Coffey, MD            Oneida, TN             Under investigation
  26-Feb-20 Timothy Abbott, D.P.M.            Nashville, TN          Pled Guilty
  30-Oct-20 Richard Farmer, MD                Memphis, TN            48 months
            Joyce Brown, MD                   Columbia, TN

               2.      Chattanooga, Tennessee (Pharmacist No. 3).

                Pharmacist No. 3 was a pharmacist at Rite Aid in Chattanooga, Tennessee, from

about 2006 to 2016. She started at the Rite Aid on Highway 58 in Chattanooga (store #11908),

where she stayed for about 18 months. She then moved to the Rite Aid on East Brainerd Road in

Chattanooga (store #11909).

                During her tenure at Rite Aid in Chattanooga, she saw customers come in to her

pharmacy with prescriptions from doctors who she determined were “pill mill” doctors. “We did

have an issue with pill mills occurring in our area for a while,” she said. “They were a pretty big

issue. We had people traveling from Kentucky, from Florida, whole carloads of people who had

prescriptions from a pill mill, sometimes out of state doctors.”




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                 She said the patients of pill mill doctors communicated with each other and word

would get around about which pharmacies would fill their prescriptions and which pharmacies

would not.

                 The East Brainerd Rite Aid was robbed on Wednesday, February 20, 2013.

According to Chattanooga Police Sergeant Daniel Jones, the robber handed the clerk at the

pharmacy counter a note in which he demanded narcotics. The clerk “ended up complying with

him because, the clerk, you know, basically looks at the guy and says, you know, ‘Is this for

serious? Is this for real?’ The gentleman shows him a pistol that he’s got in his waistband,” said

Jones. 320

                 During her time at Rite Aid, she recalled facing pressure from her store managers

and her district managers to fill opioid prescriptions for customers who complained that it was

rejected. She said when customers complained to the store manager, some of her managers – who

she noted typically did not have pharmacy experience – tried to get her to fill the prescription to

satisfy the customer. “Some (store managers) will come back (to the pharmacy) and say, ‘You

have to do this or that,’” she said.

                 Rite Aid store managers are not supposed to have anything to do with the

pharmacy or its management because the store manager has no authority over the pharmacy

manager. When customer complaints were submitted through the corporate system, or a customer

escalated the complaint from the store level, she would sometimes hear from her district manager

about it. “They (district managers) get pressure from the patient,” She said. “And the district

manager will call and say, ‘You should go ahead and fill it.’”



320
     Crime Stoppers: East Brainerd Rite Aid Robbery, WRCBtv (March 13, 2013),
https://www.wrcbtv.com/story/21636701/crime-stoppers-east-brainerd-rite-aid-robbery.


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                 Rite Aid expected her to perform tasks that “constantly” pulled her away from

what a pharmacist is supposed to concentrate on. A pharmacist’s job responsibilities are checking

the accuracy of labels of prescriptions and ensuring the correct medication and amount is being

dispensed. They are also monitor patients’ prescriptions to detect incompatible drug or

inappropriate prescriptions. Other key responsibilities include counseling patients about new

prescriptions or answering any questions about medications.

                 At Rite Aid, she was expected to perform many more tasks that “constantly”

pulled her away from her more important responsibilities. She worked 12-hour shifts at a pharmacy

that typically filled between 125 and 160 prescriptions a day. For about two hours at the beginning

and two hours at the end of her shifts, she was often alone in the pharmacy. She had a pharmacy

technician assisting her only for a portion of the day because the Company did not want to pay for

a tech to be on the job the entire 12 hours, she said. That meant she often had to open and close

the pharmacy alone, and for four hours each day, she had to do everything alone. This included

typing in prescriptions to the computer system, confirming the insurance, printing the label, filling

the prescription, checking the label and medication for accuracy, bagging it, counseling the patient

if necessary and ringing the customer up at the cash register. During that time, she was also

processing and filling prescriptions that came in via fax or email as well as regular refills. All the

while, she was also answering calls from and making calls to physicians’ offices, customers and

insurance companies. Plus, she was expected to give immunizations and flu shots among other

additional tasks.

                 She noted that at the Rite Aid on East Brainerd, the customer counter was right

near the pharmacist’s work station so she was constantly bombarded by customers. Even when

juggling all of these tasks, she was still expected to fill prescriptions for waiting customers within




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15 minutes. “It is humanly impossible to do that,” she said. “There was no break, no lunch, no pee

time,” she said. “I might get to pee at 5 o’clock in the afternoon.”

                 Rite Aid understaffed its pharmacies, which “set you up for failure” in noticing

inappropriate prescriptions. When a pharmacist is overloaded with work – much of it a distraction

from the pharmacists most important responsibilities – the pharmacist is less likely to notice red

flags or detect inappropriate prescriptions for controlled substances, she said. “It can set you up

for failure,” she said. “The way you have to work and the constant pressure you work under,

definitely you can let things slip through that if there was time to stop and really look at it like you

should, you wouldn't make that mistake.”

                 Rite Aid provided “absolutely nothing” in terms of training for how to spot

inappropriate controlled substance prescriptions and how to deal with the customer when rejecting

inappropriate prescriptions. There was no training on how to spot inappropriate prescriptions.

There was no training on how to deal with a customer when rejecting an inappropriate prescription.

And there was no training on how to share information about problem doctors writing

inappropriate prescriptions. Rite Aid also did not have any specific policies about when

pharmacists were required to reject a controlled substance prescription. “There were no policies in

place.”

                 Rite Aid did not keep a list of pill mill doctors or doctors who prescribed

inappropriately that could be shared among pharmacists in different stores. There was no system

or policy at Rite Aid for her to share information about problem doctors with pharmacists at other

stores. Pharmacists would sometimes call and talk to each other about problematic doctors, telling

each other to watch for prescriptions with that doctor’s name. But Rite Aid did not keep an internal




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list of those doctors so information about the doctors was systematically shared with other

pharmacists.

                 She said her job evaluations were based on a multitude of metrics, such as fill-rate

and prescription volume. “They study every number … anything you can put a number to, they

look at it and use it to evaluate you,” she said. “It had nothing to do with your real abilities to be a

medical professional and know your medications and counsel patients. They want the numbers,

and that’s the bottom line, and that's it. They don’t care how good a pharmacist you are.”

                 Her evaluations were based on metrics measuring how quick she filled

prescriptions, how many she filled, how many complaints she got and whether they were resolved.

“There was no fairness involved in the way they are evaluating you,” she said. “It’s, ‘You filed

this many prescriptions.’ That’s pretty much it.”

                3.      Franklin, Tennessee (Pharmacist No. 11)

                 Franklin, Tennessee is the county seat of Williamson County, Tennessee, about

21 miles south of Nashville. Williamson County has not been immune to the devastation of the

ongoing opioid crisis. Twenty-seven people in Williamson County died in 2017 from overdoses,

including from drugs such as fentanyl and heroin. 321

                 Pharmacist No. 11 was a pharmacy manager at a Rite Aid store at 1122

Murfreesboro Road, Franklin, Tenn. from 2005 to 2018. The store was located in a relatively

affluent area. It was not a high-volume store, filling about 200 prescriptions a day.               His

employment ended when the store was sold to Walgreens and closed.




321
    Elaina Sauber, The opioid crisis has hit Williamson County. Why aren't more people talking
about             it?,           Tennessean             (Aug.            16,            2018),
https://www.tennessean.com/story/news/local/williamson/2018/08/16/opioid-crisis-williamson-
county-tn/769368002/.


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                Around 2008, he first started seeing prescriptions from Florida, something he said

neither he nor his team understood. But if the pharmacists filled one from out of state, “you’d

suddenly get 10 more,” he said. Word apparently spread quickly about pharmacies that would fill

out of state prescriptions. People began camping out at his store. “They started getting hotels and

sleeping in our parking lot,” he said.

                Neither he nor his staff was prepared for these developments. “We didn’t know

how to act,” he said. “That disturbed us. We started seeing behaviors we didn’t understand. It

probably took us a year or two to figure it out,” he said.

                He did not feel there was much support from the Company on handling this influx

of drug-seeking patients. “There wasn’t a whole lot of support,” he said. “I don’t think anybody

was addressing it yet.” The Company never addressed the patients camping out issue, he said.

                 The patients were not always seeking large amounts of opioids. Sometimes, they

would have prescriptions for small amounts, including the “Holy Trinity” of opioids,

benzodiazepines and muscle relaxers.

                Eventually, he began refusing to fill prescriptions “all the time.” It would happen,

on average, more than once a day. “Somedays you’d get 10, other days you’d get one or none. “On

average, you’d have several a day,” he said. The red flags he looked for included high opiate

counts, prescriptions from pain clinics, and prescriptions from doctors with whom he was

unfamiliar.

                Finally, at one point Rite Aid began a program under which pharmacists could

submit doctors to be banned from having scripts filled in the Rite Aid system. The pharmacist

would submit the doctor’s name and information through an internal electronic portal. Then




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someone at the corporate level was supposed to investigate. He was not sure who or what

department conducted the investigation, but it would be done at the district level.

                He submitted several practitioners under this system, but did not recall their

names. He does not know the outcome of his recommendations, but he did not think they were

shut out or knocked out of the Rite Aid system.

                In approximately 2009, his attitude about what was going on around his store

changed. A man – “he looked like a pimp,” he said – came in with a gun in his waistband looking

for customers he knew. “The people were junkies,” he said. “We knew it, we had seen them several

times.”

                The man with the gun had apparently been floating the customers’ money to buy

prescriptions, and then, he believed, he would take a portion of the prescription and resell it on the

street. The man wondered why the customers were taking so long in the store and ran in looking

for them. A pharmacy technician screamed and the man ran out.

                He and his staff unilaterally changed how they handled opioid prescriptions after

that. “We said, ‘We’re never doing that again. If we don’t know you, we’re not filling. No new

patients, no one from those clinics” would be accepted, he said.

                His store was later robbed on March 23, 2017 “by a white man [who] walked up

to the counter with a note demanding drugs, according to Franklin Police. The pharmacist

complied with the demand and the man left the store.” 322




322
   Zach Harmuth, Man Holds Up Franklin Pharmacy, Escapes with Drugs, Williamson Source
(March 30, 2017), https://williamsonsource.com/man-holds-up-franklin-pharmacy-escapes-with-
drugs-remains-at-large/.


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               4.     White House, Tennessee (Pharmacist No. 12)

                Pharmacist No. 12 was a staff pharmacist at the Rite Aid store in White House,

Tennessee, at 485 Highway 76 from August 2009 to October 2015. The store is located on the

outskirts of the Nashville area. She reported to District Manager Shan Parker. She also reported to

Pharmacy Managers Brian Collins and Miyoung Cheong (after Collins left).

                The Pharmacy Managers at the store where she worked in White House set a

policy not to fill any prescriptions from Dr. James Marracone, a doctor they had determined was

operating as a pill mill. Dr. Marracone was located in Clarksville, Tennessee, more than an hour’s

drive away from White House. He only took cash to provide patients with a number of different

controlled substances, including opioids at powerful strengths.

                Despite the distance from Dr. Marracone’s location, her store would regularly see

people come in trying to fill a stack of prescriptions from him. Some customers said that other

pharmacies would not fill the prescriptions. Dr. Marracone’s prescriptions were easy to spot

because they were written on blue paper and the customers did not look like a patient who

legitimately needed severe pain medications, she said. “Even coming down the aisle, you could

see it was a Marracone script,” she said. “As soon as they came around the corner, you thought, ‘I

bet it’s a Marracone.’”

                The prescriptions from Dr. Marracone were almost always the same for every

patient. “They all had the same medications,” she said. “That’s a red flag right there. Everybody

you meet should not need the exact same thing. And he was located out of Clarksville, another red

flag.”

                She recalled that the combination prescriptions Dr. Marracone prescribed were

usually a strong opioid such as oxymorphone, a benzodiazepine such as Xanax or Klonopin, a




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muscle relaxer and one or two “BS” (bullshit) prescriptions such as ibuprofen and a laxative. From

her conversations with Dr. Marracone’s patients, she gleaned that the doctor was not even seeing

the patients for an office visit.

                 His “patients” would call his office, tell him what drugs they wanted, pay his fee,

and he would write or call in the prescriptions to the pharmacy. She recalled customers coming in

and saying, “’I called ([him] and paid my money, they should have sent my script in.’”

                 When a Dr. Marracone prescription came in, she said the pharmacists would tell

the customer the store did not have the pills in stock and could not fill the prescription. “We’d tell

them we don't have it,” she said. “Our Pharmacy Manager did not want to do (dispense) that or

mess with that at all.” She said Dr. Marracone was well known as a pill mill doctor among area

pharmacists and pharmacy technicians. “Everybody around knew about Dr. Marracone,” she said.

Most of the pharmacies in the area would not fill for Dr. Marracone.

                 She said her Pharmacy Managers, especially Miyoung Cheong, were very strict

about their store not dispensing opioids unless the pharmacists knew the patient was in legitimate

need and was a regular customer.

                 But the Rite Aid in downtown Nashville on West End Avenue was doing the

opposite, she said. “They would fill anything,” she said. “Even they knew the prescriptions were

sketchy.” She said the people with prescriptions from Dr. Marracone stopped coming as often to

the Rite Aid in White House after word got out that the West End store was filling the doctor’s

prescriptions.

                 She worked at the West End store a few times, during which time the Pharmacy

Manager of that store told her: “’We fill for those [prescriptions] at this store.’ I can remember all

these people bringing in these [Dr. Marracone] scripts,” She said. “I didn't feel comfortable.”




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                 But the Pharmacy Manager, Kelly Parker, told her, “If they come in, go ahead and

fill them.” She said she saw a number of customers with Dr. Marracone prescriptions at the West

End store. “He was churning them out,” she said. She said many of these customers appeared to

be drug addicts. “They’d be missing teeth,” she said. “Their skin would have little meth holes.”

She said she saw customers who are “Clearly selling his medications on the street, and probably

using some.”

                 Dr. Marracone’s patients often came to the store together, but they would attempt

to hide that fact, she recalled. She said one person would come in, and if the prescription was filled,

another person would come in. Then a few more. “A lot of these people kind of ran together,” she

said. “It’d be five to six people in a car. They’d test you to see if your store would fill it.”

                 The West End store had no problem dispensing prescriptions for large amounts of

opioids and at high strength levels. She recalled the West End store dispensed a lot of

oxymorphone, which she said is approaching the strength of fentanyl in pill form. She thinks the

store also dispensed fentanyl, but she was not certain.

                 Despite appearing as if they don’t have jobs or any money, Dr. Marracone’s

customers paid large sums of cash for the drugs. Many of them were on disability and/or TennCare,

but TennCare does not pay for opioid prescriptions except for the most severe diagnosis. She said

the prescriptions could cost between $300 to $1,500, but that amount was easy for customers to

pay if they were selling some of the pills on the street.

                 She said the cost of the pills generally coincided with the strength of the pill. For

example, a single 30mg oxycodone would cost $30, she said. For example, if the customer gets a

prescription for 150 pills, used 30 themselves, and sells the remaining 120, the customer could




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make $3,600 – plenty enough to pay Dr. Marracone for another prescription and the pharmacy for

the additional pills.

                 She recalled that, when a customer paid large amounts of cash, the pharmacy had

to move the cash to the store safe. She did not know how Rite Aid would track how much of a

store’s revenue came in as cash, or how that compared to other stores, but she believed it was

likely tracked because the company tracked everything. She also said the District Manager would

have known how much cash was flowing through the store.

                 The West End Rite Aid was robbed on October 9, 2017, during which the security

guard was killed. 323

                 Her District Manager, Shan Parker, was married to Kelly Parker, who he promoted

to Pharmacy Manager of the Rite Aid on West End Ave. At the time, the West End store was

struggling because of low prescription volume and was “on the verge of closing,” she said. The

store is in downtown Nashville across the street from Vanderbilt University. Prior to Kelly Parker’s

tenure, customers were mostly buying its retail products and not filling a lot of prescriptions there.

                 Kelly Parker had been working as a floating pharmacist for Rite Aid when Shan

Parker put her in the West End store as its Pharmacy Manager, she said. “Shan ended up putting

her in that store to try to turn it around,” she said. “One of the things they did was [start to] take

these scripts. Their whole thing was, “‘They are valid prescriptions. You should fill it.’ That was

one way that Kelly’s store really improved script volume. They were taking all these scripts. Her

husband told her she needed to start filling those scripts,” she said. “He said it was good for our

company and good for the store, and a good way to earn bonuses.”


323
   Chuck Morris, Two face federal charges for armed robbery at West End pharmacy, NEWS4
(Aug. 22, 2018), https://www.wsmv.com/news/two-face-federal-charges-for-armed-robbery-at-
west-end/article_e7d1957c-a63f-11e8-82af-8fc9de17f261.html.


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                She recalled that Shan and Kelly Parker reasoned that taking Dr. Maccarone’s

prescriptions was okay because they were valid prescriptions and that they would be “good for the

company, good profitability for our store.”

                She noted that each of Dr. Marracone’s patients came in with a stack of

prescriptions – usually five. So when the West End pharmacy began filling the customer’s

prescriptions, the prescription count increased by at least five for every person served. That had a

significant impact on the store’s overall prescription volume and saved the store from being closed.

                She also noted that the cash-paying customers receiving high-cost opioids also

represented a higher profitability than customers who have insurance companies or government

insurance programs paying for more typical (and less expensive) maintenance medications like

blood pressure pills.

                The Kelly’s were driven to fill Dr. Marracone’s prescriptions by Rite Aid’s bonus

incentives. “They started filling for this doctor even though he was known to be shady,” she said.

“It would be good money for the store and a good possibility for her to get a bonus as well as him.”

The Kelly’s used the rationale that they were merely filling “valid prescriptions,” and if they did

not do it, someone else would.

                She said Rite Aid offered District Managers and Pharmacy Managers a bonus if

they reached specific prescription volume and store profitability levels. “The more you do, the

more scripts you take in, the more money you make,” she said. “It looks great for the District

Manager, and he gets his big bonus, and the Pharmacy Manager may also get a bonus.”

                She said the goals set by Rite Aid were so high and unlikely, that it was almost

impossible to reach. But the possibility motivated employees to trying anyway. During conference




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calls, the District Manager told pharmacists in the district that they could fill any prescriptions that

are valid, including Dr. Maccarone’s prescriptions.

                    She learned about the Kelly’s’ activities and motivations from conversations with

the Kelly’s themselves as well as from other pharmacists working in the district. Shan Kelly had

conference calls with the pharmacists in the district, during which time he discussed dispensing

controlled substances. She remembered at least one conference call when they were discussing

controlled substance prescriptions and the concerns about prescriptions from Dr. Marracone and

others like him. Shan Parker told the pharmacists: “They are valid scripts. We should fill them,”

she recalled. “Anything to get the store [prescription] volume up… He wanted us to take these

scripts to increase volume.”

                    Controlled substance prescriptions were counted toward prescription volume at

Rite Aid when she was there.

                    The Rite Aid stores in Old Hickory and Springfield, Tennessee were also known

to fill any and all prescriptions, including Dr. Maccarone’s. She said the Old Hickory store kept a

lot of opioids in stock, which made it a target for robbers. She understood the store had been robbed

a few times. 324

                   Specific Examples of Unlawful Dispensing Conduct: West Virginia

                   1.     Rite Aid failed to investigate, report, or halt dispensing of inappropriate
                          or medically unnecessary prescriptions of controlled substances in West
                          Virginia

                    Opioid abuse and trafficking in West Virginia is widespread. The state has one of

the highest prescription rates for opioids in the United States. Statistics show that illicit



324
     See Police find 14,000 pills, catch suspects, 3 WRCBtv (Aug.                           19,   2013),
https://www.wrcbtv.com/story/23171373/police-find-14000-pills-catch-suspects.



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pharmaceutical drug use contributed to approximately 61 percent of state overdose deaths in

2015. 325 The extraordinarily high abuse rate of opioids is attributed in part to the large number of

jobs in heavy manual labor such as mining, timbering, and manufacturing. These professions often

cause injuries to workers that are treated with opioid pain relievers, which in turn can lead to

addiction. 326

                  Opioid abusers and traffickers in West Virginia obtain the drugs from either

licensed providers or out-of-state drug traffickers who have expanded into West Virginia. In some

instances, doctors and other health care providers, acting outside medical guidelines, write

prescriptions for prescription opioids without a legitimate need on the part of the “patient.” In other

cases, the prescriptions are written by doctors in good faith, for unsuspected “doctor shoppers”

who are providing for their own addictions, supplying pills to dealers, or both.

                  Despite having some 71 stores located all over the State of West Virginia, Rite

Aid’s gross inadequacies in the performance of its due diligence obligations are underscored by

the following examples of illegal prescribing and diversion and abuse activities in West Virginia.

                  Upon information and belief, none of the following health care professionals

(many of whose prescriptions were filled at Rite Aid stores), who were apprehended (and many

later convicted) as a result of a DEA or local law enforcement investigation, were identified,

investigated, or blocked by Rite Aid despite their prescribing habits rising to a criminal level:

 Date            Name                          Location                 Sentence
 24-Mar-06       Louis Ortenzio, MD            Blacksville, WV          6 months home detention
  1-Mar-07       Breton Lee Morgan, MD         Point Pleasant, WV       30 days
  1-Mar-08       Robert J Crake, DO            Wheeling, WV             36 months probation

325
      West Virginia Health Statistics Center, March 2016.
326
   David Gutman, How did West Virginia come to lead the nation in overdoses?, Charleston
Gazette-Mail; (October 17, 2015), https://www.wvgazettemail.com/news/health/how-did-wv-
come-to-lead-the-nation-in-overdoses/article_60c46a00-eec5-5c42-b6b0-2050439074f5.html.


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   7-Jul-08 Robert Allara, MD         Charleston, WV      5 months
  1-Aug-09 Danny Ray Wills, MD        Princeton, WV       6 months
 1-Mar-12 William F Ryckman, MD       Williamson, WV      6 months
            and owner
  7-Jan-13 Anita Dawson, DO           Milton, WV          2 years
 1-Mar-13 Myra Sue Miller, Office     Williamson, WV      6 mo months
            Manager
  3-Sep-13 Fernando Gonzales-         Logan City, WV      5 years 11 months
            Ramos, MD
 12-Sep-14 Mario Blount, PharmD       Bridgeport, WV      3 year
  1-Oct-14 Hogan, Robert Timothy II   Wood City, WV       48 months
            Doctor and owner
12-May-15 Edita Milan, MD             Harrison City, WV   5 years 11 months
  1-Jan-16 Jose Jorge Abbud           Glen Daniel, WV     8 years
            Gordinho, MD
 28-Jun-16 Tressie Duffy, MD          Martinsburg, WV     1 year + 1day
   8-Jul-16 Iraj Derakhshan, MD       Charleston, WV      probation, home confine
  3-Apr-17 Donald Chaney, MD          Barboursville, WV   6 months
23-Aug-17 Michael Kostenko, DO        Daniels, WV         20 years
21-May-18 Manuel Barit, MD            Mullens, WV         Restitution
  1-Nov-18 Roland Chalifoux, DO       McMechen, WV        Restitution and
                                                          supervision
29-Nov-18 Teresa Emerson              Beckley, WV         3 years probation
 10-Jan-19 John Pellegrini, DO        Beckley, WV         87 months
  1-Apr-19 David M Wasanyi,           Martinsburg, WV     3 years 11mo
           Pharmacist
30-Apr-19 George P. Naum, MD          Wheeling, WV        6 months
29-May-19 Chad Poage                  Morgantown, WV      5 years probation
  8-Aug-19 James H Blume, DO          Beckley, WV         indicted; trial July 2021
28-Aug-19 Michael T. Moran, MD        Beckley, WV         indicted; trial July 2021
28-Aug-19 Sanjay Mehta, DO            Beckley, WV         indicted; trial July 2021
28-Aug-19 Brian Gullett, DO           Beckley, WV         indicted; trial July 2021
28-Aug-19 Vernon Stanley, MD          Beckley, WV         indicted; trial July 2021
28-Aug-19 Mark Clarkson, DO           Beckley, WV         indicted; trial July 2021
28-Aug-19 Paul W. Burke, MD           Beckley, WV         trial pending
28-Aug-19 Roswell Tempest Lowry,      Beckley, WV         trial pending
           MD
 18-Sep-19 Sriramloo Kesari, MD       Charleston, WV      indicted, trial in Dec 2020
 24-Sep-19 Ricky Huddled, MD          Ona, WV             guilty verdict, sentencing
                                                          Nov 2020
24-Sep-19 Seraglio Kari, MD           Charleston, WV
17-Dec-19 Jeffery Addison, MD         Charleston, WV      18 months
19-Jan-20 Mark Spelar, MD             Huntington, WV      3 months



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  20-Feb-20 William Earley, DO               Beckley, WV             pled guilty; sentencing
                                                                     pending
  29-Jun-20 Muhammed Samer Nasher- Charleston, WV                    63 months
             Alneam, MD
   16-Jul-20 Michael Shramowiat, MD Vienna, WV                       pled guilty; sentencing
                                                                     Dec 2020
 10-Aug-20 Ricky Houdersheldt, DO            Hurricane, WV           convicted by jury

               2.     Beckley, West Virginia (Relator Rosenberg)

                Relator Rosenberg worked as a pharmacy tech at the Rite Aid at 719 Johnstown

Road, Beckley, West Virginia (store #2667) from approximately late 2010 until the store closed

in June 2019 after being bought by Walgreens. He worked with multiple pharmacists while there.

Virginia Brosser was the pharmacy manager.

                The Beckley Rite Aid was an especially high-volume pharmacy, particularly for

a town with only 16,404 residents. According to DEA ARCOS data for 2006 through 2012, the

Beckley Rite Aid filled 1,224,535 doses of opioids, or 12,169,175 MME. Here is a chart showing

the prescribing at the Johnstown Rite Aid by opioid class by year:




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                Even though the volume of scripts was not extremely high, Relator Rosenberg saw

lots of inappropriate dispensing that went on in the store. Many pharmacists did not care. This was

due in no small part to the fact that pharmacists had “script counts” they had to meet every week

or else the store’s pharmacy hours would get cut. Pharmacists thus had a vested interested in

keeping the script count high.

                Particularly before hydrocodone was reclassified as a C-II in 2014, the Rite Aid

store where he worked would dispense hydrocodone “like candy” with no concern at all.

                During his time working at the Beckley Rite Aid, patients were constantly coming

in to fill prescriptions early. Prescriptions for outrageous amounts were commonplace. He would

often see opioid prescriptions filled for a 90-day supply at 3 times-a-day. He questioned whether

a patient on opioid pain medication 3x a day for 5-7 years, but Rite Aid did not question it.

                At the Beckley Rite Aid, an estimated 75% of the customers were on Government

Programs.

                He remembered many bad doctors in the area. In particular, Relator Rosenberg

recalls Dr. James Blume, Dr. Sanjay Mehta, Dr. Michael Kostenko, and Dr. Jose Jorge Abbud

Gordinho. In fact, Gordinho’s clinic was right across the street from the Rite Aid pharmacy.

                On April 27, 2016, Dr. Gordinho was sentenced to 8 years in prison after pleading

guilty to illegally prescribing opioids and defrauding Medicaid and Medicare. Dr. Gordinho

prescribed hydrocodone, an opioid pain reliever, for illegitimate purposes and billed Medicaid and

Medicare for medically unnecessary services. 327




327
   Press Release, U.S. Attorney, S.D.W.V., Beckley Doctor Sentenced to Eight Years in Prison for
Federal Drug Crime and Health Care Fraud (Apr. 27, 2016), https://www.justice.gov/usao-
sdwv/pr/beckley-doctor-sentenced-eight-years-prison-federal-drug-crime-and-health-care-fraud.


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                 On August 23, 2017, Michael Kostenko, DO, of Daniels, West Virginia, pled

guilty to one count of Distributing Oxycodone Not for Legitimate Medical Purposes in the Usual

Course of Professional Medical Practice and Beyond the Bounds of Medical Practice. Kostenko

was the owner, operator, and sole physician at Coal Country Clinic, located in Daniels, West

Virginia. On a single day, December 9, 2013, Kostenko wrote 375 prescriptions for Oxycodone to

271 “patients” who had arrived at his house that day seeking Oxycodone. Kostenko wrote those

prescriptions, totaling 22,255 Oxycodone pills, without seeing any of the “patients” and while

collecting over $20,000 in cash payments. None of the 371 prescriptions Kostenko wrote that day

were for a legitimate medical purpose. Kostenko was sentenced to 20 years’ incarceration. 328

                 According to the Superseding Indictment, “[b]etween 2012-2014, defendant and

his staff confronted pharmacies and filed complaints with the West Virginia Board of Pharmacy

against pharmacies that refused to fill prescriptions written by defendant.” 329

                 On February 13, 2018, 69-count indictment was unsealed charging a total of 12

individuals with operating the HOPE Clinic, a “pill mill” which operated as a purported pain

management clinic in Beckley (Raleigh County), Beaver (Raleigh County) and Charleston, West

Virginia (Kanawha County), as well as Wytheville, Virginia (Wythe County), from November

2010 to June 2015. They also owned HOPE locations in Whitehall, West Virginia; Fisherville and

Mechanicsville, Virginia; and Murfreesboro, Tennessee. Included in the indictment are:

            •   James H. Blume, Jr., D.O,

            •   Mark T. Radcliffe, Shady Springs, West Virginia;




328
      Id.
329
  Superseding Indictment, United States v. Kostenko, Crim. No. 5:16-cr-00221, at 5 (S.D.W.V.
March 22, 2017), Dkt. No. 54.


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            •   Joshua Radcliffe, Shady Springs, West Virginia;

            •   Michael T. Moran, M.D., Beckley and Beaver, West Virginia (2012-13);

            •   Sanjay Mehta, D.O., Beckley and Beaver, West Virginia (2012-15);

            •   Brian Gullett, D.O., Charleston, West Virginia (2012-14);

            •   Vernon Stanley, M.D., Charleston, West Virginia (2012-14);

            •   Mark Clarkson, D.O., Wytheville, Virginia (2013-15);

            •   William Earley, D.O., Charleston, West Virginia (2013-14);

            •   Paul W. Burke, M.D., Charleston, West Virginia (2014);

            •   Roswell Tempest Lowry, M.D., Charleston, West Virginia (2014); and

            •   Teresa Emerson, LNP, Blytheville, Virginia (2014-15). 330

                 According to the Superseding Indictment, area pharmacies “began to refuse to fill

prescriptions from practitioners of the HOPE clinic.” 331 According to Relator Rosenberg, Rite

Aid was not one of those pharmacies.

                 Relator Rosenberg’s Beckley Rite Aid location routinely filled prescriptions from

those bad doctors. The bad prescriptions included numerous “Holy Trinity” prescriptions.

                 In fact, the pharmacy staff used to joke about the “Wednesday Club” which was

the club of regular patients of Dr. Kostenko who would show up every Wednesday to fill their pain

prescriptions. When Dr. Kostenko was finally shut down, Relator Rosenberg marked it as

“Goodbye Kostenko Day” on the pharmacy’s calendar.




330
  Indictment, United States v. Blume, et al., Crim. No. 5:18-cr-00026 (S.D.W.V. Feb. 15, 2018),
Dkt. No. 4.
331
    Superseding Indictment, United States v. Blume, et al., Crim. No. 5:18-cr-00026, at 12
(S.D.W.V. March 13, 2018), Dkt. No. 139.


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                He called the West Virginia Board of Pharmacy and Medical Board about the bad

doctors, but never got anywhere with his complaints.

                All the while, Rite Aid continued to fill the doctors’ prescriptions. He was often

told as a pharmacy technician not to question the doctor or the pharmacist decisions, even if it was

clear to him that the prescriptions were inappropriate. He was told questioning prescriptions “was

not his job.”

                He recalls many examples of highly-questionable dispensing. In one incident, he

reported to the pharmacist that one of their customers was snorting pills in the parking lot. But the

pharmacist ignored this information saying to him “[w]ell, I did not see it” as justification to

keeping the individual as a customer at the pharmacy.

                The pharmacy also had a customer fall asleep on the blood pressure device

because he was so out of it. Yet, Rite Aid still filled the same customer’s prescriptions.

                After many of the pill mill doctors in the area got shut down, the Rite Aid location

started to see prescriptions coming in from doctors many miles away. In particular, they started to

see many patients from Jonathan Shelton, PA from a Wytheville, Virginia pain clinic. Shelton has

extremely high prescription counts for opioids, ranking #1 amongst his peers according to

ProPublica’s Physician Checkup database. 332

                PAs can prescribe controlled substances in Virginia, but not in West Virginia. That

is why Relator Rosenberg believes the customers were going so far away. Wytheville is over an

hour away from Beckley (~75 miles). Despite the large distance, Rite Aid never questioned

prescriptions from these patients and always filled them.



332
             Jonathan           Shelton,        ProPublica             Prescriber            Checkup,
https://projects.propublica.org/checkup/providers/1063859544.


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                Likewise, Relator Rosenberg recalls that a woman who routinely filled

prescriptions written by a doctor in Michigan at the Rite Aid in Beckley, West Virginia. The

pharmacist also allowed the woman to pay for the pain pills using ½ Medicaid and ½ cash, which

he believed was explicitly forbidden. Eventually, Rite Aid did stop filling prescriptions for the

woman who then moved to Michigan to be able to fill her pain prescriptions more easily.

                Recognizing that customers of the Rite Aid were abusing narcotics, a pharmacist

insisted on selling sterile syringes to a customer “no questions asked.” The pharmacist did this

because she could tell that the customer was an addict and thought it better to give him clean

syringes if he was going to use anyway.

VIII. INJURY TO GOVERNMENT PROGRAMS RESULTING FROM RITE AID’S
      ACTIONS

                Rite Aid is a registered pharmacy which owned, operated, and was in charge of

DEA-registered pharmacies throughout the U.S., and (a) knowingly or recklessly dispensed

controlled substances without a valid prescription in violation of 21 U.S.C. § 842(a)(1); and (b)

knowingly and intentionally dispensed controlled substances outside the usual course of the

professional practice of pharmacy, in violation of 21 U.S.C.§ 841(a) and corresponding State

statutes.

                Rite Aid repeatedly failed to exercise its corresponding responsibility as a DEA

registrant to ensure that controlled substances were dispensed only pursuant to prescriptions issued

for legitimate medical purposes by practitioners acting within the usual course of their professional

practice. Rite Aid knowingly or recklessly ignored readily identifiable red flags that the controlled

substances prescribed were being diverted, abused, or otherwise were not for legitimate medical

purposes and dispensed despite unresolved red flags.




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                 Rite Aid’s pharmacists dispensed controlled substances when they knew or should

have known that the prescriptions were not issued in the usual course of professional practice or

for a legitimate medical purpose, including circumstances where its pharmacists knew or should

have known that the controlled substances were abused and/or diverted by the customer.

                 Moreover, even in instances in which a prescriber told a Rite Aid pharmacist that

a suspicious prescription had been issued for a legitimate medical purpose, Rite Aid willfully

ignored its independent, legally-mandated duty to examine the other, often glaring, evidence that

the prescription had, in fact, not been issued for a legitimate medical purpose or that the prescriber

had acted outside of the usual course of his or her professional practice and dispense the

prescription.

                 Despite the fact that Rite Aid knew, or had reason to know, from its own robust

data collection databases and from red flags, including the sheer volume of opioid drugs being

dispensed at numerous many of its pharmacies, that hundreds of thousands of prescriptions were

not valid, it nonetheless failed to use its own readily-available and extensive information and

resources from its own databases to fulfil its obligations under the CSA and ensure that there was

reason to believe these prescriptions it dispensed were issued for legitimate medical purposes by

practitioners acting within the usual course of their professional practice.

                 Rite Aid knew, or had reason to know, the prescriptions were not valid and not

only dispensed those prescriptions, but also failed to notify any authority of these issues. Instead,

Rite Aid committed affirmative acts to conceal the conspiracy, such as continued filling

inappropriate and medically unnecessary prescriptions for opioids in particular. By filling these

prescriptions while the conspiracy was ongoing, Rite Aid dispensed hundreds of millions of opioid

pills based on illegitimate prescriptions.




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                 Government Programs have been damaged by Rite Aid’s unfair, false, misleading,

or deceptive acts or practices in the conduct of the pharmaceutical business by failing to

investigate, report, and cease dispensing inappropriate or medically unnecessary prescriptions of

controlled substances in its pharmacies.

                 Government Programs have been damaged by Rite Aid’s negligent and/or

intentional and reckless actions by failing to investigate, report, and halt inappropriate or medically

unnecessary prescriptions of controlled substances dispensed at its pharmacies.


IX.    CAUSES OF ACTION

                                           COUNT I

      (Violation of False Claims Act, 31 U.S.C. § 3729(a)(1); 31 U.S.C. § 3729(a)(1)(A))

                 The United States incorporates herein by reference the preceding paragraphs of

the Second Amended Complaint as though fully set forth herein.

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to the

United States of America false or fraudulent claims for payment or approval of Opioids, in

violation of 31 U.S.C. § 3729(a)(1) and 31 U.S.C. § 3729(a)(1)(A).

                 Because of Defendant’s actions, the United States of America has been, and

continues to be, severely damaged.

                                           COUNT II

      (Violation of False Claims Act, 31 U.S.C. § 3729(a)(2); 31 U.S.C. § 3729(a)(1)(B))

                 Relators incorporate herein by reference the preceding paragraphs of the Second

Amended Complaint as though fully set forth herein.



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                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using or causing to be made

or used, false records or statements material to the payment of false or fraudulent claims, in

violation of 31 U.S.C. § 3729(a)(2)and 31 U.S.C. § 3729(a)(1)(B).

                The United States of America, unaware of the falsity of the claims and/or

statements made by Defendant, and in reliance on the accuracy of these claims and/or statements,

paid and may continue to be paying or reimbursing for Opioids prescribed to patients enrolled in

Federal Programs.

                Because of Defendant’s actions, the United States of America has been, and

continues to be, severely damaged.

                                       COUNT III

     (Violation of False Claims Act, 31 U.S.C. § 3729(a)(3); 31 U.S.C. § 3729(a)(1)(C))

                Relators incorporate herein by reference the preceding paragraphs of the Second

Amended Complaint as though fully set forth herein.

                Defendant knowingly conspired, and may still be conspiring, with the various

health care professionals identified and alleged herein (as well as other unnamed co-conspirators)

to commit acts in violation of 31 U.S.C. § 3729(a)(1) & (a)(2), and 31 U.S.C. § 3729(a)(1)(A) &

(a)(1)(B). Defendant and these health care professionals committed overt acts in furtherance of

the conspiracy as alleged above.

                Because of Defendant’s actions, the United States of America has been, and may

continue to be, severely damaged.




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                                         COUNT IV

      (Violation of False Claims Act, 31 U.S.C. § 3729(a)(7); 31 U.S.C. § 3729(a)(1)(G))

                 Relators incorporate herein by reference the preceding paragraphs of the Second

Amended Complaint as though fully set forth herein.

                 Rite Aid knowingly avoided or decreased its obligation to pay or transmit money

to the Government. Specifically, Rite Aid: (i) made, used, or caused to made or used, a record or

statement to conceal, avoid, or decrease an obligation to the United States; (ii) the records or

statements were in fact false; and (iii) Rite Aid knew that the records or statements were false.

                 Because of Defendant’s actions, the United States of America has been, and may

continue to be, severely damaged.

                                          COUNT V

                           (Violation of California False Claims Act)

                 Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented false or

fraudulent claims for payment or approval in violation of Cal. Gov’t Code § 12651(a)(1).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements material to false or fraudulent claims, in violation of Cal. Gov’t

Code § 12651(a)(2).




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                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to conceal, avoid or decrease an obligation to pay or transmit

money to the State of California or its political subdivisions in violation of Cal. Gov’t Code §

12651(a)(7).

                 The State of California, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of state and

state subdivision funded health insurance programs.

                 Because of Defendant’s actions, the State of California, including its political

subdivisions, has been, and may continue to be, severely damaged.

                                         COUNT VI

                      (Violation of Colorado Medicaid False Claims Act)

                 Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

presented, or caused to be presented, and may still be presenting or causing to be presented, to an

officer or employee of the State of Colorado, or its political subdivisions, false or fraudulent claims

for payment or approval, in violation of Colo. Rev. Stat. § 25.5-4-305(a).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly




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made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements material to false or fraudulent claims, in violation of Colo.

Rev. Stat. § 25.5-4-305(b).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit

money to the State of Colorado, or its political subdivisions, in violation of Colo. Rev. Stat. § 25.5-

4-305(f).

                 The State of Colorado, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of state and

state subdivision funded health insurance programs.

                 Because of Defendant’s actions, the State of Colorado and/or its political

subdivisions have been, and may continue to be, severely damaged.

                                        COUNT VII

       (Violation of Connecticut False Claims Act for Medical Assistance Programs)

                 Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, presented, or

caused to be presented to, and may still be presenting or causing to be presented to, an officer or




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employee of the State of Connecticut or its political subdivisions false or fraudulent claims for

payment, in violation of Conn. Gen. Stat. § 4-275(a)(1).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to get false or fraudulent claims paid in violation of Conn. Gen.

Stat. § 4-275(a)(2).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit

money to the State of Connecticut or its political subdivisions in violation of Conn. Gen. Stat. § 4-

275(a)(7).

                The State of Connecticut, or its political subdivisions, unaware of the falsity of

the claims and/or statements made by Defendant, and in reliance on the accuracy of these claims

and/or statements, paid, and may continue to pay, for Opioids prescriptions for recipients of state

and state subdivision funded health insurance programs.

                Because of Defendant’s actions, the State of Connecticut and/or its political

subdivisions have been, and may continue to be, severely damaged.

                                       COUNT VIII

                   (Violation of Delaware False Claims and Reporting Act)

                Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.




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                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to an

officer or employee of the State of Delaware, or its political subdivisions, false or fraudulent claims

for payment or approval, in violation of Del. Code Ann. tit. 6, §1201(a)(1).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to get false or fraudulent claims paid or approved by the State

of Delaware, or its political subdivisions, in violation of Del. Code Ann. tit. 6, §1201(a)(2).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to conceal, avoid, increase or decrease an obligation to pay or

transmit money to the State of Delaware, or its political subdivisions, in violation of Del. Code

Ann. tit. 6, § 120l(a)(7).

                 The State of the State of Delaware, or its political subdivisions, unaware of the

falsity of the claims and/or statements made by Defendant, and in reliance on the accuracy of these

claims and/or statements, paid, and may continue to pay, for Opioids prescriptions for recipients

of health care programs funded by the State of Delaware.

                 Because of Defendant’s actions, the State of Delaware and/or its political

subdivisions have been, and may continue to be, severely damaged.




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                                        COUNT IX

                     (Violation of District of Columbia False Claims Act)

                Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

presented, or caused to be presented, and may still be presenting or causing to be presented, to an

officer or employee of the District, or its political subdivisions, false or fraudulent claims for

payment or approval, in violation of D.C. Code § 2-381.02(a)(l).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be used, and may still be making, using, or causing to be made or used,

false records or statements to get false claims paid or approved by the District, or its political

subdivisions, in violation of D.C. Code § 2-381.02(a)(2).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit

money to the District, or its political subdivisions, in violation of D.C. Code § 2-381.02(a)(6).

                The District of Columbia, or its political subdivisions, unaware of the falsity of

the claims and/or statements made by Defendant, and in reliance upon the accuracy of these claims

and/or statements, paid, and may continue to pay, for Opioids prescriptions for recipients of health

insurance programs funded by the District.




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                 Because of Defendant’s actions, the District of Columbia and/or its political

subdivisions have been, and may continue to be, severely damaged.

                                           COUNT X

                              (Violation of Florida False Claims Act)

                 Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to an

officer or employee of the State of Florida, or its agencies, false or fraudulent claims for payment

or approval, in violation of Fla. Stat. § 68.082(2)(a).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to get false or fraudulent claims paid or approved by the State

of Florida, or its agencies, in violation of Fla. Stat. § 68.082(2)(b).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit

money to the State of Florida, or its agencies, in violation of Fla. Stat. § 68.082(2)(g).

                 The State of Florida, or its agencies, unaware of the falsity of the claims and/or

statements made by Defendant, and in reliance on the accuracy of these claims and/or statements,




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paid, and may continue to pay, for Opioids prescriptions for recipients of health insurance plans

funded by the State of Florida or its agencies.

                Because of Defendant’s actions, the State of Florida and/or its agencies have been,

and may continue to be, severely damaged.

                                        COUNT XI

                       (Violation of Georgia False Medicaid Claims Act)

                Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to the

Georgia Medicaid program false or fraudulent claims for payment or approval, in violation of Ga.

Code Ann. § 49-4-168.1(a)(1).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to get false or fraudulent claims paid or approved by the

Georgia Medicaid program, in violation of Ga. Code Ann. § 49-4-168.1(a)(2).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit




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money to the State of Georgia, or its political subdivisions, in violation of Ga. Code Ann. § 49-4-

168.1(a)(7).

                 The State of Georgia, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of Medicaid.

                 Because of Defendant’s actions, the State of Georgia and/or political subdivisions

have been, and may continue to be, severely damaged.

                                          COUNT XII

                              (Violation of Illinois False Claims Act)

                 Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, false

or fraudulent claims for payment or approval, in violation of 740 Ill. Comp. Stat. 175/3(a)(1)(A).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements material to get false or fraudulent claims paid or approved by

the State of Illinois, or its political subdivisions, in violation of 740 Ill. Comp. Stat. 175/3(a)(1)(B).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made




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or used, false records or statements material to conceal, avoid or decrease an obligation to pay or

transmit money to the State of Illinois, or its political subdivisions, in violation of 740 Ill. Comp.

Stat. 175/3(a)(1)(G).

                 The State of Illinois, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of those claims

and/or statements, paid, and may continue to pay, for Opioids prescriptions for recipients of state

funded health insurance programs.

                 Because of Defendant’s actions, the State of Illinois and/or its political

subdivisions have been, and may continue to be, severely damaged.

                                        COUNT XIII

            (Violation of Indiana False Claims and Whistleblower Protection Act)

                 Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly or

intentionally presented, or caused to be presented, and may still be presenting or causing to be

presented, false claims to the State of Indiana, or its political subdivisions, for payment or approval,

in violation of Ind. Code § 5-11-5.5-2(b)(l).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly or

intentionally made, used, or caused to be made or used, and may still be making, using, or causing

to be made or used, false records or statements to obtain payment or approval of false claims from

the State of Indiana, or its political subdivisions, in violation of Ind. Code § 5-11-5.5-2(b)(2).




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                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly or

intentionally made, used, or caused to be made or used, and may still be making, using, or causing

to be made or used, false records or statements to avoid an obligation to pay or transmit money to

the State of Indiana, or its political subdivisions, in violation of Ind. Code § 5-11-5.5-2(b)(6).

                 The State of Indiana, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of those claims

and/or statements, paid, and may continue to pay, for Opioids prescriptions for recipients of state

funded health insurance programs.

                 Because of Defendant’s actions, the State of Indiana and/or its political

subdivisions have been, and may continue to be, severely damaged.

                                       COUNT XIV

            (Violation of Louisiana Medical Assistance Programs Integrity Law)

                 Relator incorporates herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

presented, or caused to be presented, and may still be presenting or causing to be presented, false

or fraudulent claims, in violation of La. Rev. Stat. Ann. § 46:438.3(A).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

engaged in misrepresentation, and may still be engaging in misrepresentation, to obtain, or attempt




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to obtain, payment from medical assistance programs funds, in violation of La. Rev. Stat. Ann. §

46:438.3(B).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

submitted, and may continue to submit, claims for goods, services or supplies which were

medically unnecessary or which were of substandard quality or quantity, in violation of La. Rev.

Stat. Ann. § 46:438.3(D).

                The State of Louisiana, its medical assistance programs, political subdivisions,

and/or the Department, unaware of the falsity of the claims and/or statements made by Defendant,

or their actions as set forth above, acted in reliance, and may continue to act in reliance, on the

accuracy of Defendant’s claims and/or statements in paying for Opioids prescriptions for medical

assistance program recipients.

                Because of Defendant’s actions, as set forth above, the State of Louisiana, its

medical assistance programs, political subdivisions, and/or the Department have been, and may

continue to be, severely damaged.

                                       COUNT XV

                       (Violation of Maryland False Health Claims Act)

                Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, false




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or fraudulent claims for payment or approval, in violation of Md. Code Ann., Health-Gen. § 2-

602(a)(1).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements material to false or fraudulent claims, in violation of Md. Code

Ann., Health-Gen. § 2-602(a)(2).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit

money to the State of Maryland, or its political subdivisions, in violation of Md. Code Ann.,

Health-Gen. § 2-602(a)(8).

                 The State of Maryland, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid for Opioids prescriptions for recipients of health insurance programs funded by

the state or its political subdivisions.

                 Because of Defendant’s actions, the State of Maryland and/or its political

subdivisions have been, and may continue to be, severely damaged.

                                           COUNT XVI

                          (Violation of Massachusetts False Claims Act)

                 Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.




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                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, false

or fraudulent claims for payment or approval, in violation of Mass. Gen. Laws ch. 12 § 5B(1).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to obtain payment or approval of claims by the Commonwealth

of Massachusetts, or its political subdivisions, in violation of Mass. Gen. Laws ch. 12 § 5B(2).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit

money to the Commonwealth of Massachusetts, or its political subdivisions, in violation of Mass.

Gen. Laws ch. 12 § 5B(8).

                The Commonwealth of Massachusetts, or its political subdivisions, unaware of

the falsity of the claims and/or statements made by Defendant, and in reliance on the accuracy of

these claims and/or statements, paid, and may continue to pay, for Opioids prescriptions for

recipients of health insurance programs funded by the state or its political subdivisions.

                Because of Defendant’s actions, the Commonwealth of Massachusetts and/or its

political subdivisions have been, and may continue to be, severely damaged.




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                                       COUNT XVII

                      (Violation of Michigan Medicaid False Claims Act)

                 Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made or caused to be made, and may still be making or causing to be made, false statements or

false representations of material facts in an application for Medicaid benefits, in violation of Mich.

Comp. Laws § 400.603(1).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made or caused to be made false statements or false representations of a material fact for use in

determining rights to a Medicaid benefit, in violation of Mich. Comp. Laws § 400.603(2).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

concealed or failed to disclose, and may still be concealing or failing to disclose, an event affecting

its initial or continued right to receive a Medicaid benefit, or the initial or continued right of any

other person on whose behalf Defendant has applied for or is receiving a benefit with intent to

obtain a benefit to which Defendant were not entitled or in an amount greater than that to which

Defendant were entitled, in violation of Mich. Comp. Laws § 400.603(3).

                 Defendant, in possession of facts under which they are aware or should be aware

of the nature of its conduct and that its conduct is substantially certain to cause the payment of a

Medicaid benefit, knowingly made, presented, or caused to be made or presented, and may still be




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making, presenting, or causing to be presented, to an employee or officer of the State of Michigan,

or its political subdivisions, false claims under the Social Welfare Act, Mich. Comp. Laws §§

400.1-400.122, in violation of Mich. Comp. Laws § 400.607(1).

                The State of Michigan, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of Medicaid.

                Because of Defendant’s actions, the State of Michigan and/or its political

subdivisions have been, and may continue to be, severely damaged.

                                     COUNT XVIII

                            (Violation of Nevada False Claims Act)

                Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, false

claims for payment or approval, in violation of Nev. Rev. Stat. § 357.040(1)(a).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to obtain payment or approval of false claims, in violation of

Nev. Rev. Stat. § 357.040(1)(b).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly




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made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit

money to the State of Nevada, or its political subdivisions, in violation of Nev. Rev. Stat. §

357.040(1)(g).

                 The State of Nevada, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of health

insurance programs funded by the state or its political subdivisions.

                 Because of Defendant’s actions, the State of Nevada and/or its political

subdivisions have been, and may continue to be, severely damaged.

                                       COUNT XIX

                        (Violation of New Hampshire False Claims Act)

                 Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly or

intentionally presented or caused to be presented, and may still be presenting or causing to be

presented, to an employee, officer, or agent of the State of New Hampshire, or to any contractor,

grantee, or other recipient of State funds, false or fraudulent claims for payment or approval, in

violation of the New Hampshire False Claims Act, N.H. RSA 167:61-bI(a), et seq.

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to made or used, and may still be making, using, or causing to be made or




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used, false records or statements to get false or fraudulent claims paid or approved by the State of

New Hampshire, or its political subdivisions, in violation of N.H. RSA 167:61-bI(b).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit

money to the State of New Hampshire, or its political subdivisions, in violation of N.H. RSA

167:61-bI(e).

                The State of New Hampshire, or its political subdivisions, unaware of the falsity

of the claims and/or statements made by Defendant, and in reliance on the accuracy of these claims

and/or statements, paid, and may continue to pay, for Opioids prescriptions for recipients of

Medicaid.

                Rite Aid of New Hampshire is incorporated in New Hampshire (Co. Number

20047) and has its principal place of business within New Hampshire (registered office address is

2 ½ Beacon St., Concord NH, 03301) in accordance with N.H. RSA 167:61-c, II(a).

                Because of Defendant’s actions, as set forth above, the State of New Hampshire

and/or its political subdivisions have been, and may continue to be, severely damaged.

                                       COUNT XX

                          (Violation of New Jersey False Claims Act)

                Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly or




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intentionally presented or caused to be presented, and may still be presenting or causing to be

presented, to an employee, officer, or agent of the State of New Jersey, or to any contractor,

grantee, or other recipient of State funds, false or fraudulent claims for payment or approval, in

violation of N.J. Stat. Ann. § 2A:32C-3(a).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to made or used, and may still be making, using, or causing to be made or

used, false records or statements to get false or fraudulent claims paid or approved by the State of

New Jersey, or its political subdivisions, in violation of N.J. Stat. Ann. § 2A:32C-3(b).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit

money to the State of New Jersey, or its political subdivisions, in violation of N.J. Stat. Ann. §

2A:32C-3(g).

                The State of New Jersey, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of Medicaid.

                Because of Defendant’s actions, as set forth above, the State of New Jersey and/or

its political subdivisions have been, and may continue to be, severely damaged.




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                                        COUNT XXI

                            (Violation of New York False Claims Act)

                 Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, false

or fraudulent claims for payment or approval, in violation of N.Y. State Fin. Law § 189(1)(a).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements material to false or fraudulent claims, in violation of N.Y. State

Fin. Law § 189(1)(b).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements material to an obligation to pay or transmit money to the State

of New York, or its political subdivisions, in violation of N.Y. State Fin. Law § 189(1)(g).

                 The State of New York, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of health

insurance programs funded by the state or its political subdivisions.




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                 Because of Defendant’s actions, set forth above, the State of New York and/or its

political subdivisions have been, and may continue to be, severely damaged.

                                       COUNT XXII

                        (Violation of North Carolina False Claims Act)

                 Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, false

or fraudulent claims for payment or approval, in violation of N.C. Gen. Stat. § 1-607(a)(1).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements material to false or fraudulent claims, in violation of N.C. Gen.

Stat. § 1-607(a)(2).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit

money to the State of North Carolina, or its political subdivisions, in violation of N.C. Gen. Stat.

§ 1-607(a)(7).

                 The State of North Carolina, or its political subdivisions, unaware of the falsity of

the claims and/or statements made by Defendant, and in reliance on the accuracy of these claims




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and/or statements, paid, and may continue to pay, for Opioids prescriptions for recipients of health

insurance programs funded by the state or its political subdivisions.

                 Because of Defendant’s actions, as set forth above, the State of North Carolina

and/or its political subdivisions have been, and may continue to be, severely damaged.

                                       COUNT XXIII

                      (Violation of Oklahoma Medicaid False Claims Act)

                 Relator incorporates herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to an

officer or employee of the State of Oklahoma, or its political subdivisions, false or fraudulent

claims for payment or approval, in violation of Okla. Stat. tit. 63, § 5053.1(B)(1).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made or caused to be made, and may still be making or causing to be made, false records or

statements to get false or fraudulent claims paid or approved by the State of Oklahoma, or its

political subdivisions, in violation of Okla. Stat. tit. 63, § 5053.1(B)(2).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit




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money to the State of Oklahoma, or its political subdivisions, in violation of Okla. Stat. tit. 63, §

5053.1(B)(7).

                The State of Oklahoma, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of Medicaid.

                Because of Defendant’s actions, as set forth above, the State of Oklahoma and/or

its political subdivisions have been, and may continue to be, severely damaged.

                                      COUNT XXIV

                         (Violation of Rhode Island False Claims Act)

                Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to an

officer or employee of the State of Rhode Island or a member of Rhode Island’s National Guard,

false or fraudulent claims for payment or approval, in violation of R.I. Gen. Laws § 9-1.1-3(a)(1).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made or caused to be made, and may still be making or causing to be made, false records or

statements to get false or fraudulent claims paid or approved by the State of Rhode Island, or its

political subdivisions, in violation of R.I. Gen. Laws § 9-1.1-3(a)(2).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly




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made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit

money to the State of Rhode Island, or its political subdivisions, in violation of R.I. Gen. Laws §

9-1.1-3(a)(7).

                 The State of Rhode Island, or its political subdivisions, unaware of the falsity of

the claims and/or statements made by Defendant, and in reliance on the accuracy of these claims

and/or statements, paid, and may continue to pay, for Opioids prescriptions for recipients of

Medicaid.

                 Because of Defendant’s actions, as set forth above, the State of Rhode Island

and/or its political subdivisions have been, and may continue to be, severely damaged.

                                      COUNT XXV

                      (Violation of Tennessee Medicaid False Claims Act)

                 Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to the

State of Tennessee, or its political subdivisions, false or fraudulent claims for payment under the

Medicaid program, in violation of Tenn. Code Ann. § 71-5-182(a)(1)(A).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false or fraudulent records or statements to get false or fraudulent claims under the




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Medicaid program paid for or approved by the State of Tennessee, or its political subdivisions, in

violation of Tenn. Code Ann. § 71-5-182(a)(1)(B).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false or fraudulent records or statements to conceal, avoid or decrease an obligation to pay

or transmit money to the State of Tennessee, or its political subdivisions, relative to the Medicaid

program, in violation of Tenn. Code Ann. § 71-5-182(a)(1)(D).

                The State of Tennessee, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of the Medicaid

program.

                Because of Defendant’s actions, as set forth above, the State of Tennessee and/or

its political subdivisions have been, and may continue to be, severely damaged.

                                      COUNT XXVI

       (Violation of Texas Medical Assistance Program, Damages, and Penalties Act)

                Relators incorporate herein by reference the preceding paragraphs of the Second

Amended Complaint as though fully set forth herein.

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made or caused to be made, and may still be making or causing to be made, false statements or

misrepresentations of material fact that permitted Defendant to receive a benefit or payment under




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the Medicaid program that was not authorized or that was greater than the benefit or payment that

was authorized, in violation of Tex. Hum. Res. Code Ann. § 36.002(1).

                  Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

concealed or failed to disclose, or caused to be concealed or not disclosed—and may still be

concealing or failing to disclose, or causing to be concealed or not disclosed—information that

permitted Defendant to receive a benefit or payment under the Medicaid program that was not

authorized or that was greater than the payment that was authorized, in violation of Tex. Hum.

Res. Code Ann. § 36.002(2).

                  Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, caused to be made, induced, or sought to induce, and may still be making, causing to be

made, inducing, or seeking to induce, false statements or misrepresentations of material fact

concerning information required to be provided by a federal or state law, rule, regulation or

provider agreement pertaining to the Medicaid program, in violation of Tex. Hum. Res. Code Ann.

§ 36.002(4)(B).

                  Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, and may still be making, claims under the Medicaid program for products that were

inappropriate, in violation of Tex. Hum. Res. Code Ann. § 36.002(7)(C).

                  The State of Texas, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for prescription drugs for recipients of Medicaid.




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                     Because of Defendant’s actions, as set forth above, the State of Texas and/or its

political subdivisions have been, and may continue to be, severely damaged.

                                         COUNT XXVII

                                (Violation of Vermont False Claims Act)

                     Relators incorporate herein by reference the preceding paragraphs of the Second

Amended Complaint as though fully set forth herein.

                     Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made or caused to be made, and may still be making or causing to be made, false statements or

misrepresentations of material fact that permitted Defendant to receive a benefit or payment under

the Medicaid program that was not authorized or that was greater than the benefit or payment that

was authorized, in violation of Vt. Stat. Ann. tit. 32, § 631(a)(1)-(2).

                     Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

concealed or failed to disclose, or caused to be concealed or not disclosed—and may still be

concealing or failing to disclose, or causing to be concealed or not disclosed—information that

permitted Defendant to receive a benefit or payment under the Medicaid program that was not

authorized or that was greater than the payment that was authorized, in violation of Vt. Stat. Ann.

tit. 32, § 631(a).

                     Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, caused to be made, induced, or sought to induce, and may still be making, causing to be

made, inducing, or seeking to induce, false statements or misrepresentations of material fact




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concerning information required to be provided by a federal or state law, rule, regulation or

provider agreement pertaining to the Medicaid program, in violation of Vt. Stat. Ann. tit. 32, §

631(a)(2).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, and may still be making, claims under the Medicaid program for products that were

inappropriate, in violation of Vt. Stat. Ann. tit. 32, § 631(a).

                 The State of Vermont, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for prescription drugs for recipients of Medicaid.

                 Because of Defendant’s actions, as set forth above, the State of Vermont and/or

its political subdivisions have been, and may continue to be, severely damaged.

                                     COUNT XXVIII

                      (Violation of Virginia Fraud Against Taxpayers Act)

                 Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to an

officer or employee of the Commonwealth of Virginia, or its political subdivisions, false or

fraudulent claims for payment or approval, in violation of Va. Code Ann. § 8.01-216.3(A)(1).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly




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made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to get false or fraudulent claims paid or approved by the

Commonwealth of Virginia, or its political subdivisions, in violation of Va. Code Ann. § 8.01-

216.3(A)(2).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit

money to the Commonwealth of Virginia, or its political subdivisions, in violation of Va. Code

Ann. § 8.01-216.3(A)(7).

                The Commonwealth of Virginia, or its political subdivisions, unaware of the

falsity of the claims and/or statements made by Defendant, and in reliance upon the accuracy of

these claims and/or statements, paid, and may continue to pay, for Opioids prescriptions for

recipients of state funded health insurance programs.

                Because of Defendant’s actions, as set forth above, the Commonwealth of Virginia

and/or its political subdivisions have been, and may continue to be, severely damaged.

                                     COUNT XXIX

                    (Violation of Washington Medicaid False Claims Act)

                Relators incorporate herein by reference the preceding paragraphs of this Second

Amended Complaint as though fully set forth herein.

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly




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presented or caused to be presented, and may still be presenting or causing to be presented, false

or fraudulent claims for payment of approval, in violation of Wash. Rev. Code § 74.66.020(1)(a).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements material to false or fraudulent claims, in violation of Wash.

Rev. Code § 74.66.020(1)(b).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

made, used, or caused to be made or used, and may still be making, using, or causing to be made

or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit

money to the State of Washington, or its political subdivisions, in violation of Wash. Rev. Code §

74.66.020(1)(g).

                The State of Washington, or its political subdivisions, unaware of the falsity of

the claims and/or statements made by Defendant, and in reliance upon the accuracy of these claims

and/or statements, paid, and may continue to pay, for Opioids prescriptions for recipients of state

funded health insurance programs.

                Because of Defendant’s actions, as set forth above, the State of Washington and/or

its political subdivisions have been, and may continue to be, severely damaged.

X.      PRAYER FOR RELIEF

        WHEREFORE, Relators pray for judgment against Defendant as follows:

        A.     That Defendant be ordered to cease and desist from submitting any more false

               claims, or further violating 31 U.S.C. §§ 3729 et seq.; Cal. Gov’t Code §§ 12650 et




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                seq.; Colo. Rev. Stat. §§ 25.5-4-304 et seq.; Conn. Gen. Stat. §§ 4-274 et seq.; Del.

                Code Ann. tit. 6, §§ 1201 et seq.; D.C. Code §§ 2-381.01 et seq.; Ga. Code Ann.

                §§ 49-4-168 et seq.; Ind. Code §§ 5-11-5.7 et seq.; La. Rev. Stat. Ann. §§ 46:437.1

                et seq.; Md. Code Ann., Health Gen. §§ 2-601 et seq.; Mass. Gen. Laws ch. 12,

                §§ 5A et seq.; Nev. Rev. Stat. §§ 357.010 et seq.; N.H. RSA 167:61-bI(a), et seq.;

                N.J. Stat. Ann. §§ 2A:32C-1 et seq.; N.Y. State Fin. Law Art. XIII §§ 187 et seq.;

                N.C. Gen. Stat. §§ 1-605 et seq.; Okla. Stat. tit. 63, §§ 5053 et seq.; R.I. Gen. Laws

                §§ 9-1.1-1 et seq.; Tenn. Code Ann. §§ 71-5-181 et seq.; Tex. Hum. Res. Code Ann.

                §§ 36.001 et seq.; Tex. Hum. Res. Code. Ann. §§ 32.039 et seq.; Va. Code Ann.

                §§ 8.01-216.1 et seq.; Vt. Stat. Ann. tit. 32, §§ 630 et seq.; Wash Rev. Code

                §§ 74.66.005 et seq.

          B.    That judgment be entered against Defendant in the amount of each false or

                fraudulent claim, multiplied as provided for in 31 U.S.C. § 3729(a), plus a civil

                penalty of not less than eleven thousand four hundred sixty-three dollars ($11,463)

                or more than twenty-two thousand nine hundred twenty-seven dollars ($22,927) per

                false claim, as provided by 31 U.S.C. § 3729(a) and 15 C.F.R. § 63(a)(3), 333 to the
                extent such multiplied penalties shall fairly compensate the United States of

                America for losses resulting from the various schemes undertaken by Defendant,

                together with penalties for specific claims to be identified at trial after full

                discovery;

          C.    That judgment be entered in Relators’ favor and against Defendant in the amount

                of the damages sustained by the State of California or its political subdivisions

                multiplied as provided for in Cal. Gov’t Code § 12651(a), plus a civil penalty of

                not less than eleven thousand four hundred sixty-three dollars ($11,463) or more


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                than twenty-two thousand nine hundred twenty-seven dollars ($22,927) per false

                claim, as provided by Cal. Gov’t Code § 12651(a), 334 to the extent such penalties

                shall fairly compensate the State of California or its political subdivisions for losses

                resulting from the various schemes undertaken by Defendant, together with

                penalties for specific claims to be identified at trial after full discovery;

          D.    That judgment be entered in Relators’ favor and against Defendant in the amount

                of the damages sustained by the State of Colorado or its political subdivisions

                multiplied as provided for in Colo. Rev. Stat. § 25.5-4-305(1), plus a civil penalty

                of not less than the minimum civil penalty and not more than the maximum civil

                penalty allowed under the federal False Claims Act (31 U.S.C. § 3729(a)(1)) per

                false claim, as provided by Colo. Rev. Stat. § 25.5-4-305(1), to the extent such

                multiplied penalties shall fairly compensate the State of Colorado or its political

                subdivisions for losses resulting from the various schemes undertaken by

                Defendant, together with penalties for specific claims to be identified at trial after

                full discovery;

          E.    That judgment be entered in Relators’ favor and against Defendant in the amount

                of the damages sustained by the State of Connecticut multiplied as provided for in

                Conn. Gen. Stat. § 4-275(b)(2), plus a civil penalty of not less than eleven thousand

                four hundred sixty-three dollars ($11,463) or more than twenty-two thousand nine

                hundred twenty-seven dollars ($22,927) per false claim, as provided by Conn. Gen.

                Stat. § 4-275(b)(1), 335 to the extent such multiplied penalties shall fairly

                compensate the State of Connecticut for losses resulting from the various schemes




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  These figures are subject to change pursuant to the Federal Civil Penalties Inflation Adjustment
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          undertaken by Defendant, together with penalties for specific claims to be identified

          at trial after full discovery;

    F.    That judgment be entered in Relators’ favor and against Defendant in the amount

          of the damages sustained by the State of Delaware multiplied as provided for in

          Del. Code Ann. tit. 6, §1201(a), plus a civil penalty of not less than five thousand

          five hundred dollars ($5,500) or more than eleven thousand dollars ($11,000) per

          false claim, as provided by Del. Code Ann. tit. 6, §1201(a), to the extent such

          multiplied penalties shall fairly compensate the State of Delaware for losses

          resulting from the various schemes undertaken by Defendant, together with

          penalties for specific claims to be identified at trial after full discovery;

    G.    That judgment be entered in Relators’ favor and against Defendant in the amount

          of the damages sustained by the District of Columbia, multiplied as provided for in

          D.C. Code § 2-381.02(a), plus a civil penalty of not less than five thousand five

          hundred dollars ($5,500) or more than eleven thousand dollars ($11,000) per false

          claim, and the costs of this civil action brought to recover such penalty and

          damages, as provided by D.C. Code § 2-381.02(a), to the extent such multiplied

          penalties shall fairly compensate the District of Columbia for losses resulting from

          the various schemes undertaken by Defendant, together with penalties for specific

          claims to be identified at trial after full discovery;

    H.    That judgment be entered in Relators’ favor and against Defendant in the amount

          of the damages sustained by the State of Georgia or its political subdivisions

          multiplied as provided for in Ga. Code Ann. § 49-4-168.1(a), plus a civil penalty

          of not less than five thousand five hundred dollars ($5,500) or more than eleven

          thousand dollars ($11,000) per false claim, as provided by Ga. Code Ann. § 49-4-

          168.1(a), to the extent such multiplied penalties shall fairly compensate the State of

          Georgia or its political subdivisions for losses resulting from the various schemes




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          undertaken by Defendant, together with penalties for specific claims to be identified

          at trial after full discovery;

    I.    That judgment be entered in Relators’ favor and against Defendant in the amount

          of the damages sustained by the State of Indiana, multiplied as provided for in Ind.

          Code § 5-11-5.5-2(b), plus a civil penalty of at least five thousand dollars ($5,000)

          per false claim, as provided by Ind. Code § 5-11-5.5-2(b), to the extent such

          penalties shall fairly compensate the State of Indiana for losses resulting from the

          various schemes undertaken by Defendant, together with penalties for specific

          claims to be identified at trial after full discovery;

    J.    That judgment be entered in Relator’s favor and against Defendants in the amount

          of the damages sustained by Louisiana’s medical assistance programs, multiplied

          as provided for in La. Rev. Stat. Ann. § 46:438.6(B)(2), plus a civil penalty of no

          less than five thousand five hundred dollars ($5,500) and no more than eleven

          thousand dollars ($11,000) per false claim, plus payment of interest as provided for

          in La. Rev. Stat. Ann. § 46:438.6(C)(1)(b), to the extent such multiplied fines and

          penalties shall fairly compensate the State of Louisiana’s medical assistance

          programs for losses resulting from the various schemes undertaken by Defendants,

          together with penalties for specific claims to be identified at trial after full

          discovery;

    K.    That judgment be entered in Relators’ favor and against Defendant for restitution

          to the State of Maryland or its political subdivisions for the value of payments or

          benefits provided, directly or indirectly, as a result of Defendant’s unlawful acts, as

          provided for in Md. Code Ann., Health-Gen. § 2-602(a), multiplied as provided for

          in Md. Code Ann., Health-Gen. § 2-602(b)(1)(ii), plus a civil penalty of not more

          than ten thousand dollars ($10,000) per false claim, pursuant to Md. Code Ann.,

          Health-Gen. § 2-602(b)(1)(i), to the extent such penalties fairly compensate the




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                State of Maryland or its political subdivisions for losses resulting from the various

                schemes undertaken by Defendant, together with penalties for specific claims to be

                identified at trial after full discovery;

          L.    That judgment be entered in Relators’ favor and against Defendant for restitution

                to the Commonwealth of Massachusetts or its political subdivisions in the amount

                of a civil penalty of not less than eleven thousand four hundred sixty-three dollars

                ($11,463) or more than twenty-two thousand nine hundred twenty-seven dollars

                ($22,927) per false claim, plus three times the amount of damages, including

                consequential damages, sustained by Massachusetts as the result of Defendant’s

                actions, plus the expenses of the civil action brought to recover such penalties and

                damages, as provided by Mass. Gen. Laws ch. 12. § 5B, 336 to the extent such
                penalties shall fairly compensate the Commonwealth of Massachusetts or its

                political subdivisions for losses resulting from the various schemes undertaken by

                Defendant, together with penalties for specific claims to be identified at trial after

                full discovery;

          M.    That judgment be entered in Relators’ favor and against Defendant for restitution

                to the State of Michigan or its political subdivisions for the value of payments or

                benefits provided as a result of Defendant’s unlawful acts, plus a civil penalty of

                triple the amount of damages suffered by Michigan as a result of Defendant’s

                unlawful conduct, as well as not less than five thousand dollars ($5,000) or more

                than ten thousand dollars ($10,000) per false claim, as provided by Mich. Comp.

                Laws § 400.612(1), as well as the costs incurred by both Michigan and Relators, as

                provided by §§ 400.610a(9) and 400.610b, in order to fairly compensate the State

                of Michigan or its political subdivisions for losses resulting from the various



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                schemes undertaken by Defendant, together with penalties for specific claims to be

                identified at trial after full discovery;

          N.    That judgment be entered in Relators’ favor and against Defendant for restitution

                to the State of Nevada for the value of payments or benefits provided, directly or

                indirectly, as a result of Defendant’s unlawful acts, as provided for in Nev. Rev.

                Stat. § 357.040, multiplied as provided for in Nev. Rev. Stat. § 357.040(1), plus a

                civil penalty of not less than eleven thousand four hundred sixty-three dollars

                ($11,463) or more than twenty-two thousand nine hundred twenty-seven dollars

                ($22,927) per false claim, pursuant to Nev. Rev. Stat. § 357.040(2)(c), 337 to the
                extent such multiplied penalties shall fairly compensate the State of Nevada for

                losses resulting from the various schemes undertaken by Defendant, together with

                penalties for specific claims to be identified at trial after full discovery;

          O.    That judgment be entered in Relators’ favor and against Defendant in the amount

                of the damages sustained by the State of New Hampshire or its political

                subdivisions multiplied as provided for in N.H. RSA 167:61-bI(a), et seq., plus a

                civil penalty of not less than the minimum civil penalty and not more than the

                maximum civil penalty allowed under the federal False Claims Act (31 U.S.C.

                § 3729(a)(1)) per false claim, to the extent such multiplied penalties shall fairly

                compensate the State of New Hampshire or its political subdivisions for losses

                resulting from the various schemes undertaken by Defendant, together with

                penalties for specific claims to be identified at trial after full discovery;

          P.    That judgment be entered in Relators’ favor and against Defendant in the amount

                of the damages sustained by the State of New Jersey or its political subdivisions

                multiplied as provided for in N.J. Stat. Ann. § 2A:32C-3, plus a civil penalty of not



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          less than the minimum civil penalty and not more than the maximum civil penalty

          allowed under the federal False Claims Act (31 U.S.C. § 3729(a)(1)) per false

          claim, to the extent such multiplied penalties shall fairly compensate the State of

          New Jersey or its political subdivisions for losses resulting from the various

          schemes undertaken by Defendant, together with penalties for specific claims to be

          identified at trial after full discovery;

    Q.    That judgment be entered in Relators’ favor and against Defendant for restitution

          to the State of New York or its political subdivisions for the value of payments or

          benefits provided, directly or indirectly, as a result of Defendant’s unlawful acts, as

          provided for in N.Y. State Fin. Law § 189(1), multiplied as provided for in N.Y.

          State Fin. Law § 189(1), plus a civil penalty of not less than six thousand dollars

          ($6,000) or more than twelve thousand dollars ($12,000) per false claim, pursuant

          to N.Y. State Fin. Law § 189(1), to the extent such multiplied penalties shall fairly

          compensate the State of New York or its political subdivisions for losses resulting

          from the various schemes undertaken by Defendant, together with penalties for

          specific claims to be identified at trial after full discovery;

    R.    That judgment be entered in Relators’ favor and against Defendant for restitution

          to the State of North Carolina for the value of payments or benefits provided,

          directly or indirectly, as a result of Defendant’s unlawful acts, as provided for in

          N.C. Gen. Stat. § 1-607, multiplied as provided for in N.C. Gen. Stat. § 1-607(a),

          plus a civil penalty of not less than five thousand five hundred dollars ($5,500) or

          more than eleven thousand dollars ($11,000) per false claim, as provided by N.C.

          Gen. Stat. § 1-607(a), to the extent such multiplied penalties shall fairly compensate

          the State of North Carolina for losses resulting from the various schemes

          undertaken by Defendant, together with penalties for specific claims to be identified

          at trial after full discovery;




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    S.    That judgment be entered in Relator’s favor and against Defendants in the amount

          of the damages sustained by the State of Oklahoma or its political subdivisions

          multiplied as provided for in Okla. Stat. tit. 63, § 5053.1(B), plus a civil penalty of

          not less than five thousand dollars ($5,000) or more than ten thousand dollars

          ($10,000) per false claim, as provided by Okla. Stat. tit. 63, § 5053.1(B), to the

          extent such multiplied penalties shall fairly compensate the State of Oklahoma or

          its political subdivisions for losses resulting from the various schemes undertaken

          by Defendants, together with penalties for specific claims to be identified at trial

          after full discovery;

    T.    That judgment be entered in Relators’ favor and against Defendant in the amount

          of the damages sustained by the State of Rhode Island or its political subdivisions

          multiplied as provided for in R.I. Gen. Laws § 9-1.1-3(a), plus a civil penalty of not

          less than five thousand five hundred dollars ($5,500) or more than eleven thousand

          dollars ($11,000) per false claim, as provided by R.I. Gen. Laws § 9-1,1-3(a), to

          the extent such multiplied penalties shall fairly compensate the State of Rhode

          Island or its political subdivisions for losses resulting from the various schemes

          undertaken by Defendant, together with penalties for specific claims to be identified

          at trial after full discovery;

    U.    That judgment be entered in Relators’ favor and against Defendant for restitution

          to the State of Tennessee for the value of payments or benefits provided, directly

          or indirectly, as a result of Defendant’s unlawful acts, as provided for in Tenn. Code

          Ann. § 71-5-182, multiplied as provided for in Tenn. Code Ann. § 71-5-182(a)(l),

          plus a civil penalty of not less than five thousand dollars ($5,000) or more than

          twenty-five thousand dollars ($25,000) per false claim, pursuant to Tenn. Code




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                Ann. § 71-5-182(a)(l), 338 to the extent such multiplied penalties shall fairly

                compensate the State of Tennessee for losses resulting from the various schemes

                undertaken by Defendant, together with penalties for specific claims to be identified

                at trial after full discovery;

          V.    That judgment be entered in Relators’ favor and against Defendant for restitution

                to the State of Texas for the value of payments or benefits provided, directly or

                indirectly, as a result of Defendant’s unlawful acts, as provided for in Tex. Hum.

                Res. Code Ann. § 36.052(a) and Tex. Hum. Res. Code Ann. § 32.039, multiplied

                as provided for in Tex. Hum. Res. Code Ann. § 36.052(a)(4), the interest on the

                value of such payments or benefits at the prejudgment interest rate in effect on the

                day the payment or benefit was paid or received, for the period from the date the

                payment or benefit was paid or received to the date that restitution is made to the

                State of Texas, pursuant to Tex. Hum. Res. Code Ann. § 36.052(a)(2), plus an

                administrative penalty not to exceed twice the amount paid, as provided by Tex.

                Hum. Res. Code. Ann. § 32.039(c)(2), plus a civil penalty of not less than the

                minimum civil penalty and not more than the maximum civil penalty allowed under

                the federal False Claims Act (31 U.S.C. § 3729(a)(1)) per false claim, as provided

                by Tex. Hum. Res. Code Ann. § 36.052(a)(3)(A) & (B), plus an administrative

                penalty of not less than five thousand dollars ($5,000) or more than fifteen thousand

                dollars ($15,000) for each unlawful act, pursuant to Tex. Hum. Res. Code. Ann.

                § 32.039(c)(2)(A) & (B), to the extent such multiplied penalties shall fairly

                compensate the State of Texas for losses resulting from the various schemes

                undertaken by Defendant, together with penalties for specific claims to be identified

                at trial after full discovery;



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    W.    That judgment be entered in Relators’ favor and against Defendant in the amount

          of the damages sustained by the State of Vermont or its political subdivisions,

          multiplied as provided for in Vt. Stat. Ann. tit. 32, § 631(b)(2), plus a civil penalty

          of not less than five thousand five hundred dollars ($5,500) and not more than

          eleven thousand dollars ($11,000) per false claim, as provided by Vt. Stat. Ann. tit.

          32, § 631(b)(1), as well as the costs incurred by the State of Vermont, as provided

          by Vt. Stat. Ann. tit. 32, § 631(b)(3), in order to fairly compensate the State of

          Vermont or its political subdivisions for losses resulting from the various schemes

          undertaken by Defendant, together with penalties for specific claims to be identified

          at trial after full discovery;

    X.    That judgment be entered in Relators’ favor and against Defendant in the amount

          of the damages sustained by the Commonwealth of Virginia, multiplied as provided

          for in Va. Code Ann. § 8.01-216.3(A), plus a civil penalty of not less than five

          thousand five hundred dollars ($5,500) or more than eleven thousand dollars

          ($11,000) per false claim, as provided by Va. Code Ann. § 8.01-216.3(A), to the

          extent such multiplied penalties shall fairly compensate the Commonwealth of

          Virginia for losses resulting from the various schemes undertaken by Defendant,

          together with penalties for specific claims to be identified at trial after full

          discovery;

    Y.    That judgment be entered in Relators’ favor and against Defendant in the amount

          of the damages sustained by the State of Washington or its political subdivisions

          multiplied as provided for in Wash. Rev. Code § 74.66.020 (1), plus a civil penalty

          of not less than eleven thousand four hundred sixty-three dollars ($11,463) or more

          than twenty-two thousand nine hundred twenty-seven dollars ($22,927) per false

          claim, as provided by Wash. Rev. Code § 74.66.020(1) and Wash. Admin. Code




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                § 44-02-010, 339 to the extent such penalties shall fairly compensate the State of

                Washington or its political subdivisions for losses resulting from the various

                schemes undertaken by Defendant, together with penalties for specific claims to be

                identified at trial after full discovery;

          Z.    That Defendant be ordered to disgorge all sums by which they have been enriched

                unjustly by its wrongful conduct;

          AA.   That judgment be granted for Relators against Defendant for all costs, including,

                but not limited to, court costs, expert fees and all attorneys’ fees incurred by

                Relators in the prosecution of this suit;

          BB.   That the Court issue an order enjoining the Defendant from continuing to engage

                in the fraudulent conduct alleged herein; and

          CC.   That this Court award such further relief as it deems just and proper.




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  These figures are subject to change pursuant to the Federal Civil Penalties Inflation Adjustment
Act of 1990, Pub. L. 101-410, 104 Stat. 890 (Oct. 5, 1990), as amended.


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                                     JURY DEMAND

    Plaintiffs hereby demand a trial by jury on all claims so triable in this action.


                                           Dated: November 16, 2020

                                           BARON & BUDD, P.C.

                                           By:
                                                 W. Scott Simmer

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